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 1                     UNITED STATES DISTRICT COURT
 2                    CENTRAL DISTRICT OF CALIFORNIA
 3
 4
 5     TC RICH, LLC, a California                  )
 6     Limited Liability Company,                  ) No. 2:19-CV-02123-
 7     et al.,                                     )       DMG (AGRx)
 8                       Plaintiff,                )
 9            VS.                                  )
10     HUSSAIN M. SHAIKH,an                        )
11     individual, et al.,                         )
12                       Defendants.               )
13     ____________________________ )
14
15
16
17                          DEPOSITION OF:
18                          HUSSAIN SHAIKH
19                   TUESDAY, DECEMBER 1, 2020
20                            9:08 A.M.
21
22
23     Pages 1 - 188
24     Reported by:       LINDA NICKERSON
25                        CSR No. 8746

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 1           Deposition of HUSSAIN SHAIKH, the defendant,
 2     taken on behalf of the Plaintiffs, on TUESDAY,
 3     DECEMBER 1, 2020, 9:08 a.m., utilizing Zoom Remote
 4     Technology, Carson, California, before LINDA
 5     NICKERSON, CSR No. 8746, pursuant to NOTICE.
 6
 7     APPEARANCES OF COUNSEL:
 8
       FOR PLAINTIFFS:
 9           PILLSBURY, WINTHROP, SHAW, PITTMAN, LLP
10           BY:    MARK E. ELLIOTT, ESQ.
11                  STEPHANIE AMARU, ESQ.
12           725 South Figueroa Street
13           Suite 2800
14           Los Angeles, California                90017-5406
15           (213) 488-7100
16           mark.elliott@pillsburylaw.com
17
       FOR DEFENDANTS:
18           PALADIN LAW GROUP, LLP
19           BY:    KIRK M. TRACY, ESQ.
20           220 West Gutierrez Street
21           Santa Barbara, California                 93101
22           (805) 898-9700
23           ktracy@paladinlaw.com
24
       ALSO PRESENT:
25           AMY OUSLEY

                                                                 Page 2

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 1                                 I N D E X
 2
 3     WITNESS                     EXAMINATION                        PAGE
 4     HUSSAIN SHAIKH
 5
 6                                 By Mr. Elliott                         6
 7
 8                             E X H I B I T S
 9     NUMBER           PAGE          DESCRIPTION
10     Exhibit 1          19          Hussain M. Shaikh's Response
11                                    to TC Rich, LLC's Requests
12                                    for Admissions, Set One
13     Exhibit 2          22          Hussain M. Shaikh's Response
14                                    to TC Rich, LLC's
15                                    Interrogatories, Set One
16     Exhibit 3          23          Hussain M. Shaikh's
17                                    Supplemental Responses to TC
18                                    Rich, LLC's Interrogatories,
19                                    Set One
20     Exhibit 4          25          Hussain M. Shaikh's Response
21                                    to TC Rich, LLC's
22                                    Interrogatories, Set Two
23     Exhibit 5          27          Hussain M. Shaikh's Response
24                                    to TC Rich, LLC's Requests
25                                    for Admissions, Set Two

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 1                    E X H I B I T S (Continued)
 2     NUMBER           PAGE          DESCRIPTION
 3     Exhibit 6          29          Hussain M. Shaikh's Response
 4                                    to TC Rich, LLC's Requests
 5                                    for Admissions, Set Two
 6     Exhibit 7          30          Corporation Grant Deed
 7     Exhibit 8          48          Articles of Incorporation
 8     Exhibit 9          91          Letter dated 11-18-80 to Shah
 9                                    Chemical Corp.
10     Exhibit 10        106          Plans for Wastewater
11                                    Discharge
12     Exhibit 11        114          Site Plan Showing PCE Indoor
13                                    and Ambient Air
14     Exhibit 12        143          Application for Plumbing
15                                    Permit
16                                    (LACOUNTYDPW0000011-
17                                    LACOUNTYDPW0000012)
18     Exhibit 13        152          Notice of Violation and Order
19                                    to Comply
20     Exhibit 14        162          Industrial Wastewater
21                                    Self-Monitoring Report
22     Exhibit 15        178          Hussain M. Shaikh's
23                                    Counterclaim
24     Exhibit 16        184          Discharger Identification
25                                    Questionnaire

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 1                      E X H I B I T S (Continued)
 2     NUMBER             PAGE                 DESCRIPTION
 3     Exhibit 17             181              Notice of Noncompliance
 4
 5
 6     INFORMATION REQUESTED
 7           Page      Line
 8           158          4
 9
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 1                TUESDAY, DECEMBER 1, 2020; 9:08 A.M.
 2
 3                            HUSSAIN SHAIKH,
 4                having been first duly sworn, was
 5                examined and testified as follows:
 6
 7                               EXAMINATION
 8     BY MR. ELLIOTT:
 9            Q   Good morning, Mr. Shaikh.                  If you could
10     please state and spell your name for the record.
11            A   Good morning.         Hussain M. Shaikh,
12     S-h-a-i-k-h.      Hussain would be H-u-s-s-a-i-n.
13            Q   Thank you very much, Mr. Shaikh.                  My name
14     is Mark Elliott.       We've met before.               I represent TC
15     Rich and the Fleischers, and I'm going to be taking
16     your deposition today.
17                As Mr. Tracy mentioned a moment ago, any
18     time you need to take a break, just let us know.
19     Obviously we're operating in COVID-19 situation
20     where we're doing this in video.                    It's a little bit
21     odd.
22            A   Right.
23            Q   The one thing that I will say, Mr. Shaikh,
24     other than yourself, you're the most important
25     person here today.        We're going to try and jog your

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 1     memory, ask you some questions about 20 plus years
 2     ago, but other than yourself, the most important
 3     person is the court reporter.
 4                She will be transcribing a record,
 5     literally typing up the questions, Mr. Tracy's
 6     comments, his objections, your responses, and it's
 7     very important, particularly when we're operating
 8     with not the greatest audio on computers, that you
 9     and I and Mr. Tracy not speak over each other.
10                So if you could really sort of think to
11     allow me to complete my questions and then respond
12     audibly to Ms. Nickerson, I'd really appreciate it.
13     Okay?
14          A     Okay.     Yes.
15          Q     Mr. Shaikh, have you been deposed
16     previously?
17          A     In my life, yes.
18          Q     Okay.     On roughly how many occasions?
19          A     Probably two or three maybe.
20          Q     Well, you've previously heard probably
21     lengthy admonitions from counsel as to how a
22     deposition works.        I won't bore you with those
23     details because you've heard it before, but I will
24     mention the most important instructions that you
25     should be aware of.

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 1                First, your testimony today is under
 2     penalty of perjury.         So we ask that you provide both
 3     truthful responses and really your best
 4     recollection.      No guessing.
 5                If you don't know, truthful responses, I
 6     don't know, so we would just ask that you respond
 7     honestly and to the best of your recollection since
 8     we are discussing a situation in your business that
 9     was 20 plus years ago.
10                Do you understand that?
11          A     Yes.
12          Q     Second, at the conclusion of the
13     deposition, despite the fact that we're operating in
14     sort of a video context, and it may have been the
15     case at one of your prior depositions, they actually
16     had a videotape in the conference room where your
17     deposition took place and they created a video
18     record of the deposition, despite the fact that
19     we've made these leaps and bounds into new
20     technologies to allow us to get our jobs done, the
21     reality is that your deposition will constitute a
22     written transcript.
23                All of the questions that I ask, the
24     comments, objections from your counsel, Mr. Tracy,
25     your responses will be compiled into the same paper

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 1     booklet that you've previously seen.
 2                Mr. Tracy will no doubt provide you a copy
 3     of that document for your review, ask you to make
 4     any corrections, any changes that are necessary to
 5     your responses to the questions that I pose and ask
 6     you to sign the acknowledgement page of the
 7     deposition.
 8                I just have to advise you, sir, since you
 9     do have the opportunity to review and change
10     responses to your -- your answers to the questions
11     that I pose, in the event that you change your
12     response, a yes to a no, a no to a yes, not really
13     talking about correcting typographical errors.
14                Ms. Nickerson is wonderful and there will
15     probably be no typographical errors.                But if you do
16     change a response from a yes to a no, the
17     transcript, which may be used at the time of trial,
18     may be used to impeach you, to place it in front of
19     the court and advise the court that you have changed
20     an answer, and that may adversely bear upon your
21     credibility in the eyes of the trier of facts.
22                So it is important, sir, to try and provide
23     your best testimony today.              That's why I began with
24     saying be truthful, no guesses, etcetera.
25                Do you understand that?

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  1          A     Yes, I do.
  2          Q     If I could, sir, get a little background
  3    information on where, where were you educated.                   I'm
  4    only interested in college and graduate school, sir.
  5          A     Say it again now.
  6          Q     Where were you educated?                Where did you go
  7    to college or graduate school?
  8          A     I went to college in Pakistan, and I went
  9    to college at University of Texas and that's about
10     it.
11           Q     Did you have any graduate program after the
12     University of Texas or was that a gradate program?
13           A     No.
14           Q     What was the date that you graduated from
15     University of Pakistan, sir?
16           A     It was a BS in chemistry.
17           Q     And when did you receive that degree, sir,
18     approximately?
19           A     In 1964, '65, something like that.
20           Q     All right.      And when did you attend the
21     University of Texas in Austin?
22           A     1965 and '66.
23           Q     And do you continue to cheer for their
24     football team today or have you adopted your home
25     state of California college football teams?

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  1         A      Both.
  2         Q      Did you obtain a degree from University of
  3    Texas, sir?
  4         A      No, I didn't.
  5         Q      And what were your studies at University of
  6    Texas?     What did they involve?
  7         A      Chemical engineering.
  8         Q      And you departed UT after two years without
  9    obtaining a degree, correct?
10          A      I did.
11          Q      It sounds like, sir, given your current
12     line of business, that you've probably been working
13     in the chemical manufacturing industry for quite a
14     number of years, correct?
15          A      Yes.
16          Q      Following your graduation or following
17     completing the studies that you undertook at the
18     University of Texas, would I be correct in assuming
19     that you went to work in the chemical engineering
20     industry?
21          A      I went to work for a textiles dye house.
22          Q      And given the fact that Pacifica Chemical,
23     your current concern, is involved in manufacturing
24     chemicals or blending chemicals for the textiles
25     industry, is it the case, sir, that your entire

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  1    career in the chemical industry has been in
  2    formulating chemicals for use in the textile
  3    industry?
  4           A      Yes.
  5                  MR. TRACY:     And, Mark, sorry to interrupt.
  6    You're kind of leaning out of the screen a little
  7    bit.       So I'm not sure if we can see your whole head.
  8                  MR. ELLIOTT:     Yeah, I apologize.        I don't
  9    know that my head is that important.                That's beside
10     the point.
11                   MR. TRACY:     Your mouth at least so
12     Mr. Shaikh can see you.
13     BY MR. ELLIOTT:
14            Q      Mr. Shaikh, let me do this.           I'm not
15     interested in a complete recitation of all your
16     areas of employment.          What I'd like to actually do
17     is work backwards, make it a little bit easier.
18                   I'm interested in understanding your
19     experience and expertise in the manufacture of
20     chemicals in the textile industry.
21                   You're currently the president, the CEO of
22     Pacifica Chemical operating out of Carson,
23     California, the office you're in right now?
24            A      Correct, yes.
25            Q      And you've been the president of Pacifica

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  1    Chemical, which is a manufacturer and specialty
  2    chemicals for the textile industry since its
  3    formation in roughly 1978, correct?
  4         A      Yes.
  5         Q      At the same -- roughly the same time that
  6    you incorporated Pacifica Chemical, you also
  7    incorporated another company, Shah Chemical, which
  8    similarly manufactured chemicals for the textile
  9    industry, correct?
10          A      Yes.
11          Q      You're also the president of that company,
12     correct?
13          A      Yes.
14          Q      Okay.    Prior to the incorporation and your
15     operation of Shah Chemical and Pacifica Chemical,
16     which roughly overlapped in the same time frame,
17     whom did you work for or what company in the textile
18     industry did you operate?
19          A      It was a Texfi West out of Carolinas.
20          Q      I'm sorry, sir.         I didn't understand what
21     you said.
22          A      It's a -- the company's name was Texfi
23     West.
24                 THE REPORTER:        Tech what?
25                 THE WITNESS:       Texfi, T-e-x-f-i.

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  1    BY MR. ELLIOTT:
  2         Q      And where did Texfi West operate, sir?
  3         A      It did operate.         It does not exist anymore.
  4    It did operate out of Ontario, California.
  5         Q      Were you an officer of that corporation,
  6    Texfi West?
  7         A      No.
  8         Q      And what was your role at Texfi West?
  9         A      I was a dye house manager.
10          Q      And for what period of time were you
11     employed by Texfi West as a warehouse manager?
12          A      Wow, it was for 23 years.               I don't really
13     know exact timings.
14          Q      And what did you do as a dye house manager?
15          A      Looked at the production of dying, used
16     chemicals in the production, supervised people.
17          Q      Thank you.      So in other words, you
18     physically had hands-on oversight of the production
19     activities as a dye house manager, correct?
20          A      Yes.
21          Q      Prior to working for Texfi West, whom were
22     you employed by previously?
23          A      I was employed by another dye house.               It
24     was -- company's name was Duplan, D-u-p-l-a-n, and
25     that company I don't think exists anymore.                  It was

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  1    out of New York based company which was here in
  2    Los Angeles.
  3         Q      And for approximately how long did you work
  4    for Duplan, sir?
  5         A      I think maybe three, four years.             I don't
  6    recollect that much, you know, how long.
  7         Q      That's okay, your best recollection.              I can
  8    assure you, Mr. Tracy probably doesn't remember what
  9    he was doing two years ago so you're doing far
10     better than what he or I could do.
11          A      Well --
12          Q      What was -- were you an officer of the
13     Duplan company in California, sir?
14          A      No, I was just an employee.
15          Q      And what was your position as an employee
16     with Duplan?
17          A      In the dye house as a dyer and as a dye
18     manager.
19          Q      I'm assuming that your responsibilities as
20     a dyer and a dye manager at Duplan were similar to
21     those that you described as Texfi West?
22          A      Yes.
23          Q      And is it correct to assume, sir, that at
24     Duplan, you had responsibilities to yourself to
25     participate in the manufacture, blending, etcetera,

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  1    of the chemicals utilized for the dye activities,
  2    right?
  3         A      Yes.
  4         Q      Now, did the dye house actually dye
  5    textiles or did it manufacture chemicals for
  6    purposes of dying and use in the textile industry?
  7         A      Dye textile.
  8         Q      And Texfi West, did it also dye fabrics or
  9    was it involved only in the manufacture of chemicals
10     for purposes of --
11          A      Dye fabric.
12          Q      Okay.    So, sir, could I ask -- I'm not
13     going to go further back into your history.                I'd
14     like to know generally, Shah Chemical and Pacifica
15     Chemical, your two companies that you operated for
16     many years, were in the business of manufacturing
17     chemicals for use in the textile industry, correct?
18          A      Yes.
19          Q      Okay.    Where did you gain your experience
20     in the manufacture of chemicals for the textile
21     industry?
22          A      Some from my knowledge of education and
23     some from working at the dye houses.
24          Q      So prior to your work with Shah Chemical
25     and Pacifica Chemical, is it correct, sir, that you

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  1    did not work for another company whose primary
  2    purpose was to manufacture chemicals for use in the
  3    textile industry?
  4         A      I am not sure.         There was a -- there was a
  5    chemical company who asked me for help, but I do not
  6    know if I worked for them.
  7         Q      Do you recall the name of the company, sir?
  8         A      It was West Tex -- West Tex Chemicals,
  9    somewhere in Orange County, I believe, but it didn't
10     exist for a long time, like about 30 years now or
11     20 some years.
12          Q      Okay.    And so you had somewhat a consulting
13     or an independent contractor role?
14          A      Yes.
15          Q      Many years ago, correct?
16          A      It was -- it was just for a very short
17     period, yes.
18          Q      And what were the consulting or contracting
19     services that you provided to West Tex Chemicals?
20          A      They just asked me how the chemicals are
21     used in the textile.          That's all.
22          Q      Okay.    Thank you very much.
23          A      Yeah.
24          Q      So, sir, with the formation of Shah and
25     Pacifica Chemicals in the late 1970s and with your

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  1    discussion of working for Tex West -- excuse me --
  2    Texfi West and Dye Duplan, by my estimate, it looks
  3    like we've roughly pushed your company experience
  4    back to maybe 1970, and I believe you testified
  5    previously that you completed your studies at UT in
  6    roughly 1966.       So we just have a couple-year gap
  7    there.
  8         A      Yeah, that period, I worked for the same
  9    company Duplan West, okay.              It used to be called
10     Beachwood Dye Works which was acquired by Duplan,
11     okay, and I started there in 1967.
12          Q      And so following your time frame at Duplan
13     starting in 1967, you worked there for roughly three
14     to four years.
15                 Was your next position then with Texfi
16     West?
17          A      Yes.
18          Q      And after concluding your period of
19     employment with Texfi West, did you have any other
20     employers between your departure from that company
21     and the start of Shah and Pacifica Chemicals?
22          A      No, I was out of a job.
23          Q      Okay.    Thank you.         So, sir, what I'd like
24     to do is we'll do a little bit of experimenting now
25     with the exhibits because I'd like to just get some

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  1    confirmation of the interrogatory and other written
  2    discovery responses that we asked you and previously
  3    your company to respond to.
  4                 So what I've given you is the very first
  5    exhibit, which we've marked as Exhibit Number 1,
  6    which is entitled "Hussain M. Shaikh's Response to
  7    TC Rich, LLC's Request for Admissions, Set One."
  8                 (The document referred to was marked by the
  9    Reporter as Plaintiffs' Exhibit 1 for identification
10     and is attached hereto.)
11     BY MR. ELLIOTT:
12            Q     Do you see that document on your iPad, sir?
13            A     Yes, I do.
14            Q     Okay.   Do you recognize this document?
15            A     Yes.
16            Q     Okay.   And it was -- if you turn to the --
17     I think you yourself, sir, can see it, but if you
18     scroll down to the sixth PDF page, can you do that?
19            A     Okay.
20            Q     Okay.   You'll note that it's dated July 27,
21     2020.      Mr. Tracy actually has his signature on the
22     document there.
23            A     Which question are you --
24            Q     I'm not actually referring to a question,
25     sir.

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  1         A      Oh, okay, yeah, yeah, yes, I see the last
  2    page, yes.
  3         Q      So these requests for admission responses
  4    are dated July 27, 2020.            Mr. Tracy signed off on
  5    that.
  6         A      Right.
  7         Q      But it is correct, sir, that you reviewed
  8    this document before it was provided to my client
  9    TC Rich, correct?
10          A      Yes.
11          Q      And while I'm not interested in your
12     conversations with Mr. Tracy, Mr. Stone, it is
13     correct that you provided input to ensure the
14     accuracy of the responses, correct?
15          A      Yes.
16          Q      Okay.    And so the request for admission
17     responses to the best of your understanding are
18     accurate and truthful responses, right?
19          A      Yes.
20                 MR. ELLIOTT:       Kirk, we actually don't have
21     a verification in the file.               We have verifications
22     for the other documents that accompanied this one.
23     So I think it probably fell out of the e-mail loop.
24     So if you wouldn't mind, if you could check your
25     files --

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  1                MR. TRACY:      Mark, I don't think -- in
  2    federal court, I don't think verifications are
  3    required on RFAs.
  4                MR. ELLIOTT:       Actually I believe you're
  5    right.     I believe you're right, so okay.             For --
  6    it's subject to certain objections, okay.                   Thank you
  7    very much, good point.
  8                So let me now go to the next document in
  9    order.     Let me introduce another one, sir.
10                 THE WITNESS:       So I need to get out of this
11     one first?
12                 MR. ELLIOTT:       You can just do the arrow
13     back.
14                 THE WITNESS:       I got it, yeah, okay.
15                 MR. ELLIOTT:       Now I'm going to introduce
16     another document.        You may have to refresh your
17     screen.     Ms. Ousley can help you with that.
18                 THE WITNESS:       Yes, I got it -- no, it's the
19     same.
20                 MS. OUSLEY:       Just give him a moment.           He
21     has to introduce the document.
22                 THE WITNESS:       Okay.
23                 MR. ELLIOTT:       Okay.       Sir, I've introduced
24     another document.        It appears as Exhibit 2.             It's
25     going to look pretty similar.                It's another

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  1    discovery response.
  2                MS. OUSLEY:       I do not have Exhibit 2 yet.
  3                MR. TRACY:      I see it.          So go ahead and
  4    click on the marked exhibits to refresh.
  5                MR. ELLIOTT:       Okay.
  6                THE WITNESS:       Okay.       I got it.
  7                (The document referred to was marked by the
  8    Reporter as Plaintiffs' Exhibit 2 for identification
  9    and is attached hereto.)
10     BY MR. ELLIOTT:
11          Q      Again, similar question, sir, what I've
12     attached as Exhibit Number 2 is Hussain M. Shaikh's
13     Response to TC Rich, LLC's Interrogatories, Set
14     Number One.
15                 I want to confirm that you've seen this
16     document previously, correct?
17          A      Yes.
18          Q      And you reviewed the document and assisted
19     with its preparation, correct?
20          A      Yes.
21          Q      Scroll to the bottom of the document, if
22     you could please go to the last page.
23          A      Yes.
24          Q      Okay.    You'll see there's a document there
25     on the last page of Exhibit 2 entitled

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  1    "Verification."
  2                Do you see that, sir?
  3         A      Yes, I have.
  4         Q      Okay.    And that is your signature on the
  5    document, correct?
  6         A      Yes, it is.
  7         Q      So you've attested that the responses to
  8    the discovery that constitutes Exhibit 2 are
  9    accurate and truthful to the best of your knowledge,
10     right?
11          A      Yes.
12                 MR. ELLIOTT:       I'm introducing another
13     exhibit, sir, Exhibit Number 3.
14                 (The document referred to was marked by the
15     Reporter as Plaintiffs' Exhibit 3 for identification
16     and is attached hereto.)
17     BY MR. ELLIOTT:
18          Q      Please let me know when Exhibit 3 appears
19     on your screen.
20          A      Okay.    It's here.
21          Q      Okay.    Thank you.         What we've introduced as
22     Exhibit Number 3, sir, it's entitled "Hussain M.
23     Shaikh's Supplemental Responses to TC Rich, LLC's
24     Interrogatories, Set Number One."
25          A      It's not on my screen yet.              Okay.   Now it

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  1    is, yes.
  2         Q      Do you recognize this document, sir?
  3         A      Yes, I do.
  4         Q      If I could have you scroll to the very last
  5    page again, sir.
  6         A      Yes, I have.
  7         Q      And you'll notice a verification page dated
  8    November 10, 2020.
  9                Do you see that?
10          A      Yes, I do.
11          Q      And is that your signature appearing on the
12     page, sir?
13          A      Yes, it is.
14          Q      And do you attest that the responses are
15     accurate and truthful responses to the best of your
16     knowledge?
17          A      Yes.
18          Q      Okay.    Thank you.         Sorry having a computer
19     glitch there.
20                 Just two more and we'll be done with this
21     line.
22          A      No problem.
23          Q      I apologize.       It's taking a moment for the
24     file to load.
25          A      It's okay.

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  1           Q    So much faster to shuffle paper.
  2           A    Yes, it's easier to do, but sitting in
  3    person --
  4                MS. OUSLEY:       It just appeared for me.
  5                MR. ELLIOTT:       Okay.       Thank you.     It
  6    actually hasn't appeared for me.
  7                (The document referred to was marked by the
  8    Reporter as Plaintiffs' Exhibit 4 for identification
  9    and is attached hereto.)
10     BY MR. ELLIOTT:
11            Q    Okay.    Sir, if you refresh your browser,
12     you should be able to see what we've introduced as
13     Exhibit Number 4.        Tell me when you're ready.
14                 MS. OUSLEY:       It has not appeared for us
15     yet.
16                 MR. ELLIOTT:       Thank you.
17                 THE WITNESS:       Okay.       Now it has.
18     BY MR. ELLIOTT:
19            Q    Mr. Shaikh, what I introduced --
20            A    Let me download it first.               It's not on my
21     screen yet.
22            Q    Thank you.
23            A    Okay.    Yes, I got it.
24            Q    So, Mr. Shaikh, what I've introduced as
25     Exhibit Number 4 is entitled "Hussain M. Shaikh's

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  1    Response to TC Rich, LLC's Interrogatories, Set
  2    Number Two."
  3                Have you seen this document before?
  4         A      Yes, I have.
  5         Q      And did you review the document previously?
  6         A      Yes.
  7         Q      Did you assist in its preparation?
  8         A      Pardon me?
  9         Q      Did you assist in its preparation?
10          A      Yes -- yes, I did.
11          Q      Okay.    If you could scroll to the last page
12     of the document, sir, please let me know when you're
13     there.
14          A      Yeah, I'm here.
15          Q      There's a verification dated October 31,
16     2020.     There's a signature there.
17                 Is that your signature, sir?
18          A      Yes, it is.
19          Q      Thank you.      Again, sir, with respect to
20     Exhibit Number 4, you attest that it's accurate and
21     truthful responses, to the best of your knowledge?
22          A      Yes.
23                 MR. ELLIOTT:       I'm introducing the last
24     document, sir, Exhibit Number 5.                    Just give it a
25     moment.     Let me know when it's on your screen.

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  1                THE WITNESS:       Yes, it is.          One second.   One
  2    second.     Yes, I got it.
  3                MR. ELLIOTT:       Perfect.
  4                (The document referred to was marked by the
  5    Reporter as Plaintiffs' Exhibit 5 for identification
  6    and is attached hereto.)
  7    BY MR. ELLIOTT:
  8         Q      So what we've introduced as Exhibit Number
  9    5, sir, is entitled "Hussain M. Shaikh's Responses
10     to TC Rich, LLC's Requests for Admission, Set Number
11     Two."
12                 Have you seen this document before, sir?
13          A      Yes, I have.
14          Q      Did you assist in its preparation?
15          A      Yes.
16          Q      And do you confirm that the responses are
17     accurate and truthful responses to the best of your
18     knowledge?
19          A      Yes.
20          Q      Thank you very much.             You can set that
21     document aside.
22                 Now, sir, as I go through the deposition
23     today, I'm going to be asking questions about a
24     variety of documents.
25                 What I've tried to do to assist you, given

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  1    the passage of time, is have specific documents that
  2    not only I may have questions about, but that may be
  3    useful to you to refresh your recollection.
  4                So typical of lawyers, we talk fast.                    Your
  5    lawyer talks fast.        I talk fast.              It drives
  6    Ms. Nickerson crazy.          We have a tendency to put a
  7    document in front of a witness and to save time, we
  8    just read a page and we ask a question about it.
  9                The benefit of the Veritext Exhibit Share
10     software program is that you actually have control
11     of the document on your desktop.                    So if I ask a
12     question about a document, feel free to say hold
13     your horses, give me a moment to read it.
14                 And you have the ability, sir, to scroll
15     through the document, take your time to read it,
16     because the wonderful thing about documents, after
17     many years being away from your business at 132nd
18     Street, it may actually help to refresh your
19     recollection, and that will provide me and Mr. Tracy
20     the best testimony.
21                 So please don't let me rush ahead.                   If you
22     want to take a moment to review an exhibit, please
23     do so.     As Mr. Tracy indicated previously, any time
24     you want to take a break, please let us know.
25                 My only request would be if you need to go

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  1    grab a cup of coffee or something, please put up
  2    your hand and say that you would like to take a
  3    break, but not when a question is pending.                 Answer
  4    the question and then we can take a break.                 Okay?
  5           A      Okay.
  6           Q      What I'll do, though, is when we go through
  7    the deposition, I'm going to try and go in sort of
  8    chronological order on topics and introduce
  9    exhibits, but occasionally it may be necessary to
10     refer back to a prior exhibit.
11                   What you're going to want to do is click
12     the back arrow in the top corner, go back to the
13     file folder entitled "Deposition of Hussain M.
14     Shaikh" and "Marked Exhibits" and then you can click
15     and open an exhibit we previously introduced.                  Okay?
16            A      Okay.
17            Q      Okay.   I'm introducing another exhibit,
18     sir.       Please let me know when you can see it.
19                   Went to the wrong one.            I apologize.
20            A      It's not loading.
21                   MR. ELLIOTT:     I apologize.         It opened the
22     wrong exhibit.        Let me get the right one.
23                   Okay.   Ms. Nickerson, for the record,
24     Exhibit 5 was reintroduced accidentally as
25     Exhibit 6.       So we'll strike Exhibit 6 or it's

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  1    irrelevant, and so the next in order to be
  2    Exhibit 7.      And I'm introducing that exhibit now.
  3                THE REPORTER:        So there is no Exhibit 6?
  4                MR. ELLIOTT:       Yeah, it was a duplicate.             My
  5    apologies.
  6                (The document referred to was marked by the
  7    Reporter as Plaintiffs' Exhibit 7 for identification
  8    and is attached hereto.)
  9    BY MR. ELLIOTT:
10          Q      So, sir, I've introduced Exhibit 7 which is
11     going to be a copy of the corporation grant deed for
12     the 132nd property.         Please let me know when you can
13     see those documents.
14          A      Yes, I can see it.
15          Q      Okay.    So the first document, sir, is
16     entitled "Corporation Grant Deed."                  You'll notice
17     that your name is in the upper left-hand corner.
18                 Can you see that?
19          A      Say it again now.
20          Q      The first page of the Exhibit 7 is entitled
21     "Corporation Grant Deed."
22          A      Correct.
23          Q      Your name is in the upper left-hand corner?
24          A      Yes, it is.
25          Q      So have you seen this document previously,

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  1    sir?
  2           A    Yes, I have.
  3           Q    And, sir, this is the corporation grant
  4    deed by which Marmac Resources Company granted to
  5    you, Mr. Shaikh, the property located at 132nd --
  6    excuse me -- 132 West 132nd Street in Los Angeles,
  7    California, correct?
  8           A    Yes.
  9           Q    And that acquisition, I realize the
10     recording was a little later, but that acquisition
11     occurred on August 6, 1979.               You can see the date in
12     the lower left-hand corner, sir.
13                 MR. TRACY:      Is there a question there,
14     Mark?
15                 MR. ELLIOTT:       Yeah.       I just want to confirm
16     that the August 6, 1979 acquisition date is correct
17     to the best of his understanding.
18                 THE WITNESS:       Yeah, I see that.
19     BY MR. ELLIOTT:
20            Q    But as you sit here today, sir, there's
21     trepidation in your voice.
22                 You don't actually recall the date the deal
23     closed to buy the property?
24            A    I don't remember the date, but I can see
25     it, yeah.

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  1         Q      Did you inspect the property prior to
  2    acquisition, sir?
  3         A      No more than what the real estate
  4    normalities are.
  5         Q      No, I understand the normalities as of
  6    1979, they're probably a little different than
  7    your --
  8         A      Normality is you want to buy this thing.
  9    This is a nice place, and that's about it.                Did I
10     inspect to go through like what's being done?                 I
11     don't even know what Marmac Resources did or didn't
12     do or anything.       I have no clue.
13          Q      Was there a building on the property when
14     you acquired it, sir?
15          A      There was a building, yes.
16          Q      And was it the warehouse building that was
17     occupied first by Shah Chemical and subsequently
18     by -- excuse me -- by Pacifica Chemical?
19          A      Yes.
20          Q      Do you have any understanding as to when
21     that building was constructed?
22          A      No.
23          Q      Did you have any understanding as to
24     whether your companies were the first occupants of
25     that building?

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  1         A      No, I don't.
  2         Q      Did you enter into an agreement with Marmac
  3    to have the building constructed for yourself?
  4         A      No, I didn't.
  5         Q      Do you have any understanding, as you sit
  6    here today, as to when the building was constructed?
  7         A      No, I don't.
  8         Q      Do you have any understanding as to whether
  9    there were any occupants of the building prior to
10     its occupancy by Shah Chemical or Pacifica Chemical?
11          A      No, I don't.
12          Q      Do you have any understanding as to whether
13     any chemical blending activities for the textile
14     industry occurred in the property prior to your
15     occupation?
16          A      No, I don't.
17          Q      When you acquired the property, were there
18     any tanks, storage containers, or other implements
19     used for the dying and blending of fabrics located
20     in the building?
21          A      When I acquired, there was nothing.              What
22     happened before, I have no idea.
23          Q      It was just an empty warehouse when you
24     acquired it, correct?          It was an empty warehouse
25     when you acquired it, correct?

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  1         A      Yes.
  2         Q      Thank you.      Then after the acquiring the
  3    property in August of 1979, did either you or --
  4    well, let me take a step back, sir.
  5                The first business to operate at the 132
  6    132nd Street was Shah Chemical, correct?
  7         A      Yes.
  8         Q      And what was the date of -- or
  9    approximately the date of occupancy in the building
10     by Shah Chemical?
11          A      No idea.
12          Q      Was it within six months of acquiring the
13     property?
14          A      I believe so, yes.
15          Q      I'm assuming that, prior to commencing
16     activities manufacturing chemicals for the textile
17     industry, either you or Shah Chemical had to build
18     the property out to undertake those chemical
19     blending and mixing activities, correct?
20          A      I don't understand what build the facility
21     means.
22          Q      Since you purchased, sir, individually an
23     empty warehouse, am I correct that you can't blend
24     and mix chemicals in an empty warehouse?
25          A      Yeah, you can, but, you know -- yeah, you

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  1    can.
  2           Q    I'm assuming, however, either Shah Chemical
  3    or you installed a variety of equipment, tanks,
  4    etcetera, for purposes of blending the chemicals
  5    that you intended to market on behalf of Shah
  6    Chemical, correct?
  7           A    Yes.
  8           Q    Was that equipment installed -- purchased
  9    and installed by you or your business, Shah
10     Chemical?
11            A    By Shah Chemical.
12            Q    Okay.    Thank you.         Now, it's my
13     understanding, sir, you provided me a copy of the
14     lease, I won't make it an exhibit, but you, as the
15     property owner, entered into a lease with Shah
16     Chemical for its occupation of 132 132nd Street,
17     correct?
18            A    Yes.
19            Q    You were also -- in addition to being the
20     owner of the property, you were also the president
21     of Shah Chemical, correct?
22            A    Yes.
23            Q    So you would have executed the lease both
24     in your capacity as the property owner and the
25     landlord and as the tenant on behalf of Shah

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  1    Chemical, correct?
  2         A      Yes.
  3         Q      What I'd like to do now, sir, is scroll to
  4    the second page of Exhibit 7.                It's entitled
  5    "Quitclaim Deed."
  6                Tell me when you see that.
  7         A      Yes, I do.
  8         Q      So page 2 of Exhibit 7, sir, confirms that
  9    Mrs. Shaikh quitclaimed her interest in 132 132nd
10     Street, correct?
11          A      That I quitclaimed my interest in 100 --
12          Q      She quitclaimed any interest that she may
13     have as your wife at that time in the 132nd Street?
14          A      Yes.
15                 MR. TRACY:      Objection; assumes facts.
16                 MR. ELLIOTT:       Thank you.
17          Q      I apologize, sir.           I'm scrolling down to
18     the next deed and the pagination is not showing up.
19                 So if you hover your pointer, sir, at the
20     bottom of the document, you'll see the pagination
21     will come up for the PDF, and I'd like you to go to
22     page 7 of 12, please.
23                 MS. OUSLEY:       7 of -- 7 of 12.
24                 THE WITNESS:       It doesn't show that.         It's
25     only showing 7 of 7.

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  1                MS. OUSLEY:       Because you're in the seventh
  2    file.    He asked you to find 7 of 12.              So let's go
  3    back to the front and start from the beginning.
  4    That's one, two, three --
  5                MR. TRACY:      Mark, the pagination is not
  6    going to show the same way on the iPad as your
  7    computer, I think.
  8                MR. ELLIOTT:       Yeah, unfortunately.
  9                MS. OUSLEY:       Does 7 of 7 have an 85 69977
10     at the top of your page with the American Title
11     Company at the very top?
12                 MR. ELLIOTT:       Yes, that's correct.
13                 MS. OUSLEY:       Okay.       So what would you like
14     him to look at?
15                 MR. ELLIOTT:       Well, just put it on that
16     page, but Ms. Ousley --
17                 MS. OUSLEY:       Yes.
18                 MR. ELLIOTT:       -- on the iPad -- I should
19     have brought my iPad so I could compare, when we use
20     a pointer on a computer and hover at the bottom of
21     the PDF, the ability to zoom in, zoom out, the page
22     number shows up, is that not a function that appears
23     on the iPad?
24                 THE WITNESS:       No, it's not.
25                 MS. OUSLEY:       That is not a function that

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  1    appears on the iPad.
  2                MR. ELLIOTT:       Okay.
  3                MR. TRACY:      It might work -- it might work
  4    if you just tap once in the middle of the page
  5    you're looking at.        It's just a guess.
  6                MS. AMARU:      I was just going to say that.
  7    I think a light tap might show.
  8                MS. OUSLEY:       You want to blow something up.
  9    What is it that you want to blow up?
10                 MR. ELLIOTT:       I don't want to actually blow
11     up the document just yet.             It's illegible, and
12     Mr. Shaikh can only just use two fingers to spread
13     it apart anyway on his iPad.
14                 THE WITNESS:       Yes.
15     BY MR. ELLIOTT:
16          Q      You will be -- there is one exhibit -- I've
17     tried not to include lengthy exhibits that we have
18     to go through, but there will be one where we will
19     be skipping through pages.
20                 Possibly, Ms. Ousley, you could tap the
21     iPad and see if the pagination function appears
22     because it will make it easier to scroll through
23     pages in a later exhibit.
24                 MS. OUSLEY:       No, it does not appear.         We've
25     tapped it.      Oh, there it is.

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  1                MR. ELLIOTT:       Perfect.
  2                MS. OUSLEY:       So page 6 of 12, if you tap,
  3    it does appear.
  4                MR. ELLIOTT:       Thank you very much.        Thank
  5    you very much.
  6         Q      Now, referring to page 7 of Exhibit 7, sir,
  7    this document is entitled "Grant Deed."               You'll
  8    notice in the upper left-hand corner in the
  9    "Recording Requested By" box, the name Haroon Khan.
10                 Do you see that?
11          A      Yes.
12                 MS. OUSLEY:       You have to be back on page 7.
13                 THE WITNESS:       No, I'm on -- I think you're
14     talking about -- I can see what you're talking about
15     is the one that has the title "American Title
16     Company."
17     BY MR. ELLIOTT:
18          Q      Correct, in the upper left-hand corner.
19                 MS. OUSLEY:       But that's our page 6.
20                 THE WITNESS:       Page 6 of 12.
21                 MR. ELLIOTT:       Interesting.
22          Q      Okay.    Well, be that as it may -- be that
23     as it may, sir, this document is entitled "Grant
24     Deed."     If you could take a glance at it and let me
25     know if you've seen this document before.

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  1         A      Yes, I have.
  2         Q      Okay.    So this is the grant deed by which
  3    you, Mr. Shaikh, granted to Haroon, H-a-r-o-o-n,
  4    Khan, K-h-a-n, the property located at 132 132nd
  5    Street on December 10, 1984, correct?
  6         A      Yes.
  7         Q      At that time, sir, in December 1984, I
  8    believe Pacifica Chemicals was operating at the
  9    132nd Street property, correct?
10          A      Right.
11          Q      Despite your sale of the property to
12     Mr. Khan, Pacifica Chemical continued to occupy the
13     property, right?
14          A      Yes.
15          Q      Did Pacifica Chemical enter into a lease
16     with Mr. Khan for its use of the property?
17          A      I would imagine, but I don't recall.
18          Q      Did Mr. Khan have any officer or director
19     status with Pacifica Chemical?
20          A      No.
21          Q      Did he work for Pacifica Chemical in any
22     capacity?
23          A      No.
24          Q      Did he have any relationship to Pacifica
25     Chemical?

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  1         A      No.
  2         Q      So he was not involved in the operations of
  3    Pacifica Chemical, correct?
  4         A      None, yes.
  5         Q      And similar question, sir, did Mr. Khan
  6    have any relationship to Shah Chemical?
  7         A      Not that I know.          Shah Chemical and
  8    Pacifica Chemical were both operated by me.
  9         Q      Okay.    Did Mr. Khan own --
10          A      No, he did not, yeah.
11          Q      I'm sorry.
12          A      The previous -- previous question, no, he
13     did not.
14          Q      So let me just make sure the record is
15     clear, sir, and I'll sort of stuff it into one
16     question.
17          A      Yeah.
18          Q      Mr. Khan was neither an officer, employee,
19     nor owner of any stock in Shah Chemical, correct?
20          A      Yes.
21          Q      And, similarly, Mr. Khan was neither an
22     officer, employee, nor owner of any stock in
23     Pacifica Chemical, correct?
24          A      Yes.
25          Q      I believe at all times, sir, the stock in

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  1    Shah Chemicals was owned by you?
  2         A      Yes.
  3         Q      I believe at all times the stock in
  4    Pacifica Chemicals was only owned by you, correct?
  5         A      Yes.
  6         Q      If you could please scroll to the next page
  7    of Exhibit 7, sir.
  8         A      Yeah.
  9         Q      Okay.    At the top of the page, there's an
10     87 1739359.
11          A      Yes.
12          Q      Do you see that?
13          A      Yes.
14          Q      Okay.    That document is a grant deed.            Have
15     you seen this document before?
16          A      Yes.
17          Q      So by this grant deed, Mr. Khan granted to
18     you, Mr. Shaikh, the 132 -- 132 132nd Street on
19     October 26, 1987, correct?
20          A      Yes.
21          Q      Would you -- you recognize Mr. Khan's
22     signature, sir?       I see it in the lower right-hand
23     corner.     Would you recognize this to whether that
24     was his signature?
25          A      To the best of my recollection, I guess

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  1    it's his.      Yes, I recognized it.
  2         Q      Who was Mr. Khan, sir?
  3         A      He was a friend.
  4         Q      And for a period of time, he acquired the
  5    property?
  6         A      For a period of time, yes, he did.
  7         Q      Did you have a preexisting agreement, an
  8    option or some other written or unwritten agreement,
  9    to reacquire the property at a point in time in the
10     future?
11          A      No.
12          Q      Thank you.      If I could have you scroll down
13     two additional pages, sir, you'll see a document
14     that is dated at the very top corner, it says,
15     "Chicago Title Insurance" and then there's a stamp
16     for May 8, 2003.
17          A      Yes.
18          Q      This is another grant deed, sir.                 Have you
19     seen this document before?
20          A      Let me go through it.              Let me read this
21     document because I'm trying to recollect my memory.
22     Okay?
23          Q      Please.     Thank you.
24                 MR. TRACY:      Mark, I know it's a simple
25     question.      What is the question?                Has he seen it?

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  1    Does you recognize it?           I'm sorry.         It's been a
  2    minute.
  3                MR. ELLIOTT:       I've actually forgotten the
  4    question, Kirk.       Let's allow him to review the
  5    document and then I'll pose a new question.
  6                MR. TRACY:      Okay.       Thanks.
  7                THE WITNESS:       Yeah, I don't -- I'm not
  8    remembering it so --
  9                MR. TRACY:      Hold on.         Hold on, Maq.    Let
10     him go ahead and ask you a question.
11                 THE WITNESS:       Yeah, okay.
12     BY MR. ELLIOTT:
13          Q      Have you completed your review of the
14     document we are describing, Mr. Shaikh, that's
15     entitled "Grant Deed," and in the upper left-hand
16     corner, it says, "Chicago Title Insurance Company"?
17          A      Yes, I have, yes.
18          Q      As you sit here today, sir, you're not
19     recalling this specific document, correct?
20          A      No, I am not, but, okay, go ahead.
21          Q      I do note, sir, on sort of the middle left
22     of the page, there's a signature block there for
23     Hussain M. Shaikh?
24          A      That's my signature, yes.
25          Q      So that is your signature on this document

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  1    that you don't recognize?
  2           A    Yes.
  3           Q    Okay.    But it is correct, sir, that in
  4    approximately 1993, you do recall selling the
  5    property at 132 132nd Street?
  6                MR. TRACY:      Objection; misstates the
  7    document.      You said '93.        It says 2003.
  8                MR. ELLIOTT:       Thank you, I apologize.         I'll
  9    restate my question.
10            Q    It is correct, sir, that in approximately
11     2003, you sold the property at 132 132nd Street,
12     correct?
13            A    Right.
14            Q    And this grant deed that you don't
15     currently recognize identifies the purchaser of the
16     property as a woman by the name of Eun Hee Lee,
17     E-u-n, H-e-e, L-e-e.
18                 Do you recognize or remember that name,
19     sir?
20            A    I -- this is -- I believe that I don't
21     recognize it, but I did sell the property, yes --
22            Q    Okay.
23            A    -- and this is my signature.
24            Q    Did you work -- did you work with a real
25     estate broker, sir?

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  1         A      Yes.
  2         Q      So it's not surprising that you may not
  3    have even had direct contact with the purchaser,
  4    correct?
  5         A      Right, I didn't.
  6         Q      Thank you very much.             So, Mr. Shaikh,
  7    between the 1979 acquisition of 132nd -- 132 132nd
  8    Street and the first sale from the sale to Mr. Khan
  9    in 1984, you were the sole owner of that property,
10     correct?
11          A      Yes.
12          Q      Okay.    And then from the time that you
13     reacquired the property from Mr. Khan in 1987 until
14     it was sold in 2003 to an individual, you were the
15     sole owner of 132 132nd Street, correct?
16          A      Yes.
17          Q      Thank you.      Let me introduce another
18     exhibit, sir.
19          A      On a different page?
20          Q      It will be an entirely new exhibit so you
21     can --
22          A      How do I do that?
23          Q      You can back up or you can close out.
24          A      Yeah, yeah, I need to ask for help.
25                 Exhibit 8, I got it.

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  1                MR. ELLIOTT:       Ms. Ousley?
  2                MS. OUSLEY:       Yes.
  3                MR. ELLIOTT:       At the top of the tabs at the
  4    top of the Internet connection, are there just a
  5    whole bunch of Veritext Exhibit Shares open up
  6    there?
  7                MS. OUSLEY:       Yes.
  8                MR. ELLIOTT:       Yeah, you may want to just
  9    for ease so there's no confusion, you may want to
10     close out the --
11                 MS. OUSLEY:       We will on the next round
12     because I don't want to close this document we just
13     opened.
14                 MR. ELLIOTT:       Okay.       And we've been going
15     for about an hour.        So I'll ask questions about
16     these series of documents.              As you can see,
17     Mr. Shaikh, I try and be efficient, just move
18     quickly through this.
19                 THE WITNESS:       Okay.
20                 MR. ELLIOTT:       And maybe we can take a
21     coffee break for Mr. Shaikh, if he wants one, and
22     then you can close out the files.
23                 THE WITNESS:       Okay.
24                 MS. OUSLEY:       Okay.
25                 MR. ELLIOTT:       Sir, what we've introduced as

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  1    Exhibit 8, a little yellow sticky has now popped
  2    over, it appears in the lower left-hand corner --
  3                THE WITNESS:       Yes.
  4                MR. ELLIOTT:       -- is a series of documents.
  5    What I've done you've noticed with prior Exhibit 7
  6    and then with Exhibit 8, to simplify the use of the
  7    Veritext Exhibit Share system, I compiled documents
  8    together for ease of reference.
  9                (The document referred to was marked by the
10     Reporter as Plaintiffs' Exhibit 8 for identification
11     and is attached hereto.)
12     BY MR. ELLIOTT:
13          Q      The first page is titled "Articles of
14     Incorporation of Shah Chemical Corporation."
15          A      Uh-huh.
16          Q      Have you seen this document before, sir?
17          A      Yes.
18          Q      Okay.     If you scroll down, you'll see
19     there's two signatures in the lower right corner on
20     February 15, 1977.
21                 Will you confirm for the record, sir, that
22     those are your signatures?
23          A      Yes.
24          Q      So it is correct, sir, on November 15th,
25     1997, you prepared the articles of incorporation for

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  1    Shah Chemical Corporation, right?
  2         A      Yes.
  3         Q      If you scroll, sir, to the second page,
  4    you'll see in the upper left corner, it says,
  5    "Statement of Domestic Stock Corporation."                It has a
  6    filing date of March 2nd, 1981 on the right.
  7                Do you see that?
  8         A      Right.
  9         Q      Okay.     In the right-hand corner, there's a
10     signature of February -- dated February 25th, 1981.
11                 Is that your signature, sir?
12          A      Yes.
13          Q      Okay.     Have you seen this document before?
14          A      Yes.
15          Q      So this is the statement for Shah Chemical
16     Corporation.        It identifies officers of the
17     corporation there in the middle of the page.
18                 Do you see that?
19          A      Yes.
20          Q      The first officer identified is Hussain M.
21     Shaikh which is you, correct, sir?
22          A      Right.
23          Q      You were the president of the company?
24          A      Right.
25          Q      Okay.     Below that is Mohammed Yousuf

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  1    Shaikh.     I believe he's one of your family members,
  2    sir; is that correct?
  3         A      He's my brother.
  4         Q      And what was Mr. Mohammed Yousuf Shaikh's
  5    officer title for Shah -- for Shah Chemical?                 What
  6    was his job?
  7         A      Nothing.     I mean there was no job there.
  8    There was nothing.        I don't recall why we did this,
  9    but he had nothing to do with it.
10          Q      Okay.    Thank you.         I see below Mr. Yousuf
11     Shaikh's, the name Craig Kiernan.
12                 Do you see that?
13          A      Yes.
14          Q      Who is Mr. Kiernan?
15          A      He was a bookkeeper.
16          Q      Did he act as a bookkeeper for Shah
17     Chemical?
18          A      Yes, he did.
19          Q      Other than serving as a bookkeeper, did he
20     have any corporate responsibility at Shah Chemical?
21          A      No.
22          Q      Did he work actually at the Shah Chemical
23     facility at 132nd Street?
24          A      No, he didn't.
25          Q      Thank you.      You'll then see a list of

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  1    directors of the corporation listed below.
  2                Do you see that, sir?
  3         A      Right, yes.
  4         Q      It lists both you and Yousuf Shaikh as
  5    directors of the corporation, correct?
  6         A      It says that, yes.
  7         Q      Then I also noticed that there's a third
  8    individual Mohammed Younus Shaikh that is listed
  9    there.
10                 Do you see that?
11          A      Yes, that's also my brother who's deceased.
12          Q      Okay.    I'm sorry about that.
13                 Sir, as director of Shah Chemical, did
14     Mr. Younus Shaikh and Mr. Yousuf Shaikh have any
15     responsibilities of the corporation?
16          A      No.
17          Q      Did you have any -- did you have regular
18     meetings of the board of directors?
19          A      No, no, they never were involved.
20          Q      So it's correct to state that for the
21     period of time that Shah Chemical was incorporated
22     and operating at the 132nd Street property, sir,
23     that you were in all actuality the sole operating
24     officer and director of the corporation, correct?
25          A      Yes.

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  1         Q      Okay.    Thank you.         If I could have you go,
  2    sir, to the next page.
  3         A      Okay.
  4         Q      This is another -- it's a little difficult
  5    to see at the top, sir.            This is another statement
  6    by domestic stock corporation that is dated
  7    February 19, 1982, so roughly a year later.
  8                There's a signature in the bottom
  9    right-hand corner for Yousuf Shaikh.                Do you see
10     that, sir?
11          A      Yes, I do.
12          Q      And that was your brother Yousuf Shaikh?
13          A      Yes.
14          Q      And you recognize his signature?
15          A      Yes, I do.
16          Q      I note, sir, just very briefly in the list
17     of officers, Mr. Kiernan drops out as a listed
18     officer and I see that Mr. Younus Shaikh is now
19     listed as an officer as of February 19, 1982.
20                 Do you see that?
21          A      Yes, I do.
22          Q      So as of February 1982, did Mr. Younus
23     Shaikh assume any responsibilities for the operation
24     of Shah Chemical?
25          A      No, he didn't.

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  1         Q      Was there a reason why Mr. Kiernan was
  2    removed, to the best of your recollection, as an
  3    officer?
  4         A      No idea.     Not -- nobody was very involved
  5    with any of the business except myself so --
  6         Q      Did Mr. Kiernan continue to serve as the
  7    bookkeeper for the company?
  8         A      For a little while.            Just I don't know for
  9    how long.      It was like 25 years some ago.             So I
10     don't have that much -- maybe more than that,
11     30 years ago, 40 years ago.               So he was involved as a
12     bookkeeper for a little while.                 That's all I know.
13          Q      Okay.    Thank you.         And then I note, sir,
14     that Mr. Manzoor Shaikh -- I apologize if I
15     mispronounced his name -- was included as a
16     director --
17          A      That was my dad who is also deceased.
18          Q      Did Manzoor Shaikh have any activities or
19     involvement in the actual operation of the Shah
20     Chemical, the corporation?
21          A      No.
22          Q      Thank you very much.             If I could have you
23     scroll to the next page, sir.
24                 Sir, it's correct that you were the sole
25     shareholder of all stock in Shah Chemical, correct?

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  1         A      Yes.
  2         Q      What was the period of time -- before I ask
  3    you about Pacifica, let me just step back for a
  4    moment.
  5                What was the period of time that Shah
  6    Chemical actually physically occupied and operated
  7    at the 132nd Street property?
  8         A      I don't remember how many years, but --
  9         Q      Well, the property was acquired in August
10     of 1979.     We confirmed that.            So my assumption is
11     that Shah Chemical did not operate at the property
12     before that date, correct?
13          A      Say that again now.
14          Q      Since the property was purchased in August
15     of 1979.
16          A      Right.
17          Q      I assume Shah Chemical did not operate at
18     the 132nd Street property before that date?
19          A      I believe, yes.
20          Q      Okay.    So Shah Chemical, after the -- you
21     acquired the property, built out the site for
22     purposes of manufacturing chemicals, correct?
23          A      Yes.
24          Q      Okay.    Do you recall whether that build-out
25     was completed in 1979?

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  1         A      I don't recall, but could be.
  2         Q      But certainly by sometime in 1980, Shah
  3    Chemical was operating at 132nd Street property
  4    blending and mixing chemicals for the textile
  5    industry?
  6         A      I would assume so, yes.
  7         Q      Now, when did Shah Chemical cease to
  8    operate at the property and Pacifica Chemical became
  9    the site operator?
10          A      I don't have an exact date, and I don't
11     even know when, but it ceased to operate sometime in
12     that period and now Pacifica was operating.
13          Q      Was there any particular reason, sir, why
14     the operations at 132nd Street property was
15     transferred from one of your corporations to the
16     other corporation?
17          A      There was a specific reason of there was a
18     hostage crisis going on at that time in Iran, and it
19     had nothing to do with -- just the name Shah was a
20     wrong name to be operating under.                   We got threats,
21     bodily threats, got beaten down because of that name
22     or something.       So it was ceased after that.
23          Q      Okay.    Thank you.         That's a very honest
24     response to what was sort of an uncomfortable
25     situation that I recall as a child.

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  1         A      Right.
  2         Q      So thank you, sir.
  3         A      Thank you.
  4         Q      If I could have you refer to the document
  5    that is appearing on your screen now which should be
  6    page 4 of 6 of Exhibit 8.
  7                MS. OUSLEY:       If you want to tell us what it
  8    says at the top because --
  9                MR. ELLIOTT:       Thank you, Ms. Ousley.
10     Articles of incorporation of Pacifica Chemical,
11     Incorporated.
12                 MS. OUSLEY:       Articles of -- yes.
13                 THE WITNESS:       Okay.
14                 MR. ELLIOTT:       Okay.
15          Q      So, sir, what we've identified here as page
16     4 of 6 in Exhibit 8 is entitled "Articles of
17     Incorporation of Pacifica Chemical, Incorporated."
18                 Have you seen this document before, sir?
19          A      Yes.
20          Q      In the bottom right-hand corner, there are
21     two signatures.
22                 Are those your signatures, sir?
23          A      Yes.
24          Q      It is correct that this is the document by
25     which on September 28, 1978, you incorporated

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  1    Pacifica Chemical?
  2         A      Yes.
  3         Q      And as you're sitting here today, sir, you
  4    don't recall specifically, but sometime following
  5    the Iranian hostage crisis in 1979, sometime in the
  6    early 1980s, Pacifica Chemical assumed the
  7    operations at 132nd Street, correct?
  8         A      Yes.
  9         Q      Was there any form of sale or formal
10     transfer of assets between Shah Chemical and
11     Pacifica Chemical of the equipment and other assets
12     and goodwill associated with Shah Chemical?
13          A      I don't recall.
14          Q      Now, sir, you previously confirmed that
15     Shah Chemical occupied the 132nd Street property
16     pursuant to a lease between yourself, the property
17     owner, and Shah Chemical as the tenant.
18                 Did you similarly enter into a lease
19     between Pacifica Chemical as the tenant and you as
20     the property owner, landlord at 132nd Street?
21          A      I don't remember, but -- yeah, I don't
22     remember.
23          Q      Okay.    Do you have any understanding as to
24     whether the lease between Shah Chemical and you was
25     assigned to Pacifica Chemical as the new tenant at

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  1    the property?
  2         A      I don't remember.
  3         Q      Now, the amount is irrelevant, sir, but I
  4    realized that Shah Chemical as a tenant at the 132nd
  5    Street property agreed to pay rent to you, correct?
  6         A      Yes.
  7         Q      Did Shah Chemical, in fact, pay a monthly
  8    or annual rent to you during its period of occupancy
  9    at the 132nd Street property?
10          A      I don't recall, but possibly, yes.
11          Q      And during the period of time that Pacifica
12     Chemical occupied the 132nd Street property, did it
13     similarly pay rent to you?
14          A      I would assume so.
15          Q      Do you have any recollection of the
16     frequency that the rent was paid to you?
17          A      No, I don't.
18          Q      As you sit here today, Mr. Shaikh, and this
19     really isn't a memory test, do you recall whether or
20     not either Shah or Pacifica ever paid any rent to
21     you for the 132nd -- occupation of the 132nd Street
22     property?
23          A      Yes, they did pay the rent, but I don't
24     remember how often and how much.
25          Q      And I realize that Pacifica Chemical

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  1    relocated to 935 East Artesia Boulevard in Carson,
  2    correct?
  3         A      Yes.
  4         Q      I believe you're the owner of that property
  5    as well, correct?
  6         A      Yes.
  7         Q      So is it the case that Pacifica Chemical
  8    continued as your tenant at the 935 East Artesia
  9    Boulevard property once the company transitioned to
10     that location?
11          A      Yes.
12          Q      And is it currently paying rent to you as a
13     tenant to that property?
14          A      Yes.
15                 MR. TRACY:      I'm going to object on
16     questions on East Artesia as to relevance.
17     Actually, Mark, do you have a line of relevance for
18     operations there?        As far as I know, there's no
19     evidence of TCE use.
20                 MR. ELLIOTT:       But the reality is, Kirk,
21     relevance isn't grounds to instruct your client not
22     to answer the question, and I have just a very few
23     modest number of questions about 935.
24                 So I am going to respect your objections
25     partially just to be efficient, not that I

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  1    necessarily agree with you, but certainly a business
  2    that manufactures the same chemicals it rolls from
  3    one property to another, I would say it's very
  4    relevant to ask questions about the activities
  5    there, but I don't think we really need to worry
  6    about it because I have so few questions.
  7                MR. TRACY:      Fair enough.             I'll just, for
  8    one, state an objection to all of the line of
  9    questions on the Artesia Boulevard property so I
10     don't interrupt you with each single one.
11                 MR. ELLIOTT:       Thank you.            I acknowledge
12     that objection.
13          Q      Sir, if I could have you refer back to
14     Exhibit 8 again, I'd like to have you scroll down to
15     the next page.       It will be page 5 of 6.               Tell me
16     when you see that document, sir.                    It's got a caption
17     at the top "State of California, Kevin Shelley,
18     Secretary of State."
19                 MS. OUSLEY:       State of California --
20                 THE WITNESS:       5 of 6.
21                 MS. OUSLEY:       Yes, we've located it.
22     BY MR. ELLIOTT:
23          Q      Sir, this is just a more recent form for
24     the corporate disclosure.             This was a document filed
25     September 1st, 2004.

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  1                Can you confirm that that's your signature
  2    in the bottom right corner?
  3         A      I don't see -- wait a minute.                 No, but
  4    you're talking about -- one second, okay.
  5                What happened?
  6                MS. OUSLEY:       You got out of the document.
  7                THE WITNESS:       Okay.
  8                MS. OUSLEY:       Hold on.         Hold on.     Slow down.
  9    So we have to go back -- sorry.                 We're having
10     technical difficulty.
11                 MR. ELLIOTT:       That's okay.
12                 MS. OUSLEY:       So we're back on 5 of 6 and it
13     says the Secretary of State of California filed
14     August 31st.
15                 MR. ELLIOTT:       Actually, it should say State
16     of California, Kevin Shelley.                In the upper
17     right-hand corner is the stamp 04- --
18                 MS. OUSLEY:       Okay.       We've got that.
19                 THE WITNESS:       We got it, okay.
20                 MR. ELLIOTT:       Okay.
21          Q      So, Mr. Shaikh, if you could just go to the
22     bottom right corner of this corporate disclosure
23     document and confirm that that's your signature next
24     to the date of July 22nd, 2004.
25          A      Yes, that is my signature.

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  1         Q      Okay.    Do you recognize this document?
  2         A      Yes.
  3         Q      And I note, sir, this is the corporation
  4    disclosure on behalf of Pacifica Chemical,
  5    Incorporated, and that appears to have been formally
  6    filed on September 1st, 2004.                There is a listing of
  7    the officers and directors, at least as of 2004 for
  8    Pacifica Chemical in the middle of the page.
  9                Do you see that?
10          A      Yes, I do.
11          Q      Okay.    And it identifies you as the --
12     within the box entitled "Officer," you are serving
13     the role of chief executive officer, secretary, and
14     chief financial officer, correct?
15          A      Yes.
16          Q      So is it correct to state, sir, from the
17     time of formation to the present, you have served as
18     the sole officer of Pacifica Corporation -- or
19     excuse me -- Pacifica Chemical Corporation?
20          A      Yes.
21          Q      You'll notice below, sir, it lists you as
22     the sole director of Pacifica Chemical, at least as
23     of 2004.
24                 Is it correct that from incorporation to
25     the present, you had served as the sole director of

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  1    Pacifica Chemical Corporation?
  2         A      Yes.
  3         Q      And Pacifica Chemical Corporation, you see
  4    at the very bottom there, it describes the type of
  5    business.
  6                As with Shah Chemical, it is in the
  7    business of manufacturing chemicals and dye stuff
  8    for the textile industry, correct?
  9         A      It is -- it is true.             However, Pacifica --
10     Shah Chemical and Pacifica Chemical are a little bit
11     completely different business.                 They do not -- at
12     Shah Chemical, we had PCE and other type of
13     solvents.      We do not handle any solvents here.             We
14     do not have any relevant type of that business.                    We
15     have -- the industry has evolved into a nontoxic
16     type business.
17          Q      Okay.    And I appreciate that, sir.            Believe
18     me, I'm not -- I will later ask a couple of
19     questions about your activities at 935 and I realize
20     the date of this document is 2004.
21                 In 2004, Pacifica Chemical was occupying
22     the 935 East Artesia building, correct?
23          A      Yes -- say it again now.
24          Q      As of 2004, Pacifica Chemical was operating
25     at 935 East Artesia, correct?

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  1         A      No.
  2         Q      No.     That's what it says on this form, sir.
  3         A      Okay.     Then it does, yeah, yeah.
  4         Q      And, sir, again, I realize --
  5         A      I mean I'm just not very good with the
  6    dates.
  7         Q      That's okay.       Just your best recollection
  8    is the most honest testimony, sir.
  9                I realize Pacifica Chemical today, sir, in
10     some respects is a different company.               I understand
11     from your discovery responses that TCE -- excuse
12     me -- perchloroethylene, PCE, was sold for a period
13     of time at the 132nd Street property.               So I'm not
14     going to ask you questions specifically about the
15     activities at 935.
16                 But let me just qualify one thing, sir.
17     Pacifica Chemical departed the 132nd Street property
18     in late 1999, early 2000, and transitioned to a new
19     location, correct?
20          A      Yes.
21          Q      Was there an intermediate location or
22     another location where the company operated before
23     it operated at 935 East Artesia?
24          A      Yes.
25          Q      And where was that property?

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  1         A      That was 2910 Ana Street.
  2         Q      For how long did the company operate at
  3    2910 Ana Street?
  4         A      I don't know exactly how many years, but it
  5    was probably two to three years.
  6         Q      And then after departing the 2910 Ana
  7    Street property, the Pacifica Chemical relocated to
  8    935 East Artesia, correct?
  9         A      Yes.
10          Q      And if my memory is correct, the 2910 Ana
11     Street property was in Dominguez Hills?
12          A      Rancho Dominguez.
13          Q      Rancho Dominguez, California, right?
14     Rancho Dominguez, California?
15          A      Yes.
16          Q      Okay.    Thank you.         And did you own the
17     property at the 2910 Ana Street, Rancho Dominguez,
18     California that Pacifica Chemical transitioned to?
19          A      Yes.
20          Q      And do you own that property today, sir?
21          A      No.
22          Q      So returning to -- and I apologize if I'm
23     duplicating my questions -- sir, again, Pacifica
24     Chemical from the time that it was incorporated to
25     the present, you had served as the sole officer or

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  1    sole director of the corporation during that entire
  2    time, right?
  3         A      Yes.
  4         Q      And you're also the shareholder of Pacifica
  5    Chemical, Incorporated?
  6         A      Yes.
  7         Q      Okay.     Would you like to grab a cup of
  8    coffee or take a break, sir?               We've been going for
  9    about an hour and a half.
10          A      Yes, I think that would be nice.
11                 MR. TRACY:      How long of a break first?
12                 MR. ELLIOTT:       We can give the reporter a
13     chance to wiggle her fingers, too.
14                 We'll just do ten minutes.              Is that enough,
15     Ms. Nickerson, for you to grab a cup of copy?
16                 THE REPORTER:        Yes.
17                             (Recess taken.)
18                 MR. ELLIOTT:       So back on the record.
19          Q      Sir, while operating at 132nd Street
20     property, Shah Chemical and Pacifica Chemical
21     manufactured pretty much the same products, right?
22          A      Okay.     Let me clarify.           You keep saying
23     manufacture.        We are not a manufacturer.           Dow
24     Chemical is a manufacturer.               Steffan is a
25     manufacturer or ICI is a manufacturer.                 We are a

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  1    wholesaler who buys the product and we distribute --
  2    we buy large quantity.           We distribute into smaller
  3    quantities and also we do some blending of the soaps
  4    and detergents so we're not a manufacturer.                We are
  5    blenders.
  6         Q      Okay.    So going forward, sir, thank you for
  7    that qualification, I realize that blending and
  8    mixing with respect to the proprietary chemicals and
  9    the chemicals requested by your customers, when
10     you're operating at 132nd Street property, is what
11     you did.     So I'll refer to it as blending and
12     mixing.
13                 Is that okay?
14          A      Thank you.       Thank you.
15          Q      Sure.    Okay.     While operating at the 132nd
16     Street property in Los Angeles, Shah Chemical and
17     Pacifica Chemical blended and mixed essentially the
18     same products, correct?
19          A      Except -- yes, similar product, except we
20     do not have any more perchloroethylene type product.
21          Q      That's why I qualified my question, sir.
22     So while operating at the 132nd Street property,
23     Shah Chemical and Pacifica Chemical blended and
24     mixed essentially the same products?
25          A      Shah Chemical did, but Pacifica Chemical

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  1    evolved after -- this was a very small period of
  2    time where it did on the PCE.                After that, it did
  3    not do.     So I don't recall that Pacifica Chemical
  4    had anything to do with PCE.
  5         Q      I was actually, sir, talking about blending
  6    and mixing.      I realize that the PCE was a product
  7    that the companies purchased, repackaged, and sold,
  8    correct?
  9         A      Yes, yes.
10          Q      So I'm not -- I'm not talking about --
11          A      Blending, yes, blending, yes, similar
12     product.
13          Q      So let me just have a clean record with a
14     question and answer.
15          A      Sure.
16          Q      It is correct, sir, that while operating at
17     132nd Street, Shah Chemical and Pacifica Chemical
18     blended and mixed essentially the same products,
19     correct?
20          A      Yes, with the exception of PCE.
21          Q      So it is also the case, sir, that neither
22     Shah Chemical nor Pacifica Chemical blended or mixed
23     PCE with the company's proprietary chemicals,
24     correct?
25          A      Yes, they did not.

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  1         Q      Rather the companies acquired PCE, stored
  2    in an underground storage tank, and then sold it to
  3    the company's customers in small quantities,
  4    correct?
  5         A      Yes.
  6         Q      I'll ask you about that in a few minutes.
  7         A      Sure.
  8         Q      It's also correct that putting aside PCE,
  9    Shah Chemical and Pacifica Chemical, while operating
10     at the 132nd Street property, also had other
11     products that it acquired from third-party suppliers
12     and which it resold to its own customers, correct?
13          A      Yes.
14          Q      Okay.    And you provide a list of some of
15     those products in your interrogatory responses.
16     We'll turn to those in a moment, sir.
17          A      Yes.
18          Q      Okay.    Now, you as the president of the
19     company, I'm assuming you pretty much worked daily
20     at the 132nd Street property from when the Shah
21     Chemical first occupied the property until when
22     Pacifica Chemical vacated the property in roughly
23     1999, correct?
24          A      Yes.
25          Q      So you were familiar during that 20-year

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  1    period with the products that were mixed and blended
  2    by the companies, correct?
  3         A      Yes.
  4         Q      And you're familiar with the products that
  5    were neither mixed nor blended, but instead were
  6    acquired for third parties, repackaged, and sold to
  7    your customers, correct?
  8         A      Yes.
  9         Q      And for a period of time, it's correct that
10     PCE was one of those products that at least Shah
11     Chemical acquired from a third party, repackaged,
12     and sold to your customers, correct?
13          A      Yes.
14          Q      But as you sit here today, sir, I'm
15     assuming you're not entirely certain when the
16     companies discontinued the resale of PCE, correct?
17          A      When Shah Chemical discontinued it, I do
18     not have a specific date, yes, I don't.
19          Q      Okay.    And as a result of your role as the
20     president of the company and your daily activities
21     at 132nd Street property, I'm assuming that you were
22     familiar with the methods of production, the mixing
23     and blending of chemicals at the property?
24          A      Yes.
25          Q      Okay.    And you were similarly familiar with

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  1    the method of the acquisition of third-party
  2    products, the repackaging, and resale of those
  3    products including PCE for a period of time?
  4         A      For a period of time, yes.
  5         Q      Okay.    But as to that method that the
  6    company followed for buying large quantities of
  7    third-party products, repackaging them into smaller
  8    containers, irrespective of what the product was,
  9    you yourself were personally familiar with how that
10     process worked, correct?
11          A      Yes.
12          Q      You were also familiar as a result of
13     having to drag yourself to the office every day with
14     the physical layout of the Shah and Pacifica
15     Chemical mixing and blending and storage and
16     distribution facility, correct?
17          A      Oversight, yes.
18          Q      So between 1980 and 1990, Shah and Pacifica
19     mixed and blended fabric dyes, light detergents, and
20     fabric softeners for the textile industry, correct?
21          A      Yes.
22          Q      Any other products that were mixed and
23     blended on-site?        Did you guys have any other
24     specialty chemicals that went to, you know, maybe
25     industries other than the textile industry?

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  1         A      Not that I recall.
  2         Q      And the only reason I ask, sir, is I
  3    realize that Pacifica Chemical in its current
  4    iteration has changed its business model a little
  5    bit, maybe grown and done some other chemicals.                       I
  6    think now you may actually -- the company may
  7    actually provide chemicals for the water control
  8    industry or something like that.                    Am I correct in
  9    that regard?
10          A      Yes.
11          Q      Were any of those line of chemicals mixed
12     or blended or somehow manufactured at the 132nd
13     Street property?
14          A      No.
15          Q      Now, taking a look at your company, sir, I
16     don't remember exactly where I saw it, but possibly
17     on Pacifica Chemical's website, I believe currently
18     Pacifica Chemical employs roughly 20 people at its
19     facility in Carson, California, correct?
20          A      Yes.
21          Q      Now, I've asked in discovery -- or my
22     clients asked in discovery to identify the employees
23     at the 132nd Street property, and you very kindly
24     responded to us and provided us the names that you
25     could recall.

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  1                But I'm interested in knowing, sir, roughly
  2    how many employees other than yourself as the
  3    president of the company, Shah Chemical, employed
  4    when it operated at 132nd Street property?
  5         A      Probably two or three.
  6         Q      And then during the period of time that
  7    Pacifica Chemical operated at the 132nd Street
  8    property, so from roughly 1981 or so through 1999,
  9    how many employees on average did the company employ
10     for that period of time?
11          A      I'm guessing it was around 10 -- 10 to 12.
12          Q      So when you use the word "guess," that
13     implies that you don't really know one way or the
14     other.
15                 So is that your best estimate that the
16     company --
17          A      My best estimate is ten.
18          Q      Ten, okay, thank you.              And that was roughly
19     the total number of employees from -- on an annual
20     basis from roughly 1981 through 1999?
21          A      Yes.
22          Q      Or did you grow in the number of employees
23     over time from when Pacifica Chemical first occupied
24     the property, began doing business there until the
25     time that it departed?

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  1         A      No.
  2         Q      So roughly ten employees is your best
  3    estimate?
  4         A      Yes.
  5         Q      How many of those employees, sir, were
  6    involved in the physical process of mixing and
  7    blending of these specialty products that the
  8    company sold to the textile industry?
  9         A      Two.
10          Q      Two, okay.      Who trained those employees and
11     the procedures by which they were to mix and blend
12     the chemicals?
13          A      I did that.
14          Q      And who was their supervisor during the
15     period of time that those two individuals undertook
16     those activities for Pacifica Chemical and Shah
17     Chemical?
18          A      We were not that big to have supervisors,
19     yeah, so --
20          Q      So you were the sole supervisor?
21          A      Yeah, the way it works is you showed them
22     how to do that, and I'm mostly in my office, and
23     they bring something to me, and I mark it down this
24     is how you do it step by step, and that's how it
25     say -- it's not a very tedious operation.                So

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  1    unfortunately we're not making a -- you know,
  2    technically very -- you know, it's a simpler
  3    operation.
  4         Q      You're not thinking of automating and using
  5    artificial intelligence for your business
  6    activities, sir?
  7         A      I wish -- I wish I even knew how to use the
  8    artificial intelligence.            I have to have somebody
  9    here who can show me how to do a Zoom call.
10          Q      Well, don't worry.            Ms. Amaru is smiling
11     because she has to do the same thing for me on a
12     regular basis.       So between her and Mr. Tracy,
13     they've got a few years on us and a better
14     understanding of information technology.
15          A      This is the first time I have used the Zoom
16     in my life.
17          Q      Unfortunately you end up using it a bit too
18     often.     My parents are a little bit older, so I
19     spend the time on the phone with their doctors.
20                 Sir, just to get the record -- our record
21     to be clean, so for the period of time that Shah
22     Chemical and Pacifica Chemical operated at 132nd
23     Street property, is it correct to say that you both
24     trained the production employees and ultimately had
25     to supervise the production employees in the mixing

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  1    and blending of chemical operations?
  2         A      I would say yes.
  3         Q      Okay.    Now, obviously that was not your
  4    sole business.       The company also had the business of
  5    acquiring third-party chemicals and then repackaging
  6    those in smaller quantities and reselling those
  7    products.
  8                Did you similarly train and oversee the
  9    employees that were involved in those activities?
10          A      Those were the same employees, yes.
11          Q      Same two employees?
12          A      Yes.
13          Q      So that was Mr. Montes and Tomas Macedonio?
14          A      Yes.
15          Q      And both of those individuals, sir, you're
16     not familiar with where they are currently?
17          A      Tomas is deceased 20 years ago, do not know
18     where Montes is or have heard anything at least more
19     than 20 years.
20          Q      So Mr. Montes and Mr. Macedonio, were they
21     employed at Pacifica Chemical during the entire time
22     that it operated at the 132nd Street property?
23          A      Yes.
24          Q      Okay.    And they were the sole individuals
25     in the mixing and blending activities?

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  1         A      Yes.
  2         Q      And they similarly were responsible for the
  3    intake and repackaging of third-party chemicals that
  4    the company distributed?
  5         A      Yes.
  6         Q      And were they also the two individuals who
  7    were involved in the intake and then repackaging of
  8    PCE stored in the above-ground storage tank?
  9         A      Yes.
10                 MR. TRACY:      Objection; assumes facts.
11     BY MR. ELLIOTT:
12          Q      Why don't I lay a foundation for that, sir.
13                 We've talked a little bit about the PCE
14     that the company acquired and resold for a period of
15     time at the 132nd Street property?
16          A      Correct.
17          Q      Now, it's my understanding from the
18     discovery responses that you've provided that PCE
19     was stored in an above-ground storage tank located
20     in the interior of the building, correct?
21          A      Yes.
22          Q      And that 2,000-gallon above-ground storage
23     tank was located adjacent to the mixing and blending
24     tanks that were utilized as part of your mixing and
25     blending operations for proprietary products?

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  1         A      Yes.
  2         Q      Okay.    And Mr. Macedonio and Mr. Montes
  3    were the individuals that then would have been
  4    responsible for the oversight of that above-ground
  5    storage tank, the intake of product, and the
  6    repackaging of it in smaller containers, correct?
  7         A      Yes.
  8         Q      And those individuals were also
  9    responsible, going back to the mixing and blending
10     activities, following mixing and blending, I'm
11     assuming that there was some cleanup that was
12     performed in the production area?
13          A      Yes.
14          Q      Okay.    And were Mr. Montes and
15     Mr. Macedonio, during their period of employment for
16     roughly 20 years, responsible for cleanup in the
17     area of the mixing and blending activities?
18          A      Yes.
19          Q      As their supervisor and president of the
20     company, I'm assuming you trained them in the
21     procedures by which they were to clean up in between
22     mixing different batches of products?
23          A      Yes.
24          Q      Okay.    So you supervised those activities
25     as well, correct?

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  1         A      I supervised them from my office, yes.
  2         Q      It's a better place to supervise.
  3                In your interrogatory responses, sir, you
  4    identified a few other employees that you could
  5    recall.     For example, I believe it's pronounced
  6    Mukesh Doshi was an employee and employed by
  7    Pacifica Chemical at the 132nd Street property?
  8         A      Yes.
  9         Q      For the record, Mukesh Doshi, M-u-k-e-s-h
10     first name, second name D-o-s-h-i.
11                 THE REPORTER:        I'm sorry.         The last name
12     again?
13                 MR. ELLIOTT:       D-o-s-h-i.
14                 THE WITNESS:       Yes.
15     BY MR. ELLIOTT:
16          Q      Okay.    Thank you.         Now, Mr. Doshi served as
17     the corporate controller for Pacifica Chemical?
18          A      Yes, it's a good title, bookkeeper.
19          Q      For what period of time -- because I
20     realize he's still employed, sir?
21          A      Yeah.
22          Q      When did -- when did Mr. Doshi first come
23     to serve as the corporate controller?
24          A      I don't have the date, but he's been here
25     for at least more than 20 some years.

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  1         Q      So when Mr. Kiernan hit the brakes as the
  2    recordkeeper, did Mr. Doshi step in and serve that
  3    role as --
  4         A      After -- I think after a few months, yeah.
  5         Q      So was Mr. Doshi employed at the 132nd
  6    Street property?
  7         A      I believe so, yes.
  8         Q      And was he an employee of Shah Chemical or
  9    did he arrive with Pacifica Chemical?               Sorry?
10          A      Pacifica Chemical.
11          Q      And do you have any recollection of when
12     you first began to serve as the controller for the
13     company at the 132nd Street property?
14          A      It was over 20 some years ago, so yeah.
15          Q      You don't recall specifically?
16          A      I don't know the specific dates, yeah, but
17     I can, you know, find out, but I don't have them.
18          Q      You don't need to run down the hallway and
19     ask him.
20          A      Yeah, yeah.
21          Q      Did Mr. Doshi have any responsibilities for
22     the production, the mixing and blending of the
23     company's products while it occupied the 132nd
24     Street property?
25          A      No.

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  1         Q      Did he have any responsibility for the
  2    intake and repackaging of third-party products that
  3    the company distributed while at 132nd Street?
  4         A      No.
  5         Q      Does Mr. Doshi have a chemical engineering
  6    degree like you, sir?
  7         A      No.
  8         Q      Does he have any familiarity other than
  9    serving as a controller --
10          A      No.
11          Q      -- with mixing and blending of chemicals
12     for the textile industry?
13          A      None at all.
14          Q      Did Mr. Doshi work at the company during
15     the period of time that it sold PCE from the
16     above-ground storage tank?
17          A      No.
18          Q      You also listed a couple of individuals
19     that also were more of office employees.               The first
20     was Helga, last name is M-a-r-k-g-r-a-f dash Fowler,
21     F-o-w-l-e-r.
22                 You stated that that individual,
23     Ms. Fowler, served in a secretarial capacity at
24     132nd Street property, but you don't understand or
25     have knowledge of her whereabouts currently,

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  1    correct?
  2         A      Absolutely right, yes.
  3         Q      But Ms. Fowler in her capacity as an office
  4    employee, is it correct that she had no involvement
  5    with the chemical production activities of the
  6    company, correct?
  7         A      Yes, she didn't.
  8         Q      Okay.    Do you have a recollection of the
  9    period of time that Ms. Fowler worked at the 132nd
10     Street property?
11          A      Do I have what?
12          Q      A recollection of the time period that
13     Ms. Fowler worked at the 132nd Street property?
14          A      It was few years.           I don't know how many
15     years so --
16          Q      Another employee you identify in discovery
17     responses, sir, was another office employee by the
18     name of Patricia, last name N-e-r-e-s-t-a-n-t,
19     Nerestant.
20                 Did I pronounce that right?
21          A      I think so, yeah.
22          Q      Do you recall when Ms. Nerestant worked at
23     the 132nd Street property?
24          A      She worked for quite a few years.             I do not
25     know exact dates, yeah.

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  1         Q      And you don't currently know her
  2    whereabouts either, correct?
  3         A      No, no, I don't.
  4         Q      Ms. Nerestant did not, to your
  5    recollection, have any involvement in the chemical
  6    production activities of the company, correct?
  7         A      None.
  8         Q      Okay.    The additional employee that you
  9    recalled was a gentleman by the name of Guadilio,
10     G-u-a-d-i-l-i-o.
11                 Did I pronounce that correctly?
12          A      That's -- that's the same employee you're
13     talking about, Guadilio Macedonio.
14          Q      Guadilio and Tomas Macedonio are the same
15     individual?
16          A      Yeah, exactly.
17          Q      Oh, okay.     Thank you very much.
18          A      Yeah, they're the same employee.
19          Q      Thank you for that correction.
20                 During the period of their occupation of
21     the 132nd Street property, did either Shah Chemical
22     or Pacifica Chemical have an officer who is
23     responsible for oversight of environmental
24     compliance under state and federal law?
25          A      No.

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  1         Q      Did you have a non-officerial environmental
  2    manager that was responsible for the company's
  3    compliance with state and federal environmental
  4    laws?
  5         A      No.    We hired outside consultants from time
  6    to time.     I don't have any recollection of the names
  7    or the companies, but we did hire as specifically to
  8    that need outside employees sometimes.
  9         Q      And do you recall when it was that you went
10     to your outside contractors to assist with
11     environmental compliance activities?
12          A      Only when we needed to file for some
13     permits or when we had some sort of question from
14     the county or something.
15          Q      So you're speaking specifically, sir, in
16     relation to the company obtaining an industrial
17     waste discharge permit from Los Angeles County
18     Department of Public Works and Sanitation, correct?
19          A      Right.
20          Q      So for purposes of complying with the
21     requirements to obtain that permit, for example, the
22     diagrams that the county would require with respect
23     to the plumbing features, you would go to an outside
24     contractor for those purposes?
25          A      Uh-huh.

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  1         Q      Is that a yes?
  2         A      Yes.
  3         Q      And, similarly, ultimately the company
  4    installed a clarifier as a pretreatment unit at the
  5    property.      I'm assuming you went to an outside
  6    contractor to --
  7         A      Yes.
  8         Q      -- design and install that clarifier,
  9    correct?
10          A      Yes.
11          Q      Now, my question is a little bit more
12     general.
13                 You know, as a business person, you realize
14     that you, as a company, in United States, California
15     have certain obligations to comply with OSHA
16     regulations, worker health and safety.               You have
17     certain obligations to comply with environmental
18     regulations under state and federal law for air
19     emissions, discharges of water, management of, for
20     example, solid waste and hazardous waste.
21                 I'm talking more generally about
22     environmental compliance as opposed to physically
23     applying for a permit or constructing a piece of
24     equipment.
25                 So with that in mind, sir, during the

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  1    period of time that Shah Chemical or Pacifica
  2    Chemical occupied 132nd Street property, did you
  3    have an officer that was responsible for overseeing
  4    environmental compliance as I described just a
  5    moment ago?
  6         A      It would be me.
  7         Q      Thank you.      I noticed -- I don't know that
  8    it's worth flipping to the document, but I noticed a
  9    gentleman that signed one document that was
10     submitted to the county.            His name was -- put his
11     initials on the page of T.S. Carran, C-a-r-r-a-n.
12                 Do you recognize that name, sir?
13          A      C-a-r-r-a-n, no, I don't.
14          Q      Since I've been asking you so many
15     questions about your employees, did we by chance
16     shake free any other employee names which you can
17     recall during the period that Shah and Pacifica
18     Chemical occupied the 132nd Street property?
19          A      No.
20          Q      Thank you.      Suffice to say, sir, Mr. Montes
21     and Mr. Macedonio for the period of time that Shah
22     and Pacifica Chemical occupied the 132nd Street
23     property, they were the employees responsible for
24     the mixing and blending of the company's products as
25     well as the management of third-party products that

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  1    were resold to the company's employees, correct?
  2           A    Yes.
  3           Q    And you were both their trainer and
  4    supervisor during that entire time frame, correct?
  5           A    Yes, from my office, yeah.
  6           Q    Sir, I'm going to have -- we're going to go
  7    back to an exhibit we previously marked.                So if I
  8    could have Ms. Ousley click on the marked exhibits
  9    tab.
10            A    There we go.
11                 MS. OUSLEY:       We're signed out.
12                 THE WITNESS:       Let me -- let me sign in.           It
13     takes a minute.
14                 MS. OUSLEY:       Takes a minute.       So you want
15     us to go back to the exhibit?
16     BY MR. ELLIOTT:
17            Q    What I'm going to do is I'm going to open
18     for viewing -- whoops, I don't want to introduce it.
19     I want to open it.
20                 Okay.    You should be able to see on your
21     screen Exhibit 3 which is Mr. Shaikh's supplemental
22     responses to interrogatories.
23                 MS. OUSLEY:       Nothing is open.
24                 THE WITNESS:       Okay.       Exhibit 3.
25     BY MR. ELLIOTT:

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  1         Q      You can actually just double click on it,
  2    and it will just open up again.                 It's already been
  3    produced.
  4                MS. OUSLEY:       It's opening.
  5                THE WITNESS:       It's coming up.
  6                MS. OUSLEY:       Okay.
  7                THE WITNESS:       Okay.       It's here.
  8    BY MR. ELLIOTT:
  9         Q      Okay.    Now, this is a little bit easier
10     because the documents are numbered.                 I would
11     appreciate it if you could turn to -- it's going to
12     be PDF page 2 and page 2 of the document.
13          A      Page 2, okay.        Yes, I have that.
14          Q      So, sir, why don't you take a moment.                We
15     had asked you in discovery -- my client had asked to
16     identify the -- you know, to the best of your
17     recollection, the various chemicals in this
18     interrogatory request that were stored at the
19     property from 1978 -- actually really should
20     probably be 1979 until the sale of the property, but
21     I guess it's really when Pacifica Chemical vacated.
22                 So you listed here a series of chemicals
23     that you could recall.           Do me a favor.         Please
24     review that list to yourself.                You don't have to
25     read it out loud.

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  1         A      Yeah.
  2         Q      And inform me if there's any additional
  3    chemicals that were stored at the site that you can
  4    now recall.
  5         A      No, that's it.
  6         Q      Okay.    So that's for -- to the best of your
  7    recollection, that's the most complete list of
  8    chemicals stored at the site; is that correct?
  9         A      To the best of my knowledge, yes.
10          Q      Now, I note, sir, beginning at line 22 of
11     that response, it states, "The softeners and
12     detergents mixed at the property and stored pending
13     sale included PAC SEQUEST NTANA3," and it goes on to
14     list additional products with a PAC numerator on it?
15          A      Right, right.
16          Q      Okay.    Are those -- is the PAC referring to
17     Pacifica?
18          A      Right.
19          Q      So are these examples of the proprietary
20     products that the company blended and mixed and sold
21     out of the 132nd Street property?
22          A      Yes.
23          Q      Were these products, sir, patented or
24     otherwise subject to intellectual property
25     protections?

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  1         A      No.
  2         Q      Were they -- I used the word "proprietary
  3    chemicals" because I see the PAC name.
  4         A      Yeah, I hear you, yeah.
  5         Q      Were they -- was the formula developed by
  6    you for Pacifica Chemical?
  7         A      Yes.
  8         Q      But they were not patented for anyone?
  9         A      No.
10          Q      And all of these chemicals, either the
11     proprietary ones or the other items listed on the
12     page, they were all ones that were -- with the
13     exception of PCE because I realize that was more
14     limited time, all the rest of these were stored and
15     utilized at the facility essentially during the
16     entire occupation of the property by Pacifica
17     Chemical?
18          A      Yes.
19          Q      So, sir, you very kindly in your
20     interrogatory responses essentially described the
21     layout of the property, but I was able to cobble
22     together a couple of exhibits that I'd like to show
23     you that depict the interior of the property at
24     different points in time.
25          A      Okay.

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  1           Q      Let me introduce another exhibit.
  2           A      I should get out of this one.
  3                  MR. ELLIOTT:     Yeah, I'll introduce another
  4    one.       So this is going to be the next in order.
  5                  MS. OUSLEY:     You have to be careful not to
  6    log us out.
  7                  (The document referred to was marked by the
  8    Reporter as Plaintiffs' Exhibit 9 for identification
  9    and is attached hereto.)
10     BY MR. ELLIOTT:
11            Q      This is going to be probably the largest
12     exhibit.       There's some larger ones but we won't go
13     through them.
14            A      We have to get out of this one first.
15                   MS. OUSLEY:     Trying to get out.       If we go
16     to the top -- there we go.
17                   THE WITNESS:     There it goes, okay.
18                   Which one?
19     BY MR. ELLIOTT:
20            Q      Okay.   So what I've introduced, sir, is
21     next in order Exhibit 9.            I assembled a variety of
22     documents all taken from the files of the County
23     Sanitation Districts or the L.A. County -- it's now
24     known as the Department of Public Works.
25                   I put them together for simplicity for this

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  1    depo.    What I'd like you to do is scroll down to --
  2                MS. OUSLEY:       It's still loading.
  3                MR. ELLIOTT:       Oh, okay.
  4                THE WITNESS:       Just once again, please.
  5                MR. ELLIOTT:       No problem.
  6                MR. TRACY:      Mark, I see these don't have
  7    any Bates number.        Are any of these documents that
  8    were not produced?
  9                MR. ELLIOTT:       This is -- actually these
10     are -- that's strange.           They don't have Bates
11     numbers.     These were all the county records that I
12     actually thought came from you guys.                It may be that
13     these were separately provided to us.
14                 MR. TRACY:      I mean they look very familiar.
15     I guess just my request to you and Stephanie would
16     be is if there's anything in here that hasn't been
17     produced, if you could go ahead afterwards and put a
18     Bates stamp on it and produce it, but I suspect your
19     suspicion is right, that they come from us.
20                 MR. ELLIOTT:       Yeah, or the reality is that
21     maybe we had them from -- we went and got them from
22     the county after you guys produced them.
23                 You know, we did a PRA request, and I just
24     went to the file that unfortunately didn't have a
25     Bates number on them.

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  1                No problem, Kirk, we can do an own up.               As
  2    we all go scavenging for information, we should
  3    probably pick a date and just update all of our
  4    production responses.          Then we can give each other
  5    duplicates of all the documents.
  6                MR. TRACY:      Sounds good.
  7    BY MR. ELLIOTT:
  8         Q      Mr. Shaikh, just let me know when the
  9    document is loaded.
10          A      It's loaded.
11          Q      If you could scroll down to PDF page 10.
12          A      Okay.    Let me see.
13                 MS. OUSLEY:       You have to slow and stop to
14     see for the page number to come up.
15     BY MR. ELLIOTT:
16          Q      It's actually going to be easy to identify.
17     It's a hand-drawn map of the 132nd Street property.
18                 MS. OUSLEY:       Okay.       It's --
19                 THE WITNESS:       Let's just go to that.
20                 Yeah, we got it, okay.
21     BY MR. ELLIOTT:
22          Q      So, sir, I'll represent to you this is a
23     document that's in the files of the Los Angeles
24     County Sanitation and Department of Public Works
25     files.     This is a map that purportedly was drawn by

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  1    Robert Hartley when he visited the site with you on
  2    June 16, 1981.
  3                I'll ask you about that visit later, but
  4    what I'm more interested in is using it as a map to
  5    see if I can get you to confirm that this was an
  6    accurate layout, though quite spare, of the facility
  7    at 132nd Street circa 1981 when Pacifica Chemical
  8    was operating there.
  9                If you could take a moment to look at it
10     and confirm for me whether this does generally
11     comport with your recollection of the layout of the
12     plant during that time frame.
13          A      Kind of, yeah.
14          Q      Okay.    Now, I understand, sir, from the
15     information that you provided to us that Pacifica
16     Chemical -- or excuse me -- that you as the property
17     owner entered into a lease with Flying Tigers for
18     the storage of aircraft parts at the 132nd Street
19     property, correct?
20          A      Correct.
21          Q      So did they, in fact, during the period of
22     that lease from 1981 through 1986, did Flying Tigers
23     store aircraft parts at the property?
24          A      Yes.
25          Q      Okay.    And the lease indicated that the

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  1    company would erect like a chain link fence inside
  2    the warehouse storage area --
  3         A      Yes.
  4         Q      -- and Flying Tigers would occupy roughly
  5    20,000 plus square foot of the warehouse area,
  6    correct?
  7         A      Right.
  8         Q      Okay.    Now, this map is -- you'll notice
  9    it's upside down.        North is pointing down instead of
10     up, the orientation.
11          A      Yeah, right now, right, yeah.
12          Q      We've got the office and lab that are
13     located down in the -- what would be the northwest
14     corner of the property -- I'm sorry, I've got to
15     flip it over -- it's going to be the northeast
16     corner of the property, correct?
17          A      Right.
18          Q      And then you had -- it appears to say -- is
19     that a --
20          A      No, office would be northwest -- northwest
21     of the property, yeah.
22          Q      Okay.    Thank you.         So office is to the
23     northwest.
24                 Then you had -- is that a truck deck
25     located in the northeast corner of the property?

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  1           A    No.
  2                MS. OUSLEY:       Truck dock.
  3                THE WITNESS:       Truck dock is not on this
  4    site, no.
  5    BY MR. ELLIOTT:
  6           Q    I think the truck dock was on the other
  7    side of the property, correct?
  8           A    Right, exactly.         It's on the -- it's on the
  9    southwest side of the property.
10            Q    Okay.    Thank you.         There's an RR identified
11     on this map.
12                 Do you know what that is?
13            A    Restroom.
14            Q    Thank you.      And then there's a lab.          Is
15     that short for laboratory?
16            A    Yes.
17            Q    What was the laboratory at the Pacifica
18     Chemical facility circa 1981?
19            A    Just basically to keep the samples, the
20     retaining samples and, you know, play around in the
21     lab.
22            Q    So when you say "samples," are you talking
23     about the samples of the various proprietary
24     chemicals -- excuse me -- proprietary products the
25     company manufactured?

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  1           A    Right.    We came so close.
  2           Q    And when you say "play around," would that
  3    have been you --
  4           A    Just talking, okay.            So, you know, playing
  5    around, that's me, okay.
  6           Q    Well, but I -- I'm assuming that that was
  7    your home away from home when you were developing
  8    those proprietary products, is that not correct,
  9    sir?
10            A    Yes, yes, it was.
11            Q    So that's where the magic got done, right?
12            A    Well, don't know if it's magic or what, but
13     that got some things done.
14            Q    So when we then look into the large storage
15     area of the warehouse, I'm assuming that the chain
16     link fence was erected running north to south
17     through essentially the middle of the property --
18            A    Yes, something very close to like where R
19     and R is all the way down to the other side, yes.
20            Q    So that side of the property where it says
21     "storage" was essentially dry storage of aircraft
22     parts for Flying Tigers?
23            A    I'm assuming that there was the parts and
24     their equipment, whatever they were, but they were
25     stored, yes.

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  1         Q      But that lease provides it was just storage
  2    activities that were going on there, correct?
  3         A      That's what it provides, yes.
  4         Q      The lease stated that it ran in mid-1986.
  5                Did Flying Tigers vacate that side of the
  6    property in circa 1986?
  7         A      Yes, I believe so.            Again, I don't have
  8    exact dates, but I'm assuming, yes.
  9         Q      And between the time that Flying Tigers
10     vacated the property for its storage activities and
11     the vacation of the property by Pacifica Chemical,
12     did you have any other tenants at the property?
13          A      No.
14          Q      Did you take down the chain link fence?
15          A      Yes.
16          Q      Returning to the illustration, sir, there's
17     over on the right corner the gentleman from the
18     county illustrated I think what I generally describe
19     as the production area.
20                 So in the upper right-hand corner of the
21     exhibit, which is going to be the southwest corner
22     of the property, there's a 400-gallon storage tank
23     identified there, correct?
24          A      Right.
25          Q      Okay.    Okay.     And do you recall what that

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  1    storage tank was for?
  2         A      No, I don't.       There were only two tanks and
  3    this shows like four or five tanks.                 There were only
  4    two tanks.      One was a 400-gallon tank and the other
  5    one was 1500- to 2,000-gallon tank.
  6         Q      Okay.    So the illustration shows a
  7    2,000-gallon tank, correct?
  8         A      It shows -- that 2,000-gallon tank should
  9    be where it says 1500 gallons and where it says two
10     75 gallon, it's like 400 gallon, and those were the
11     only two tanks.
12          Q      So let's -- let's make sure the record is
13     correct.
14                 There are -- on this illustration in 1981,
15     there are described as storage tanks, three storage
16     tanks, and that's in the southwest corner and then
17     they describe two mixing tanks located sort of in
18     the center west portion of the property?
19          A      Right, mixing tanks were the ones that --
20     which were used and the other tanks were just maybe
21     stationary.
22          Q      Okay.    For storage purposes?
23          A      Yeah, could be.
24          Q      But -- and I realize you said there should
25     only be two storage tanks around 1981 rather than

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  1     three, sir --
  2          A     Yeah.
  3          Q     -- but are they properly located on the map
  4     to the best of your recollection?
  5          A     No, I think they were closer to these two
  6     tanks so --
  7          Q     It's closer to the mixing tanks?
  8          A     Right.
  9          Q     So to more accurately depict the 400-gallon
 10     storage tank and the 2,000-gallon storage tank, we
 11     should move those a little bit to the north, right?
 12          A     Right.
 13          Q     Okay.     Now, what's identified is the
 14     2,000-gallon tank.        That was for the storage of PCE,
 15     correct?
 16          A     Right.
 17          Q     But you don't remember what the 400-gallon
 18     storage tank was for?
 19          A     No.
 20                MR. TRACY:       Can I interject just an
 21     objection?       I'm not sure we're clear as to time.             I
 22     probably should have objected sooner to clear it up,
 23     but I guess moving from here forward, clarify the
 24     time frame, please.
 25                MR. ELLIOTT:        Yes.       This drawing was

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  1     generated during an inspection by Mr. Hartley in
  2     approximately June of 1981.
  3                MR. TRACY:       Are you asking just about '81
  4     or are you asking about all times moving forward?
  5                MR. ELLIOT:        We have additional maps going
  6     forward that I'll show in a moment.                 So I'm asking
  7     as of 1981, was this an appropriate location or was
  8     this the rough location of where the 2,000-gallon
  9     above-ground storage tank for PCE was located.                 I'm
 10     asking for your response.
 11                MR. TRACY:       Thanks for the clarification.
 12     I appreciate that.        I'm not sure if there was a
 13     question there, if Mr. Shaikh heard it.
 14                MR. ELLIOTT:        I'll rephrase the question.
 15          Q     So, sir, as of approximately June 1981, the
 16     2,000-gallon storage tank for PCE should actually be
 17     moved a little bit to the north closer to the mixing
 18     tanks, correct?
 19          A     Yes.
 20          Q     And the 400-gallon storage tank that you
 21     don't recall what its use was for, that should also
 22     be moved a little bit to the north closer to the
 23     mixing tanks, correct?
 24          A     Yes.
 25          Q     And the additional 1,000-gallon storage

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  1     tank, you're uncertain, as you sit here today, as to
  2     whether or not that actually was at the facility in
  3     1981, correct?
  4          A     Yes, I don't recall that.
  5          Q     Okay.     Now, turning to the mixing tanks,
  6     there's two identified.            There's a 1500-gallon
  7     mixing tank and either a 250 or 350 -- I can't quite
  8     read it -- gallon mixing tank there.
  9                Are those two tanks that you recall, sir,
 10     that were used for mixing and blending of the
 11     company's proprietary products?
 12          A     Yes, they were.
 13          Q     And are they generally properly located?
 14          A     Yes.
 15          Q     I notice that a steam boiler that's
 16     identified as not being used is located immediately
 17     north of those mixing and blending tanks.
 18                Was that in place in approximately June of
 19     1981?
 20          A     Yes.
 21          Q     But that was not actually used by the
 22     company?
 23          A     No.
 24          Q     Was the mixing and blending process, did
 25     you have the need to heat any of the chemicals or

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  1     other additives that went into the products?
  2          A     No.
  3          Q     So they were mixed at room temperature?
  4          A     Yes.
  5          Q     Okay.     And then I notice that immediately
  6     north of the steam boiler, there's a -- what's
  7     described as a boiler blow down tank and a pump pit.
  8                Do you see those?
  9          A     Yeah, it's part of the boiler I believe,
 10     yeah.
 11          Q     And do you have any recollection of the
 12     blow down tank and pump pit?
 13          A     No, how many -- I'm sure they're there,
 14     yes, they're part of the boiler.
 15          Q     Okay.     And I notice that there is --
 16     there's the squiggly line which I believe was a hose
 17     that ran from the mix tanks to what's identified as
 18     FS which is the floor sink; is that correct?
 19          A     Yes.
 20          Q     So that was -- that was the hose that the
 21     production employees utilized for draining the tanks
 22     following mixing and blending and cleaning?
 23          A     I am not sure on that.               The way maybe you
 24     have it on a future drawing, but it has a -- it has
 25     a -- the whole parameter has a drain -- drain which

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  1     was directly when you clean up and all that, and it
  2     goes into a clarifier from there, and from the
  3     clarifier, it gets cleaned up and it goes into the
  4     city sewer.
  5          Q      Okay.
  6          A      I -- I don't see that on your drawing.
  7          Q      Yeah.    And, sir, that's -- we'll go through
  8     those documents in a moment.
  9          A      Yes.
 10          Q      This was a drawing that was done at a time
 11     at least based on records prior to the installation
 12     of the clarifier and the concrete trenches through
 13     the property.       So I'm taking you back to the early
 14     days before the clarifier.              Okay?
 15          A      Take me back to my childhood.
 16          Q      A few more years to do that.
 17          A      Yeah, okay.
 18          Q      So let's go pre-clarifier and concrete
 19     trenches.
 20                 And so do you have a recollection, sir, of
 21     the use before the clarifier system was installed of
 22     a hose to drain the tanks and rinsate to the floor
 23     sink?
 24          A      I was not -- I don't think so.            I don't
 25     know, no.

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  1           Q     And then there's another line, sir, drawn
  2     between the floor sink and what's identified as the
  3     pump pit near the steam boiler.
  4                 Do you know what that line represents?
  5           A     No, I don't.       I mean it's just an equipment
  6     line or something.        I -- maybe somebody put a pipe
  7     there.    It's like leaving a hole in your garage.
  8           Q     So what I'll do is I have two more maps to
  9     show you.     Let's look at the next one.
 10           A     Okay.    So how do I go to the next one?            Do
 11     I scroll up?
 12                 MS. OUSLEY:       No, no, we're done with this.
 13                 THE WITNESS:       We're done with that?
 14                 MS. OUSLEY:       He's going to want to go back
 15     out and then you're going to reload here and then he
 16     will put another one up.
 17                 THE WITNESS:       Thank God she's here to show
 18     me.
 19                 MR. ELLIOTT:       You're going to need to use
 20     your two fingers to blow this one up a little bit or
 21     maybe reduce its size.
 22                 THE WITNESS:       Okay.
 23                 MS. OUSLEY:       You're going to put up
 24     Exhibit 10?
 25                 MR. ELLIOTT:       Uh-huh.

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  1                   MS. OUSLEY:     Okay.       It hasn't shown up --
  2     there it is.
  3                   MR. ELLIOTT:     I'm actually shrinking its
  4     size down to make it a little bit more useful here
  5     now.       Now I will view the exhibit.
  6                   THE WITNESS:     Okay.       I got it.
  7                   (The document referred to was marked by the
  8     Reporter as Plaintiffs' Exhibit 10 for
  9     identification and is attached hereto.)
 10                   MR. ELLIOTT:     And, Mr. Tracy, we'll make a
 11     record on this exhibit, this came from the
 12     Department of Public Works files.                   We'll zoom in on
 13     the dates so that we can confirm the date for your
 14     purposes.       Okay?
 15                   MR. TRACY:     Sounds good.
 16     BY MR. ELLIOTT:
 17            Q      So, Mr. Shaikh, we've introduced what we've
 18     described as Exhibit 10, a one-page document.
 19            A      Right.
 20            Q      It's a drawing of the 132nd Street
 21     property.       This is done by a plumbing service for
 22     the company as part of its submittal for an
 23     industrial waste discharge permit.
 24                   Do you recognize this document, sir?
 25            A      Yes, I do.

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  1          Q     Okay.     Let me zoom in so I can get the date
  2     and I can show you where it is.
  3                So in the lower right corner, sir, there is
  4     a stamp date you'll see --
  5          A     June 26th.
  6          Q     Yep, yep.      June 26th, 1985.
  7          A     June 26th, 1985, okay.
  8          Q     Okay.     So if I could then have you go back
  9     over to the area showing the storage tanks.
 10          A     Okay.
 11          Q     Okay.     So we've got -- in the southwest
 12     corner, we have what are described in the map when
 13     this was drawn by your outside -- company's outside
 14     contractor, it says polypropylene above-ground
 15     storage tanks.       Then sort of in the middle west of
 16     property, it says polypropylene above-ground tanks,
 17     mixing tanks for production manufacturing.
 18                Do you see that?
 19          A     Yes.
 20          Q     Okay.     So, sir, again putting this in 1986,
 21     it identifies per the above-ground storage tanks,
 22     the first is described as a 2,000-gallon acetic acid
 23     storage tank.
 24                Do you see that?
 25          A     Yes.

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  1          Q     Is that generally accurately depicted on
  2     the maps --
  3          A     Yes.
  4          Q     -- where it was located in 1986?
  5          A     Yes.
  6          Q     Okay.     Then we have a 2,000-gallon
  7     perchloroethylene -- unfortunately it's
  8     misspelled -- tank that's located there.
  9                Do you see that?
 10          A     Yes.
 11          Q     And does that refresh your recollection as
 12     to the location of the 2,000-gallon
 13     perchloroethylene tank in 1986?
 14          A     Yes.
 15          Q     And then below that is -- it just says
 16     700-gallon storage.
 17                Was there a 700-gallon storage tank located
 18     there?
 19          A     I don't remember, but I'm assuming it's
 20     right.
 21          Q     But you don't recall what it was for?
 22          A     No, but I'm assuming it was there.
 23          Q     Okay.     Now, next, sir, if you move a little
 24     bit north, you see the mixing tanks.                So we've gone
 25     from two tanks to three tanks as of 1986?

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  1          A     Okay.
  2          Q     So the first is 350-gallon mixing and
  3     blending tank; is that correct?
  4          A     Yes.
  5          Q     And that's properly identified on the map?
  6          A     Right.
  7          Q     And then the next is the thousand-gallon
  8     blending tank?
  9          A     I think so, yes.
 10          Q     It may actually say 1400 gallons, I
 11     apologize, not 1,000.
 12                Okay.     And then --
 13          A     I don't recall exact size, but, you know,
 14     I'm just -- I'm assuming they are right.
 15          Q     And then there was a 300-gallon tank that
 16     is located immediately north of the largest tank,
 17     correct?
 18          A     Right.
 19          Q     Okay.     So this is the time frame, sir,
 20     where you recall that these tanks were then plumbed,
 21     you can see the illustration of the plumbing beneath
 22     them, that then flowed to what they describe as the
 23     new collection box.
 24                Do you see that?
 25          A     Right.

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  1          Q     So is that accurately depicting how the
  2     tanks were then drained following use and rinse to
  3     the new collection box?
  4          A     Yes, yes, I would say yes.
  5          Q     And then you'll note that there is -- the
  6     drawing shows what they describe as a new three-inch
  7     waste line that runs due north to what's described
  8     as a new clarifier fixed 1500 gallons.
  9                Do you see that?
 10          A     Yes.
 11          Q     Does this map therefore, to the best of
 12     your recollection, accurately depict the waste line
 13     running to the new clarifier, at least as it was
 14     planned during the time of this plan submittal?
 15          A     Yes.
 16          Q     And you'll see that there's a legal
 17     sampling point that's identified immediately to the
 18     north of the clarifier.
 19                Does that refresh your recollection as to
 20     the location of the sampling point for the
 21     clarifier?
 22          A     Say it again now.            Repeat your last
 23     question, please.
 24          Q     Sure.     Do you see where the clarifier is
 25     identified on the map?

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  1          A     Right.
  2          Q     And immediately north of that is a little
  3     arrow pointing to a little box, and it says legal
  4     sampling point.
  5                Do you see that?
  6          A     Okay.     Yeah.
  7          Q     Okay.     So does that map -- is this
  8     accurately depicting to the best of your
  9     recollection the sampling points --
 10          A     Right.
 11          Q     -- of the water coming from the clarifier?
 12          A     Yes.
 13          Q     And then that water would then be
 14     discharged via the sewer line to the county sewer
 15     system, correct?
 16          A     Right, but it has to go through the
 17     clarifier first --
 18          Q     Correct.
 19          A     -- yeah.
 20          Q     Did you yourself ever draw any samples of
 21     the water as it exited the clarifier on the way to
 22     the sewer line, sir?
 23          A     No.
 24          Q     So in reviewing this map, sir, admittedly
 25     it's circa 1986, this is generally an accurate

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  1     depiction to the best of your recollection of the
  2     above-ground storage tanks and mixing tanks at the
  3     132nd Street property, correct?
  4          A     Yes.
  5          Q     So I see the 2,000-gallon perchloroethylene
  6     tank located on the property in 1986.
  7                Do you recall, sir, after 1986 when the use
  8     of that tank was discontinued?
  9          A     I don't think it was any longer time after
 10     that.    I think it was very -- probably 1986 might
 11     have been the last year or something.               I do not --
 12          Q     I didn't mean to interrupt you.             Did you
 13     finish your statement, sir?
 14          A     Yeah, I don't recall it would be any longer
 15     than that, but I don't have any specific dates.
 16          Q     Okay.     Once the company discontinued the
 17     sale of perchloroethylene, what happened to the
 18     above-ground storage tank?
 19          A     We got it out, to my knowledge.
 20          Q     Was the above-ground storage tank itself,
 21     was that owned by the company?
 22          A     Yes.
 23          Q     Okay.     When you say you got it out, you
 24     just mean it was removed and taken out of the --
 25          A     Sold it.      Yeah, sold it, junked it.

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  1          Q     So it didn't remain at the property and was
  2     relocated outside?
  3          A     Right.
  4          Q     Do you know if a hazardous waste manifest
  5     was prepared for its disposal?
  6          A     No, I have no idea.
  7          Q     Well, as you sit here today, sir, do you
  8     have any understanding of what happened to that tank
  9     after PCE sales were discontinued?
 10          A     No, I don't.
 11          Q     So are you speculating as to whether or not
 12     it was removed from the interior --
 13          A     No, it was removed.             That's all I know, but
 14     I don't know what happened to the tank after that.
 15     It was sold.
 16          Q     So you don't know when exactly it was
 17     removed and to whom or where it was disposed of?
 18          A     Exactly.
 19                MR. ELLIOTT:        This map doesn't show the
 20     concrete drains.       Let me go to the only map that
 21     we've been able to see, sir, that identifies the
 22     concrete drains that we mentioned in passing.                Let
 23     me introduce a new exhibit.
 24                That's strange -- I'm sorry.             It's taking
 25     time to load.

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  1                    MS. OUSLEY:    Ours is loaded.
  2                    THE WITNESS:    Ours is loaded.
  3                    MR. ELLIOTT:    Not for me.          This is Exhibit
  4     11.        It is a document that I extracted from a report
  5     prepared by Murex Environmental, Incorporated.
  6                    (The document referred to was marked by the
  7     Reporter as Plaintiffs' Exhibit 11 for
  8     identification and is attached hereto.)
  9     BY MR. ELLIOTT:
 10            Q       Are you familiar with the company Murex,
 11     Mr. Shaikh?
 12            A       Yes, I am.
 13            Q       So they're the entity that is supporting
 14     Pacifica Chemical, Incorporated, in its
 15     investigation of the 132nd Street property, correct?
 16            A       Yes.
 17            Q       Okay.   So what I did is -- because it's a
 18     little bit of a mystery as to the location of the
 19     concrete sort of drain system that ran through the
 20     production area, I went looking for a document that
 21     attempted to depict it, and this document was
 22     extracted from -- I've forgotten which report it
 23     was.        I'll provide that information -- actually I
 24     included a copy of the complete report because I
 25     knew Mr. Tracy would want to see it.

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  1                This was the best estimate of the
  2     approximate location of the cemented trench drains.
  3     So you can ignore for the moment, sir, you know, the
  4     blue and green data that's been plotted on the map.
  5     We're not interested in that?
  6                You'll see that there's a dotted line near
  7     the building identified as the approximate location
  8     of the cemented trench drains.                 I believe this is
  9     somewhat drawn from the filled-in cement drains that
 10     are visible in the interior of the property as of --
 11     this was prepared in 2015.
 12                So, sir, the orientation is flipped.               Now
 13     north is to the north.           So we properly have the
 14     office in the upper --
 15          A     Yeah, we do.
 16          Q     Can you take a look at the dotted lines on
 17     the interior of the -- in the interior of the
 18     warehouse building and let us know whether those
 19     dotted lines or dash lines, to the best of your
 20     recollection, reflected the locations of the
 21     concrete trench drains throughout the production
 22     area?
 23          A     Yes.
 24                MR. TRACY:       I just want to interject real
 25     quick.    If I zoom it on the date, it claims that the

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  1     date was April 4, 2016.
  2                MR. ELLIOTT:        I'm sorry.
  3                MR. TRACY:       I just want to clarify that for
  4     the record so we know what we're looking at.
  5                MR. ELLIOTT:        I apologize.         I said 2015.
  6     Thank you.
  7                THE WITNESS:        Yeah, they seem okay.         They
  8     seem like this is how it was.
  9     BY MR. ELLIOTT:
 10          Q     And so the trench drains, sir, do you
 11     recall when those were installed in the floor of the
 12     warehouse building?
 13          A     Say again now.
 14          Q     The trench drains that are depicted, do you
 15     recall when those were installed in the concrete
 16     floor of the warehouse building?
 17          A     No, I don't have the date.
 18          Q     Were they in the floor of the warehouse
 19     building when you acquired the property in 1979?
 20          A     No.
 21          Q     Were they added at a later point in time by
 22     Pacifica Chemical?
 23          A     Yes.
 24          Q     Did Pacifica Chemical's employees install
 25     the drains or did you have an outside contractor

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  1     come in and do it?
  2          A      Outside contractor.
  3          Q      Okay.     Do you recall how the drains were
  4     actually installed?         Was it simply a cut and chip
  5     out the concrete?
  6          A      To my -- best of my recollection, cut out
  7     and installed by putting the rebar and the cement
  8     and having a proper drainage angle.
  9          Q      So they used gravity for purposes of
 10     draining to --
 11          A      Yes.
 12          Q      And they draw all of those trenches drained
 13     to the clarifier?
 14          A      Yes.
 15          Q      So is it your understanding, sir, that they
 16     were installed at roughly the same time that the
 17     clarifier was installed?
 18          A      Yes, or it could be installed before, but,
 19     yes, it was.
 20          Q      Is there any lining in the concrete
 21     trenches?
 22          A      Lining?
 23          Q      Yeah, like metal, plastic.              I don't know.
 24          A      I don't have any idea.
 25          Q      So it's to the best of your recollection

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  1     they were simply concrete that would have been cut
  2     out and further supported and an inclination was put
  3     in so that they would properly drain?
  4          A     Yes.
  5                MR. TRACY:       Asked and answered.
  6     BY MR. ELLIOTT:
  7          Q     What was the purpose of the drainage
  8     system, sir?
  9          A     It's required by the county and I think
 10     now, but at that time, it was just if there is an --
 11     it's basically a spill control.
 12          Q     Okay.     And your -- in your interrogatory
 13     responses, you indicated that in the production
 14     area, which is -- you can see where there's a little
 15     red rectangle that says "Location of historic" --
 16     "historical mixing tanks."
 17          A     Right.
 18          Q     Your discovery responses indicate that
 19     those tanks were rinsed down and the water flowed to
 20     the clarification.
 21                Was it also the case, sir, that there would
 22     be general cleanup where the floor of the production
 23     area would be rinsed down such that water would flow
 24     into the concrete trenches and then to the
 25     clarifier?

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  1          A     Normally, we didn't have that, but it could
  2     be used for that.
  3          Q     Do you recall specifically, as you sit here
  4     today -- and before you laugh at me, I'll throw in
  5     the time frame -- Pacifica spills of any products in
  6     the production area or elsewhere in the warehouse
  7     facility that necessitated rinsing chemicals down to
  8     the clarifier?
  9          A     No.
 10          Q     Do you have any specific recollection of
 11     any spills of PCE from the above-ground storage tank
 12     or the drums to which the PCE was transferred that
 13     necessitated rinse down to the concrete storage
 14     drains?
 15          A     No, this refers to my --
 16          Q     Sorry.
 17                MR. TRACY:       Sorry, Maq.             I think you
 18     answered the question.           If you have more -- I don't
 19     mean to cut you off, but can we do a time check,
 20     Mark?
 21                MR. ELLIOTT:        Sure.       Let me just ask one
 22     last question.       I didn't mean to remove that
 23     exhibit.     I took it off my screen.
 24          Q     Can I ask Mr. Shaikh -- and then we'll do a
 25     time check -- the maps that show the production and

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  1     the above-ground storage tank areas, but where
  2     generally were the new products that the company
  3     acquired and then the repackaged products that the
  4     company assembled for its customers, where was that
  5     stored on this map during the time that Pacifica
  6     Chemical and Shah Chemical operated at the 132nd
  7     Street property?
  8          A     The product came in in a larger quantity
  9     into the tank, and then it was pumped into the --
 10     right in the -- right by there and then it was
 11     stored into the enclosed sealed drums.
 12          Q     Okay.     So that's -- that's the PCE we're
 13     talking about, right?
 14          A     Yes.
 15          Q     So in discovery responses, it was stated
 16     that the PCE was pumped into 55-gallon sealed drums?
 17          A     Right.
 18          Q     Where were those drums stored at the
 19     property prior to shipping to Pacifica Chemical
 20     customers?
 21          A     Somewhere near the tanks.
 22          Q     Okay.     Now, obviously, sir, you had
 23     mentioned other activities the company did was the
 24     mixing and blending of its proprietary chemicals.
 25     So I'm assuming you acquired raw materials to be

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  1     used in the mixing and blending process, correct?
  2          A     Right.
  3          Q     Where were those raw materials stored in
  4     the warehouse?       Could you generally describe that
  5     looking at this map?
  6          A     They were on the east southeast area by the
  7     wall.
  8          Q     Okay.     Sort of middle -- excuse me --
  9     southeast corner along the east --
 10          A     Along the wall, the middle of it along the
 11     long wall, near the wall.
 12          Q     Now, you also testified that the company
 13     would acquire bulk chemicals that it would then
 14     resell to --
 15          A     Right.
 16          Q     -- to customers.
 17                And you describe those in your
 18     interrogatory responses?
 19          A     Right.
 20          Q     Where were those materials stored during
 21     the period of time that Shah and Pacifica Chemical
 22     operated at the 132nd Street property?
 23          A     They were -- the bulk would come in.              And
 24     it would be -- it would be taken out of the tank,
 25     and it would be stored right there into the sealed

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  1     drums and it would be shipped after that.
  2          Q      Sir, so we're talking about not PCE, but
  3     the other product --
  4          A      Yeah.    So you have other product which
  5     could come in.       Like acetic acid, it would come into
  6     the tank.     You would take it out and put it in a
  7     55-gallon drum and you sell it as a 55-gallon drum.
  8          Q      And my interest, sir, is where were those
  9     55-gallon drums, for example, of acetic acid stored?
 10          A      They were in the designated area somewhere
 11     in the middle.       They were on the pallets, and they
 12     were -- you know, they were put on the pallets.
 13     Then you ship it as a pallet.
 14          Q      So, for example, the product acetic acid,
 15     that would be placed into storage drums --
 16          A      Right.    So it would come in as a bulk into
 17     the acetic acid tank and then you would take it out
 18     from there into 55-gallon drum.                 And then you have
 19     that thing labeled and everything, and then you put
 20     it on a pallet and the pallet would go out as
 21     shipping.
 22          Q      Okay.    Prior to shipping, sir, where would
 23     the palletized drums of acetic acid be stored in the
 24     warehouse?     Could you describe where it was located
 25     north, south, east, or west?

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  1          A     I would say it would be closer to the
  2     acetic acid tank, the one before, maybe towards the
  3     middle of it, and I would say northwest building --
  4     northwest from the middle.
  5          Q     Okay.     Thank you.         In your discovery
  6     responses, sir, you identify that hydrogen peroxide
  7     was stored in bulk in a large plastic tank by
  8     Pacifica Chemical.
  9                Was that hydrogen peroxide again delivered
 10     in bulk and pumped into that storage tank?
 11          A     Yes.
 12          Q     And then the hydrogen peroxide would be
 13     placed into smaller drums or plastic totes for
 14     resale, correct?
 15          A     Yes.
 16          Q     Do you recall where these smaller drums or
 17     totes of hydrogen peroxide were stored in the
 18     warehouse prior to the sale?
 19          A     Middle to the west -- middle to the east.
 20          Q     You also noted that the company would
 21     acquire caustic soda that was not opened?
 22          A     Right.
 23          Q     Do you recall where that was stored prior
 24     to sale to your customer?
 25          A     That would be stored in the middle.

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  1          Q      Okay.     So you've now described for us where
  2     the bulk storage above-ground storage tanks are, the
  3     mixing tanks.        You described the storage of hydrogen
  4     peroxide, PCE, sodium hydroxide, caustic soda, and
  5     the raw materials that you obtained for your
  6     products.
  7                 Any other chemicals that you -- that the
  8     company acquired that were stored at the property
  9     that you can identify for us?
 10          A      Can you repeat it again, please?
 11          Q      That was a mouthful.
 12          A      That was a mouthful, I know.
 13          Q      You also received powdered dyes that you
 14     resold to customers, correct?
 15          A      Right.
 16          Q      And I believe those were resold in the same
 17     packages they arrived in, correct?
 18          A      Yes, yes.
 19          Q      Where were they stored, sir?
 20          A      They were stored on the north by the
 21     north -- by the office because they were all sealed
 22     drums, and they were, you know, like taped and
 23     sealed, and all that.          So they were north in the
 24     middle, all the way against the wall.
 25          Q      Okay.     Thank you.        See, sir, you have the

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  1     benefit -- you know, Ms. Amaru and Mr. Tracy and I
  2     look at these very flat maps that everybody is
  3     always interested in our world in tanks, but you're
  4     able to paint a picture for us on the record to
  5     describe what else filled up the warehouse.                  So it
  6     isn't simply blank space on the page.                  Thank you
  7     very much for doing that.
  8            A      Thank you.
  9                   MR. ELLIOTT:     Let me do a time check.             Let
 10     me quickly go through my notes.                 This may be a good
 11     time for a break.
 12                   Yeah, why don't we -- why don't we do a
 13     lunch break.       As to the timing, I will have a couple
 14     of hours of questions after lunch.                  So, Mr. Shaikh,
 15     Mr. Tracy, tell me how long you need for a lunch
 16     break, and I'm happy to accommodate you and
 17     Ms. Nickerson.
 18                   MR. TRACY:     Well, Maq, it's really up to
 19     you.       So if Mr. Elliott has got a couple more hours
 20     to go, is a half-hour lunch break good enough --
 21                   THE WITNESS:     I think half hour is perfect,
 22     yeah.
 23                   MS. OUSLEY:     Now, once again, do we just
 24     mute and stop video?
 25                   MR. ELLIOTT:     You just mute and stop video.

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  1     That's the simplest way, I think, to basically log
  2     off for the moment.
  3                THE WITNESS:        Okay.       Let's just do
  4     30 minutes or 35 minutes, yeah.
  5                MR. ELLIOTT:        Why don't we just -- 12:30,
  6     we'll reconvene.
  7                THE WITNESS:        Yes, that would be perfect.
  8                MS. OUSLEY:        Perfect.
  9                MR. ELLIOTT:        Thank you.
 10                MR. TRACY:       We can go off the record then.
 11                       (Luncheon recess taken.)
 12     BY MR. ELLIOTT:
 13          Q     If you wouldn't mind reopening Exhibit 3.
 14          A     Exhibit 3?
 15          Q     Yes.
 16          A     Yes, it's open.
 17          Q     And scroll down to interrogatory response
 18     number 11, it's on page 6 of 9.
 19          A     6 of 9, okay.         Page 4, 5, 6, 6 of 9, okay.
 20          Q     So I just want to follow up on wastewater
 21     that went to sanitary sewers, sir.                  So I'm not
 22     interested in gray water coming from the bathroom
 23     and sinks in the office complex.
 24                So I just want to confirm that during the
 25     time that Shah and Pacifica Chemical operated at the

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  1     property, its primary source of wastewater that was
  2     discharged to the sanitary sewer system was rinse
  3     waters from the mixing and blending tanks, correct?
  4            A   It's from probably blending the tank, yes.
  5            Q   And then you said that after the
  6     installation of the concrete trench drainage system,
  7     were any spills to occur and there was any cleanup,
  8     that that would necessitate water, then that rinsate
  9     would also go to the sanitary sewer system, correct?
 10            A   Well, cleanup, things like if there is a --
 11     yeah, it would wash down, yeah, wash it, dilute and
 12     then go, yeah, right --
 13            Q   Other than cleaning up the production
 14     activities and potential spills, were there any
 15     other sources of wastewater that were discharged to
 16     the sewer system?
 17            A   No.
 18            Q   Okay.     Now, referring to --
 19            A   Excuse me.
 20            Q   -- number 3, response to interrogatory
 21     number 11.
 22            A   Okay.     So am I -- am I going to 11 page
 23     now?
 24            Q   No, no, it's the response to interrogatory
 25     number 11 which appears on page 6 of Exhibit 3.

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  1          A     Okay.
  2          Q     So, sir, at line 12 and 13, it states, "Any
  3     spills of chemicals or any other liquids at the
  4     property were properly cleaned up."
  5                My question for you is:                  As you sit here
  6     today, are you familiar with any spills of chemicals
  7     or other liquids at the property that were actually
  8     properly cleaned up?
  9          A     Just to give you a little bit of a
 10     background, not specific one, okay, because I do
 11     travel a lot.      I -- you know, if there was a spill
 12     that was handled through properly, however, it
 13     doesn't necessarily mean I was there at that time.
 14                You know, I have an extensive history of
 15     travel.    So I could have been informed afterwards or
 16     I could have been informed that when it happened or
 17     something and what to do.
 18          Q     Okay.
 19          A     But that most likely it was handled
 20     properly and then, you know --
 21          Q     So it's correct then, sir, in interpreting
 22     this statement in the interrogatory response that
 23     what the response means is that you were wearing
 24     your unfortunate hat of environmental supervisor,
 25     instructed your employees on how to manage spills

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  1     and it's your understanding that they adhered to
  2     your instructions how to manage spills, whether you
  3     were present at the facility or away, correct?
  4          A     Yes.
  5          Q     Thank you.       If I could have you go back,
  6     sir --
  7          A     I want to add on to that unless -- just to
  8     add on that, unless they could not get hold of me,
  9     they did it the best way they could, okay, so yeah.
 10          Q     Thank you.       As you sit here today, sir, do
 11     you have any recollection while you were traveling
 12     or out of the office, your employees contacting you
 13     for instruction on spill response?
 14          A     I don't have a specific, you know,
 15     knowledge of that, no.
 16          Q     Thank you.       If I could have you refer to
 17     Exhibit 9, please, I previously introduced it.                  I'd
 18     like to walk through --
 19          A     Go to Exhibit 9.
 20          Q     Yeah, we'll go through Exhibit 9.             This
 21     goes -- relates to the installation or removal of
 22     the clarifier.       So we'll skip through these pages
 23     and touch on that issue.
 24                MS. OUSLEY:        At the top, okay.       So now you
 25     want to go back to --

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  1                 THE WITNESS:       Number 9, right?
  2                 MR. ELLIOTT:       Correct.
  3                 MS. OUSLEY:       Just a second, we've got to
  4     get it loaded.       Nope, that's Exhibit 8, Exhibit 9.
  5                 THE WITNESS:       Okay.       One second.   It's
  6     loading.
  7     BY MR. ELLIOTT:
  8          Q      Thank you.
  9          A      What happened?
 10                 MS. OUSLEY:       It's not happening?
 11                 THE WITNESS:       No, it's not happening.
 12                 MS. OUSLEY:       Okay.       Hold on.
 13                 THE WITNESS:       Can you please check why it's
 14     not happening?
 15                 MS. OUSLEY:       It's not loading.
 16                 Is it a large --
 17                 MR. ELLIOTT:       It's a large document.           So it
 18     may still be loading.
 19                 MS. OUSLEY:       All right.
 20                 THE WITNESS:       Okay.       No, it's not loading.
 21                 MS. OUSLEY:       It's doing the swirl.
 22                 THE WITNESS:       So why isn't it loading?
 23                 MS. OUSLEY:       Well, it looks like it's
 24     stuck.     Let me see if maybe we bring it up, you have
 25     signal.     Exhibit 9 does not want to load.

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  1     BY MR. ELLIOTT:
  2            Q    What I would do is I would attempt to
  3     reload it.     I would close that out and then go back
  4     to the screen previously and attempt to reload it
  5     because we know it loaded before so it's in that.
  6            A    It's loading.
  7                 MS. OUSLEY:       It's loading now.
  8                 THE WITNESS:       Now it's loading.
  9                 MS. OUSLEY:       Must be a very big file.
 10                 MR. ELLIOTT:       It's actually only 50 pages
 11     long, but the problem is the documents are gray
 12     scale.     So it's far more information than you would
 13     realize, that County of Sanitation Districts, their
 14     color of the documents submitted to Mr. Tracy were,
 15     shall we say, odd.
 16                 MS. OUSLEY:       Okay.       We just have to wait
 17     for the circle to stop circling.
 18                 THE WITNESS:       I'm sorry it takes that long.
 19                 MR. ELLIOTT:       No, sir.         I'm imposing on
 20     you.
 21                 THE WITNESS:       No, no, yeah.
 22                 MS. OUSLEY:       I think -- I think it got
 23     stuck.     So let's go back because it stopped the
 24     circle.     It's still trying to load.
 25                 MR. ELLIOTT:       Ms. Ousley, were you able to

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  1     close --
  2                   MS. OUSLEY:     I closed everything out except
  3     for the Exhibit Share and the initial, you know,
  4     menu to go to.        So there's nothing else that is --
  5     that it's trying to open.
  6                   MR. ELLIOTT:     Let's just give it a moment.
  7     Then my suggestion will be to log out and log back
  8     in.       Maybe that's the easiest way to jump start it.
  9                   Shall we -- Ms. Nickerson, are we on the
 10     record any longer?
 11                   THE REPORTER:      Yes.
 12                   MR. ELLIOTT:     Why don't we go off the
 13     record.       Thank you.
 14                   (Discussion held off the record.)
 15                   THE WITNESS:     Let's go back on.
 16                   Okay.   I have Exhibit 9.
 17     BY MR. ELLIOTT:
 18           Q       Good.   So what I'm going to do,
 19     Mr. Shaikh -- and I realize that these questions
 20     about these documents from the Los Angeles County
 21     are a little bit antiquated.               This isn't a memory
 22     game.       I'm just going to ask the best of your
 23     recollection as we go through this process.                Okay?
 24           A       All right.
 25           Q       The very first page, sir, of Exhibit 9 is a

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  1     November 18, 1980 letter from the --
  2          A     Yes.
  3          Q     -- County Sanitation Districts of Los
  4     Angeles County to shut our chemical, and it's
  5     addressed attention to -- I believe it's a
  6     misspelling -- but Yousi Shaikh, I believe probably
  7     your brother that it was addressed to.
  8          A     Yes, yes.
  9          Q     Do you have any recollection, sir, of
 10     seeing this document or discussing it with
 11     Mr. Shaikh?
 12          A     I did not see the document at that time,
 13     but I believe that I looked at it later on.                And
 14     that's when -- I think it's asking us to -- that we
 15     need a permit -- let me -- let me just go through
 16     the document once again, please, okay.
 17          Q     Thank you.
 18          A     Okay.     So I believe I looked at the
 19     document later and then we applied for the permit
 20     and now subsequently we got the permit and you know.
 21          Q     Perfect.      Actually, sir, if you scroll down
 22     to the -- it's going to be the fifth page, I believe
 23     you will see the actual permit application that was
 24     completed by Shah Chemical Corporation.
 25          A     Okay.     Yes.

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  1          Q      Okay.    So, sir, the document we're looking
  2     at now the fifth page of Exhibit 9 is entitled
  3     "Permit for Industrial Wastewater Discharge
  4     Sanitation Districts of Los Angeles County."
  5          A      Yes.
  6          Q      You'll see in the lower left corner below
  7     the December 8, 1980 date, a signature for the
  8     applicant.
  9                 Is that your signature?
 10          A      Yes, it is.
 11          Q      Okay.    And you'll see that just above the
 12     date of December 8, 1980, it states that the person
 13     responsible for industrial wastewater discharge as
 14     part of this permit application is yourself, Hussain
 15     M.   Shaikh, correct?
 16          A      Right.
 17          Q      So this is the permit application that you
 18     recall completing after either -- after you reviewed
 19     the correspondence that we spoke about just a moment
 20     ago, correct?
 21          A      Yes.
 22          Q      Thank you.      So what I'd like you to do,
 23     sir, is if you could then scroll down to what would
 24     be page 9 -- excuse me -- yes, page 9 of the
 25     document.

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  1           A    Okay.     So what is it, page 9 is -- what
  2     does it start with?
  3           Q    It's going to -- the top of it is a county
  4     of Los Angeles form.          It will be headed the
  5     "Industrial Waste Survey."
  6           A    Right, I got it.
  7           Q    Okay.
  8           A    Plan check review, that's the one you're
  9     talking about?
 10           Q    Correct -- actually it's just entitled
 11     "Industrial Waste Survey," sir.
 12           A    Okay.     Let me go back.
 13                MR. TRACY:       I think it might be the next
 14     page after the plan check.
 15                THE WITNESS:        Okay.       Let me look, too,
 16     okay.
 17                Okay.     Industrial waste survey, yes, I got
 18     it.
 19     BY MR. ELLIOTT:
 20           Q    Correct.      So now page 9 of Exhibit 9, this
 21     is the survey that immediately preceded, if you go
 22     to the next page, you'll see the map that we
 23     previously discussed.          Okay?
 24           A    Right.
 25           Q    And then immediately on the following page

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  1     after that, page 11, you'll see an inspector's
  2     report, if you could turn to that document.
  3            A   Okay.     I'm on there.           Okay.
  4            Q   And in the inspector's report, which is
  5     dated June 16, 1981, which is the same date as the
  6     map which we discussed previously, Mr. Tallman wrote
  7     to Mr. Hartley, and he provides a report, "A survey
  8     was made today of the above property in the presence
  9     of Mr. Hussain M. Shaikh."
 10            A   Yes.
 11            Q   "The mixing tanks were washed out once a
 12     week and discharged through a hose to a floor sink.
 13     Approximately 500 gallons at a time are used in the
 14     cleanup.     He was informed that this was a violation
 15     and needed to be corrected with the proper
 16     pretreatment facilities."
 17                New paragraph, "On July 15, 1981, an order
 18     to comply was issued to him.               He agreed to correct
 19     it."
 20                Sir, do you have any recollection of the
 21     site survey that Mr. Tallman is referring to in this
 22     communicate?
 23            A   I don't recall that, but I'm sure it was
 24     done by me, I mean, because if it says that I was
 25     present, then I would be present.                   I don't recall

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  1     specific things at that time.                It was a long time
  2     ago.
  3            Q    No, I understand that, sir.             I appreciate
  4     that.
  5                 Do you have any -- any reason, as you sit
  6     here today, based on your recollection of the
  7     activities of the facility in 1981, to conclude that
  8     Mr. Tallman's summary is inaccurate?
  9            A    No, it seems to be right.
 10            Q    Okay.    If you could turn to the next page,
 11     sir, which will be page 12, let me know when you're
 12     there.
 13            A    Okay.
 14            Q    So this is a document entitled "Notice of
 15     Violation and Order to Comply," and there's a
 16     receipt date and signature at the top of the
 17     document.
 18                 Is that your signature, the received by
 19     location, Mr. Shaikh?
 20            A    Yes.
 21            Q    So this is dated July 15, 1981.             Do you
 22     have any recollection of receiving this notice of
 23     violation to Shah Chemical Corporation in --
 24            A    I don't remember it.             However, it is my
 25     signature, so obviously I did, yeah.

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  1          Q     Okay.     Thank you.         So if I could please --
  2     so, sir, is it your understanding that as of 1981,
  3     you as the responsible person for Shah Chemical
  4     Corporation have been instructed to install a
  5     pretreatment facility, fancy name for a clarifier,
  6     at the 132nd Street property?
  7          A     No, I mean pretreatment, I don't believe
  8     that -- okay.      I think it's just a clarification how
  9     it's connected to the clarifier, and I think it was
 10     done through the contractor.               So I'm sure it was
 11     done according to the way they had described it.
 12          Q     Okay.     Thank you.         Sir, if I could have
 13     you -- get the right page for you -- if I could have
 14     you scroll down to page 23, please.
 15          A     Okay.     So tell me what does it start with
 16     because I'm not getting the pages that's why I'm
 17     asking 14, 15, I got it.
 18                MS. OUSLEY:        Got it?
 19                THE WITNESS:        I got it.
 20     BY MR. ELLIOTT:
 21          Q     It's going to begin the "County of Los
 22     Angeles, Department of County Engineer" is the
 23     center top.
 24          A     Right, I got it.           February, March 22nd,
 25     right.

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  1          Q      No, it's August 12, 1983, sir.
  2                 MS. OUSLEY:       Do you want help?
  3                 THE WITNESS:       Yeah, August 16, 1981, no.
  4     BY MR. ELLIOTT:
  5          Q      August 12, 1983.          It's page 23 of the PDF.
  6          A      Okay.    Amy, you need to come up here and
  7     help me a little bit.          Sorry.
  8                 MS. OUSLEY:       It's okay.
  9                 THE WITNESS:       Do I need to go to 22?
 10                 MS. OUSLEY:       Page 23.
 11                 MR. ELLIOTT:       23.
 12                 THE WITNESS:       23, correct.         Okay.    I'm on
 13     23 now.
 14                 MS. OUSLEY:       County of Los Angeles,
 15     Department of County Engineer Facilities?
 16                 THE WITNESS:       Yeah.
 17                 MS. OUSLEY:       September 28, 1983?
 18                 MR. ELLIOTT:       No, August 12, 1983.
 19                 MS. OUSLEY:       Okay.       Well, that's your page
 20     1983.     January.
 21                 MR. TRACY:      It's back one page from that I
 22     think from where you just were.
 23                 MS. OUSLEY:       August 12, 1983?
 24                 MR. ELLIOTT:       Correct.
 25                 MS. OUSLEY:       Okay.       It's handwritten?

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  1                   MR. ELLIOTT:        Yes, handwritten.
  2                   THE WITNESS:        Yeah, that's the one, okay.
  3     BY MR. ELLIOTT:
  4            Q      Okay.     So, Mr.     Shaikh, this is another
  5     report from Mr. Tallman to Mr. Hartley at the County
  6     of Los Angeles dated August 12, 1983.
  7                   In the report, Mr. Tallman states,
  8     "Observation of the above plant with Mr. Yousuf
  9     Shaikh, office manager, revealed a large yellow hose
 10     (1 1/2 inch diameter) connected from the two mixing
 11     tanks (280 and 1700 gallons to the floor sink).                      The
 12     hose is connected to a pump which connected to the
 13     underside of the tanks."
 14            A      Okay.     First of all -- first of all, that's
 15     his assumption that office manager and all that.
 16     Secondly, that it says no discharge was observed.
 17                   He said that they were -- they were washed
 18     out.       The tank, sometimes the operation appeared to
 19     be same as previous survey showed.                   Shah Chemical
 20     Corporation was no longer -- no longer exist.
 21                   The new company is named Pacifica Chemical
 22     and the new owner was not present.                   Office manager
 23     was not familiar with the presence or no further
 24     information.          It's his assumption.           My brother
 25     happened to be there.

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  1                Okay.     It's his assumption that he was an
  2     officer manager.       So, you know, if somebody comes up
  3     to your house and you're going to answer, you know,
  4     I don't know.      So anyway I don't know what this is
  5     all about.
  6          Q     Mr. Shaikh, you jumped far ahead.             I was
  7     actually going to ask you, if this was a
  8     typographical error and if you actually participated
  9     in this inspection, but your testimony is that your
 10     brother was the individual that was there with the
 11     inspector, correct?
 12          A     Yes, that's what it seems because he
 13     happens to be there probably, but he was not an
 14     employee of Pacifica.          He was not a part of Pacifica
 15     so --
 16          Q     But, sir, the inspector Mr. Tallman
 17     commented to Mr. Hartley at L.A. County that the
 18     operations appeared to be the same as the previous
 19     survey.    His prior survey was in 1981.
 20                So it is correct, sir, that the
 21     pretreatment system as of August 12, 1983 had not
 22     yet been installed?         In other words, the clarifier
 23     system had not yet been installed in 1983, correct?
 24          A     I don't know.
 25          Q     Okay.     Thank you.         If I could please, sir,

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  1     have you turn to page 30.
  2          A     Okay.     We're on 22, right?
  3          Q     You are on 23.
  4          A     23, 24, 25, 26, 27, right.
  5          Q     Yes.     You should see again a gray scale
  6     document that states "Existing Industry Permit for
  7     Industrial Wastewater Discharge."
  8                Do you see that?
  9          A     Right, I do that, yeah.
 10          Q     So, sir, you'll note that this is an
 11     application made by Pacifica Chemical, Incorporated.
 12     It's dated June 20, 1985.
 13                Do you see that?
 14          A     Yes.
 15          Q     Okay.     If you scroll down the page, you'll
 16     see a signature for the applicant under the date of
 17     June 20th, 1985?
 18          A     Right, that's mine.
 19          Q     That's your signature?
 20          A     Right.
 21          Q     Okay.     So this then, sir, do you recognize
 22     this document or have any recollection of it?
 23          A     I don't recognize it, but it's my
 24     signature.     So obviously, yeah, yeah.
 25          Q     Thank you.       Sir, I'm going to do this -- I

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  1     hate to do this, to get things hung up, but I'm
  2     going to introduce another exhibit.                   I apologize.
  3     Hopefully we won't get hung up again.
  4          A      Okay.
  5                 MS. OUSLEY:       So we're going to get out of
  6     this one?
  7                 MR. ELLIOTT:       I'm going to go ahead and
  8     open another exhibit.          Let me make sure I've got the
  9     right one.
 10                 THE WITNESS:       Okay.       Then it will be right
 11     there.    I'll just hold here for a moment.
 12                 MR. ELLIOTT:       Now my circle is going.
 13                 MS. OUSLEY:       We just had something pop up.
 14                 MR. ELLIOTT:       You should have what I'm
 15     introducing as Exhibit 12.              It is entitled
 16     "Application for Plumbing Permit."                   Unfortunately
 17     it's at an angle.        We can rotate it on our screen,
 18     but I'm not certain that you can.                   So I apologize.
 19                 MS. OUSLEY:       You're just going to have to
 20     turn the iPad.
 21                 THE WITNESS:       Okay.       Let me just turn the
 22     iPad.    It's easier.       Okay.
 23                 (The document referred to was marked by the
 24     Reporter as Plaintiffs' Exhibit 12 for
 25     identification and is attached hereto.)

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  1     BY MR. ELLIOTT:
  2          Q     So Exhibit 12, sir, is entitled
  3     "Application for Plumbing Permit."                  If you look in
  4     the upper left-hand corner, it provides a date of
  5     February 10, 1986.
  6          A     One second.
  7          Q     Okay.
  8                MS. OUSLEY:        Do you need help?
  9                THE WITNESS:        You know what, let me see
 10     because it's not rotating, so let's see, 2-28-86, is
 11     that what you're showing?
 12                MR. ELLIOTT:        That's correct.          That's the
 13     certified submittal date in the upper left-hand
 14     corner.
 15                MR. TRACY:       Mark, there's a Bates number on
 16     that one if you want to use that.
 17                THE WITNESS:        All right.
 18                MR. ELLIOTT:        Okay.       For purposes of
 19     identifying the exhibit, for the record, Exhibit 12
 20     is a two-page document, first page has a Bates stamp
 21     number LACOUNTYDPW, a bunch of zeroes, 11.
 22          Q     Sir, I apologize.            It was on an angle.
 23          A     That's okay.        Yeah.
 24          Q     This is an application by Taisho Plumbing,
 25     T-a-i-s-h-o, Plumbing in the left seeking permission

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  1     of the Los Angeles County Department of Building and
  2     Safety to install a clarifier with a sampler box and
  3     a -- gosh, I can't read the second item.
  4          A      I think it's a sampler box, yeah.
  5          Q      So, sir, does this refresh your
  6     recollection as to the date that the company
  7     solicited outside technical support to install
  8     the --
  9          A      I'm pretty sure that it's right, you know.
 10          Q      Okay.    Do you have any recollection,
 11     though, of when the clarifier was installed?
 12          A      No, I don't, but we have it -- the
 13     documents are showing that it's being installed or
 14     it was installed at that time.                 So I'm sure it's
 15     correct.
 16          Q      Okay.    Thank you.         Can I have you go back
 17     to Exhibit 9.
 18          A      Amy, come back and help me, please.              Sorry.
 19                 MS. OUSLEY:       So you're going to go like
 20     this and then you're going to go back to -- no, no,
 21     I think this is 9.
 22                 THE WITNESS:       This is 9, okay.
 23                 MS. OUSLEY:       Nope, that's Exhibit 10.
 24     That's Exhibit 9.        Hopefully, it loads up.           Give it
 25     a minute.

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  1                THE WITNESS:        We've got circle going so --
  2                MR. ELLIOTT:        We're almost done with this
  3     exhibit.
  4                THE WITNESS:        I know we -- okay.       I got it.
  5     All right.
  6     BY MR. ELLIOTT:
  7          Q     So if you could scroll almost to the end.
  8     It's 50 pages.       I'd like you to go to page 47 of
  9     Exhibit 9.
 10          A     I'm going to go all the way to the end and
 11     pull up three pages.
 12          Q     Yep.
 13          A     So that's two.          So I got it.     Is that the
 14     one industrial waste survey?
 15          Q     Correct.
 16          A     Okay.
 17          Q     So, sir, this is not a document that you've
 18     likely seen before.         It's another one of the
 19     industrial waste surveys that was conducted.                In the
 20     bottom right-hand corner, you'll see the date of
 21     November 9, 1987.
 22                Do you see that?
 23          A     I'm trying to find it, yes.
 24          Q     Okay.     If you notice --
 25          A     1987?

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  1          Q     Correct.      You'll notice, as you scroll up
  2     just a little bit, there's in very dark letter, it
  3     says 1500-gallon I2 3COMP.
  4                Do you see that?
  5          A     Yes.
  6          Q     I'll represent to you, sir, that that
  7     refers to a 1500-gallon industrial two-stage,
  8     three-compartment --
  9          A     Clarifier.
 10          Q     -- clarifier.         Thank you.
 11                So based on looking at this document, sir,
 12     is it your understanding that the clarifier was in
 13     place certainly prior to November 9, 1987?
 14          A     Yes, based on this document, yes.
 15          Q     Okay.     Now, there's remarks and
 16     recommendations down at the bottom, sir.               You'll see
 17     it says, "No pH system.            Use batch neutralization."
 18                So that's related to --
 19          A     Inspected as per approved plan, right?
 20          Q     Correct.      So instructed as per approved
 21     plans applies to the clarifier itself, the clarifier
 22     indicates it had no pH system --
 23          A     Okay.     See the way -- the way pH system
 24     works, if you have a continuous operation, you need
 25     a pH system which neutralizes.

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  1                   Since this was not a continuous operation,
  2     it was a batch to batch.            So you only have a --
  3     hello -- you only have a batch-to-batch pH system
  4     and neutralization.         So it's not a continuous
  5     operation where the water is always going so --
  6            Q      Okay.   I realize that, sir.          My question
  7     was:       I wanted to confirm that after the
  8     installation in the clarifier, Pacifica Chemical did
  9     use a batch neutralization process when there was
 10     wastewater discharge to the clarifier, correct?
 11            A      Yes.
 12            Q      And who was responsible for performing the
 13     neutralization activities?
 14            A      The same two guys, Tomas Macedonio and Juan
 15     Montes.
 16            Q      Okay.   Who instructed them as to the
 17     process of utilizing batch neutralization to
 18     pretreat the chemicals --
 19            A      I think sanitation department showed them
 20     how to do it and they did that from there on.
 21            Q      Thank you.    If you scroll to the next page,
 22     sir, page 48 of Exhibit 9, you'll see a hand
 23     drawing.
 24            A      Yes.
 25            Q      Okay.   So this is a little bit rougher than

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  1     the others.
  2                Have you seen this drawing before?
  3          A     No, I don't, but it's not my handwriting.
  4     I know that.
  5          Q     I was going to ask you next, sir.              You'll
  6     see a couple of trench drains are drawn into the
  7     drawing of the warehouse?
  8          A     Yeah, that's -- that's the drains we put
  9     surrounding the building, you know, inside the
 10     building, so like a catch basin or whatever you call
 11     them.
 12          Q     Okay.     The schematic of the drains isn't
 13     quite as detailed as the schematic that was prepared
 14     by Murex and where they were estimating the
 15     locations of the drains?
 16          A     No, no, this is not.
 17          Q     So this is not to scale, it's not entirely
 18     accurate, correct?
 19          A     No, no.
 20          Q     Thank you very much.              So, sir, if you
 21     scroll to the next page, which is going to be page
 22     49, you'll notice that -- to make the record, that
 23     the notice of compliance states, "The corrections
 24     made following the issuance of the Notice of
 25     Violation and Order to Comply issued on July 16,

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  1     1981," have essentially now been satisfied.
  2                   Did the county provide you a copy of this
  3     document to your recollection?
  4            A      No, I don't see it, no.
  5            Q      If you could scroll to the last page, sir,
  6     it's a notice dated August 10, 1990 addressed to
  7     Mr. Maq Hussain Shaikh.
  8            A      That's myself, yes.
  9            Q      Have you seen this document before, sir?
 10            A      No, I have not, but --
 11            Q      It states, sir, that the violation was
 12     excessive solids in the pretreatment facilities, see
 13     below.       It says, "The excessive solids in the
 14     interceptor must be vacuum pumped and hauled to a
 15     legal plant of disposal.            After the trap is cleaned,
 16     please call and leave a message for reinspection."
 17                   Do you have any recollection, sir, of L.A.
 18     County directing the vacuum pumping of the
 19     interceptor in --
 20            A      No, but if it's -- it's all up to the
 21     inspector.       Some inspector they would like to have
 22     it cleaned that way.          Some people do it the normal
 23     way.       I don't know.
 24            Q      When you say "the normal" --
 25            A      I have not seen that paper, no.

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  1          Q     So during the period of time that Pacifica
  2     Chemical operated the clarifier at the 132nd Street
  3     property, do you recall, sir, the clarifier or the
  4     interceptor being cleaned out, being pumped out to
  5     remove solids?
  6          A     I believe it was -- once it was done
  7     because we comply with every -- every letter or
  8     every notice from the county or from the city.                 We
  9     comply with them.        So if it was given to them and
 10     the inspector wanted to get it done that way, then
 11     we had done it.
 12          Q     And in those instances where the inspector
 13     would have directed Pacifica Chemical to excavate
 14     solids from the clarifier, sir, do you know what
 15     happened to the solids that were removed or they
 16     were disposed of?
 17          A     I don't know, no, but they get hauled out
 18     by a licensed company which -- which disposes them,
 19     and I have no record who they were, but they were --
 20     because you have to provide the report to them, so
 21     we did that.
 22          Q     Do you have any recollection, sir, of being
 23     provided a copy of a hazardous waste manifest by the
 24     disposal company after it pumped or otherwise
 25     excavated the solids from the clarifier?

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  1           A    No.
  2           Q    Thank you.       Okay.       You can close that
  3     exhibit out, sir.
  4           A    All right.       So let me -- let me -- so what
  5     do I do -- let me -- let me try myself, see if I can
  6     do it.    Okay.    So I'm out of this exhibit now.
  7                MR. ELLIOTT:        Okay.       I'm going to introduce
  8     a new exhibit, Exhibit 13, sir.
  9                THE WITNESS:        Okay.
 10                (The document referred to was marked by the
 11     Reporter as Plaintiffs' Exhibit 13 for
 12     identification and is attached hereto.)
 13                THE WITNESS:        Still not loading.       As soon
 14     as they get loaded, I will call you to help me.
 15     BY MR. ELLIOTT:
 16           Q    Let me know when you have it.
 17           A    No, I don't have it yet.
 18                MR. TRACY:       It should be there soon.           It's
 19     up on mine.
 20                THE WITNESS:        It's up on yours?
 21                MR. TRACY:       Yes, so just be patient with
 22     it.
 23                THE WITNESS:        Okay.       It's up now, yes.
 24     BY MR. ELLIOTT:
 25           Q    So what we're marking as Exhibit 13 is an

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  1     excerpt from the Anderson Environmental phase one
  2     from 2015.     This copy came from your ex's files that
  3     they produced in response to the subpoena.
  4                It's a multipage document, sir.                 I would
  5     appreciate it if you could scroll down to the third
  6     page.
  7          A     Okay.     All right.         I have it.
  8          Q     Okay.     So, sir, this is an inspection
  9     record again from Los Angeles County, this time the
 10     Department of Public Works, relating to an
 11     inspection of 132 West 132nd Street in 2000.                   It's
 12     going to be in September of 2000.                   It states the
 13     site is vacant.       Pacifica Chemical has moved out.
 14     Will send notice to property owner.
 15                Okay.     Did you receive any notice following
 16     the move by Pacifica Chemical?
 17          A     I had no -- I had never seen this document,
 18     but you know.
 19          Q     Okay.     If we could then scroll down one
 20     page, sir.
 21          A     Okay.
 22          Q     There's a notice.            Tell me when you're
 23     there.
 24          A     I'm -- yeah, I'm here.               This is -- this is
 25     7187.    Is that the one you're talking about?

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  1            Q      That's correct.       It's a notice dated
  2     September 15, 2000 to M. Shaikh.
  3                   Do you have any recollection of receiving
  4     this document, sir?
  5            A      No, I have not.       I have not seen it.
  6            Q      If I could then, sir, have you scroll down
  7     to page 8 of the PDF, the PDF is nine pages long,
  8     sir.       You can go to the bottom and then go back one
  9     page.
 10            A      I think that would be okay.           So I get then
 11     nine pages, so I have it.
 12            Q      You have that in front of you?
 13            A      Yes.
 14            Q      So, sir, this document -- let me -- if you
 15     scroll down towards the bottom of page 8, you'll see
 16     a signature in the left-hand corner, if you could
 17     confirm that's your signature.
 18            A      That is my signature.
 19            Q      And the date to the right appears to be
 20     July 14, 2004?
 21            A      Yes.
 22            Q      If you scroll back up, you'll see this is
 23     an application for closure?
 24            A      Okay.   Yes.
 25            Q      So this is the application for closure of

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  1     the clarifier at 132 132nd Street, right?
  2          A     Yes.
  3          Q     You submitted this application for
  4     permanent closure in place, correct?
  5          A     Right.
  6          Q     Sir, if you scroll down to the second page,
  7     you'll see it's headed "Authorization for Closure
  8     Industrial Waste Control Program Conditions and
  9     Limitations"?
 10          A     Right.
 11          Q     Okay.     So the conditions and limitations of
 12     disclosure acquired essentially cementing in the
 13     clarifier, the need to take environmental evaluation
 14     to determine if the clarifier leaked?
 15          A     Okay.
 16          Q     Did you apply for and undertake any closure
 17     of the clarifier to comply with those conditions?
 18          A     We hired a contractor who filled out this
 19     and who made the closure and he dealt with the
 20     County of Los Angeles.
 21          Q     Sure.     At page 9 of 9, there's another
 22     signature at the bottom.            Can you just confirm
 23     that's your signature?
 24          A     That is my signature, yes.
 25          Q     One of the items when you close a clarifier

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  1     sort of back in this time frame is there was
  2     supposed to be a postclosure report.
  3                Do you recall your contractor ever
  4     providing a postclosure report to submit to the
  5     county?
  6          A     Not --
  7                MR. TRACY:       Objection -- hold on, Maq --
  8     objection; assumes facts and counsel is testifying.
  9     BY MR. ELLIOTT:
 10          Q     So if you look on page 9, sir, in the
 11     corner under F "Required Reports"?
 12          A     Okay.
 13          Q     It says, "Within 30 days of the date of
 14     closure, the applicant shall furnish EPD a closure
 15     report describing all work done, results of any
 16     required sampling, disposition of any contaminated
 17     soils or materials found, and evidence of compliance
 18     with Conditions B1, B2, B3, C4, D2, E1, and E2."
 19                Do you see that?
 20          A     I see that.
 21          Q     Okay.     Did your contractor that cemented in
 22     the clarifier in approximately 2004 provide you that
 23     report to submit to the county?
 24          A     No, I'm sure he submitted directly to the
 25     county.    I have no -- not seen it.

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  1          Q      Thank you.
  2          A      He has -- he had done everything with the
  3     county and directly with the county.
  4          Q      Do you recall the name of the contractor
  5     that you utilized --
  6          A      Yes.
  7          Q      -- to do that work in 2004?
  8          A      His name is Skee.           I'm trying to think of
  9     his last name.       I will have to ask somebody and
 10     unfortunately about -- about 10 years, 12 years ago,
 11     12 years ago, he died also.               His name is Skee.    It's
 12     a Polish name.       So I don't remember how you spell it
 13     and all that, but I can provide it if I locate it.
 14          Q      Okay.    If you recall his name, that would
 15     be great.     We can leave a blank in the transcript.
 16     You can write it in.
 17          A      Yes, but his name is Skee, so yeah,
 18     S-k-e-e.
 19          Q      But you don't recall his last name?
 20          A      No, I don't right now, but I'll find out.
 21          Q      We'll leave a blank, sir, and you can write
 22     it in, but I'm not allowed to give you homework
 23     assignments when I take a deposition.               If you
 24     recall, great.
 25                 Otherwise, your counsel is going to tell

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  1     you you're under no obligation to do so.               You just
  2     have to testify to your best recollection today.
  3          A     That is here.         Thank you.
  4                (INFORMATION REQUESTED:__________________
  5     __________________________________________________.)
  6     BY MR. ELLIOTT:
  7          Q     Sir, I want to ask a couple questions,
  8     going back to the company's acquisition and resale
  9     of perchloroethylene, PCE.
 10          A     Right.
 11          Q     During the period of time that the company
 12     had that as one of its products, do you recall who
 13     the provider or supplier of PCE was to the company?
 14          A     Van Waters & Rogers, Van Waters & Rogers,
 15     V-a-n, Waters & Rogers, three different words.
 16          Q     And I think -- I'm trying to remember.               I
 17     think they've been acquired now.
 18                Do you remember the location, sir, from Van
 19     Waters that you acquired chemicals?
 20          A     I don't remember the address, but they were
 21     on Bandini Street in Los Angeles.
 22          Q     Okay.     Okay.     I'm assuming it's a pretty
 23     large entity or distributorship.
 24          A     One of the nation's largest ones so I don't
 25     know.

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  1          Q     So Pacifica Chemical acquired other raw
  2     materials and chemicals from Van Waters?
  3          A     Yes.
  4          Q     But your primary supply location was the
  5     old facility on Bandini Street, correct?
  6          A     On what?
  7          Q     Bandini Street.
  8          A     Yes, yes.
  9          Q     And when the -- when the PCE was delivered,
 10     I'm assuming it came in essentially a small tanker
 11     truck, is that correct, sir?
 12          A     Yes.
 13          Q     Okay.     And they would run a hose through an
 14     open door and pump it into a tank?
 15          A     They would run a hose and connect it to the
 16     tank.
 17          Q     Do you recall where the connection was on
 18     the above-ground storage tank?
 19          A     There was a hole in the wall and they ran
 20     it through -- there was a connection there.
 21          Q     So there was actually a connection to --
 22     the connection was on the top of the tank, the
 23     piping ran to the west wall of the building,
 24     correct?
 25          A     Yes.

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  1          Q     And there was a connection on the exterior
  2     of the building?
  3          A     Yes.
  4          Q     And who is responsible for oversight of
  5     the -- you know, the pumping or refilling of the
  6     tank by the Van Waters driver?
  7          A     Tomas Macedonio.
  8          Q     Okay.     Thank you.         Turning to the 55-gallon
  9     drums that were utilized for the resale of the PCE,
 10     when the drum was provided -- the drum of fresh PCE
 11     was provided to Pacifica -- excuse me -- Pacifica
 12     Chemical's customers, did the customer later return
 13     the empty drum to Pacifica Chemical?
 14          A     No, no.
 15          Q     And the drums that were utilized to fill
 16     with PCE, do you have a recollection of where
 17     Pacifica Chemical obtained those drums?
 18          A     We bought them from the drum company.               At
 19     that time, there were a couple of drum companies in
 20     Los Angeles who used to sell that, and I'm sure they
 21     still have drum companies.
 22          Q     So you used a drum refurbisher to provide
 23     you effectively newer or refurbished drums, correct?
 24          A     Correct.
 25          Q     Was any of the PCE -- excuse me -- the PCE

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  1     used in any of the products that were blended or
  2     mixed by Pacifica Chemical?
  3          A     No.
  4                MR. ELLIOTT:        I'm going to introduce a new
  5     exhibit, sir.       Give me just a moment.
  6                MR. TRACY:       Exhibit 14, correct?
  7                MR. ELLIOTT:        Let us know when you can see
  8     that, Mr. Shaikh.
  9                THE WITNESS:        Okay.       Let me get out of this
 10     first.    Okay.     So -- okay.         So it's a new exhibit
 11     you just sent?
 12                MR. ELLIOTT:        Correct.         It's Exhibit 14.
 13                THE WITNESS:        It doesn't say any numbers
 14     here, so I need to --
 15                MS. OUSLEY:        Do you want me to help you?
 16                THE WITNESS:        Let me see if I can get it
 17     first, Amy.       No, I did not get it, okay.
 18                MS. OUSLEY:        You have to get out and then
 19     hit --
 20                THE WITNESS:        Oh, you have to hit that.
 21                MS. OUSLEY:        And then it's right there.
 22                Exhibit 13?
 23                THE WITNESS:        No, 14, he said.
 24                MR. ELLIOTT:        It will be marked as Exhibit
 25     14, but unfortunately because I hit something twice,

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  1     it also says Exhibit 13 on it, but the exhibit is
  2     Exhibit 14.
  3                MS. OUSLEY:        It says Exhibit 14, 13
  4     Sanitation Districts?
  5                MR. ELLIOTT:        Correct.
  6                (The document referred to was marked by the
  7     Reporter as Plaintiffs' Exhibit 14 for
  8     identification and is attached hereto.)
  9     BY MR. ELLIOTT:
 10          Q     So for the record, Exhibit 14 is a
 11     multipage document selected from the documents
 12     produced by L.A. County Sanitation Districts, begins
 13     with Bates number 000160.
 14                Mr. Shaikh, these are just a sampling of
 15     documents from the Sanitation Districts.               Were you
 16     aware that, as one of the permit conditions for the
 17     industrial discharge permit, that Pacifica Chemical
 18     had the obligation to sample its wastewater on a
 19     biannual basis and provide the environmental sample
 20     data to the -- to the Sanitation Districts in what's
 21     referred to as industrial wastewater self-monitoring
 22     report?
 23                MR. TRACY:       Objection; compound.
 24                THE WITNESS:        No.
 25     BY MR. ELLIOTT:

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  1          Q     What we're looking at, sir, you may want to
  2     zoom in a little bit because these documents are
  3     getting to be a little bit old, is an industrial
  4     wastewater self-monitoring report.                   If you scroll to
  5     the bottom of the page, you'll see opposite the date
  6     of October 9, 1992, a signature.
  7                Can you look at that and confirm whether
  8     that's your signature?
  9          A     That is my signature, yeah.
 10          Q     And you'll note, sir, that the report
 11     includes I'll represent to you, water testing data.
 12                Were you aware, sir, at the time you signed
 13     this document what was being reported to the county?
 14          A     Nope.
 15          Q     So if I ask you specific questions about
 16     the test results that appear on this page, you
 17     wouldn't have any recollection?
 18          A     No, I don't.
 19          Q     So that report was 1992.                 Let's scroll
 20     down, if we could, sir, to page 4 of 24.
 21          A     Okay.     One second, 1, 2, 3, and 4, okay.
 22          Q     Okay.     So this fourth page of Exhibit 14
 23     is, again, an industrial wastewater self-monitoring
 24     report submitted to the L.A. County Department of
 25     Sanitation.

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  1                   If you look at the signature at the bottom,
  2     you'll see that it was -- appears to have been
  3     signed by Mr. Doshi on October 25, 1993?
  4            A      Yes, it is signed by him.
  5            Q      Okay.    And do you recognize this signature,
  6     sir?
  7            A      Yes.
  8            Q      Okay.    If you look at the sampling data,
  9     sir, from the ground sample collected at the
 10     clarifier sampling point, you'll notice that the
 11     reported concentrations of tetrachloroethylene, PCE,
 12     is 330 parts per billion.
 13            A      Yes.    Let me clarify -- let me say
 14     something.       All these test results, it seems like
 15     they put it down the same chemicals, and you have no
 16     way of knowing what they're writing except they just
 17     hand you down and say, hey, that's what it is.                 You
 18     know, you sign it.
 19                   So here's a -- Mr. Doshi is not a technical
 20     man, neither he is -- in this case, neither am I,
 21     you know, so put it down and just sign it here.
 22     It's an acknowledgement.            It's like we're buying a
 23     car.       You just sign at the bottom line.
 24            Q      But, sir, I mean under the permit
 25     conditions, the company was required to submit these

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  1     reports under your industrial discharge --
  2     wastewater discharge permit, and the reason the form
  3     was prepopulated is these were all of the chemicals
  4     that had to be monitored for under your permit.
  5                 So that's -- counsel would be proper to
  6     object and say that's testimony on my part, but my
  7     question is about the sample results that appear on
  8     the page.
  9                 So I have in front of me a document that
 10     shows wastewater in July of 1993 having detections
 11     of 330 parts per billion of PCE.
 12                 And my question, sir, is:               Does that
 13     refresh your recollection as to when the company
 14     discontinued the use and sale -- excuse me -- the
 15     sale of PCE from the above-ground storage tank?
 16          A      Long before that.           I have no clue about
 17     this, okay.
 18          Q      Okay.
 19          A      Long before that.
 20          Q      Thank you.
 21          A      I don't have any specific dates, okay.
 22          Q      Okay.    Thank you.         If I could have you
 23     scroll down, sir, to page 6 of 24.
 24          A      What does it start with?
 25          Q      It's going to actually be L.A. sand files,

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  1     but these ones are colored.               It's blue and white and
  2     yellow.
  3          A      Okay.    There's blue and white and yellow
  4     ones.     Yes, it says, "Returned."                 Is that the one?
  5          Q      Yep, returned.
  6          A      Okay.
  7          Q      So, again, sir, if you look at the bottom
  8     of that form, the industrial wastewater
  9     self-monitoring report, you'll see a signature for
 10     Mukesh Doshi on January 28, 1999 at the bottom.
 11                 Do you see that?
 12          A      Same thing.       When I'm not there, somebody
 13     is required to sign it.            Somebody hands him down and
 14     you have to sign it.
 15          Q      Okay.    Would you put --
 16          A      He doesn't have any --
 17                 MR. TRACY:      Hold on, Maq.             Hold on, Maq.
 18     There's no question pending.               Let Mr. Elliott ask
 19     his questions.
 20                 THE WITNESS:       Okay.
 21     BY MR. ELLIOTT:
 22          Q      Would you either generally, Mr. Shaikh,
 23     given your responsibilities at the -- at Pacifica
 24     Chemical at this time, would you have typically been
 25     the individual to sign this document?

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  1          A      Yes.
  2          Q      So, sir, my question, if you could scroll
  3     down to the next page, if you wouldn't mind, it's a
  4     report from Chem Pro Laboratory, Incorporated.
  5          A      Okay.
  6          Q      Tell me when you see that.
  7          A      I see it.
  8          Q      Okay.    So this was a lab report that was
  9     sent to Pacifica Chemical by Chem Pro Laboratory.
 10     The report was prepared on December 12th -- excuse
 11     me -- December 2nd, 1998.
 12                 Sir, the results indicate the presence in
 13     the sample from wastewater collected at the sample
 14     box of 1,1,1-trichloroethane, that's TCA, and then
 15     trichloroethylene at 359 and 643 parts per billion.
 16          A      Okay.
 17                 MR. TRACY:      I'm going to object.           It
 18     misstates the document.            I read it as both of them
 19     saying trichloroethane.
 20                 MR. ELLIOTT:       Yeah, it's a typo.          1,1,1 is
 21     trichloroethane.        The next one is trichloroethylene.
 22     They report it on later documents.                  So it is correct
 23     that it says "ethane," but it's referring to
 24     ethylene.
 25                 MR. TRACY:      And what units are you

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  1     believing this is in?
  2                MR. ELLIOTT:        If it's going to be in water,
  3     it should be reported.           It's saying it's in
  4     milligrams per liter, but it's probably more
  5     accurately stated in parts per billion, Kirk,
  6     because it wouldn't typically be reported at those
  7     concentrations.
  8                MR. TRACY:       I tend to agreed with you that
  9     that's the general practice.               I guess I'm just going
 10     to broadly object to anything on this document that
 11     the results are inaccurate.               So I think it would be
 12     ambiguous to ask Mr. Shaikh to agree to any specific
 13     results here.
 14     BY MR. ELLIOTT:
 15          Q     No, I'm not going to ask -- Mr. Shaikh, I'm
 16     not asking you to agree or disagree with the reports
 17     of the contaminants that are identified in the
 18     wastewater in 1998.         I'm interested in knowing
 19     whether as of 1998, was Pacifica Chemical using
 20     either TCA or TCE as part of its production
 21     processes?
 22          A     No, they were not.
 23          Q     As you sit here today, you would have no
 24     idea how circa 1998 TCA and TCE would be present --
 25          A     Absolutely not.

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  1          Q     You wouldn't know how it would be present
  2     in the wastewater, correct?
  3          A     No, I would not.
  4          Q     Okay.     If you could please scroll down to
  5     page 12 of 24.
  6          A     What does this start with?
  7          Q     It's going to be another industrial
  8     wastewater self-monitoring report.
  9          A     Okay.     I got it.
 10          Q     This one is dated July 15, 1999.
 11                Do you see that?
 12          A     July 15th -- July 15th, 1999, yes.
 13          Q     There's a signature at the bottom of the
 14     page.
 15                Can you confirm that's yours?
 16          A     My signature, yes.
 17          Q     If you scroll to the next page, so this is
 18     now roughly five months later, you'll see another
 19     Chem Pro Laboratory report, again, addressed to
 20     Mr. Doshi of Pacifica Chemical.
 21                Tell me when you're there.
 22          A     Okay.     Yes.
 23          Q     If you look at the results of the testing
 24     from the wastewater sample box, you'll see that
 25     trichloroethylene and 1,1,1-trichloroethane, TCE and

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  1     TCA, were again detected.
  2          A      Again, don't know where -- what it is, how
  3     it's in the report, why they're reporting, how is it
  4     being done, don't have any idea.
  5          Q      So as of May of 1999, you have no
  6     recollection of any use of those chemicals at the
  7     facility, correct?
  8          A      Exactly, yes.
  9          Q      Sir, if you could scroll down to page 17 of
 10     24, again, it's an industrial wastewater
 11     self-monitoring report?
 12          A      How does it start?
 13          Q      It's again blue and white, and the report
 14     says it's due no later than January 15, 2000, the
 15     form that was provided.
 16          A      I don't see it, okay.              Can you tell me
 17     which one again?
 18          Q      It's going to be blue and white.              It's the
 19     industrial wastewater self-monitoring report in the
 20     middle --
 21                 MS. OUSLEY:       January 15, 2000?
 22                 THE WITNESS:       January 15, 2000?
 23                 MR. ELLIOTT:       Correct, correct.
 24                 THE WITNESS:       Okay.
 25     BY MR. ELLIOTT:

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  1          Q      Okay.    Sir, if you scroll to the bottom of
  2     the page, you'll see a signature from Mukesh Doshi
  3     on January 24, 2000?
  4          A      Right.
  5          Q      Can you confirm that's Mr. Doshi's
  6     signature?
  7          A      Yes.
  8          Q      So this sample -- the sample date was
  9     October 27 to October 28, 1999 is what's represented
 10     in the form, and then the sample data reported on
 11     the first page represents that tetrachloroethylene,
 12     PCE, was detected at 110.
 13                 Does that refresh your recollection as to
 14     whether or not the company was continuing to use and
 15     sell PCE?
 16          A      No, company -- company was not using it,
 17     don't have -- don't have any idea.
 18          Q      Okay.    If I could have you go to the next
 19     page, sir.
 20          A      Yeah, okay.
 21          Q      Okay.    This is again a Chem Pro Laboratory
 22     report to Pacifica Chemical to Mukesh dated
 23     November 19, 1999.
 24          A      November 19th -- November 8, 1999?
 25          Q      Well, the date of the report is November --

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  1            A   November 19th, I got that.
  2            Q   So, again, it identifies PCE as well as TCA
  3     and in this instance, DCE in the wastewater.
  4                Do you have any knowledge of the company
  5     using these three chemicals in your processes as of
  6     October 1999?
  7            A   No, I don't.        No, I don't.
  8            Q   Thank you.       You can close that exhibit,
  9     sir.
 10            A   All right.       So let's see.           How do you do
 11     that?
 12                MS. OUSLEY:        Can I help?
 13                THE WITNESS:        Yes.       Can you do that for me,
 14     please?    You've got to go all the way down.
 15                All right.       Done.
 16     BY MR. ELLIOTT:
 17            Q   Sir, I have a couple more very large
 18     documents that I was going to ask you questions
 19     about, but I think I'll touch on it generally before
 20     introducing exhibits that may hang up your computer
 21     screen or your iPad.
 22                Excuse me.       They relate to the
 23     environmental activities undertaken by Pacifica
 24     Chemical at the 132nd Street property.
 25                Sir, are you personally involved in any

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  1     supervisorial or directed capacity regarding the
  2     environmental activities that have been undertaken
  3     by Pacifica Chemical at the 132nd Street property
  4     over the last couple years?
  5          A     No -- oh, in the last couple of years?
  6          Q     Yes, last couple years.
  7          A     No, we -- last couple of years right now?
  8          Q     Correct.
  9          A     When we received a report that there was
 10     something detected on 132nd, we acted right away and
 11     we hired Murex who has been directing it and doing
 12     their test and doing their reports and getting to
 13     fix the problem.
 14          Q     Sir, I want --
 15          A     Yeah.
 16          Q     Before I ask you additional questions, I'm
 17     going to ask about interactions with Murex.
 18     Please -- no doubt Mr. Tracy or Mr. Stone would
 19     participate in meetings with you and Murex.                   Please
 20     refrain from providing any information that you
 21     obtained through communications with your counsel or
 22     the communications with your counsel in the presence
 23     of the representatives from Murex.                  Okay?
 24                MR. TRACY:       Do you understand that Maq.                So
 25     even if Brett or I was on the phone, you're not

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  1     supposed to -- that's privileged material to not
  2     disclose.
  3                 So whether you were just talking to your
  4     attorneys or you were talking to the consultants
  5     with the attorneys, I'm going to object to any
  6     questions that seek information on that.
  7                 THE WITNESS:       Okay.
  8     BY MR. ELLIOTT:
  9          Q      So in your role as the president of
 10     Pacifica Chemical, you worked directly to oversee
 11     the work of Murex relating to the environmental
 12     investigation or remediation at the 132nd Street
 13     property?
 14          A      I -- okay.      Like I said before, we hired
 15     Murex, and they are the one who is conducting the
 16     remediation and fixing the problem, and I don't have
 17     that much knowledge other than they're doing it.
 18          Q      Okay.    Thank you, sir.            So do you review
 19     the draft reports prepared by Murex relating to
 20     environmental investigations and other activities at
 21     132nd Street property before they're submitted to
 22     the lead agency, the Department of Toxic Substances
 23     Control?
 24          A      No, they -- they directly do it with the
 25     county.

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  1          Q      So you don't actually serve in your
  2     capacity as the president of Pacifica Chemical to
  3     oversee and comment and direct the work of Murex,
  4     correct?
  5          A      They are experts.           So I don't know too much
  6     other than what they are doing is the right thing to
  7     do, and they're working with the proper authorities.
  8          Q      Okay.    So it's correct then, sir, that
  9     Pacifica Chemical has designated Murex and the
 10     principal engineer there is a gentleman by the name
 11     of Jeremy Squire -- I've known him for 30 years -- a
 12     contractor with authority to act with the Department
 13     of Toxic Substances Control, correct?
 14          A      Yes.
 15          Q      And you yourself therefore defer to the
 16     actions of Murex and to a certain extent, counsel,
 17     but I don't want you to talk about that, on the
 18     activities that are being undertaken at the 132nd
 19     Street property, correct?
 20          A      Murex is handling it.
 21          Q      Do you, as you sit here today, sir, have an
 22     awareness of the nature and extent of the
 23     environmental evaluations performed by Murex on
 24     Pacifica Chemical's behalf at the 132nd Street
 25     property?

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  1          A      No.
  2          Q      If Murex stated that PCE in soil and
  3     groundwater at the property originated from the
  4     activities at Pacifica Chemical, would you disagree
  5     with Murex?
  6          A      I have not seen anything.               So I can't
  7     really make a comment on that.
  8          Q      Are you familiar with the pilot studies
  9     evaluating the use of vapor extraction to remove
 10     soil vapor, if any, located at the 132nd Street
 11     property?
 12          A      I'm not familiar.           Only thing I'm familiar
 13     is they are doing a pilot study and they are working
 14     with the County of Los Angeles.
 15          Q      Do you have any understanding, sir, as you
 16     sit here today, as to whether the vapor extraction
 17     system to extract any soil -- excuse me --
 18     contaminated soil vapor, if any, is operating at the
 19     132nd Street property at this time?
 20                 MR. TRACY:      Objection; calls for
 21     speculation.
 22                 You can answer, Maq, if you know.
 23                 THE WITNESS:       I -- I don't have any idea.
 24     They are working and I have not contacted them.
 25     BY MR. ELLIOTT:

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  1            Q    Okay.    You mentioned a pilot test a moment
  2     ago, sir.
  3            A    No, you mentioned a pilot and I replied
  4     that if it is a pilot, they must be doing it.                I
  5     have no idea.       I don't know what -- all I know is
  6     that they are expert and they are doing the thing
  7     which needs to be done.
  8            Q    Is there any other individual at Pacifica
  9     Chemical to whom you've assigned the responsibility
 10     to oversee the work of Murex?
 11            A    No.
 12            Q    Good.    We skipped a bunch of fat exhibits,
 13     sir.
 14                 MR. TRACY:      Mark, where are we at
 15     time-wise?
 16                 MR. ELLIOTT:       Probably 30 minutes.        Do you
 17     want to do a quick break?             We've been going, I
 18     know -- please, Ms. Nickerson has been typing away.
 19     We've been going for an hour and a half.               Do you
 20     want to do a five-minute break and then we'll come
 21     back and wrap up?
 22                 MR. TRACY:      Does that sound good, Maq?
 23                 THE WITNESS:       Yes.
 24                 MR. TRACY:      Okay.       Take five.
 25                           (Recess taken.)

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  1                MR. ELLIOTT:        So I'm going to introduce as
  2     an exhibit what will be marked as Exhibit 15.
  3                THE WITNESS:        Let me see, Amy.           I need your
  4     help, okay, because I have no idea.
  5                MS. OUSLEY:        You just have to --
  6                THE WITNESS:        It's not coming up.           Why?
  7     Okay.    Let's see if this is the one.
  8                MS. OUSLEY:        It's this one.
  9                THE WITNESS:        That last one.
 10                MS. OUSLEY:        Now Exhibit 15 is Ex. 19.
 11                MR. ELLIOTT:        Correct.
 12                THE WITNESS:        All right.           Thank you.
 13                MS. OUSLEY:        Uh-huh.
 14                (The document referred to was marked by the
 15     Reporter as Plaintiffs' Exhibit 15 for
 16     identification and is attached hereto.)
 17     BY MR. ELLIOTT:
 18          Q     So, Mr. Shaikh, what we've marked as
 19     Exhibit 15 is entitled "Hussain M. Shaikh's
 20     Counterclaim."       So this is the counterclaim filed by
 21     yourself against my clients, TC Rich and the
 22     Fleischers in the litigation that we're -- it's the
 23     reason why we're taking your deposition today.
 24                Have you seen this document before, sir?
 25          A     Yes.

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  1          Q     So you were aware that as an individual you
  2     filed counterclaims for contribution under CERCLA
  3     Section 113(f) against my clients TC Rich and the
  4     Fleischers, correct?
  5          A     So I'm working with my attorneys to --
  6                MR. TRACY:       Hold on, Maq.           He's asking if
  7     you're aware or not.
  8     BY MR. ELLIOTT:
  9          Q     All I'm doing is asking if you're aware and
 10     then I will have one question, sir.                  Please don't
 11     discuss your conversations with and your
 12     interactions with your counsel.
 13          A     All right.
 14          Q     So it is correct, Mr. Shaikh, that you're
 15     aware that you, as an individual, has filed a
 16     counterclaim against TC Rich, the current owner of
 17     132nd Street property, and Richard and Jacqueline
 18     Fleischer, correct?
 19          A     Yes.
 20          Q     Just one question for you, sir.                As an
 21     individual, have you yourself paid for any of the
 22     services performed by Murex or any other
 23     environmental contractor relating to the
 24     environmental investigation and remediation at the
 25     132nd Street property?

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  1            A      Say it again now.         Have I --
  2            Q      Have you, as an individual, paid for any of
  3     the services of Murex or any other environmental
  4     contractor relating to the environmental
  5     investigation and remediation activities at the
  6     132nd Street property?
  7                   MR. TRACY:     Objection; vague and ambiguous.
  8                   Sorry, Maq.     I think I spoke over you.          Go
  9     ahead with your answer.
 10                   THE WITNESS:     No.
 11                   MR. ELLIOTT:     My screen just disappeared.
 12     Guys, I'm almost done, and something just logged me
 13     out.       Let me go back into it.           Sorry about that.
 14                   Okay.   Sir, I'm introducing our last
 15     exhibit, Exhibit 16.
 16                   THE WITNESS:     Okay.
 17                   MS. OUSLEY:     Do you need some help?
 18                   THE WITNESS:     Yeah, let me --
 19                   MR. ELLIOTT:     Actually this is the wrong
 20     exhibit.       I apologize.      Let me see if that answers
 21     the question.
 22                   We'll come back to this one in just a
 23     moment.       Let me ask you a prior one, if I could.
 24                   Okay.   This is the right one.          Sir, this is
 25     just another exhibit.          We'll mark it as Exhibit 17.

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  1     It's coming up and then I can come back to this
  2     exhibit in a moment.
  3                (The document referred to was marked by the
  4     Reporter as Plaintiffs' Exhibit 17 for
  5     identification and is attached hereto.)
  6     BY MR. ELLIOTT:
  7            Q   Let me know when you can see Exhibit 17,
  8     sir.
  9            A   Okay.
 10                MS. OUSLEY:        Did you get it?
 11                THE WITNESS:        Yeah, I got it.      I'm becoming
 12     expert, okay.
 13     BY MR. ELLIOTT:
 14            Q   So your Exhibit 17 is again files obtained
 15     from the L.A. County Department of Public Works.
 16     I'm going to pause so that your counsel can put his
 17     objection on the record.
 18                These actually are files that relate to the
 19     Pacifica Chemical activities at 935 East Artesia.                  I
 20     have just one question I was to ask you about, but I
 21     want to be differential to Mr. Kirk in making an
 22     objection.
 23                MR. TRACY:       I'll state the same objection
 24     that I stated this morning as to relevance, this
 25     property being totally unrelated and not using any

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  1     PCE.       But go ahead with your questions.          I'll just
  2     state that objection applies to any questions you
  3     ask on these documents.
  4     BY MR. ELLIOTT:
  5            Q      Sir, if I could have you scroll down to
  6     page 23 of what we've marked as Exhibit 17.                It's
  7     going to begin "Permit for Industrial Wastewater
  8     Discharge," and it has a permit number, the 16768
  9     written in the upper right-hand corner.
 10            A      Permit for industrial, 1676B or 68?
 11            Q      68 would be their numbering system.
 12            A      Fac ID 2082711.
 13            Q      Yes, that's it, sir.
 14            A      Okay.
 15            Q      Okay.   Sir, so in Exhibit 17, page 23 of 25
 16     per the exhibit is a permit application for an
 17     existing sewer connection for Pacifica Chemical,
 18     Incorporated, at the 935 East Artesia Boulevard,
 19     Carson, California, that was prepared on 9-26-2007.
 20                   If you look at the bottom of the page, your
 21     signature appears.        Can you please confirm that that
 22     is your signature as the applicant?
 23            A      Yes.
 24            Q      If you look immediately above that, sir, at
 25     item number 16, it states, "Person in company

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  1     responsible for industrial wastewater discharge" and
  2     same as that, the 132nd Street property when you
  3     submitted the application, cases here that Hussain
  4     Shaikh is identified as the person responsible for
  5     industrial wastewater discharge at the 935 East
  6     Artesia property as well, correct?
  7          A     Yes.
  8          Q     Okay.     Okay.     If we could go back to
  9     Exhibit 16, if you wouldn't mind.
 10          A     Go up?
 11          Q     Go back to Exhibit 16.
 12          A     Show me, please.
 13                MS. OUSLEY:        Go back to the top, there's a
 14     little -- it's a long document.
 15                THE WITNESS:        Okay.
 16                MS. OUSLEY:        And then 16 is the one above.
 17                THE WITNESS:        Okay.
 18                MS. OUSLEY:        You're in.
 19                THE WITNESS:        All right.
 20                (The document referred to was marked by the
 21     Reporter as Plaintiffs' Exhibit 16 for
 22     identification and is attached hereto.)
 23     BY MR. ELLIOTT:
 24          Q     What we marked previously as Exhibit 16, a
 25     multipage document again from the California

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  1     Sanitation Districts of Los Angeles County, it's a
  2     four-page document entitled "Discharge
  3     Identification Questionnaire."
  4                Sir, have you seen this document before?
  5          A     No.
  6          Q     If you scroll to the bottom of the second
  7     page, sir, you'll see in section D a signature.
  8                Can you confirm that's your signature?
  9          A     That is my signature, yes.
 10          Q     Okay.     And it's dated 11-30-2004, correct?
 11          A     Okay.
 12          Q     And it pertains to activities at 935 East
 13     Artesia Boulevard?
 14          A     Yes.
 15          Q     If you look at paragraph 14, immediately
 16     above, it identifies the names and persons in charge
 17     of industrial wastewater discharge.
 18          A     Again, myself, yes.
 19          Q     You are identified as the responsible
 20     person, correct?
 21          A     Right, uh-huh.
 22                MR. ELLIOTT:        I have no additional
 23     questions, sir.
 24                THE WITNESS:        Okay.
 25                MR. TRACY:       I don't -- I don't have any

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  1     questions on my own, Mark.              So I think we're all
  2     done.    We want to go ahead and excuse Mr. Shaikh.
  3                 MR. ELLIOTT:       Yeah, and then we can just do
  4     a stipulation and order copies of the transcript,
  5     etcetera.
  6                 MR. TRACY:      Maq, I've got to talk to
  7     counsel for a few minutes.              You can go ahead and
  8     hang up.     I'll give you a call in a little bit.
  9                 THE WITNESS:       Thank you.           Thank you very
 10     much, Mark.      I appreciate it.
 11                 MR. ELLIOTT:       Thank you, Mr. Shaikh.           I'll
 12     see you at Peet's and I'll wave and buy you a cup of
 13     coffee, but we will not talk about --
 14                 THE WITNESS:       I run into you.           We won't
 15     discuss the case, but I'll buy you coffee.                   Okay?
 16                 MR. ELLIOTT:       Thank you for your time, sir.
 17                 THE WITNESS:       Thank you very much.           Have a
 18     nice day.
 19                 MR. ELLIOTT:       Thank you, Ms. Ousley.
 20                 MS. OUSLEY:       Thank you.
 21             (Ms. Ousley and the witness exited the
 22                      deposition proceedings.)
 23                 MR. ELLIOTT:       So, Linda, we'll propose a
 24     stipulation.      I forget in this day and age exactly
 25     how Veritext handles this, but I would like to order

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  1     a copy of the transcript.             I would like to get, you
  2     know, a draft electronic version, etcetera, but what
  3     I would suggest is, if it's acceptable to you, Kirk,
  4     what we typically do is it's your witness.
  5                 You take control of the original
  6     transcript, provide it to Mr. Shaikh for review and
  7     then if you could please retain the original and
  8     just stipulate that you'll make it available, you
  9     know, for purposes of, you know, necessity at trial,
 10     etcetera.     If there's no changes, that a certified
 11     copy can be used for all purposes would be what I
 12     would suggest.
 13                 MR. TRACY:      Yeah, so stipulated.
 14                 MR. ELLIOTT:       Okay.       Great.   Linda, do you
 15     have enough information from me for placing that
 16     order?
 17                 THE REPORTER:        Yes.
 18               (Whereupon, at the hour of 2:17 p.m.,
 19               the deposition was concluded.)
 20
 21
 22
 23
 24
 25

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  1     STATE OF CALIFORNIA            )
  2                                    )    ss
  3     COUNTY OF ORANGE               )
  4
  5               I, HUSSAIN SHAIKH, declare under the
  6     penalties of perjury of the laws of the United
  7     States that the foregoing is true and correct.
  8               Executed this ______ day of _____________,
  9     2020, at ______________________, California.
 10
 11
 12
 13                 ______________________________
 14                          HUSSAIN SHAIKH
 15
 16
 17
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  1     STATE OF CALIFORNIA           )
  2                                   )    ss
  3     COUNTY OF ORANGE              )
  4               I, LINDA NICKERSON, CSR #8746, in and for
  5     the State of California do hereby certify:
  6               That, prior to being examined, the witness
  7     named in the foregoing deposition was by me duly
  8     sworn to testify the truth, the whole truth, and
  9     nothing but the truth;
 10               That said deposition was taken down by me in
 11     shorthand at the time and place therein named, and
 12     thereafter reduced to typewritten form at my
 13     direction, and the same is a true, correct, and
 14     complete transcript of the testimony at said
 15     proceedings.
 16               Before completion of the deposition, review
 17     of transcript [X] was [ ] was not requested.                If
 18     requested, any changes made by the deponent (and
 19     provided to the reporter) during the period allowed
 20     are appended hereto.
 21               I further certify that I am not interested
 22     in the event of the action.
 23     WITNESS MY HAND this 19th day of December, 2020.
 24
                          <%6861,Signature%>
 25                  LINDA NICKERSON, CSR No. 8746

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                       Federal Rules of Civil Procedure

                                       Rule 30



           (e) Review By the Witness; Changes.

           (1) Review; Statement of Changes. On request by the

           deponent or a party before the deposition is

           completed, the deponent must be allowed 30 days

           after being notified by the officer that the

           transcript or recording is available in which:

           (A) to review the transcript or recording; and

           (B) if there are changes in form or substance, to

           sign a statement listing the changes and the

           reasons for making them.

           (2) Changes Indicated in the Officer's Certificate.

           The officer must note in the certificate prescribed

           by Rule 30(f)(1) whether a review was requested

           and, if so, must attach any changes the deponent

           makes during the 30-day period.




           DISCLAIMER:     THE FOREGOING FEDERAL PROCEDURE RULES

           ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

           THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

           2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

           OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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                                  #:3999
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           COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

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      transcript of the colloquies, questions and answers
      as submitted by the court reporter. Veritext Legal
      Solutions further represents that the attached
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      documents as submitted by the court reporter and/or
      attorneys in relation to this deposition and that
      the documents were processed in accordance with
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            EXHIBIT 1
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 229 of 464 Page ID
                                  #:4001


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                                          Shaikh
     7

     8                         UNITED STATES DISTRICT COURT
     9                       CENTRAL DISTRICT OF CALIFORNIA
    10
         TC RICH, LLC, et al.,                         Case No.2:19
                                                       Case No. 2:19-CV-02123-DMG-AGR
                                                                    -CV- 02123- DMG -AGR
    11

    12
                             Plaintiffs,               HUSSAIN M. SHAIKH’S
                                                                   SHAIKH'S RESPONSE
                                                                   LLC'S REQUESTS
                                                       TO TC RICH, LLC’S
    13         v.
               v.                                      FOR ADMISSIONS, SET ONE
    14   HUSSAIN M. SHAIKH, et al.,                    Fed. R. Civ. P. 36
    15                       Defendants.               Judge: Hon.
                                                              Hon. Dolly
                                                                   Dolly M. Gee
    16

    17

    18
         AND RELATED COUNTERCLAIMS
                     COUNTERCLAIMS
    19

    20   PROPOUNDING PARTY:                TC Rich, LLC
    21   RESPONDING PARTY:
                    PARTY:                 Hussain M. Shaikh
    22   TYPE OF DISCOVERY:
                 DISCOVERY:                             Admissions –- Fed. R. Civ. P. 36
                                           Requests for Admissions
    23   SET NUMBER:
             NUMBER:                       One
    24

    25

    26
    27                                                                                     EXHIBIT




0   28
    28


                    SHAIKH’S
                    SHAIKH'S RESPONSE TO TC RICH’S
                                            RICH'S REQUESTS FOR ADMISSIONS, SET
                                                                            SET ONE
                                                                                ONE
                                                                                           0001
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 230 of 464 Page ID
                                  #:4002


   1         The following responses are based on the information reasonably available to
   2   Defendant Hussain M. Shaikh (“Shaikh”) at this time.
   3                  RESPONSES TO REQUESTSFOR ADMISSIONS
   4   REQUEST FOR ADMISSION NO. 1.:
   5         Airborne tetrachloroethane (“PCE”) has been detected within the structure on
   6   the property commonly known as 132 West 132nd Street, Los Angeles, California
   7   (the “PROPERTY”) at levels in excess of California Human Health Screening Levels
   8   for indoor air concentrations for commercial/industrial sites.
   9   RESPONSE TO REQUEST FOR ADMISSION NO. 1:
  10         Responding party objects to this request as irrelevant, because the use or
  11   application of California Human Health Screening Levels (“CHHSLs”) was
  12   discontinued by California regulatory agencies in 2014. In 2016, DTSC evaluated the
  13   health risk analysis and concurred that none of the sample-specific values exceeded
  14   commercial/industrial risk management level. Subject to this objection, responding
  15   party admits that concentrations of PCE were detected in indoor air within the
  16   structure on the PROPERTY in 2015 at levels in excess of the discontinued
  17   California Human Health Screening Levels for indoor air concentrations for
  18   commercial/industrial sites. Responding party denies that it was “airborne,” as that
  19   term implies an aerosol rather than a vapor.
  20   REQUEST FOR ADMISSION NO. 2.:
  21         Shah Chemical Corporation (“SHAH CHEMICAL”) was the occupant of the
  22   PROPERTY from approximately 1980 to 1983.
  23   RESPONSE TO REQUEST FOR ADMISSION NO. 2:
  24         Deny.
  25   REQUEST FOR ADMISSION NO. 3.:
  26         PCE is a hazardous substance.
  27   RESPONSE TO REQUEST FOR ADMISSION NO. 3:
  28         Admit.
                                                 -2-                        2:19-CV-02123-DMG-AGR
                  SHAIKH’S RESPONSE TO TC RICH’S REQUESTS FOR ADMISSIONS, SET ONE
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 231 of 464 Page ID
                                  #:4003


   1   REQUEST FOR ADMISSION NO. 4.:
   2         PCE is regulated by the Comprehensive Environmental Response,
   3   Compensation, and Liability Act (“CERCLA”).
   4   RESPONSE TO REQUEST FOR ADMISSION NO. 4:
   5         Responding party admits that PCE is a “hazardous substance” under CERCLA
   6   § 101(14), 42 U.S.C. § 9601(14). Responding party denies the remainder of this
   7   request.
   8   REQUEST FOR ADMISSION NO. 5.:
   9         SHAH CHEMICAL transported to and disposed of PCE on the PROPERTY.
  10   RESPONSE TO REQUEST FOR ADMISSION NO. 5:
  11          Deny.
  12   REQUEST FOR ADMISSION NO. 6.:
  13         SHAH CHEMICAL stored PCE at the PROPERTY.
  14   RESPONSE TO REQUEST FOR ADMISSION NO. 6:
  15         Admit.
  16   REQUEST FOR ADMISSION NO. 7.:
  17         PCE is currently present in groundwater and soil at the PROPERTY.
  18   RESPONSE TO REQUEST FOR ADMISSION NO. 7:
  19          Admit.
  20   REQUEST FOR ADMISSION NO. 8.:
  21         A 1,500-gallon three-stage clarifier used on the PROPERTY was closed in
  22   place in 2004.
  23   RESPONSE TO REQUEST FOR ADMISSION NO. 8:
  24         Admit.
  25   REQUEST FOR ADMISSION NO. 9.:
  26         Concrete trenches on the PROPERTY utilized for wastewater disposal were
  27   also filled in with concrete in 2004.
  28   ///
                                                 -3-                        2:19-CV-02123-DMG-AGR
                  SHAIKH’S RESPONSE TO TC RICH’S REQUESTS FOR ADMISSIONS, SET ONE
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 232 of 464 Page ID
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   1   RESPONSE TO REQUEST FOR ADMISSION NO. 9:
   2         Responding party admits the trenches are currently filled with concrete. After
   3   a reasonable inquiry, responding party is unable to admit or deny when they were
   4   filled with concrete because responding party sold the PROPERTY in 2003.
   5   REQUEST FOR ADMISSION NO. 10:
   6         From 1978 to 1999, business that operated on the PROPERTY generated
   7   wastewater from cleaning containers that had stored PCE.
   8   RESPONSE TO REQUEST FOR ADMISSION NO. 10:
   9         Admit.
  10   REQUEST FOR ADMISSION NO. 11:
  11         No removal or other protective action has been taken to ameliorate or
  12   otherwise reduce the PCE indoor air and soil vapor concentrations at the
  13   PROPERTY.
  14   RESPONSE TO REQUEST FOR ADMISSION NO. 11:
  15         Deny.
  16   REQUEST FOR ADMISSION NO. 12:
  17         As of the date of these requests, risks posed by the PCE found in both
  18   groundwater and soil remain at the PROPERTY remain unabated.
  19   RESPONSE TO REQUEST FOR ADMISSION NO. 12:
  20         Responding party objects to this request because the term “risks posed” is
  21   vague and ambiguous, including when used in combination with the phraseology that
  22   the “risks” “remain unabated.” Responding party is unable to decipher a reasonable
  23   interpretation. Subject to these objections, responding party admits that PCE found
  24   in soil and groundwater at the PROPERTY still need to be remediated. Responding
  25   party denies the remainder of this request.
  26   REQUEST FOR ADMISSION NO. 13:
  27         Pacifica Chemical Incorporated contributed to the handling, storage, and
  28   disposal of PCE at the PROPERTY.
                                                 -4-                        2:19-CV-02123-DMG-AGR
                  SHAIKH’S RESPONSE TO TC RICH’S REQUESTS FOR ADMISSIONS, SET ONE
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   1   RESPONSE TO REQUEST FOR ADMISSION NO. 13:
   2         Deny.
   3   REQUEST FOR ADMISSION NO. 14:
   4         PCE present at the PROPERTY is hazardous waste under the Resource
   5   Conservation and Recovery Act (“RCRA”).
   6   RESPONSE TO REQUEST FOR ADMISSION NO. 14:
   7         Admit.
   8   REQUEST FOR ADMISSION NO. 15:
   9         As of November 2018, the California Department of Toxic Substances Control
  10   (“DTSC”) and the U.S. Environmental Protection Agency (“USEPA”) recognized
  11   2.0 ug/m3 as the industrial air screening level for PCE.
  12   RESPONSE TO REQUEST FOR ADMISSION NO. 15:
  13         Admit.
  14   REQUEST FOR ADMISSION NO. 16:
  15         The indoor air concentrations of PCE found at the Property constitute an
  16   “imminent and substantial endangerment to the health or the environment” within the
  17   meaning of RCRA § 7002(a)(1)(B) (42 U.S.C. § 6972 (a)(1)(B)).
  18   RESPONSE TO REQUEST FOR ADMISSION NO. 16:
  19         Deny.
  20   REQUEST FOR ADMISSION NO. 17:
  21         The high concentrations of PCE in soil vapor found at the Property constitute
  22   an “imminent and substantial endangerment to the health or the environment” within
  23   the meaning of RCRA § 7002(a)(1)(B) (42 U.S.C. § 6972 (a)(1)(B)).
  24   RESPONSE TO REQUEST FOR ADMISSION NO. 17:
  25         Deny.
  26   REQUEST FOR ADMISSION NO. 18:
  27         Disposal of PCE is a disposal of a hazardous substance within the meaning of
  28   Section 107(a)(2) of CERCLA (42 U.S.C. § 9607(a)(2)).
                                                 -5-                        2:19-CV-02123-DMG-AGR
                  SHAIKH’S RESPONSE TO TC RICH’S REQUESTS FOR ADMISSIONS, SET ONE
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 234 of 464 Page ID
                                  #:4006


   1   RESPONSE TO REQUEST FOR ADMISSION NO. 18:
   2         Admit.
   3   REQUEST FOR ADMISSION NO. 19:
   4         The discovery of PCE at the Property has resulted in the need to investigate
   5   and characterize volatile organic compounds (VOCs), including PCE and its daughter
   6   compounds, in soil, soil gas, and groundwater beneath the Property
   7   RESPONSE TO REQUEST FOR ADMISSION NO. 19:
   8         Admit.
   9   REQUEST FOR ADMISSION NO. 20:
  10         The discovery of PCE at the Property has resulted in the need to assess
  11   potential risks to human health associated with PCE in soil vapor and indoor air at
  12   the Property
  13   RESPONSE TO REQUEST FOR ADMISSION NO. 20:
  14         Admit.
  15   REQUEST FOR ADMISSION NO. 21:
  16         Hussain M. Shaikh was the CEO of Pacifica Chemical Incorporated for the
  17   entire time it operated at the PROPERTY
  18   RESPONSE TO REQUEST FOR ADMISSION NO. 21:
  19         Admit.
  20
  21        Dated: July 27, 2020                     PALADIN LAW GROUP® LLP
  22                                          By:     /s/ Kirk M. Tracy
  23                                                 Kirk M. Tracy
                                                     Counsel for Defendant
  24                                                 Hussain M. Shaikh
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                                                -6-                        2:19-CV-02123-DMG-AGR
                 SHAIKH’S RESPONSE TO TC RICH’S REQUESTS FOR ADMISSIONS, SET ONE
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                                  #:4007




            EXHIBIT 2
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                                  #:4008


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                      (805) 852 -2495
     6
         Counsel for Defendant Hussain M. Shaikh
                                          Shaikh
     7

     8                       UNITED STATES DISTRICT COURT
     9                     CENTRAL DISTRICT OF CALIFORNIA
    10
         TC RICH, LLC, et al.,                       Case No.2:19
                                                     Case No. 2:19-CV-02123-DMG-AGR
                                                                  -CV- 02123- DMG -AGR
    11

    12
                           Plaintiffs,               HUSSAIN M. SHAIKH’S
                                                                 SHAIKH'S RESPONSE
                                                                 LLC'S
                                                     TO TC RICH, LLC’S
    13         v.
               v.                                    INTERROGATORIES, SET ONE
    14   HUSSAIN M. SHAIKH, et al.,                  Fed. R. Civ. P. 33
    15                     Defendants.               Judge: Hon.
                                                            Hon. Dolly
                                                                 Dolly M. Gee
    16

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    18
         AND RELATED COUNTERCLAIMS
                     COUNTERCLAIMS
    19

    20   PROPOUNDING PARTY:              TC Rich, LLC
    21   RESPONDING PARTY:
                    PARTY:               Hussain M. Shaikh
    22   TYPE OF DISCOVERY:
                 DISCOVERY:              Interrogatories -
                                                         – Fed. R. Civ. P. 33
                                                                           33
    23   SET NUMBER:
             NUMBER:                     One
    24

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                      SHAIKH’S
                      SHAIKH'S RESPONSE TO TC RICH’S
                                              RICH'S INTERROGATORIES,
                                                     INTERROGATORIES, SET ONE
                                                                                 EXI-{IBIT

                                                                                  0002
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 237 of 464 Page ID
                                  #:4009


   1         The following responses are based on the information reasonably available to
   2   Defendant Hussain M. Shaikh (“Shaikh”) at this time.
   3                        RESPONSES TO INTERROGATORIES
   4   INTERROGATORY NO. 1.:
   5         Identify all individuals responsible for managing any aspect of your business
   6   operations at 132 West 132nd Street, Los Angeles, California (the “PROPERTY”),
   7   from 1978 to the sale of the PROPERTY by Hussain M. Shaikh.
   8   RESPONSE TO INTERROGATORY NO. 1:
   9         Hussain M. Shaikh.
  10   INTERROGATORY NO. 2.:
  11         Identify all individuals employed by Pacifica Chemical Corporation
  12   (“PACIFICA”) and/or its subsidiaries and affiliates while PACIFICA was in
  13   operations at the PROPERTY who are still employed by PACIFICA or its
  14   subsidiaries and affiliates as of the date of these interrogatories.
  15   RESPONSE TO INTERROGATORY NO. 2:
  16         None.
  17   INTERROGATORY NO. 3.:
  18         Identify all chemicals stored at the PROPERTY from 1978 to the sale of the
  19   PROPERTY by Hussain M. Shaikh.
  20   RESPONSE TO INTERROGATORY NO. 3:
  21         None.
  22   INTERROGATORY NO. 4.:
  23         Describe in detail the containers for each of the chemicals stored at the
  24   PROPERTY from 1978 to the sale of the PROPERTY by Hussain M. Shaikh.
  25   RESPONSE TO INTERROGATORY NO. 4:
  26         None.
  27   INTERROGATORY NO. 5.:
  28         Describe in detail the containers used at the PROPERTY for mixing chemicals
                                                  -2-                         2:19-CV-02123-DMG-AGR
                      SHAIKH’S RESPONSE TO TC RICH’S INTERROGATORIES, SET ONE
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   1   stored at the PROPERTY from 1978 to the sale of the PROPERTY by Hussain M.
   2   Shaikh.
   3   RESPONSE TO INTERROGATORY NO. 5:
   4           None.
   5   INTERROGATORY NO. 6.:
   6           Describe in detail how each of the containers for storing chemicals or mixing
   7   chemicals at the PROPERTY were cleaned from 1978 to the sale of the PROPERTY
   8   by Hussain M. Shaikh.
   9   RESPONSE TO INTERROGATORY NO. 6:
  10           None.
  11   INTERROGATORY NO. 7.:
  12           Describe in detail how each of the chemicals stored at the PROPERTY were
  13   disposed of during the period from 1978 to the sale of the PROPERTY by Hussain
  14   M. Shaikh.
  15   RESPONSE TO INTERROGATORY NO. 7:
  16           None.
  17   INTERROGATORY NO. 8.:
  18           Describe in detail how frequently the 1,500-gallon three-stage clarifier located
  19   in the northwest exterior portion of the PROPERTY (the “CLARIFIER”) was used
  20   to dispose of chemicals at the PROPERTY prior to its sale by Hussain M. Shaikh.
  21   RESPONSE TO INTERROGATORY NO. 8:
  22           To the extent responding party can recall the details from operations at the
  23   PROPERTY, his recollection is that the clarifier was used two to three times per
  24   week.
  25   INTERROGATORY NO. 9.:
  26           Describe in detail how the CLARIFIER was cleaned and maintained from the
  27   time period of its installation to until the sale of the PROPERTY by Hussain M.
  28   Shaikh.
                                                  -3-                         2:19-CV-02123-DMG-AGR
                       SHAIKH’S RESPONSE TO TC RICH’S INTERROGATORIES, SET ONE
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 239 of 464 Page ID
                                  #:4011


   1   RESPONSE TO INTERROGATORY NO. 9:
   2         To the extent responding party can recall the details from operations at the
   3   PROPERTY, his recollection is that the clarifier was cleaned by draining any water
   4   from it and removing any debris by hand. There was no sludge or other buildup that
   5   had to be cleaned out.
   6   INTERROGATORY NO. 10:
   7         Identify each and every person responsible for maintaining the CLARIFIER
   8   prior to the sale of the PROPERTY by Hussain M. Shaikh.
   9   RESPONSE TO INTERROGATORY NO. 10:
  10         Responding party can only recall an individual with the name “Guadilio,” who
  11   is believed to have died approximately twenty years ago. Responding party cannot
  12   recall whether any other individuals were responsible for maintaining the clarifier.
  13   INTERROGATORY NO. 11:
  14         Describe in detail all policies and procedures for preventing environmental
  15   contamination at the PROPERTY that were in place during the period from 1978 to
  16   the sale of the PROPERTY by Hussain M. Shaikh.
  17   RESPONSE TO INTERROGATORY NO. 11:
  18         Responding party objects to this interrogatory as overly broad, vague, and
  19   ambiguous as it could related to any number of business practices over an
  20   approximately twenty-five-year period and therefore an attempt to answer to that
  21   extent is not proportionate to the needs of this case. Accordingly, responding party
  22   will answer regarding the procedures for handling chemicals and wastewater at the
  23   PROPERTY. Subject to these objections, responding party responds as follows:
  24   Responding party’s recollection is that, pursuant to state law and wastewater
  25   discharge permits issued for the PROPERTY, liquids and wastewater handled within
  26   the area of the trenches were drained to them and went into the clarifier. Any spills
  27   of chemicals or other liquids at the PROPERTY were promptly cleaned up.
  28   ///
                                                -4-                         2:19-CV-02123-DMG-AGR
                      SHAIKH’S RESPONSE TO TC RICH’S INTERROGATORIES, SET ONE
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 240 of 464 Page ID
                                  #:4012


   1   INTERROGATORY NO. 12:
   2         Describe in detail all policies and procedures for the disposal of wastewater at
   3   the PROPERTY that were in place during the period from 1978 to the sale of the
   4   PROPERTY by Hussain M. Shaikh.
   5   RESPONSE TO INTERROGATORY NO. 12:
   6         Responding party objects to this interrogatory as overly broad, vague, and
   7   ambiguous as it could related to any number of business practices over an
   8   approximately twenty-five-year period and therefore an attempt to answer to that
   9   extent is not proportionate to the needs of this case. Accordingly, responding party
  10   will answer regarding the procedures for handling chemicals and wastewater at the
  11   PROPERTY. Subject to these objections, responding party responds as follows:
  12   Responding party’s recollection is that, pursuant to state law and wastewater
  13   discharge permits issued for the PROPERTY, liquids and wastewater handled within
  14   the area of the trenches were drained to them and went into the clarifier. Any spills
  15   of chemicals or other liquids at the PROPERTY were promptly cleaned up.
  16   INTERROGATORY NO. 13:
  17         Identify each and every person responsible for preventing environmental
  18   contamination at the PROPERTY during the period of 1978 to the sale of the
  19   PROPERTY by Hussain M. Shaikh.
  20   RESPONSE TO INTERROGATORY NO. 13:
  21         Responding party can only recall an individual with the name “Guadilio,” who
  22   is believed to have died approximately twenty years ago. Responding party cannot
  23   recall the names of other individuals who worked at the PROPERTY handling
  24   chemicals and would have been responsible for preventing environmental
  25   contamination.
  26   INTERROGATORY NO. 14:
  27         Identify each and every person was responsible for wastewater disposal at the
  28   PROPERTY during the period of 1978 to the sale of the PROPERTY.
                                                -5-                         2:19-CV-02123-DMG-AGR
                     SHAIKH’S RESPONSE TO TC RICH’S INTERROGATORIES, SET ONE
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 241 of 464 Page ID
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   1   RESPONSE TO INTERROGATORY NO. 14:
   2         Responding party can only recall an individual with the name “Guadilio,” who
   3   is believed to have died approximately twenty years ago. Responding party cannot
   4   recall the names of other individuals who worked at the PROPERTY handling
   5   chemicals and would have been responsible for wastewater disposal.
   6   INTERROGATORY NO. 15:
   7         Identify each and every person responsible for overseeing the closure of the
   8   wastewater disposal system at the PROPERTY, including but not limited to closure
   9   of the CLARIFIER, prior to the sale of the PROPERTY.
  10   RESPONSE TO INTERROGATORY NO. 15:
  11         Responding party cannot recall who was responsible for overseeing the closure
  12   of the wastewater disposal system at the PROPERTY, especially considering that
  13   responding party sold the PROPERTY in 2003 and believes the wastewater disposal
  14   system was closed thereafter. Responding party directs plaintiffs to the “CLADPW
  15   Clarifier Closure Permit,” with Bates numbers TCR000313 – 321, produced by
  16   plaintiffs in the related matter of TC Rich v. Pacifica Chemical Inc. (C.D. Cal., no.
  17   15-4878), for possible additional information responsive to this request.
  18        Dated: January 27, 2020                   PALADIN LAW GROUP® LLP
  19                                          By:      /s/ Kirk M. Tracy
  20                                                  Kirk M. Tracy
                                                      Counsel for Defendant
  21                                                  Hussain M. Shaikh
  22

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                                                -6-                           2:19-CV-02123-DMG-AGR
                     SHAIKH’S RESPONSE TO TC RICH’S INTERROGATORIES, SET ONE
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 242 of 464 Page ID
                                  #:4014




                                           VERIFICATION
                                           VERIFICATION

    Re:       Rich, et
           TC Rich,            Hussain M,
                       al., v. Hussain
                    et al.，v.             Shaikh, et al.
                                       M Shaikh,
                    2:19-cv-021
                No. 2:19
           Case No.               23-DMG-A
                         -cv- 02123-         GR (C.D. Cal.)
                                      DMG -AGR

    I, Hussain M. Shaikh, have read the foregoing:
    I，Hussain
    HUSSAIN M.
    HUSSAIN    SHAIKH'S RESPONS
            M. SHAIKH’S RESPONSEE TO TC RICH, LLC'S INTERROGATORIES,
                                              LLC，S INTERROGATORIES,
    SET ONE

    and know its contents;
                                                                                      of California that
                                                                         of the State of
           I certify and declare under penalty of perjury under the laws of

    the foregoing answers are true and correct.

    Executedon
    Executed    July, 202020
             onJuly¿즈，20      thethe
                           in in     CountyofofLos
                                   County          Angeles, California.
                                                LosAngeles,




                                                                 'Hussain
                                                                   ussain M. Shaikh
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 243 of 464 Page ID
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            EXHIBIT 3
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 244 of 464 Page ID
                                  #:4016


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   6
        Counsel for Defendant Hussain M. Shaikh
   7

   8                       UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
  10
        TC RICH, LLC, et al.,                      Case No. 2:19-CV-02123-DMG-AGR
  11

  12
                         Plaintiffs,               HUSSAIN M. SHAIKH’S
                                                   SUPPLEMENTAL RESPONSES TO
  13          v.                                   TC RICH, LLC’S
                                                   INTERROGATORIES, SET ONE
  14    HUSSAIN M. SHAIKH, et al.,
                                                   Fed. R. Civ. P. 33
  15                     Defendants.
  16                                               Judge: Hon. Dolly M. Gee

  17

  18
        AND RELATED COUNTERCLAIMS
  19

  20   PROPOUNDING PARTY:              TC Rich, LLC
  21   RESPONDING PARTY:               Hussain M. Shaikh
  22   TYPE OF DISCOVERY:              Interrogatories – Fed. R. Civ. P. 33
  23   SET NUMBER:                     One
  24

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             SHAIKH’S SUPPLEMENTAL RESPONSES TO TC RICH’S INTERROGATORIES, SET ONE
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 245 of 464 Page ID
                                  #:4017


   1         The following responses are based on the information reasonably available to
   2   Defendant Hussain M. Shaikh (“Shaikh”) at this time.
   3                       RESPONSES TO INTERROGATORIES
   4   INTERROGATORY NO. 3:
   5         Identify all chemicals stored at the PROPERTY from 1978 to the sale of the
   6   PROPERTY by Hussain M. Shaikh.
   7   RESPONSE TO INTERROGATORY NO. 3:
   8         None.
   9   SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 3:
  10         Responding party objects to this request as ambiguous as it is unclear whether
  11   it is asking about all chemicals stored from 1978 until 2003 or about all chemicals
  12   stored “by Hussain M. Shaikh.” After discussions with opposing counsel, responding
  13   party understands it to be the former.
  14         Subject to and without waiving this objection, responding party responds as
  15   follows: At various periods of time, not necessarily the entire duration requested in
  16   this interrogatory, the following chemicals were stored at the PROPERTY:
  17         Tetrachloroethylene (“PCE”), hydrogen peroxide, sodium hydroxide,
  18   isopropyl alcohol, caustic soda, Milsoft N-20 (ICI), CARSANON N-9 (LONZA),
  19   CARSOSOFT T-90 (LONZA), Sodium Lauryl Sulfate, Ammonum Laurly Sulfate,
  20   and Peg-600 (EMBRY). Various dyes in powder form were also stored for resale,
  21   although responding party does not recall the exact names or chemical compounds
  22   for those dyes. The softeners and detergents mixed at the PROPERTY and stored
  23   pending sale included PAC SEQUEST NTANA3, PAC SEQUEST 100, PAC
  24   SEQUEST 200, PAC SEQUEST 250, PAC WETTING AGENT WET CO, and PAC
  25   SOFT 300. Responding party cannot recall any other chemicals.
  26   INTERROGATORY NO. 4:
  27         Describe in detail the containers for each of the chemicals stored at the
  28   PROPERTY from 1978 to the sale of the PROPERTY by Hussain M. Shaikh.
                                              -2-                        2:19-CV-02123-DMG-AGR
              SHAIKH’S SUPPLEMENTAL RESPONSES TO TC RICH’S INTERROGATORIES, SET ONE
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 246 of 464 Page ID
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   1   RESPONSE TO INTERROGATORY NO. 4:
   2         None.
   3   SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 4:
   4         Responding party objects to this request as ambiguous as it is unclear whether
   5   it is asking about all chemicals stored from 1978 until 2003 or about all chemicals
   6   stored “by Hussain M. Shaikh.” After discussions with opposing counsel, responding
   7   party understands it to be the former.
   8         Subject to and without waiving this objection, responding party responds as
   9   follows: For a few years in the 1980s, PCE was stored in a 2,000 gallon above-
  10   ground tank for resale purposes. PCE was received in bulk, put directly into the tank,
  11   and thereafter repackaged into 55-gallon drums that were promptly sealed. PCE was
  12   not mixed with or used in any other products.
  13         Hydrogen peroxide was stored in bulk in a large plastic tank and then put into
  14   smaller plastic drums or bigger plastic totes for resale. Responding party cannot
  15   recall the specific sizes of the containers.
  16         Sodium hydroxide was stored in the same packages in which it was delivered,
  17   never opened, and then resold in the same packages. Responding party believes it
  18   came in 25kg small drums.
  19         Caustic soda was stored in the same packages in which it was delivered, never
  20   opened, and then resold in the same packages. Responding party believes it came in
  21   drums or totes.
  22         Raw materials used for mixing products included isopropyl alcohol, Milsoft
  23   N-20 (ICI); CARSANON N-9 (LONZA); CARSOSOFT T-90 (LONZA); Sodium
  24   Lauryl Sulfate, Ammonum Laurly Sulfate, and Peg-600 (EMBRY). These chemicals
  25   were stored in the drums, totes, or boxes in which they were delivered to the
  26   PROPERTY from the seller. The mixtures were then placed in 55-gallon drums,
  27   which were sealed and stored for sale to customers.
  28         Powdered dyes stored in the same packages in which they were delivered,
                                              -3-                        2:19-CV-02123-DMG-AGR
              SHAIKH’S SUPPLEMENTAL RESPONSES TO TC RICH’S INTERROGATORIES, SET ONE
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 247 of 464 Page ID
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   1   never opened, and then resold in the same packages. Responding party believes they
   2   came in 25kg small drums or boxes with some type of bag inside containing the
   3   powder.
   4   INTERROGATORY NO. 5:
   5            Describe in detail the containers used at the PROPERTY for mixing chemicals
   6   stored at the PROPERTY from 1978 to the sale of the PROPERTY by Hussain M.
   7   Shaikh.
   8   RESPONSE TO INTERROGATORY NO. 5:
   9            None.
  10   SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 5:
  11            Responding party objects to this request as ambiguous as it is unclear whether
  12   it is asking about all chemicals mixed from 1978 until 2003 or about all chemicals
  13   mixed “by Hussain M. Shaikh.”             After discussions with opposing counsel,
  14   responding party understands it to be the former.
  15            Subject to and without waiving this objection, responding party responds as
  16   follows: There were two circular mixing tanks, one smaller and one larger. Records
  17   produced in this matter indicate the tanks were 280 gallons and 1700 gallons in size.
  18   Responding party does not recall those sizes specifically, but believes they are
  19   reasonable estimates. The tanks had drain valves over portions of trenches in the
  20   floor.
  21   INTERROGATORY NO. 6:
  22            Describe in detail how each of the containers for storing chemicals or mixing
  23   chemicals at the PROPERTY were cleaned from 1978 to the sale of the PROPERTY
  24   by Hussain M. Shaikh.
  25   RESPONSE TO INTERROGATORY NO. 6:
  26            None.
  27   SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 6:
  28            Responding party objects to this request as ambiguous as it is unclear whether
                                                -4-                        2:19-CV-02123-DMG-AGR
                SHAIKH’S SUPPLEMENTAL RESPONSES TO TC RICH’S INTERROGATORIES, SET ONE
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 248 of 464 Page ID
                                  #:4020


   1   it is asking about all chemicals stored or mixed from 1978 until 2003 or about all
   2   chemicals stored or mixed “by Hussain M. Shaikh.” After discussions with opposing
   3   counsel, responding party understands it to be the former.
   4         Subject to and without waiving this objection, responding party responds as
   5   follows: Mixing tanks were cleaned by rinsing them with water. The water was
   6   drained to trenches in the floor that led to the wastewater clarifier. Responding party
   7   does not believe any containers for storage of chemicals were cleaned at the
   8   PROPERTY.
   9   INTERROGATORY NO. 7:
  10         Describe in detail how each of the chemicals stored at the PROPERTY were
  11   disposed of during the period from 1978 to the sale of the PROPERTY by Hussain
  12   M. Shaikh.
  13   RESPONSE TO INTERROGATORY NO. 7:
  14         None.
  15   SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 7:
  16         Responding party objects to this request as ambiguous as it is unclear whether
  17   it is asking about all chemicals stored from 1978 until 2003 or about all chemicals
  18   stored “by Hussain M. Shaikh.” After discussions with opposing counsel, responding
  19   party understands it to be the former.
  20         Subject to and without waiving this objection, responding party responds as
  21   follows: Liquids and wastewater handled within the area of the trenches were drained
  22   to them and went into the clarifier. Any spills of chemicals or other liquids at the
  23   PROPERTY were promptly cleaned up. Spent chemical storage containers were
  24   either returned to the vendor or some 55-gallon drums were sent to a drum re-
  25   conditioner.   Responding party does not believe any chemicals stored at the
  26   PROPERTY were disposed of in any other method at the PROPERTY.
  27   INTERROGATORY NO. 11:
  28         Describe in detail all policies and procedures for preventing environmental
                                              -5-                        2:19-CV-02123-DMG-AGR
              SHAIKH’S SUPPLEMENTAL RESPONSES TO TC RICH’S INTERROGATORIES, SET ONE
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 249 of 464 Page ID
                                  #:4021


   1   contamination at the PROPERTY that were in place during the period from 1978 to
   2   the sale of the PROPERTY by Hussain M. Shaikh.
   3   RESPONSE TO INTERROGATORY NO. 11:
   4         Responding party objects to this interrogatory as overly broad, vague, and
   5   ambiguous as it could related to any number of business practices over an
   6   approximately twenty-five-year period and therefore an attempt to answer to that
   7   extent is not proportionate to the needs of this case. Accordingly, responding party
   8   will answer regarding the procedures for handling chemicals and wastewater at the
   9   PROPERTY. Subject to these objections, responding party responds as follows:
  10   Responding party’s recollection is that, pursuant to state law and wastewater
  11   discharge permits issued for the PROPERTY, liquids and wastewater handled within
  12   the area of the trenches were drained to them and went into the clarifier. Any spills
  13   of chemicals or other liquids at the PROPERTY were promptly cleaned up.
  14   SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 11:
  15         Responding party objects to this interrogatory as overly broad, vague, and
  16   ambiguous as it could related to any number of business practices over an
  17   approximately twenty-five-year period and therefore an attempt to answer to that
  18   extent is not proportionate to the needs of this case. Accordingly, responding party
  19   will answer regarding the procedures for handling chemicals and wastewater at the
  20   PROPERTY. Subject to these objections, responding party responds as follows:
  21   Responding party’s recollection is that, pursuant to state law and wastewater
  22   discharge permits issued for the PROPERTY, liquids and wastewater handled within
  23   the area of the trenches were drained to them and went into the clarifier. Any spills
  24   of chemicals or other liquids at the PROPERTY were promptly cleaned up. There
  25   were no other specific policies or procedures outside of requirements under permits.
  26   Responding party does not recall chemicals used in other areas of the PROPERTY.
  27   INTERROGATORY NO. 12:
  28         Describe in detail all policies and procedures for the disposal of wastewater at
                                              -6-                        2:19-CV-02123-DMG-AGR
              SHAIKH’S SUPPLEMENTAL RESPONSES TO TC RICH’S INTERROGATORIES, SET ONE
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 250 of 464 Page ID
                                  #:4022


   1   the PROPERTY that were in place during the period from 1978 to the sale of the
   2   PROPERTY by Hussain M. Shaikh.
   3   RESPONSE TO INTERROGATORY NO. 12:
   4         Responding party objects to this interrogatory as overly broad, vague, and
   5   ambiguous as it could related to any number of business practices over an
   6   approximately twenty-five-year period and therefore an attempt to answer to that
   7   extent is not proportionate to the needs of this case. Accordingly, responding party
   8   will answer regarding the procedures for handling chemicals and wastewater at the
   9   PROPERTY. Subject to these objections, responding party responds as follows:
  10   Responding party’s recollection is that, pursuant to state law and wastewater
  11   discharge permits issued for the PROPERTY, liquids and wastewater handled within
  12   the area of the trenches were drained to them and went into the clarifier. Any spills
  13   of chemicals or other liquids at the PROPERTY were promptly cleaned up.
  14   ///
  15   ///
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  22   ///
  23   ///
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                                              -7-                        2:19-CV-02123-DMG-AGR
              SHAIKH’S SUPPLEMENTAL RESPONSES TO TC RICH’S INTERROGATORIES, SET ONE
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 251 of 464 Page ID
                                  #:4023


   1   SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 12:
   2         Responding party objects to this interrogatory as overly broad, vague, and
   3   ambiguous as it could related to any number of business practices over an
   4   approximately twenty-five-year period and therefore an attempt to answer to that
   5   extent is not proportionate to the needs of this case. Accordingly, responding party
   6   will answer regarding the procedures for handling chemicals and wastewater at the
   7   PROPERTY. Subject to these objections, responding party responds as follows:
   8   Responding party’s recollection is that, pursuant to state law and wastewater
   9   discharge permits issued for the PROPERTY, liquids and wastewater handled within
  10   the area of the trenches were drained to them and went into the clarifier. Any spills
  11   of chemicals or other liquids at the PROPERTY were promptly cleaned up. There
  12   were no other specific policies or procedures outside of requirements under permits.
  13   Responding party does not recall chemicals used in other areas of the PROPERTY.
  14        Dated: November 12, 2020                 PALADIN LAW GROUP® LLP
  15                                          By:     /s/ Kirk M. Tracy
  16
                                                     Kirk M. Tracy
                                                     Counsel for Defendant
  17                                                 Hussain M. Shaikh
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                                              -8-                        2:19-CV-02123-DMG-AGR
              SHAIKH’S SUPPLEMENTAL RESPONSES TO TC RICH’S INTERROGATORIES, SET ONE
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 252 of 464 Page ID
                                  #:4024




                                           VERIFICATION

    Re:    TC Rich, et al., v. Hussain M Shaikh, et al.
           Case No. 2:19 -cv- 02123- DMG -AGR (C.D. Cal.)

    I, Hussain M. Shaikh, have read the foregoing:

    HUSSAIN M. SHAIKH'S SUPPLEMENTAL RESPONSES TO TC RICH, LLC'S
    INTERROGATORIES, SET ONE

    and know its contents;

           I certify and declare under penalty of perjury under the laws of the State of California that

    the foregoing answers are true and correct.

    Executed on November % fr', 2020 in the County of Los Angeles, California.




                                                               Hussain M. Shaik
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 253 of 464 Page ID
                                  #:4025




            EXHIBIT 4
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 254 of 464 Page ID
                                  #:4026


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         Counsel for Defendant Hussain M. Shaikh
                                          Shaikh
     7

     8                       UNITED STATES DISTRICT COURT
     9                      CENTRAL DISTRICT OF CALIFORNIA
    10
         TC RICH, LLC, et al.,                       Case No.2:19
                                                     Case No. 2:19-CV-02123-DMG-AGR
                                                                  -CV- 02123- DMG -AGR
    11

    12
                           Plaintiffs,               HUSSAIN M. SHAIKH’S
                                                                 SHAIKH'S RESPONSE
                                                                 LLC'S
                                                     TO TC RICH, LLC’S
    13         v.
               v.                                    INTERROGATORIES, SET TWO
    14   HUSSAIN M. SHAIKH, et al.,                  Fed. R. Civ. P. 33
    15                     Defendants.               Judge: Hon.
                                                            Hon. Dolly
                                                                 Dolly M. Gee
    16

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    18
         AND RELATED COUNTERCLAIMS
                     COUNTERCLAIMS
    19

    20   PROPOUNDING PARTY:              TC Rich, LLC
    21   RESPONDING PARTY:
                    PARTY:               Hussain M. Shaikh
    22   TYPE OF DISCOVERY:
                 DISCOVERY:              Interrogatories -
                                                         – Fed. R. Civ. P. 33
                                                                           33
    23   SET NUMBER:
             NUMBER:                     Two
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                      SHAIKH’S RESPONSE TO
                      SHAIKH'S RESPONSE TO TC
                                           TC RICH’S
                                              RICH'S INTERROGATORIES,
                                                     INTERROGATORIES, SET TWO
                                                                                 EXI-{IBIT

                                                                                  0004
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 255 of 464 Page ID
                                  #:4027


   1         The following responses are based on the information reasonably available to
   2   Defendant Hussain M. Shaikh (“Shaikh”) at this time.
   3                        RESPONSES TO INTERROGATORIES
   4   INTERROGATORY NO. 16:
   5         Identify all names YOU have used since 1979.
   6   RESPONSE TO INTERROGATORY NO. 16:
   7         Hussain Maqbool “Maq” Shaikh, also known as Shaikh Maqbool Hussain on
   8   certain documents.
   9   INTERROGATORY NO. 17:
  10         Identify the names and last known addresses of all current and former
  11   employees of PACIFICA CHEMICAL from 1979 to present.
  12   RESPONSE TO INTERROGATORY NO. 17:
  13         Responding party objects to this request as overbroad and unduly burdensome
  14   to the extent it seeks information not related to the subject property at 132 W. 132nd
  15   Street (Subject Property). Pacifica Chemical discontinued use of PCE in the 1980s,
  16   before selling the Subject Property in 2003 and moving its business elsewhere to a
  17   completely unrelated property.       Therefore, information regarding Pacifica’s
  18   operations after it sold and moved away from the Subject Property is not relevant and
  19   the burden of searching for and producing such information is not proportionate to
  20   the needs of this case. Accordingly, responding party will limit its response to
  21   employees at the Subject Property.
  22         Subject to these objections, responding party responds as follows:             The
  23   employees responding party can recall are:
  24         Mukesh Doshi, to be contacted through Shaikh’s counsel.
  25         Juan Montes, whereabouts unknown, although believed to be deceased for
  26   approximately 20 years.
  27         Tomas Macedonio, deceased for approximately 20 years.
  28         A man named “Guadilio,” who is believed to have died approximately twenty
                                                -2-                         2:19-CV-02123-DMG-AGR
                     SHAIKH’S RESPONSE TO TC RICH’S INTERROGATORIES, SET TWO
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 256 of 464 Page ID
                                  #:4028


   1   years ago.
   2         Helga Markgraf-Fowler, whereabouts unknown. Miss Fowler worked in a
   3   secretarial capacity with no involvement in any chemical processes.
   4         Patricia Nerestant, whereabouts unknown.          Miss Nerestant worked in a
   5   secretarial capacity with no involvement in any chemical processes.
   6   INTERROGATORY NO. 18:
   7         Identify      all    PERSONS        responsible    for    ENVIRONMENTAL
   8   MANAGEMENT AND COMPLIANCE for SHAH CHEMICAL during its period
   9   of operation at the 132nd STREET PROPERTY.
  10   RESPONSE TO INTERROGATORY NO. 18:
  11         Responding party can only recall an individual with the name “Guadilio,” who
  12   is believed to have died approximately twenty years ago. Responding party cannot
  13   recall whether any other individuals were responsible for environmental management
  14   and compliance.
  15   INTERROGATORY NO. 19:
  16         Identify      all    PERSONS        responsible    for    ENVIRONMENTAL
  17   MANAGEMENT AND COMPLIANCE for PACIFICA CHEMICAL between 1980
  18   and the present.
  19   RESPONSE TO INTERROGATORY NO. 19:
  20         Responding party objects to this request as overbroad and unduly burdensome
  21   to the extent it seeks information not related to the subject property at 132 W. 132nd
  22   Street (Subject Property). Pacifica Chemical discontinued use of PCE in the 1980s,
  23   before selling the Subject Property in 2003 and moving its business elsewhere to a
  24   completely unrelated property.         Therefore, information regarding Pacifica’s
  25   operations after it sold and moved away from the Subject Property is not relevant and
  26   the burden of searching for and producing such information is not proportionate to
  27   the needs of this case. Accordingly, responding party will limit its response to
  28   operations at the Subject Property.
                                                  -3-                        2:19-CV-02123-DMG-AGR
                        SHAIKH’S RESPONSE TO TC RICH’S INTERROGATORIES, SET TWO
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 257 of 464 Page ID
                                  #:4029


   1         Subject to these objections, responding party responds as follows: Responding
   2   party can only recall an individual with the name “Guadilio,” who is believed to have
   3   died approximately twenty years ago. Responding party cannot recall whether any
   4   other individuals were responsible for environmental management and compliance.
   5   INTERROGATORY NO. 20:
   6         Identify all shareholders of SHAH CHEMICAL from formation to present.
   7   RESPONSE TO INTERROGATORY NO. 20:
   8         Hussain M. Shaikh.
   9   INTERROGATORY NO. 21:
  10         Identify all shareholders of PACIFICA CHEMICAL from formation to
  11   present.
  12   RESPONSE TO INTERROGATORY NO. 21:
  13         Hussain M. Shaikh.
  14        Dated: November 5, 2020                   PALADIN LAW GROUP® LLP
  15                                         By:       /s/ Kirk M. Tracy
  16                                                  Kirk M. Tracy
                                                      Counsel for Defendant
  17                                                  Hussain M. Shaikh
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                                                -4-                           2:19-CV-02123-DMG-AGR
                     SHAIKH’S RESPONSE TO TC RICH’S INTERROGATORIES, SET TWO
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 258 of 464 Page ID
                                  #:4030




                                            VERIFICATION

    Re:    TC Rich,
           TC Rich, et
                     et al.，v.
                        al., v. Hussain
                                Hussain M.
                                        M Shaikh, et al.
                                           Shaikh，et
                No. 2:19
           Case No. 2:19-cv-02123-DMG-AGR
                           -cv- 02123- DMG -AGR (CD.
                                                  (C.D. Cai.)
                                                         Cal.)

    I, Hussain M.
    I，Hussain  M. Shaikh, have read the foregoing:

    HUSSAIN M. SHAIKH’S
    HUSSAIN M. SHAIKH'S RESPONSE
                        RESPONSE TO
                                 TO TC
                                    TC RICH,
                                       RICH, LLC’S
                                             LLC'S INTERROGATORIES,
                                                   INTERROGATORIES，
    SET TWO

    and know its contents;

           I certify and declare under penalty of
                                               of perjury under the laws
                                                                    laws of
                                                                         of the State
                                                                                State of
                                                                                      of California
                                                                                         California that
                                                                                                     that

    the foregoing answers are true and
                                   and correct.
                                       correct.

             on October^
    Executed on
    Executed    October' 7 I，2020 in the
                             2020 in the County
                                         County of
                                                of Los
                                                   Los Angeles,
                                                       Angeles, California.
                                                                California.




                                                                   ussain M. Shaikh
                                                                 liussain
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 259 of 464 Page ID
                                  #:4031




            EXHIBIT 5
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 260 of 464 Page ID
                                  #:4032


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     6
         Counsel for Defendant Hussain M. Shaikh
                                          Shaikh
     7

     8                         UNITED STATES DISTRICT COURT
     9                       CENTRAL DISTRICT OF CALIFORNIA
    10
         TC RICH, LLC, et al.,                         Case No.2:19
                                                       Case No. 2:19-CV-02123-DMG-AGR
                                                                    -CV- 02123- DMG -AGR
    11

    12
                             Plaintiffs,               HUSSAIN M. SHAIKH’S
                                                                   SHAIKH'S RESPONSE
                                                                   LLC'S REQUESTS
                                                       TO TC RICH, LLC’S
    13         v.
               v.                                      FOR ADMISSIONS, SET TWO
    14   HUSSAIN M. SHAIKH, et al.,                    Fed. R. Civ. P. 36
    15                       Defendants.               Judge: Hon.
                                                              Hon. Dolly
                                                                   Dolly M. Gee
    16

    17

    18
         AND RELATED COUNTERCLAIMS
                     COUNTERCLAIMS
    19

    20   PROPOUNDING PARTY:                TC Rich, LLC
    21   RESPONDING PARTY:
                    PARTY:                 Hussain M. Shaikh
    22   TYPE OF DISCOVERY:
                 DISCOVERY:                             Admissions –- Fed. R. Civ. P. 36
                                           Requests for Admissions
    23   SET NUMBER:
             NUMBER:                       Two
    24

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                                                                                           EXHIBIT
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    28                                                                                     0005

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                    SHAIKH’S RESPONSE TO
                    SHAIKH'S RESPONSE TO TC
                                         TC RICH'S
                                            RICH’S REQUESTS
                                                   REQUESTS FOR
                                                            FOR ADMISSIONS,
                                                                ADMISSIONS, SET
                                                                            SET TWO
                                                                                TWO
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 261 of 464 Page ID
                                  #:4033


   1         The following responses are based on the information reasonably available to
   2   Defendant Hussain M. Shaikh (“Shaikh”) at this time.
   3                    RESPONSES TO REQUESTS FOR ADMISSIONS
   4   REQUEST FOR ADMISSION NO. 22:
   5         Admit there was a RELEASE of perchloroethylene (“PCE”) to the
   6   ENVIRONMENT at the 132nd STREET PROPERTY.
   7   RESPONSE TO REQUEST FOR ADMISSION NO. 22:
   8               Admit.
   9   REQUEST FOR ADMISSION NO. 23:
  10         Admit that the 132nd STREET PROPERTY constitutes a FACILITY under
  11   the Comprehensive Environmental Response, Compensation, and Liability Act
  12   (“CERCLA”).
  13   RESPONSE TO REQUEST FOR ADMISSION NO. 23:
  14         Admit.
  15   REQUEST FOR ADMISSION NO. 24:
  16         Admit that you were the OWNER of the 132nd STREET PROPERTY at the
  17   time of DISPOSAL of a HAZARDOUS SUBSTANCE at the 132nd STREET
  18   PROPERTY.
  19   RESPONSE TO REQUEST FOR ADMISSION NO. 24:
  20         Deny.
  21   REQUEST FOR ADMISSION NO. 25:
  22         Admit that PACIFICA CHEMICAL was the OPERATOR of the 132 nd Street
  23   Property at the time of DISPOSAL of a HAZARDOUS SUBSTANCE at the
  24   property.
  25   RESPONSE TO REQUEST FOR ADMISSION NO. 4:
  26         Deny.
  27   REQUEST FOR ADMISSION NO. 26:
  28         Admit that YOU were the President of PACIFICA CHEMICAL from
                                                   -2-                        2:19-CV-02123-DMG-AGR
                    SHAIKH’S RESPONSE TO TC RICH’S REQUESTS FOR ADMISSIONS, SET TWO
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 262 of 464 Page ID
                                  #:4034


   1   formation to the present.
   2   RESPONSE TO REQUEST FOR ADMISSION NO. 26:
   3         Admit.
   4   REQUEST FOR ADMISSION NO. 27:
   5         Admit that YOU were the President of SHAH CHEMICAL from formation to
   6   its suspension.
   7   RESPONSE TO REQUEST FOR ADMISSION NO. 27:
   8         Admit.
   9   REQUEST FOR ADMISSION NO. 28:
  10         Admit that YOU have not received an administrative enforcement order or
  11   other legal directive from the California Department of Toxic Substances Control,
  12   Regional Water Quality Control Board, Los Angeles Region, or any other
  13   governmental agency with jurisdiction over the environmental conditions at the 132nd
  14   STREET PROPERTY directing YOU to undertake any environmental investigation
  15   and/or remediation.
  16   RESPONSE TO REQUEST FOR ADMISSION NO. 28:
  17         Deny.
  18   REQUEST FOR ADMISSION NO. 29:
  19         Admit that PACIFICA CHEMICAL has not received an administrative
  20   enforcement order or other legal directive from the California Department of Toxic
  21   Substances Control, Regional Water Quality Control Board, Los Angeles Region, or
  22   any other governmental agency with jurisdiction over the environmental conditions
  23   at the 132nd STREET PROPERTY directing YOU to undertake any environmental
  24   investigation and/or remediation.
  25   RESPONSE TO REQUEST FOR ADMISSION NO. 29:
  26         Deny.
  27   REQUEST FOR ADMISSION NO. 30:
  28         Admit that SHAH CHEMICAL has not received an administrative
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   1   enforcement order or other legal directive from the California Department of Toxic
   2   Substances Control, Regional Water Quality Control Board, Los Angeles Region, or
   3   any other governmental agency with jurisdiction over the environmental conditions
   4   at the 132nd STREET PROPERTY directing YOU to undertake any environmental
   5   investigation and/or remediation.
   6   RESPONSE TO REQUEST FOR ADMISSION NO. 30:
   7         Admit.
   8   REQUEST FOR ADMISSION NO. 31:
   9         Admit that YOU have not entered into a Voluntary Cleanup Agreement with
  10   the California Department of Toxic Substances Control or Regional Water Quality
  11   Control Board, Los Angeles relating to the 132nd STREET PROPERTY.
  12   RESPONSE TO REQUEST FOR ADMISSION NO. 31:
  13         Admit.
  14   REQUEST FOR ADMISSION NO. 32:
  15         Admit that PACIFICA CHEMICAL has not entered into a Voluntary Cleanup
  16   Agreement with the California Department of Toxic Substances Control or Regional
  17   Water Quality Control Board, Los Angeles relating to the 132 nd STREET
  18   PROPERTY.
  19   RESPONSE TO REQUEST FOR ADMISSION NO. 32:
  20         Admit.
  21   REQUEST FOR ADMISSION NO. 33:
  22         Admit that SHAH CHEMICAL has not entered into a Voluntary Cleanup
  23   Agreement with the California Department of Toxic Substances Control or Regional
  24   Water Quality Control Board, Los Angeles relating to the 132nd STREET
  25   PROPERTY.
  26   RESPONSE TO REQUEST FOR ADMISSION NO. 33:
  27         Admit.
  28   ///
                                                -4-                        2:19-CV-02123-DMG-AGR
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   1   REQUEST FOR ADMISSION NO. 34:
   2         Admit that PACIFICA CHEMICAL contends its current response activities,
   3   consisting of but not limited to the environmental investigation and remediation of
   4   the 132nd STREET PROPERTY, are necessary and consistent with the National
   5   Contingency Plan (“NCP”) under CERCLA (see 42 U.S.C. section 9607).
   6   RESPONSE TO REQUEST FOR ADMISSION NO. 34:
   7         Admit.
   8   REQUEST FOR ADMISSION NO. 35:
   9         Admit that YOU were the OWNER of the 132 nd STREET PROPERTY from
  10   1979 to 1984.
  11   RESPONSE TO REQUEST FOR ADMISSION NO. 35:
  12         Admit.
  13   REQUEST FOR ADMISSION NO. 36:
  14         Admit that YOU were the OWNER of the 132 nd STREET PROPERTY from
  15   1987 to 2003.
  16   RESPONSE TO REQUEST FOR ADMISSION NO. 36:
  17         Admit.
  18   REQUEST FOR ADMISSION NO. 37:
  19         Admit that YOU are the current OWNER of the ARTESIA PROPERTY.
  20   RESPONSE TO REQUEST FOR ADMISSION NO. 37:
  21         Responding party objects to this request as overbroad and unduly burdensome
  22   to the extent it seeks information not related to the subject property at 132 W. 132nd
  23   Street (Subject Property). Pacifica Chemical discontinued use of PCE in the 1980s,
  24   before selling the Subject Property in 2003 and moving its business elsewhere to a
  25   completely unrelated property.         Therefore, information regarding Pacifica’s
  26   operations after it sold and moved away from the Subject Property is not relevant and
  27   the burden of searching for and producing such information is not proportionate to
  28   the needs of this case.
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   1         Responding party also objects to this request as overbroad and seeking
   2   irrelevant information. Records of current and historic financial information or
   3   property-ownership are not relevant to any claims, counterclaims, or cross-claims,
   4   elements of a cause of action in this matter. Resolution Trust Corp. v. Thornton, 41
   5   F.3d 1539, 1547, 309 U.S. App. D.C. 384 (D.C. Cir. 1994); Metal Management Inc.
   6   v. Schiavone, 514 F. Supp. 2d 227, 239-40 (D. Conn. 2007); Sequa Corporation v.
   7   Gelmin, 1995 U.S. Dist. LEXIS 9338, 1995 WL 404726, *2 (S.D.N.Y. July 7, 1995).
   8   Responding party further objects to this request because he has a constitutionally-
   9   based right to privacy and, as stated above, there is no demonstrable need for
  10   propounding party to have this information related to this litigation, which concerns
  11   environmental contamination at the subject property.
  12   REQUEST FOR ADMISSION NO. 38:
  13         Admit that PACIFICA CHEMICAL operated at the 132nd STREET
  14   PROPERTY between the dates of 1981 and 2003.
  15   RESPONSE TO REQUEST FOR ADMISSION NO. 38:
  16         Admit.
  17   REQUEST FOR ADMISSION NO. 39:
  18         Admit that SHAH CHEMICAL operated at the 132nd STREET PROPERTY
  19   between the dates of 1979 and 1981.
  20   RESPONSE TO REQUEST FOR ADMISSION NO. 39:
  21         Admit.
  22   REQUEST FOR ADMISSION NO. 40:
  23         Admit that YOU were a member of the Board of Directors of PACIFICA
  24   CHEMICAL from formation to the present.
  25   RESPONSE TO REQUEST FOR ADMISSION NO. 40:
  26         Admit.
  27   REQUEST FOR ADMISSION NO. 41:
  28         Admit that YOU were the registered agent for service of process of PACIFICA
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   1   CHEMICAL from formation to the present.
   2   RESPONSE TO REQUEST FOR ADMISSION NO. 41:
   3         Admit.
   4   REQUEST FOR ADMISSION NO. 42:
   5         Admit that PACIFICA CHEMICAL was registered as a large quantity
   6   generator of hazardous waste in 1989.
   7   RESPONSE TO REQUEST FOR ADMISSION NO. 42:
   8         Deny.
   9   REQUEST FOR ADMISSION NO. 43:
  10         Admit that PACIFICA CHEMICAL was registered as a small quantity
  11   generator of hazardous waste in 1996.
  12   RESPONSE TO REQUEST FOR ADMISSION NO. 43:
  13         Responding party admits that Pacifica Chemical was registered as a small
  14   quantity generator of hazardous waste but does not have any recollection as to when
  15   such registration occurred and therefore denies the remainder of this request.
  16   REQUEST FOR ADMISSION NO. 44:
  17         Admit that during the period of YOUR ownership of the 132 nd STREET
  18   PROPERTY, floors at the 132nd STREET PROPERTY in the chemical storage and
  19   mixing areas were rinsed with water and discharged to concrete floor trenches.
  20   RESPONSE TO REQUEST FOR ADMISSION NO. 44:
  21         Admit.
  22   REQUEST FOR ADMISSION NO. 45:
  23         Admit that PACIFICA CHEMICAL stored PCE in an above ground storage
  24   tank at the 132nd STREET PROPERTY.
  25   RESPONSE TO REQUEST FOR ADMISSION NO. 45:
  26         Admit.
  27   REQUEST FOR ADMISSION NO. 46:
  28         Admit that during the period of YOUR ownership of the 132 nd STREET
                                                -7-                        2:19-CV-02123-DMG-AGR
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   1   PROPERTY, PACIFICA CHEMICAL generated wastewater from rinsing drums,
   2   tanks and other storage containers that previously contained chemicals.
   3   RESPONSE TO REQUEST FOR ADMISSION NO. 46:
   4         Admit.
   5   REQUEST FOR ADMISSION NO. 47:
   6         Admit that during the period of YOUR ownership of the 132 nd STREET
   7   PROPERTY PACIFICA CHEMICAL generated wastewater through the rinsing out
   8   of chemical blending and mixing tanks with fresh water and discharging the rinsate
   9   as wastewater.
  10   RESPONSE TO REQUEST FOR ADMISSION NO. 47:
  11         Admit.
  12   REQUEST FOR ADMISSION NO. 48:
  13         Admit that during the period of YOUR ownership of the 132 nd STREET
  14   PROPERTY, PACIFICA CHEMICAL received citations from the Los Angeles
  15   Sanitation District for improper wastewater management practices.
  16   RESPONSE TO REQUEST FOR ADMISSION NO. 48:
  17         Responding party admits Pacifica Chemical received notices of violation from
  18   the Los Angeles Sanitation District related to wastewater management practices.
  19   Responding party denies the remainder of this request.
  20   REQUEST FOR ADMISSION NO. 49:
  21         Admit that YOU were identified as the responsible person for wastewater
  22   management on at least one citation issued by the Los Angeles Sanitation District to
  23   PACIFICA CHEMICAL.
  24   RESPONSE TO REQUEST FOR ADMISSION NO. 49:
  25         Deny.
  26   REQUEST FOR ADMISSION NO. 50:
  27         Admit that YOU filed Articles of Incorporation for PACIFICA CHEMICAL.
  28   ///
                                                -8-                        2:19-CV-02123-DMG-AGR
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   1   RESPONSE TO REQUEST FOR ADMISSION NO. 50:
   2         Admit.
   3   REQUEST FOR ADMISSION NO. 51:
   4         Admit that YOU filed Articles of Incorporation for SHAH CHEMICAL.
   5   RESPONSE TO REQUEST FOR ADMISSION NO. 51:
   6         Admit.
   7   REQUEST FOR ADMISSION NO. 52:
   8         Admit that the DOCUMENT attached hereto as Exhibit 1 is a true, correct,
   9   and genuine copy of SHAH CHEMICAL’S Articles of Incorporation, filed on
  10   February 22, 1977.
  11   RESPONSE TO REQUEST FOR ADMISSION NO. 52:
  12         Responding party admits that page one of Exhibit 1 is a true, correct, and
  13   genuine copy of SHAH CHEMICAL’S Articles of Incorporation, filed on February
  14   22, 1977.
  15   REQUEST FOR ADMISSION NO. 53:
  16         Admit that the signature on the line for execution of SHAH CHEMICAL’S
  17   Articles of Incorporation, attached as Exhibit 1, is YOUR true and correct signature.
  18   RESPONSE TO REQUEST FOR ADMISSION NO. 53:
  19         Amit.
  20   REQUEST FOR ADMISSION NO. 54:
  21         Admit that the DOCUMENT attached hereto as Exhibit 2 is a true, correct,
  22   and genuine copy of SHAH CHEMICAL’S Statement by Domestic Stock
  23   Corporation, filed on March 2, 1981.
  24   RESPONSE TO REQUEST FOR ADMISSION NO. 54:
  25         Responding party admits that, other than the fax transmittal text across the top
  26   of the page, page 1 of Exhibit 2 is a true, correct, and genuine copy of SHAH
  27   CHEMICAL’S Statement by Domestic Stock Corporation, filed on March 2, 1981.
  28   ///
                                                  -9-                        2:19-CV-02123-DMG-AGR
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   1   REQUEST FOR ADMISSION NO. 55:
   2         Admit that the signature for President on SHAH CHEMICAL’S Statement by
   3   Domestic Stock Corporation, attached as Exhibit 2, is YOUR true and correct
   4   signature.
   5   RESPONSE TO REQUEST FOR ADMISSION NO. 55:
   6         Admit.
   7   REQUEST FOR ADMISSION NO. 56:
   8         Admit that the DOCUMENT attached hereto as Exhibit 3 is a true, correct,
   9   and genuine copy of SHAH CHEMICAL’S Corporate Status Report, filed on March
  10   1, 1981.
  11   RESPONSE TO REQUEST FOR ADMISSION NO. 56:
  12         Due to the poor quality of the scan of page one of exhibit 3, responding party
  13   cannot admit or deny this request.
  14   REQUEST FOR ADMISSION NO. 57:
  15         Admit that the DOCUMENT attached hereto as Exhibit 4 is a true, correct,
  16   and genuine copy of PACIFICA CHEMICAL’S Articles of Incorporation, filed on
  17   October 10, 1978.
  18   RESPONSE TO REQUEST FOR ADMISSION NO. 57:
  19         Responding party admits that, other than the fax transmittal text across the top
  20   of the page, page 1 of Exhibit 4 is a true, correct, and genuine copy of PACIFICA
  21   CHEMICAL’S Articles of Incorporation, filed on October 10, 1978.
  22   REQUEST FOR ADMISSION NO. 58:
  23         Admit that the signature executing Pacifica Chemical Corporation’s Articles
  24   of Incorporation, attached as Exhibit 4, is YOUR true and correct signature.
  25   RESPONSE TO REQUEST FOR ADMISSION NO. 58:
  26         Admit.
  27   REQUEST FOR ADMISSION NO. 59:
  28         Admit that the DOCUMENT attached hereto as Exhibit 5 is a true, correct,
                                                  -10-                        2:19-CV-02123-DMG-AGR
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   1   and genuine copy of PACIFICA CHEMICAL’S Statement of Information, filed on
   2   September 1, 2004.
   3   RESPONSE TO REQUEST FOR ADMISSION NO. 59:
   4         Responding party admits that, other than the fax transmittal text across the top
   5   of the page, page 1 of Exhibit 5 is a true, correct, and genuine copy of PACIFICA
   6   CHEMICAL’S Statement of Information, filed on September 1, 2004.
   7   REQUEST FOR ADMISSION NO. 60:
   8         Admit that the signature of the person completing PACIFICA CHEMICAL’S
   9   Statement of Information, attached as Exhibit 5, is YOUR true and correct signature.
  10   RESPONSE TO REQUEST FOR ADMISSION NO. 60:
  11         Admit.
  12   REQUEST FOR ADMISSION NO. 61:
  13         Admit that the DOCUMENT attached hereto as Exhibit 6 is a true, correct,
  14   and genuine copy of PACIFICA CHEMICAL’S Statement of Information, filed on
  15   August 31, 2018.
  16   RESPONSE TO REQUEST FOR ADMISSION NO. 61:
  17         After a reasonable inquiry, responding party is unable to admit or deny this
  18   request. The document does not appear to be publicly available on the California
  19   Secretary of State website.
  20   REQUEST FOR ADMISSION NO. 62:
  21         Admit that Lot 4 of Tract 27807 as recorded in Book 827 Pages 57-59 of Maps
  22   in the Los Angeles Office of the County Recorder, attached hereto as Exhibit 7, is
  23   the 132nd STREET PROPERTY.
  24   RESPONSE TO REQUEST FOR ADMISSION NO. 62:
  25         Admit.
  26   REQUEST FOR ADMISSION NO. 63:
  27         Admit that the DOCUMENT attached hereto as Exhibit 8 is a true, correct,
  28   and genuine copy of the August 6, 1979 grant deed, in which Marmac Resources
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   1   Company granted YOU ownership of the 132nd STREET PROPERTY.
   2   RESPONSE TO REQUEST FOR ADMISSION NO. 63:
   3         After a reasonable inquiry, responding party is unable to admit or deny this
   4   request.
   5   REQUEST FOR ADMISSION NO. 64:
   6         Admit that the DOCUMENT attached hereto as Exhibit 9 is a true, correct,
   7   and genuine copy of the December 10, 1984 grant deed, in which YOU granted
   8   KHAN ownership of the 132nd STREET PROPERTY.
   9   RESPONSE TO REQUEST FOR ADMISSION NO. 64:
  10         After a reasonable inquiry, responding party is unable to admit or deny this
  11   request.
  12   REQUEST FOR ADMISSION NO. 65:
  13         Admit that the DOCUMENT attached hereto as Exhibit 10 is a true, correct,
  14   and genuine copy of the October 26, 1987 grant deed, in which KHAN granted YOU
  15   ownership of the 132nd STREET PROPERTY.
  16   RESPONSE TO REQUEST FOR ADMISSION NO. 65:
  17         After a reasonable inquiry, responding party is unable to admit or deny this
  18   request.
  19   REQUEST FOR ADMISSION NO. 66:
  20         Admit that the DOCUMENT attached hereto as Exhibit 11 to Plaintiff’s
  21   Request for Admission, Set One, is a true, correct, and genuine copy of the April 11,
  22   2003 grant deed, in which YOU granted the individual Eun Hee Lee ownership of
  23   the 132nd STREET PROPERTY.
  24   RESPONSE TO REQUEST FOR ADMISSION NO. 66:
  25         After a reasonable inquiry, responding party is unable to admit or deny this
  26   request.
  27   REQUEST FOR ADMISSION NO. 67:
  28         Admit that the DOCUMENT attached hereto as Exhibit 12 is a true, correct,
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   1   and genuine copy of the June 16, 2015 grant deed, in which HUSSAIN MAQBOOL
   2   SHAIKH granted SHAIKH MAQBOOL HUSSAIN ownership of the ARTESIA
   3   PROPERTY.
   4   RESPONSE TO REQUEST FOR ADMISSION NO. 67:
   5         After a reasonable inquiry, responding party is unable to admit or deny this
   6   request.
   7   REQUEST FOR ADMISSION NO. 68:
   8         Admit that the DOCUMENT attached hereto as Exhibit 13 is a true, correct,
   9   and genuine copy of a December 8, 1980 an Application for a County of Los Angeles
  10   Department of Public Works Permit for Industrial Wastewater Discharge at the 132nd
  11   STREET PROPERTY.
  12   RESPONSE TO REQUEST FOR ADMISSION NO. 68:
  13         Admit.
  14   REQUEST FOR ADMISSION NO. 69:
  15         Admit that the signature on the line for execution by the applicant for the
  16   Application for a County of Los Angeles Department of Public Works Permit for
  17   Industrial Wastewater Discharge, attached as Exhibit 13, is YOUR true and correct
  18   signature.
  19   RESPONSE TO REQUEST FOR ADMISSION NO. 69:
  20         Admit.
  21   REQUEST FOR ADMISSION NO. 70:
  22         Admit that the DOCUMENT attached hereto as Exhibit 14 is a true, correct,
  23   and genuine copy of a July 22, 1987 letter from the County of Los Angeles
  24   Department of Public Works, Attention to Hussain Shaikh at Pacifica Chemical, Inc.,
  25   132 W. 132nd Street, Los Angeles, CA 90061, enclosing Industrial Wastewater
  26   Discharge Permits for the 132nd STREET PROPERTY.
  27   RESPONSE TO REQUEST FOR ADMISSION NO. 70:
  28         Admit.
                                                  -13-                        2:19-CV-02123-DMG-AGR
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   1   REQUEST FOR ADMISSION NO. 71:
   2         Admit that the DOCUMENT attached hereto as Exhibit 15 is a true, correct,
   3   and genuine copy of a Notice of Violation and Order to Comply from the County of
   4   Los Angeles Department of County Engineer Sanitation Division, dated June 16,
   5   1981, directed to SHAH CHEMICAL, located at the 132nd STREET PROPERTY.
   6   RESPONSE TO REQUEST FOR ADMISSION NO. 71:
   7         Admit.
   8   REQUEST FOR ADMISSION NO. 72:
   9         Admit that the signature on the line for execution on the “Received by” line on
  10   the Notice of Violation and Order to Comply, attached as Exhibit 15, is YOUR true
  11   and correct signature.
  12   RESPONSE TO REQUEST FOR ADMISSION NO. 72:
  13         Admit.
  14   REQUEST FOR ADMISSION NO. 73:
  15         Admit that the DOCUMENT attached hereto as Exhibit 16 is a true, correct,
  16   and genuine copy of a letter from the County Sanitation Districts of Los Angeles
  17   County, dated June 23, 1992, enclosing Notice of Violation No. 9702 directed to
  18   YOU for violations at the 132nd STREET PROPERTY.
  19   RESPONSE TO REQUEST FOR ADMISSION NO. 73:
  20          Responding party admits that Exhibit 16 is a true, correct, and genuine copy
  21   of a letter from the County Sanitation Districts of Los Angeles County, dated June
  22   23, 1992, enclosing Notice of Violation No. 9702, relating to the 132nd STREET
  23   PROPERTY.
  24   REQUEST FOR ADMISSION NO. 74:
  25         Admit that the DOCUMENT attached hereto as Exhibit 17 is a true, correct,
  26   and genuine copy of a letter from the County Sanitation Districts of Los Angeles
  27   County, dated November 20, 1992, enclosing Notice of Violation No. 6376, directed
  28   to YOU for violations at the 132nd STREET PROPERTY.
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   1   RESPONSE TO REQUEST FOR ADMISSION NO. 74:
   2         Responding party admits that Exhibit 17 is a true, correct, and genuine copy
   3   of a letter from the County Sanitation Districts of Los Angeles County, dated
   4   November 20, 1992, enclosing Notice of Violation No. 6376, relating to the 132nd
   5   STREET PROPERTY.
   6   REQUEST FOR ADMISSION NO. 75:
   7         Admit that the DOCUMENT attached hereto as Exhibit 18 is a true, correct,
   8   and genuine copy of a letter from the County Sanitation Districts of Los Angeles
   9   County, dated January 7, 1993, enclosing Notice of Violation No. 6655 directed to
  10   YOU for violations at the 132nd STREET PROPERTY.
  11   RESPONSE TO REQUEST FOR ADMISSION NO. 75:
  12         Responding party admits that Exhibit 18 is a true, correct, and genuine copy
  13   of a letter from the County Sanitation Districts of Los Angeles County, dated January
  14   7, 1993, enclosing Notice of Violation No. 6655, relating to the 132nd STREET
  15   PROPERTY.
  16   REQUEST FOR ADMISSION NO. 76:
  17         Admit that the DOCUMENT attached hereto as Exhibit 19 is a true, correct,
  18   and genuine copy of a letter from the enclosing Sanitation Districts of Los Angeles
  19   County, dated September 29, 1993, and Notice of Violation No. 9301 directed to
  20   YOU for violations at the 132nd STREET PROPERTY.
  21   RESPONSE TO REQUEST FOR ADMISSION NO. 76:
  22         Responding party admits that Exhibit 19 is a true, correct, and genuine copy of
  23   a letter from the enclosing Sanitation Districts of Los Angeles County, dated
  24   September 29, 1993, and Notice of Violation No. 9301, relating to the 132nd
  25   STREET PROPERTY.
  26   REQUEST FOR ADMISSION NO. 77:
  27         Admit that the DOCUMENT attached hereto as Exhibit 20 is a true, correct,
  28   and genuine copy of a letter from the County Sanitation Districts of Los Angeles
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   1   County, dated December 8, 1993, enclosing Notice of Violation No. 5320 directed to
   2   YOU for violations at the 132nd STREET PROPERTY.
   3   RESPONSE TO REQUEST FOR ADMISSION NO. 77:
   4         Responding party admits that Exhibit 20 is a true, correct, and genuine copy
   5   of a letter from the County Sanitation Districts of Los Angeles County, dated
   6   December 8, 1993, enclosing Notice of Violation No. 5320, relating to the 132nd
   7   STREET PROPERTY.
   8   REQUEST FOR ADMISSION NO. 78:
   9         Admit that the DOCUMENT attached hereto as Exhibit 21 is a true, correct,
  10   and genuine copy of a letter from the County Sanitation Districts of Los Angeles
  11   County, dated October 4, 1995, enclosing Notice of Violation No. 13257 directed to
  12   YOU for violations at the 132nd STREET PROPERTY.
  13   RESPONSE TO REQUEST FOR ADMISSION NO. 78:
  14         Responding party admits that Exhibit 21 is a true, correct, and genuine copy
  15   of a letter from the County Sanitation Districts of Los Angeles County, dated October
  16   4, 1995, enclosing Notice of Violation No. 13257, relating to the 132nd STREET
  17   PROPERTY.
  18   REQUEST FOR ADMISSION NO. 79:
  19         Admit that the DOCUMENT attached hereto as Exhibit 22 is a true, correct,
  20   and genuine copy of a letter from the County Sanitation Districts of Los Angeles
  21   County, dated May 16, 1996, enclosing Notice of Violation No. 7295 directed to
  22   YOU for violations at the 132nd STREET PROPERTY.
  23   RESPONSE TO REQUEST FOR ADMISSION NO. 79:
  24         Responding party admits that Exhibit 22 is a true, correct, and genuine copy
  25   of a letter from the County Sanitation Districts of Los Angeles County, dated May
  26   16, 1996, enclosing Notice of Violation No. 7295, relating to the 132nd STREET
  27   PROPERTY.
  28   ///
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   1   REQUEST FOR ADMISSION NO. 80:
   2         Admit that the DOCUMENT attached hereto as Exhibit 23 is a true, correct,
   3   and genuine copy of Notice of Violation No. 248804 from County of Los Angeles
   4   Department of Public Works, dated February 4, 1999, for violations at the 132 nd
   5   STREET PROPERTY.
   6   RESPONSE TO REQUEST FOR ADMISSION NO. 80:
   7         Responding party admits that Exhibit 23 is a true, correct, and genuine copy
   8   of Notice of Violation No. 248804 from County of Los Angeles Department of Public
   9   Works, dated February 4, 1999, relating to the 132nd STREET PROPERTY.
  10   REQUEST FOR ADMISSION NO. 81:
  11         Admit that the DOCUMENT attached hereto as Exhibit 24 is a true, correct,
  12   and genuine copy of a letter from the County Sanitation Districts of Los Angeles
  13   County, dated August 31, 1999, enclosing Notice of Violation No. 17575 directed to
  14   YOU for violations at the 132nd STREET PROPERTY.
  15   RESPONSE TO REQUEST FOR ADMISSION NO. 81:
  16         Responding party admits that Exhibit 24 is a true, correct, and genuine copy
  17   of a letter from the County Sanitation Districts of Los Angeles County, dated August
  18   31, 1999, enclosing Notice of Violation No. 17575, relating to the 132nd STREET
  19   PROPERTY.
  20   REQUEST FOR ADMISSION NO. 82:
  21         Admit that the DOCUMENT attached as Exhibit 25 is a true, correct, and
  22   genuine copy of a Notice of Violation from County of Los Angeles Department of
  23   Public Works, dated November 22, 2000 for violations at the 132 nd STREET
  24   PROPERTY.
  25   RESPONSE TO REQUEST FOR ADMISSION NO. 82:
  26         Responding party admits that Exhibit 25 is a true, correct, and genuine copy
  27   of a Notice from County of Los Angeles Department of Public Works, dated
  28   November 22, 2000, relating to the 132nd STREET PROPERTY.
                                               -17-                        2:19-CV-02123-DMG-AGR
                 SHAIKH’S RESPONSE TO TC RICH’S REQUESTS FOR ADMISSIONS, SET TWO
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   1   REQUEST FOR ADMISSION NO. 83:
   2         Admit that the DOCUMENT attached hereto as Exhibit 26 is a true, correct,
   3   and genuine copy of Notice of Non-Compliance No. V000322687 from County of
   4   Los Angeles Department of Public Works, dated December 29, 2000, for violations
   5   at the 132nd STREET PROPERTY.
   6   RESPONSE TO REQUEST FOR ADMISSION NO. 83:
   7         Responding party admits that Exhibit 26 is a true, correct, and genuine copy
   8   of Notice of Non-Compliance No. V000322687 from County of Los Angeles
   9   Department of Public Works, dated December 29, 2000, relating to the 132nd
  10   STREET PROPERTY.
  11   REQUEST FOR ADMISSION NO. 84:
  12         Admit that the DOCUMENT attached hereto as Exhibit 27 is a true, correct,
  13   and genuine copy of Notice of Violation and Order to Comply No. V322688 from
  14   County of Los Angeles Department of Public Works, dated March 5, 2001, for
  15   violations at the 132nd STREET PROPERTY.
  16   RESPONSE TO REQUEST FOR ADMISSION NO. 84:
  17         Responding party admits that Exhibit 27 is a true, correct, and genuine copy
  18   of Notice of Violation and Order to Comply No. V322688 from County of Los
  19   Angeles Department of Public Works, dated March 5, 2001, relating to the 132nd
  20   STREET PROPERTY.
  21   REQUEST FOR ADMISSION NO. 85:
  22         Admit that the DOCUMENT attached hereto as Exhibit 28 is a true, correct,
  23   and genuine copy of Notice of Non-Compliance No. V347139 from the County of
  24   Los Angeles Department of Public Works, dated May 20, 2002 for violations by
  25   PACIFICA CHEMICAL at the ARTESIA PROPERTY.
  26   RESPONSE TO REQUEST FOR ADMISSION NO. 85:
  27         Responding party objects to this request as overbroad and unduly burdensome
  28   to the extent it seeks information not related to the subject property at 132 W. 132nd
                                               -18-                        2:19-CV-02123-DMG-AGR
                 SHAIKH’S RESPONSE TO TC RICH’S REQUESTS FOR ADMISSIONS, SET TWO
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   1   Street (Subject Property). Pacifica Chemical discontinued use of PCE in the 1980s,
   2   before selling the Subject Property in 2003 and moving its business elsewhere to a
   3   completely unrelated property.         Therefore, information regarding Pacifica’s
   4   operations after it sold and moved away from the Subject Property is not relevant and
   5   the burden of searching for and producing such information is not proportionate to
   6   the needs of this case.
   7   REQUEST FOR ADMISSION NO. 86:
   8         Admit that the DOCUMENT attached hereto as Exhibit 29 is a true, correct,
   9   and genuine copy of a Notice of Violation and Order to Comply from County of Los
  10   Angeles Department of Public Works, dated June 10, 2002 for violations by
  11   PACIFICA CHEMICAL at the ARTESIA PROPERTY.
  12   RESPONSE TO REQUEST FOR ADMISSION NO. 86:
  13         Responding party objects to this request as overbroad and unduly burdensome
  14   to the extent it seeks information not related to the subject property at 132 W. 132nd
  15   Street (Subject Property). Pacifica Chemical discontinued use of PCE in the 1980s,
  16   before selling the Subject Property in 2003 and moving its business elsewhere to a
  17   completely unrelated property.         Therefore, information regarding Pacifica’s
  18   operations after it sold and moved away from the Subject Property is not relevant and
  19   the burden of searching for and producing such information is not proportionate to
  20   the needs of this case.
  21   REQUEST FOR ADMISSION NO. 87:
  22         Admit that the DOCUMENT attached hereto as Exhibit 30 is a true, correct,
  23   and genuine copy of Notice of Violation and Order to Comply No. 615661 from the
  24   Los Angeles County Department of Public Works Environmental Programs Division,
  25   dated June 3, 2004 for violations by PACIFICA CHEMICAL at the ARTESIA
  26   PROPERTY.
  27   RESPONSE TO REQUEST FOR ADMISSION NO. 87:
  28         Responding party objects to this request as overbroad and unduly burdensome
                                                -19-                        2:19-CV-02123-DMG-AGR
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   1   to the extent it seeks information not related to the subject property at 132 W. 132nd
   2   Street (Subject Property). Pacifica Chemical discontinued use of PCE in the 1980s,
   3   before selling the Subject Property in 2003 and moving its business elsewhere to a
   4   completely unrelated property.         Therefore, information regarding Pacifica’s
   5   operations after it sold and moved away from the Subject Property is not relevant and
   6   the burden of searching for and producing such information is not proportionate to
   7   the needs of this case.
   8   REQUEST FOR ADMISSION NO. 88:
   9         Admit that the DOCUMENT attached hereto as Exhibit 31 is a true, correct,
  10   and genuine copy of Notice of Violation No. 462360 from the Los Angeles County
  11   Department of Public Works Environmental Programs Division, dated September 15,
  12   2005 for violations by PACIFICA CHEMICAL at the ARTESIA PROPERTY.
  13   RESPONSE TO REQUEST FOR ADMISSION NO. 88:
  14         Responding party objects to this request as overbroad and unduly burdensome
  15   to the extent it seeks information not related to the subject property at 132 W. 132nd
  16   Street (Subject Property). Pacifica Chemical discontinued use of PCE in the 1980s,
  17   before selling the Subject Property in 2003 and moving its business elsewhere to a
  18   completely unrelated property.         Therefore, information regarding Pacifica’s
  19   operations after it sold and moved away from the Subject Property is not relevant and
  20   the burden of searching for and producing such information is not proportionate to
  21   the needs of this case.
  22   REQUEST FOR ADMISSION NO. 89:
  23         Admit that the DOCUMENT attached hereto as Exhibit 32 is a true, correct,
  24   and genuine copy of Notice of Violation No. 559912 from the County of Los Angeles
  25   Department of Public Works Environmental Programs Division, dated March 10,
  26   2008, for violations by PACIFICA CHEMICAL at the ARTESIA PROPERTY.
  27   RESPONSE TO REQUEST FOR ADMISSION NO. 89:
  28         Responding party objects to this request as overbroad and unduly burdensome
                                                -20-                        2:19-CV-02123-DMG-AGR
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   1   to the extent it seeks information not related to the subject property at 132 W. 132nd
   2   Street (Subject Property). Pacifica Chemical discontinued use of PCE in the 1980s,
   3   before selling the Subject Property in 2003 and moving its business elsewhere to a
   4   completely unrelated property.         Therefore, information regarding Pacifica’s
   5   operations after it sold and moved away from the Subject Property is not relevant and
   6   the burden of searching for and producing such information is not proportionate to
   7   the needs of this case.
   8   REQUEST FOR ADMISSION NO. 90:
   9         Admit that the DOCUMENT attached hereto as Exhibit 33 is a true, correct,
  10   and genuine copy of Notice of Noncompliance No. 569931 from County of Los
  11   Angeles Department of Public Works Environmental Programs Division, dated May
  12   7, 2008, directed to YOU for violations by PACIFICA CHEMICAL at the ARTESIA
  13   PROPERTY.
  14   RESPONSE TO REQUEST FOR ADMISSION NO. 90:
  15         Responding party objects to this request as overbroad and unduly burdensome
  16   to the extent it seeks information not related to the subject property at 132 W. 132nd
  17   Street (Subject Property). Pacifica Chemical discontinued use of PCE in the 1980s,
  18   before selling the Subject Property in 2003 and moving its business elsewhere to a
  19   completely unrelated property.         Therefore, information regarding Pacifica’s
  20   operations after it sold and moved away from the Subject Property is not relevant and
  21   the burden of searching for and producing such information is not proportionate to
  22   the needs of this case.
  23   REQUEST FOR ADMISSION NO. 91:
  24         Admit that the DOCUMENT attached hereto as Exhibit 34 is a true, correct,
  25   and genuine copy of Notice of Violation No. 569945 from County of Los Angeles
  26   Department of Public Works Environmental Programs Division, dated May 7, 2008,
  27   directed to YOU, for violations by PACIFICA CHEMICAL at the ARTESIA
  28   PROPERTY.
                                                -21-                        2:19-CV-02123-DMG-AGR
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   1   RESPONSE TO REQUEST FOR ADMISSION NO. 91:
   2         Responding party objects to this request as overbroad and unduly burdensome
   3   to the extent it seeks information not related to the subject property at 132 W. 132nd
   4   Street (Subject Property). Pacifica Chemical discontinued use of PCE in the 1980s,
   5   before selling the Subject Property in 2003 and moving its business elsewhere to a
   6   completely unrelated property.         Therefore, information regarding Pacifica’s
   7   operations after it sold and moved away from the Subject Property is not relevant and
   8   the burden of searching for and producing such information is not proportionate to
   9   the needs of this case.
  10   REQUEST FOR ADMISSION NO. 92:
  11         Admit that the DOCUMENT attached hereto as Exhibit 35 is a true, correct,
  12   and genuine copy of Notice of Non-Compliance No. 575389 from County of Los
  13   Angeles Department of Public Works Environmental Programs Division, dated June
  14   26, 2008 for violations by PACIFICA CHEMICAL at the ARTESIA PROPERTY.
  15   RESPONSE TO REQUEST FOR ADMISSION NO. 92:
  16         Responding party objects to this request as overbroad and unduly burdensome
  17   to the extent it seeks information not related to the subject property at 132 W. 132nd
  18   Street (Subject Property). Pacifica Chemical discontinued use of PCE in the 1980s,
  19   before selling the Subject Property in 2003 and moving its business elsewhere to a
  20   completely unrelated property.         Therefore, information regarding Pacifica’s
  21   operations after it sold and moved away from the Subject Property is not relevant and
  22   the burden of searching for and producing such information is not proportionate to
  23   the needs of this case.
  24   REQUEST FOR ADMISSION NO. 93:
  25         Admit that the DOCUMENT attached hereto as Exhibit 36 is a true, correct,
  26   and genuine copy of Notice of Violation and Order to Company No. 584005, dated
  27   September 9, 2008, directed to YOU, for violations by PACIFICA CHEMICAL at
  28   the ARTESIA PROPERTY.
                                                -22-                        2:19-CV-02123-DMG-AGR
                  SHAIKH’S RESPONSE TO TC RICH’S REQUESTS FOR ADMISSIONS, SET TWO
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   1   RESPONSE TO REQUEST FOR ADMISSION NO. 93:
   2         Responding party objects to this request as overbroad and unduly burdensome
   3   to the extent it seeks information not related to the subject property at 132 W. 132nd
   4   Street (Subject Property). Pacifica Chemical discontinued use of PCE in the 1980s,
   5   before selling the Subject Property in 2003 and moving its business elsewhere to a
   6   completely unrelated property.         Therefore, information regarding Pacifica’s
   7   operations after it sold and moved away from the Subject Property is not relevant and
   8   the burden of searching for and producing such information is not proportionate to
   9   the needs of this case.
  10   REQUEST FOR ADMISSION NO. 94:
  11         Admit that the DOCUMENT attached hereto as Exhibit 37 is a true, correct,
  12   and genuine copy of a letter from County Sanitation Districts of Los Angeles County,
  13   dated July 12, 2010, enclosing Notice of Violation No. 96520, for violations by
  14   PACIFICA CHEMICAL at the ARTESIA PROPERTY.
  15   RESPONSE TO REQUEST FOR ADMISSION NO. 94:
  16         Responding party objects to this request as overbroad and unduly burdensome
  17   to the extent it seeks information not related to the subject property at 132 W. 132nd
  18   Street (Subject Property). Pacifica Chemical discontinued use of PCE in the 1980s,
  19   before selling the Subject Property in 2003 and moving its business elsewhere to a
  20   completely unrelated property.         Therefore, information regarding Pacifica’s
  21   operations after it sold and moved away from the Subject Property is not relevant and
  22   the burden of searching for and producing such information is not proportionate to
  23   the needs of this case.
  24   REQUEST FOR ADMISSION NO. 95:
  25         Admit that the DOCUMENT attached hereto as Exhibit 38 is a true, correct,
  26   and genuine copy of Notice of Violation and Order to Comply No. 732212 from the
  27   County of Los Angeles Department of Public Works, dated December 10, 2012, for
  28   violations by PACIFICA CHEMICAL at the ARTESIA PROPERTY.
                                                -23-                        2:19-CV-02123-DMG-AGR
                  SHAIKH’S RESPONSE TO TC RICH’S REQUESTS FOR ADMISSIONS, SET TWO
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                                  #:4055


   1   RESPONSE TO REQUEST FOR ADMISSION NO. 95:
   2         Responding party objects to this request as overbroad and unduly burdensome
   3   to the extent it seeks information not related to the subject property at 132 W. 132nd
   4   Street (Subject Property). Pacifica Chemical discontinued use of PCE in the 1980s,
   5   before selling the Subject Property in 2003 and moving its business elsewhere to a
   6   completely unrelated property.         Therefore, information regarding Pacifica’s
   7   operations after it sold and moved away from the Subject Property is not relevant and
   8   the burden of searching for and producing such information is not proportionate to
   9   the needs of this case.
  10   REQUEST FOR ADMISSION NO. 96:
  11         Admit that the DOCUMENT attached hereto as Exhibit 39 is a true, correct,
  12   and genuine copy of a letter from County Sanitation Districts of Los Angeles County,
  13   dated July 7, 2014, enclosing Notice of Violation No. 86193A, directed to YOU, for
  14   violations by PACIFICA CHEMICAL at the ARTESIA PROPERTY.
  15   RESPONSE TO REQUEST FOR ADMISSION NO. 96:
  16         Responding party objects to this request as overbroad and unduly burdensome
  17   to the extent it seeks information not related to the subject property at 132 W. 132nd
  18   Street (Subject Property). Pacifica Chemical discontinued use of PCE in the 1980s,
  19   before selling the Subject Property in 2003 and moving its business elsewhere to a
  20   completely unrelated property.         Therefore, information regarding Pacifica’s
  21   operations after it sold and moved away from the Subject Property is not relevant and
  22   the burden of searching for and producing such information is not proportionate to
  23   the needs of this case.
  24   REQUEST FOR ADMISSION NO. 97:
  25         Admit that the DOCUMENT attached hereto as Exhibit 40 is a true, correct,
  26   and genuine copy of a letter from County Sanitation Districts of Los Angeles County,
  27   dated June 2, 2014, enclosing Notice of Violation No. 86187C, directed to YOU for
  28   violations by PACIFICA CHEMICAL at the ARTESIA PROPERTY.
                                                -24-                        2:19-CV-02123-DMG-AGR
                  SHAIKH’S RESPONSE TO TC RICH’S REQUESTS FOR ADMISSIONS, SET TWO
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                                  #:4056


   1   RESPONSE TO REQUEST FOR ADMISSION NO. 97:
   2         Responding party objects to this request as overbroad and unduly burdensome
   3   to the extent it seeks information not related to the subject property at 132 W. 132nd
   4   Street (Subject Property). Pacifica Chemical discontinued use of PCE in the 1980s,
   5   before selling the Subject Property in 2003 and moving its business elsewhere to a
   6   completely unrelated property.         Therefore, information regarding Pacifica’s
   7   operations after it sold and moved away from the Subject Property is not relevant and
   8   the burden of searching for and producing such information is not proportionate to
   9   the needs of this case.
  10   REQUEST FOR ADMISSION NO. 98:
  11         Admit that the DOCUMENT attached hereto as Exhibit 41 is a true, correct,
  12   and genuine copy of Notice of Noncompliance No. 539412 from County of Los
  13   Angeles Department of Public Works Environmental Programs Division, dated
  14   August 22, 2007, directed to YOU, for violations by PACIFICA CHEMICAL at the
  15   ARTESIA PROPERTY.
  16   RESPONSE TO REQUEST FOR ADMISSION NO. 98:
  17         Responding party objects to this request as overbroad and unduly burdensome
  18   to the extent it seeks information not related to the subject property at 132 W. 132nd
  19   Street (Subject Property). Pacifica Chemical discontinued use of PCE in the 1980s,
  20   before selling the Subject Property in 2003 and moving its business elsewhere to a
  21   completely unrelated property.         Therefore, information regarding Pacifica’s
  22   operations after it sold and moved away from the Subject Property is not relevant and
  23   the burden of searching for and producing such information is not proportionate to
  24   the needs of this case.
  25        Dated: November 5, 2020                   PALADIN LAW GROUP® LLP
  26                                           By:     /s/ Kirk M. Tracy
  27                                                  Kirk M. Tracy
                                                      Counsel for Defendant
  28                                                  Hussain M. Shaikh
                                                -25-                        2:19-CV-02123-DMG-AGR
                  SHAIKH’S RESPONSE TO TC RICH’S REQUESTS FOR ADMISSIONS, SET TWO
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            EXHIBIT 6
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                                  #:4058


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     6
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                                          Shaikh
     7

     8                         UNITED STATES DISTRICT COURT
     9                       CENTRAL DISTRICT OF CALIFORNIA
    10
         TC RICH, LLC, et al.,                         Case No.2:19
                                                       Case No. 2:19-CV-02123-DMG-AGR
                                                                    -CV- 02123- DMG -AGR
    11

    12
                             Plaintiffs,               HUSSAIN M. SHAIKH’S
                                                                   SHAIKH'S RESPONSE
                                                                   LLC'S REQUESTS
                                                       TO TC RICH, LLC’S
    13         v.
               v.                                      FOR ADMISSIONS, SET TWO
    14   HUSSAIN M. SHAIKH, et al.,                    Fed. R. Civ. P. 36
    15                       Defendants.               Judge: Hon.
                                                              Hon. Dolly
                                                                   Dolly M. Gee
    16

    17

    18
         AND RELATED COUNTERCLAIMS
                     COUNTERCLAIMS
    19

    20   PROPOUNDING PARTY:                TC Rich, LLC
    21   RESPONDING PARTY:
                    PARTY:                 Hussain M. Shaikh
    22   TYPE OF DISCOVERY:
                 DISCOVERY:                             Admissions –- Fed. R. Civ. P. 36
                                           Requests for Admissions
    23   SET NUMBER:
             NUMBER:                       Two
    24

    25

    26




e
    27
                                                                                           EXHIBIT
    28
    28
                                                                                           0006

                                                                                                     1




                    SHAIKH’S RESPONSE TO
                    SHAIKH'S RESPONSE TO TC
                                         TC RICH'S
                                            RICH’S REQUESTS
                                                   REQUESTS FOR
                                                            FOR ADMISSIONS,
                                                                ADMISSIONS, SET
                                                                            SET TWO
                                                                                TWO
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   1         The following responses are based on the information reasonably available to
   2   Defendant Hussain M. Shaikh (“Shaikh”) at this time.
   3                    RESPONSES TO REQUESTS FOR ADMISSIONS
   4   REQUEST FOR ADMISSION NO. 22:
   5         Admit there was a RELEASE of perchloroethylene (“PCE”) to the
   6   ENVIRONMENT at the 132nd STREET PROPERTY.
   7   RESPONSE TO REQUEST FOR ADMISSION NO. 22:
   8               Admit.
   9   REQUEST FOR ADMISSION NO. 23:
  10         Admit that the 132nd STREET PROPERTY constitutes a FACILITY under
  11   the Comprehensive Environmental Response, Compensation, and Liability Act
  12   (“CERCLA”).
  13   RESPONSE TO REQUEST FOR ADMISSION NO. 23:
  14         Admit.
  15   REQUEST FOR ADMISSION NO. 24:
  16         Admit that you were the OWNER of the 132nd STREET PROPERTY at the
  17   time of DISPOSAL of a HAZARDOUS SUBSTANCE at the 132nd STREET
  18   PROPERTY.
  19   RESPONSE TO REQUEST FOR ADMISSION NO. 24:
  20         Deny.
  21   REQUEST FOR ADMISSION NO. 25:
  22         Admit that PACIFICA CHEMICAL was the OPERATOR of the 132 nd Street
  23   Property at the time of DISPOSAL of a HAZARDOUS SUBSTANCE at the
  24   property.
  25   RESPONSE TO REQUEST FOR ADMISSION NO. 4:
  26         Deny.
  27   REQUEST FOR ADMISSION NO. 26:
  28         Admit that YOU were the President of PACIFICA CHEMICAL from
                                                   -2-                        2:19-CV-02123-DMG-AGR
                    SHAIKH’S RESPONSE TO TC RICH’S REQUESTS FOR ADMISSIONS, SET TWO
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   1   formation to the present.
   2   RESPONSE TO REQUEST FOR ADMISSION NO. 26:
   3         Admit.
   4   REQUEST FOR ADMISSION NO. 27:
   5         Admit that YOU were the President of SHAH CHEMICAL from formation to
   6   its suspension.
   7   RESPONSE TO REQUEST FOR ADMISSION NO. 27:
   8         Admit.
   9   REQUEST FOR ADMISSION NO. 28:
  10         Admit that YOU have not received an administrative enforcement order or
  11   other legal directive from the California Department of Toxic Substances Control,
  12   Regional Water Quality Control Board, Los Angeles Region, or any other
  13   governmental agency with jurisdiction over the environmental conditions at the 132nd
  14   STREET PROPERTY directing YOU to undertake any environmental investigation
  15   and/or remediation.
  16   RESPONSE TO REQUEST FOR ADMISSION NO. 28:
  17         Deny.
  18   REQUEST FOR ADMISSION NO. 29:
  19         Admit that PACIFICA CHEMICAL has not received an administrative
  20   enforcement order or other legal directive from the California Department of Toxic
  21   Substances Control, Regional Water Quality Control Board, Los Angeles Region, or
  22   any other governmental agency with jurisdiction over the environmental conditions
  23   at the 132nd STREET PROPERTY directing YOU to undertake any environmental
  24   investigation and/or remediation.
  25   RESPONSE TO REQUEST FOR ADMISSION NO. 29:
  26         Deny.
  27   REQUEST FOR ADMISSION NO. 30:
  28         Admit that SHAH CHEMICAL has not received an administrative
                                                -3-                        2:19-CV-02123-DMG-AGR
                 SHAIKH’S RESPONSE TO TC RICH’S REQUESTS FOR ADMISSIONS, SET TWO
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   1   enforcement order or other legal directive from the California Department of Toxic
   2   Substances Control, Regional Water Quality Control Board, Los Angeles Region, or
   3   any other governmental agency with jurisdiction over the environmental conditions
   4   at the 132nd STREET PROPERTY directing YOU to undertake any environmental
   5   investigation and/or remediation.
   6   RESPONSE TO REQUEST FOR ADMISSION NO. 30:
   7         Admit.
   8   REQUEST FOR ADMISSION NO. 31:
   9         Admit that YOU have not entered into a Voluntary Cleanup Agreement with
  10   the California Department of Toxic Substances Control or Regional Water Quality
  11   Control Board, Los Angeles relating to the 132nd STREET PROPERTY.
  12   RESPONSE TO REQUEST FOR ADMISSION NO. 31:
  13         Admit.
  14   REQUEST FOR ADMISSION NO. 32:
  15         Admit that PACIFICA CHEMICAL has not entered into a Voluntary Cleanup
  16   Agreement with the California Department of Toxic Substances Control or Regional
  17   Water Quality Control Board, Los Angeles relating to the 132 nd STREET
  18   PROPERTY.
  19   RESPONSE TO REQUEST FOR ADMISSION NO. 32:
  20         Admit.
  21   REQUEST FOR ADMISSION NO. 33:
  22         Admit that SHAH CHEMICAL has not entered into a Voluntary Cleanup
  23   Agreement with the California Department of Toxic Substances Control or Regional
  24   Water Quality Control Board, Los Angeles relating to the 132nd STREET
  25   PROPERTY.
  26   RESPONSE TO REQUEST FOR ADMISSION NO. 33:
  27         Admit.
  28   ///
                                                -4-                        2:19-CV-02123-DMG-AGR
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   1   REQUEST FOR ADMISSION NO. 34:
   2         Admit that PACIFICA CHEMICAL contends its current response activities,
   3   consisting of but not limited to the environmental investigation and remediation of
   4   the 132nd STREET PROPERTY, are necessary and consistent with the National
   5   Contingency Plan (“NCP”) under CERCLA (see 42 U.S.C. section 9607).
   6   RESPONSE TO REQUEST FOR ADMISSION NO. 34:
   7         Admit.
   8   REQUEST FOR ADMISSION NO. 35:
   9         Admit that YOU were the OWNER of the 132 nd STREET PROPERTY from
  10   1979 to 1984.
  11   RESPONSE TO REQUEST FOR ADMISSION NO. 35:
  12         Admit.
  13   REQUEST FOR ADMISSION NO. 36:
  14         Admit that YOU were the OWNER of the 132 nd STREET PROPERTY from
  15   1987 to 2003.
  16   RESPONSE TO REQUEST FOR ADMISSION NO. 36:
  17         Admit.
  18   REQUEST FOR ADMISSION NO. 37:
  19         Admit that YOU are the current OWNER of the ARTESIA PROPERTY.
  20   RESPONSE TO REQUEST FOR ADMISSION NO. 37:
  21         Responding party objects to this request as overbroad and unduly burdensome
  22   to the extent it seeks information not related to the subject property at 132 W. 132nd
  23   Street (Subject Property). Pacifica Chemical discontinued use of PCE in the 1980s,
  24   before selling the Subject Property in 2003 and moving its business elsewhere to a
  25   completely unrelated property.         Therefore, information regarding Pacifica’s
  26   operations after it sold and moved away from the Subject Property is not relevant and
  27   the burden of searching for and producing such information is not proportionate to
  28   the needs of this case.
                                                 -5-                        2:19-CV-02123-DMG-AGR
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   1         Responding party also objects to this request as overbroad and seeking
   2   irrelevant information. Records of current and historic financial information or
   3   property-ownership are not relevant to any claims, counterclaims, or cross-claims,
   4   elements of a cause of action in this matter. Resolution Trust Corp. v. Thornton, 41
   5   F.3d 1539, 1547, 309 U.S. App. D.C. 384 (D.C. Cir. 1994); Metal Management Inc.
   6   v. Schiavone, 514 F. Supp. 2d 227, 239-40 (D. Conn. 2007); Sequa Corporation v.
   7   Gelmin, 1995 U.S. Dist. LEXIS 9338, 1995 WL 404726, *2 (S.D.N.Y. July 7, 1995).
   8   Responding party further objects to this request because he has a constitutionally-
   9   based right to privacy and, as stated above, there is no demonstrable need for
  10   propounding party to have this information related to this litigation, which concerns
  11   environmental contamination at the subject property.
  12   REQUEST FOR ADMISSION NO. 38:
  13         Admit that PACIFICA CHEMICAL operated at the 132nd STREET
  14   PROPERTY between the dates of 1981 and 2003.
  15   RESPONSE TO REQUEST FOR ADMISSION NO. 38:
  16         Admit.
  17   REQUEST FOR ADMISSION NO. 39:
  18         Admit that SHAH CHEMICAL operated at the 132nd STREET PROPERTY
  19   between the dates of 1979 and 1981.
  20   RESPONSE TO REQUEST FOR ADMISSION NO. 39:
  21         Admit.
  22   REQUEST FOR ADMISSION NO. 40:
  23         Admit that YOU were a member of the Board of Directors of PACIFICA
  24   CHEMICAL from formation to the present.
  25   RESPONSE TO REQUEST FOR ADMISSION NO. 40:
  26         Admit.
  27   REQUEST FOR ADMISSION NO. 41:
  28         Admit that YOU were the registered agent for service of process of PACIFICA
                                                -6-                        2:19-CV-02123-DMG-AGR
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   1   CHEMICAL from formation to the present.
   2   RESPONSE TO REQUEST FOR ADMISSION NO. 41:
   3         Admit.
   4   REQUEST FOR ADMISSION NO. 42:
   5         Admit that PACIFICA CHEMICAL was registered as a large quantity
   6   generator of hazardous waste in 1989.
   7   RESPONSE TO REQUEST FOR ADMISSION NO. 42:
   8         Deny.
   9   REQUEST FOR ADMISSION NO. 43:
  10         Admit that PACIFICA CHEMICAL was registered as a small quantity
  11   generator of hazardous waste in 1996.
  12   RESPONSE TO REQUEST FOR ADMISSION NO. 43:
  13         Responding party admits that Pacifica Chemical was registered as a small
  14   quantity generator of hazardous waste but does not have any recollection as to when
  15   such registration occurred and therefore denies the remainder of this request.
  16   REQUEST FOR ADMISSION NO. 44:
  17         Admit that during the period of YOUR ownership of the 132 nd STREET
  18   PROPERTY, floors at the 132nd STREET PROPERTY in the chemical storage and
  19   mixing areas were rinsed with water and discharged to concrete floor trenches.
  20   RESPONSE TO REQUEST FOR ADMISSION NO. 44:
  21         Admit.
  22   REQUEST FOR ADMISSION NO. 45:
  23         Admit that PACIFICA CHEMICAL stored PCE in an above ground storage
  24   tank at the 132nd STREET PROPERTY.
  25   RESPONSE TO REQUEST FOR ADMISSION NO. 45:
  26         Admit.
  27   REQUEST FOR ADMISSION NO. 46:
  28         Admit that during the period of YOUR ownership of the 132 nd STREET
                                                -7-                        2:19-CV-02123-DMG-AGR
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   1   PROPERTY, PACIFICA CHEMICAL generated wastewater from rinsing drums,
   2   tanks and other storage containers that previously contained chemicals.
   3   RESPONSE TO REQUEST FOR ADMISSION NO. 46:
   4         Admit.
   5   REQUEST FOR ADMISSION NO. 47:
   6         Admit that during the period of YOUR ownership of the 132 nd STREET
   7   PROPERTY PACIFICA CHEMICAL generated wastewater through the rinsing out
   8   of chemical blending and mixing tanks with fresh water and discharging the rinsate
   9   as wastewater.
  10   RESPONSE TO REQUEST FOR ADMISSION NO. 47:
  11         Admit.
  12   REQUEST FOR ADMISSION NO. 48:
  13         Admit that during the period of YOUR ownership of the 132 nd STREET
  14   PROPERTY, PACIFICA CHEMICAL received citations from the Los Angeles
  15   Sanitation District for improper wastewater management practices.
  16   RESPONSE TO REQUEST FOR ADMISSION NO. 48:
  17         Responding party admits Pacifica Chemical received notices of violation from
  18   the Los Angeles Sanitation District related to wastewater management practices.
  19   Responding party denies the remainder of this request.
  20   REQUEST FOR ADMISSION NO. 49:
  21         Admit that YOU were identified as the responsible person for wastewater
  22   management on at least one citation issued by the Los Angeles Sanitation District to
  23   PACIFICA CHEMICAL.
  24   RESPONSE TO REQUEST FOR ADMISSION NO. 49:
  25         Deny.
  26   REQUEST FOR ADMISSION NO. 50:
  27         Admit that YOU filed Articles of Incorporation for PACIFICA CHEMICAL.
  28   ///
                                                -8-                        2:19-CV-02123-DMG-AGR
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   1   RESPONSE TO REQUEST FOR ADMISSION NO. 50:
   2         Admit.
   3   REQUEST FOR ADMISSION NO. 51:
   4         Admit that YOU filed Articles of Incorporation for SHAH CHEMICAL.
   5   RESPONSE TO REQUEST FOR ADMISSION NO. 51:
   6         Admit.
   7   REQUEST FOR ADMISSION NO. 52:
   8         Admit that the DOCUMENT attached hereto as Exhibit 1 is a true, correct,
   9   and genuine copy of SHAH CHEMICAL’S Articles of Incorporation, filed on
  10   February 22, 1977.
  11   RESPONSE TO REQUEST FOR ADMISSION NO. 52:
  12         Responding party admits that page one of Exhibit 1 is a true, correct, and
  13   genuine copy of SHAH CHEMICAL’S Articles of Incorporation, filed on February
  14   22, 1977.
  15   REQUEST FOR ADMISSION NO. 53:
  16         Admit that the signature on the line for execution of SHAH CHEMICAL’S
  17   Articles of Incorporation, attached as Exhibit 1, is YOUR true and correct signature.
  18   RESPONSE TO REQUEST FOR ADMISSION NO. 53:
  19         Amit.
  20   REQUEST FOR ADMISSION NO. 54:
  21         Admit that the DOCUMENT attached hereto as Exhibit 2 is a true, correct,
  22   and genuine copy of SHAH CHEMICAL’S Statement by Domestic Stock
  23   Corporation, filed on March 2, 1981.
  24   RESPONSE TO REQUEST FOR ADMISSION NO. 54:
  25         Responding party admits that, other than the fax transmittal text across the top
  26   of the page, page 1 of Exhibit 2 is a true, correct, and genuine copy of SHAH
  27   CHEMICAL’S Statement by Domestic Stock Corporation, filed on March 2, 1981.
  28   ///
                                                  -9-                        2:19-CV-02123-DMG-AGR
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   1   REQUEST FOR ADMISSION NO. 55:
   2         Admit that the signature for President on SHAH CHEMICAL’S Statement by
   3   Domestic Stock Corporation, attached as Exhibit 2, is YOUR true and correct
   4   signature.
   5   RESPONSE TO REQUEST FOR ADMISSION NO. 55:
   6         Admit.
   7   REQUEST FOR ADMISSION NO. 56:
   8         Admit that the DOCUMENT attached hereto as Exhibit 3 is a true, correct,
   9   and genuine copy of SHAH CHEMICAL’S Corporate Status Report, filed on March
  10   1, 1981.
  11   RESPONSE TO REQUEST FOR ADMISSION NO. 56:
  12         Due to the poor quality of the scan of page one of exhibit 3, responding party
  13   cannot admit or deny this request.
  14   REQUEST FOR ADMISSION NO. 57:
  15         Admit that the DOCUMENT attached hereto as Exhibit 4 is a true, correct,
  16   and genuine copy of PACIFICA CHEMICAL’S Articles of Incorporation, filed on
  17   October 10, 1978.
  18   RESPONSE TO REQUEST FOR ADMISSION NO. 57:
  19         Responding party admits that, other than the fax transmittal text across the top
  20   of the page, page 1 of Exhibit 4 is a true, correct, and genuine copy of PACIFICA
  21   CHEMICAL’S Articles of Incorporation, filed on October 10, 1978.
  22   REQUEST FOR ADMISSION NO. 58:
  23         Admit that the signature executing Pacifica Chemical Corporation’s Articles
  24   of Incorporation, attached as Exhibit 4, is YOUR true and correct signature.
  25   RESPONSE TO REQUEST FOR ADMISSION NO. 58:
  26         Admit.
  27   REQUEST FOR ADMISSION NO. 59:
  28         Admit that the DOCUMENT attached hereto as Exhibit 5 is a true, correct,
                                                  -10-                        2:19-CV-02123-DMG-AGR
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   1   and genuine copy of PACIFICA CHEMICAL’S Statement of Information, filed on
   2   September 1, 2004.
   3   RESPONSE TO REQUEST FOR ADMISSION NO. 59:
   4         Responding party admits that, other than the fax transmittal text across the top
   5   of the page, page 1 of Exhibit 5 is a true, correct, and genuine copy of PACIFICA
   6   CHEMICAL’S Statement of Information, filed on September 1, 2004.
   7   REQUEST FOR ADMISSION NO. 60:
   8         Admit that the signature of the person completing PACIFICA CHEMICAL’S
   9   Statement of Information, attached as Exhibit 5, is YOUR true and correct signature.
  10   RESPONSE TO REQUEST FOR ADMISSION NO. 60:
  11         Admit.
  12   REQUEST FOR ADMISSION NO. 61:
  13         Admit that the DOCUMENT attached hereto as Exhibit 6 is a true, correct,
  14   and genuine copy of PACIFICA CHEMICAL’S Statement of Information, filed on
  15   August 31, 2018.
  16   RESPONSE TO REQUEST FOR ADMISSION NO. 61:
  17         After a reasonable inquiry, responding party is unable to admit or deny this
  18   request. The document does not appear to be publicly available on the California
  19   Secretary of State website.
  20   REQUEST FOR ADMISSION NO. 62:
  21         Admit that Lot 4 of Tract 27807 as recorded in Book 827 Pages 57-59 of Maps
  22   in the Los Angeles Office of the County Recorder, attached hereto as Exhibit 7, is
  23   the 132nd STREET PROPERTY.
  24   RESPONSE TO REQUEST FOR ADMISSION NO. 62:
  25         Admit.
  26   REQUEST FOR ADMISSION NO. 63:
  27         Admit that the DOCUMENT attached hereto as Exhibit 8 is a true, correct,
  28   and genuine copy of the August 6, 1979 grant deed, in which Marmac Resources
                                               -11-                        2:19-CV-02123-DMG-AGR
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   1   Company granted YOU ownership of the 132nd STREET PROPERTY.
   2   RESPONSE TO REQUEST FOR ADMISSION NO. 63:
   3         After a reasonable inquiry, responding party is unable to admit or deny this
   4   request.
   5   REQUEST FOR ADMISSION NO. 64:
   6         Admit that the DOCUMENT attached hereto as Exhibit 9 is a true, correct,
   7   and genuine copy of the December 10, 1984 grant deed, in which YOU granted
   8   KHAN ownership of the 132nd STREET PROPERTY.
   9   RESPONSE TO REQUEST FOR ADMISSION NO. 64:
  10         After a reasonable inquiry, responding party is unable to admit or deny this
  11   request.
  12   REQUEST FOR ADMISSION NO. 65:
  13         Admit that the DOCUMENT attached hereto as Exhibit 10 is a true, correct,
  14   and genuine copy of the October 26, 1987 grant deed, in which KHAN granted YOU
  15   ownership of the 132nd STREET PROPERTY.
  16   RESPONSE TO REQUEST FOR ADMISSION NO. 65:
  17         After a reasonable inquiry, responding party is unable to admit or deny this
  18   request.
  19   REQUEST FOR ADMISSION NO. 66:
  20         Admit that the DOCUMENT attached hereto as Exhibit 11 to Plaintiff’s
  21   Request for Admission, Set One, is a true, correct, and genuine copy of the April 11,
  22   2003 grant deed, in which YOU granted the individual Eun Hee Lee ownership of
  23   the 132nd STREET PROPERTY.
  24   RESPONSE TO REQUEST FOR ADMISSION NO. 66:
  25         After a reasonable inquiry, responding party is unable to admit or deny this
  26   request.
  27   REQUEST FOR ADMISSION NO. 67:
  28         Admit that the DOCUMENT attached hereto as Exhibit 12 is a true, correct,
                                                -12-                        2:19-CV-02123-DMG-AGR
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   1   and genuine copy of the June 16, 2015 grant deed, in which HUSSAIN MAQBOOL
   2   SHAIKH granted SHAIKH MAQBOOL HUSSAIN ownership of the ARTESIA
   3   PROPERTY.
   4   RESPONSE TO REQUEST FOR ADMISSION NO. 67:
   5         After a reasonable inquiry, responding party is unable to admit or deny this
   6   request.
   7   REQUEST FOR ADMISSION NO. 68:
   8         Admit that the DOCUMENT attached hereto as Exhibit 13 is a true, correct,
   9   and genuine copy of a December 8, 1980 an Application for a County of Los Angeles
  10   Department of Public Works Permit for Industrial Wastewater Discharge at the 132nd
  11   STREET PROPERTY.
  12   RESPONSE TO REQUEST FOR ADMISSION NO. 68:
  13         Admit.
  14   REQUEST FOR ADMISSION NO. 69:
  15         Admit that the signature on the line for execution by the applicant for the
  16   Application for a County of Los Angeles Department of Public Works Permit for
  17   Industrial Wastewater Discharge, attached as Exhibit 13, is YOUR true and correct
  18   signature.
  19   RESPONSE TO REQUEST FOR ADMISSION NO. 69:
  20         Admit.
  21   REQUEST FOR ADMISSION NO. 70:
  22         Admit that the DOCUMENT attached hereto as Exhibit 14 is a true, correct,
  23   and genuine copy of a July 22, 1987 letter from the County of Los Angeles
  24   Department of Public Works, Attention to Hussain Shaikh at Pacifica Chemical, Inc.,
  25   132 W. 132nd Street, Los Angeles, CA 90061, enclosing Industrial Wastewater
  26   Discharge Permits for the 132nd STREET PROPERTY.
  27   RESPONSE TO REQUEST FOR ADMISSION NO. 70:
  28         Admit.
                                                  -13-                        2:19-CV-02123-DMG-AGR
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   1   REQUEST FOR ADMISSION NO. 71:
   2         Admit that the DOCUMENT attached hereto as Exhibit 15 is a true, correct,
   3   and genuine copy of a Notice of Violation and Order to Comply from the County of
   4   Los Angeles Department of County Engineer Sanitation Division, dated June 16,
   5   1981, directed to SHAH CHEMICAL, located at the 132nd STREET PROPERTY.
   6   RESPONSE TO REQUEST FOR ADMISSION NO. 71:
   7         Admit.
   8   REQUEST FOR ADMISSION NO. 72:
   9         Admit that the signature on the line for execution on the “Received by” line on
  10   the Notice of Violation and Order to Comply, attached as Exhibit 15, is YOUR true
  11   and correct signature.
  12   RESPONSE TO REQUEST FOR ADMISSION NO. 72:
  13         Admit.
  14   REQUEST FOR ADMISSION NO. 73:
  15         Admit that the DOCUMENT attached hereto as Exhibit 16 is a true, correct,
  16   and genuine copy of a letter from the County Sanitation Districts of Los Angeles
  17   County, dated June 23, 1992, enclosing Notice of Violation No. 9702 directed to
  18   YOU for violations at the 132nd STREET PROPERTY.
  19   RESPONSE TO REQUEST FOR ADMISSION NO. 73:
  20          Responding party admits that Exhibit 16 is a true, correct, and genuine copy
  21   of a letter from the County Sanitation Districts of Los Angeles County, dated June
  22   23, 1992, enclosing Notice of Violation No. 9702, relating to the 132nd STREET
  23   PROPERTY.
  24   REQUEST FOR ADMISSION NO. 74:
  25         Admit that the DOCUMENT attached hereto as Exhibit 17 is a true, correct,
  26   and genuine copy of a letter from the County Sanitation Districts of Los Angeles
  27   County, dated November 20, 1992, enclosing Notice of Violation No. 6376, directed
  28   to YOU for violations at the 132nd STREET PROPERTY.
                                               -14-                        2:19-CV-02123-DMG-AGR
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   1   RESPONSE TO REQUEST FOR ADMISSION NO. 74:
   2         Responding party admits that Exhibit 17 is a true, correct, and genuine copy
   3   of a letter from the County Sanitation Districts of Los Angeles County, dated
   4   November 20, 1992, enclosing Notice of Violation No. 6376, relating to the 132nd
   5   STREET PROPERTY.
   6   REQUEST FOR ADMISSION NO. 75:
   7         Admit that the DOCUMENT attached hereto as Exhibit 18 is a true, correct,
   8   and genuine copy of a letter from the County Sanitation Districts of Los Angeles
   9   County, dated January 7, 1993, enclosing Notice of Violation No. 6655 directed to
  10   YOU for violations at the 132nd STREET PROPERTY.
  11   RESPONSE TO REQUEST FOR ADMISSION NO. 75:
  12         Responding party admits that Exhibit 18 is a true, correct, and genuine copy
  13   of a letter from the County Sanitation Districts of Los Angeles County, dated January
  14   7, 1993, enclosing Notice of Violation No. 6655, relating to the 132nd STREET
  15   PROPERTY.
  16   REQUEST FOR ADMISSION NO. 76:
  17         Admit that the DOCUMENT attached hereto as Exhibit 19 is a true, correct,
  18   and genuine copy of a letter from the enclosing Sanitation Districts of Los Angeles
  19   County, dated September 29, 1993, and Notice of Violation No. 9301 directed to
  20   YOU for violations at the 132nd STREET PROPERTY.
  21   RESPONSE TO REQUEST FOR ADMISSION NO. 76:
  22         Responding party admits that Exhibit 19 is a true, correct, and genuine copy of
  23   a letter from the enclosing Sanitation Districts of Los Angeles County, dated
  24   September 29, 1993, and Notice of Violation No. 9301, relating to the 132nd
  25   STREET PROPERTY.
  26   REQUEST FOR ADMISSION NO. 77:
  27         Admit that the DOCUMENT attached hereto as Exhibit 20 is a true, correct,
  28   and genuine copy of a letter from the County Sanitation Districts of Los Angeles
                                               -15-                        2:19-CV-02123-DMG-AGR
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   1   County, dated December 8, 1993, enclosing Notice of Violation No. 5320 directed to
   2   YOU for violations at the 132nd STREET PROPERTY.
   3   RESPONSE TO REQUEST FOR ADMISSION NO. 77:
   4         Responding party admits that Exhibit 20 is a true, correct, and genuine copy
   5   of a letter from the County Sanitation Districts of Los Angeles County, dated
   6   December 8, 1993, enclosing Notice of Violation No. 5320, relating to the 132nd
   7   STREET PROPERTY.
   8   REQUEST FOR ADMISSION NO. 78:
   9         Admit that the DOCUMENT attached hereto as Exhibit 21 is a true, correct,
  10   and genuine copy of a letter from the County Sanitation Districts of Los Angeles
  11   County, dated October 4, 1995, enclosing Notice of Violation No. 13257 directed to
  12   YOU for violations at the 132nd STREET PROPERTY.
  13   RESPONSE TO REQUEST FOR ADMISSION NO. 78:
  14         Responding party admits that Exhibit 21 is a true, correct, and genuine copy
  15   of a letter from the County Sanitation Districts of Los Angeles County, dated October
  16   4, 1995, enclosing Notice of Violation No. 13257, relating to the 132nd STREET
  17   PROPERTY.
  18   REQUEST FOR ADMISSION NO. 79:
  19         Admit that the DOCUMENT attached hereto as Exhibit 22 is a true, correct,
  20   and genuine copy of a letter from the County Sanitation Districts of Los Angeles
  21   County, dated May 16, 1996, enclosing Notice of Violation No. 7295 directed to
  22   YOU for violations at the 132nd STREET PROPERTY.
  23   RESPONSE TO REQUEST FOR ADMISSION NO. 79:
  24         Responding party admits that Exhibit 22 is a true, correct, and genuine copy
  25   of a letter from the County Sanitation Districts of Los Angeles County, dated May
  26   16, 1996, enclosing Notice of Violation No. 7295, relating to the 132nd STREET
  27   PROPERTY.
  28   ///
                                               -16-                        2:19-CV-02123-DMG-AGR
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   1   REQUEST FOR ADMISSION NO. 80:
   2         Admit that the DOCUMENT attached hereto as Exhibit 23 is a true, correct,
   3   and genuine copy of Notice of Violation No. 248804 from County of Los Angeles
   4   Department of Public Works, dated February 4, 1999, for violations at the 132 nd
   5   STREET PROPERTY.
   6   RESPONSE TO REQUEST FOR ADMISSION NO. 80:
   7         Responding party admits that Exhibit 23 is a true, correct, and genuine copy
   8   of Notice of Violation No. 248804 from County of Los Angeles Department of Public
   9   Works, dated February 4, 1999, relating to the 132nd STREET PROPERTY.
  10   REQUEST FOR ADMISSION NO. 81:
  11         Admit that the DOCUMENT attached hereto as Exhibit 24 is a true, correct,
  12   and genuine copy of a letter from the County Sanitation Districts of Los Angeles
  13   County, dated August 31, 1999, enclosing Notice of Violation No. 17575 directed to
  14   YOU for violations at the 132nd STREET PROPERTY.
  15   RESPONSE TO REQUEST FOR ADMISSION NO. 81:
  16         Responding party admits that Exhibit 24 is a true, correct, and genuine copy
  17   of a letter from the County Sanitation Districts of Los Angeles County, dated August
  18   31, 1999, enclosing Notice of Violation No. 17575, relating to the 132nd STREET
  19   PROPERTY.
  20   REQUEST FOR ADMISSION NO. 82:
  21         Admit that the DOCUMENT attached as Exhibit 25 is a true, correct, and
  22   genuine copy of a Notice of Violation from County of Los Angeles Department of
  23   Public Works, dated November 22, 2000 for violations at the 132 nd STREET
  24   PROPERTY.
  25   RESPONSE TO REQUEST FOR ADMISSION NO. 82:
  26         Responding party admits that Exhibit 25 is a true, correct, and genuine copy
  27   of a Notice from County of Los Angeles Department of Public Works, dated
  28   November 22, 2000, relating to the 132nd STREET PROPERTY.
                                               -17-                        2:19-CV-02123-DMG-AGR
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   1   REQUEST FOR ADMISSION NO. 83:
   2         Admit that the DOCUMENT attached hereto as Exhibit 26 is a true, correct,
   3   and genuine copy of Notice of Non-Compliance No. V000322687 from County of
   4   Los Angeles Department of Public Works, dated December 29, 2000, for violations
   5   at the 132nd STREET PROPERTY.
   6   RESPONSE TO REQUEST FOR ADMISSION NO. 83:
   7         Responding party admits that Exhibit 26 is a true, correct, and genuine copy
   8   of Notice of Non-Compliance No. V000322687 from County of Los Angeles
   9   Department of Public Works, dated December 29, 2000, relating to the 132nd
  10   STREET PROPERTY.
  11   REQUEST FOR ADMISSION NO. 84:
  12         Admit that the DOCUMENT attached hereto as Exhibit 27 is a true, correct,
  13   and genuine copy of Notice of Violation and Order to Comply No. V322688 from
  14   County of Los Angeles Department of Public Works, dated March 5, 2001, for
  15   violations at the 132nd STREET PROPERTY.
  16   RESPONSE TO REQUEST FOR ADMISSION NO. 84:
  17         Responding party admits that Exhibit 27 is a true, correct, and genuine copy
  18   of Notice of Violation and Order to Comply No. V322688 from County of Los
  19   Angeles Department of Public Works, dated March 5, 2001, relating to the 132nd
  20   STREET PROPERTY.
  21   REQUEST FOR ADMISSION NO. 85:
  22         Admit that the DOCUMENT attached hereto as Exhibit 28 is a true, correct,
  23   and genuine copy of Notice of Non-Compliance No. V347139 from the County of
  24   Los Angeles Department of Public Works, dated May 20, 2002 for violations by
  25   PACIFICA CHEMICAL at the ARTESIA PROPERTY.
  26   RESPONSE TO REQUEST FOR ADMISSION NO. 85:
  27         Responding party objects to this request as overbroad and unduly burdensome
  28   to the extent it seeks information not related to the subject property at 132 W. 132nd
                                               -18-                        2:19-CV-02123-DMG-AGR
                 SHAIKH’S RESPONSE TO TC RICH’S REQUESTS FOR ADMISSIONS, SET TWO
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 304 of 464 Page ID
                                  #:4076


   1   Street (Subject Property). Pacifica Chemical discontinued use of PCE in the 1980s,
   2   before selling the Subject Property in 2003 and moving its business elsewhere to a
   3   completely unrelated property.         Therefore, information regarding Pacifica’s
   4   operations after it sold and moved away from the Subject Property is not relevant and
   5   the burden of searching for and producing such information is not proportionate to
   6   the needs of this case.
   7   REQUEST FOR ADMISSION NO. 86:
   8         Admit that the DOCUMENT attached hereto as Exhibit 29 is a true, correct,
   9   and genuine copy of a Notice of Violation and Order to Comply from County of Los
  10   Angeles Department of Public Works, dated June 10, 2002 for violations by
  11   PACIFICA CHEMICAL at the ARTESIA PROPERTY.
  12   RESPONSE TO REQUEST FOR ADMISSION NO. 86:
  13         Responding party objects to this request as overbroad and unduly burdensome
  14   to the extent it seeks information not related to the subject property at 132 W. 132nd
  15   Street (Subject Property). Pacifica Chemical discontinued use of PCE in the 1980s,
  16   before selling the Subject Property in 2003 and moving its business elsewhere to a
  17   completely unrelated property.         Therefore, information regarding Pacifica’s
  18   operations after it sold and moved away from the Subject Property is not relevant and
  19   the burden of searching for and producing such information is not proportionate to
  20   the needs of this case.
  21   REQUEST FOR ADMISSION NO. 87:
  22         Admit that the DOCUMENT attached hereto as Exhibit 30 is a true, correct,
  23   and genuine copy of Notice of Violation and Order to Comply No. 615661 from the
  24   Los Angeles County Department of Public Works Environmental Programs Division,
  25   dated June 3, 2004 for violations by PACIFICA CHEMICAL at the ARTESIA
  26   PROPERTY.
  27   RESPONSE TO REQUEST FOR ADMISSION NO. 87:
  28         Responding party objects to this request as overbroad and unduly burdensome
                                                -19-                        2:19-CV-02123-DMG-AGR
                  SHAIKH’S RESPONSE TO TC RICH’S REQUESTS FOR ADMISSIONS, SET TWO
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 305 of 464 Page ID
                                  #:4077


   1   to the extent it seeks information not related to the subject property at 132 W. 132nd
   2   Street (Subject Property). Pacifica Chemical discontinued use of PCE in the 1980s,
   3   before selling the Subject Property in 2003 and moving its business elsewhere to a
   4   completely unrelated property.         Therefore, information regarding Pacifica’s
   5   operations after it sold and moved away from the Subject Property is not relevant and
   6   the burden of searching for and producing such information is not proportionate to
   7   the needs of this case.
   8   REQUEST FOR ADMISSION NO. 88:
   9         Admit that the DOCUMENT attached hereto as Exhibit 31 is a true, correct,
  10   and genuine copy of Notice of Violation No. 462360 from the Los Angeles County
  11   Department of Public Works Environmental Programs Division, dated September 15,
  12   2005 for violations by PACIFICA CHEMICAL at the ARTESIA PROPERTY.
  13   RESPONSE TO REQUEST FOR ADMISSION NO. 88:
  14         Responding party objects to this request as overbroad and unduly burdensome
  15   to the extent it seeks information not related to the subject property at 132 W. 132nd
  16   Street (Subject Property). Pacifica Chemical discontinued use of PCE in the 1980s,
  17   before selling the Subject Property in 2003 and moving its business elsewhere to a
  18   completely unrelated property.         Therefore, information regarding Pacifica’s
  19   operations after it sold and moved away from the Subject Property is not relevant and
  20   the burden of searching for and producing such information is not proportionate to
  21   the needs of this case.
  22   REQUEST FOR ADMISSION NO. 89:
  23         Admit that the DOCUMENT attached hereto as Exhibit 32 is a true, correct,
  24   and genuine copy of Notice of Violation No. 559912 from the County of Los Angeles
  25   Department of Public Works Environmental Programs Division, dated March 10,
  26   2008, for violations by PACIFICA CHEMICAL at the ARTESIA PROPERTY.
  27   RESPONSE TO REQUEST FOR ADMISSION NO. 89:
  28         Responding party objects to this request as overbroad and unduly burdensome
                                                -20-                        2:19-CV-02123-DMG-AGR
                  SHAIKH’S RESPONSE TO TC RICH’S REQUESTS FOR ADMISSIONS, SET TWO
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 306 of 464 Page ID
                                  #:4078


   1   to the extent it seeks information not related to the subject property at 132 W. 132nd
   2   Street (Subject Property). Pacifica Chemical discontinued use of PCE in the 1980s,
   3   before selling the Subject Property in 2003 and moving its business elsewhere to a
   4   completely unrelated property.         Therefore, information regarding Pacifica’s
   5   operations after it sold and moved away from the Subject Property is not relevant and
   6   the burden of searching for and producing such information is not proportionate to
   7   the needs of this case.
   8   REQUEST FOR ADMISSION NO. 90:
   9         Admit that the DOCUMENT attached hereto as Exhibit 33 is a true, correct,
  10   and genuine copy of Notice of Noncompliance No. 569931 from County of Los
  11   Angeles Department of Public Works Environmental Programs Division, dated May
  12   7, 2008, directed to YOU for violations by PACIFICA CHEMICAL at the ARTESIA
  13   PROPERTY.
  14   RESPONSE TO REQUEST FOR ADMISSION NO. 90:
  15         Responding party objects to this request as overbroad and unduly burdensome
  16   to the extent it seeks information not related to the subject property at 132 W. 132nd
  17   Street (Subject Property). Pacifica Chemical discontinued use of PCE in the 1980s,
  18   before selling the Subject Property in 2003 and moving its business elsewhere to a
  19   completely unrelated property.         Therefore, information regarding Pacifica’s
  20   operations after it sold and moved away from the Subject Property is not relevant and
  21   the burden of searching for and producing such information is not proportionate to
  22   the needs of this case.
  23   REQUEST FOR ADMISSION NO. 91:
  24         Admit that the DOCUMENT attached hereto as Exhibit 34 is a true, correct,
  25   and genuine copy of Notice of Violation No. 569945 from County of Los Angeles
  26   Department of Public Works Environmental Programs Division, dated May 7, 2008,
  27   directed to YOU, for violations by PACIFICA CHEMICAL at the ARTESIA
  28   PROPERTY.
                                                -21-                        2:19-CV-02123-DMG-AGR
                  SHAIKH’S RESPONSE TO TC RICH’S REQUESTS FOR ADMISSIONS, SET TWO
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 307 of 464 Page ID
                                  #:4079


   1   RESPONSE TO REQUEST FOR ADMISSION NO. 91:
   2         Responding party objects to this request as overbroad and unduly burdensome
   3   to the extent it seeks information not related to the subject property at 132 W. 132nd
   4   Street (Subject Property). Pacifica Chemical discontinued use of PCE in the 1980s,
   5   before selling the Subject Property in 2003 and moving its business elsewhere to a
   6   completely unrelated property.         Therefore, information regarding Pacifica’s
   7   operations after it sold and moved away from the Subject Property is not relevant and
   8   the burden of searching for and producing such information is not proportionate to
   9   the needs of this case.
  10   REQUEST FOR ADMISSION NO. 92:
  11         Admit that the DOCUMENT attached hereto as Exhibit 35 is a true, correct,
  12   and genuine copy of Notice of Non-Compliance No. 575389 from County of Los
  13   Angeles Department of Public Works Environmental Programs Division, dated June
  14   26, 2008 for violations by PACIFICA CHEMICAL at the ARTESIA PROPERTY.
  15   RESPONSE TO REQUEST FOR ADMISSION NO. 92:
  16         Responding party objects to this request as overbroad and unduly burdensome
  17   to the extent it seeks information not related to the subject property at 132 W. 132nd
  18   Street (Subject Property). Pacifica Chemical discontinued use of PCE in the 1980s,
  19   before selling the Subject Property in 2003 and moving its business elsewhere to a
  20   completely unrelated property.         Therefore, information regarding Pacifica’s
  21   operations after it sold and moved away from the Subject Property is not relevant and
  22   the burden of searching for and producing such information is not proportionate to
  23   the needs of this case.
  24   REQUEST FOR ADMISSION NO. 93:
  25         Admit that the DOCUMENT attached hereto as Exhibit 36 is a true, correct,
  26   and genuine copy of Notice of Violation and Order to Company No. 584005, dated
  27   September 9, 2008, directed to YOU, for violations by PACIFICA CHEMICAL at
  28   the ARTESIA PROPERTY.
                                                -22-                        2:19-CV-02123-DMG-AGR
                  SHAIKH’S RESPONSE TO TC RICH’S REQUESTS FOR ADMISSIONS, SET TWO
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 308 of 464 Page ID
                                  #:4080


   1   RESPONSE TO REQUEST FOR ADMISSION NO. 93:
   2         Responding party objects to this request as overbroad and unduly burdensome
   3   to the extent it seeks information not related to the subject property at 132 W. 132nd
   4   Street (Subject Property). Pacifica Chemical discontinued use of PCE in the 1980s,
   5   before selling the Subject Property in 2003 and moving its business elsewhere to a
   6   completely unrelated property.         Therefore, information regarding Pacifica’s
   7   operations after it sold and moved away from the Subject Property is not relevant and
   8   the burden of searching for and producing such information is not proportionate to
   9   the needs of this case.
  10   REQUEST FOR ADMISSION NO. 94:
  11         Admit that the DOCUMENT attached hereto as Exhibit 37 is a true, correct,
  12   and genuine copy of a letter from County Sanitation Districts of Los Angeles County,
  13   dated July 12, 2010, enclosing Notice of Violation No. 96520, for violations by
  14   PACIFICA CHEMICAL at the ARTESIA PROPERTY.
  15   RESPONSE TO REQUEST FOR ADMISSION NO. 94:
  16         Responding party objects to this request as overbroad and unduly burdensome
  17   to the extent it seeks information not related to the subject property at 132 W. 132nd
  18   Street (Subject Property). Pacifica Chemical discontinued use of PCE in the 1980s,
  19   before selling the Subject Property in 2003 and moving its business elsewhere to a
  20   completely unrelated property.         Therefore, information regarding Pacifica’s
  21   operations after it sold and moved away from the Subject Property is not relevant and
  22   the burden of searching for and producing such information is not proportionate to
  23   the needs of this case.
  24   REQUEST FOR ADMISSION NO. 95:
  25         Admit that the DOCUMENT attached hereto as Exhibit 38 is a true, correct,
  26   and genuine copy of Notice of Violation and Order to Comply No. 732212 from the
  27   County of Los Angeles Department of Public Works, dated December 10, 2012, for
  28   violations by PACIFICA CHEMICAL at the ARTESIA PROPERTY.
                                                -23-                        2:19-CV-02123-DMG-AGR
                  SHAIKH’S RESPONSE TO TC RICH’S REQUESTS FOR ADMISSIONS, SET TWO
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 309 of 464 Page ID
                                  #:4081


   1   RESPONSE TO REQUEST FOR ADMISSION NO. 95:
   2         Responding party objects to this request as overbroad and unduly burdensome
   3   to the extent it seeks information not related to the subject property at 132 W. 132nd
   4   Street (Subject Property). Pacifica Chemical discontinued use of PCE in the 1980s,
   5   before selling the Subject Property in 2003 and moving its business elsewhere to a
   6   completely unrelated property.         Therefore, information regarding Pacifica’s
   7   operations after it sold and moved away from the Subject Property is not relevant and
   8   the burden of searching for and producing such information is not proportionate to
   9   the needs of this case.
  10   REQUEST FOR ADMISSION NO. 96:
  11         Admit that the DOCUMENT attached hereto as Exhibit 39 is a true, correct,
  12   and genuine copy of a letter from County Sanitation Districts of Los Angeles County,
  13   dated July 7, 2014, enclosing Notice of Violation No. 86193A, directed to YOU, for
  14   violations by PACIFICA CHEMICAL at the ARTESIA PROPERTY.
  15   RESPONSE TO REQUEST FOR ADMISSION NO. 96:
  16         Responding party objects to this request as overbroad and unduly burdensome
  17   to the extent it seeks information not related to the subject property at 132 W. 132nd
  18   Street (Subject Property). Pacifica Chemical discontinued use of PCE in the 1980s,
  19   before selling the Subject Property in 2003 and moving its business elsewhere to a
  20   completely unrelated property.         Therefore, information regarding Pacifica’s
  21   operations after it sold and moved away from the Subject Property is not relevant and
  22   the burden of searching for and producing such information is not proportionate to
  23   the needs of this case.
  24   REQUEST FOR ADMISSION NO. 97:
  25         Admit that the DOCUMENT attached hereto as Exhibit 40 is a true, correct,
  26   and genuine copy of a letter from County Sanitation Districts of Los Angeles County,
  27   dated June 2, 2014, enclosing Notice of Violation No. 86187C, directed to YOU for
  28   violations by PACIFICA CHEMICAL at the ARTESIA PROPERTY.
                                                -24-                        2:19-CV-02123-DMG-AGR
                  SHAIKH’S RESPONSE TO TC RICH’S REQUESTS FOR ADMISSIONS, SET TWO
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 310 of 464 Page ID
                                  #:4082


   1   RESPONSE TO REQUEST FOR ADMISSION NO. 97:
   2         Responding party objects to this request as overbroad and unduly burdensome
   3   to the extent it seeks information not related to the subject property at 132 W. 132nd
   4   Street (Subject Property). Pacifica Chemical discontinued use of PCE in the 1980s,
   5   before selling the Subject Property in 2003 and moving its business elsewhere to a
   6   completely unrelated property.         Therefore, information regarding Pacifica’s
   7   operations after it sold and moved away from the Subject Property is not relevant and
   8   the burden of searching for and producing such information is not proportionate to
   9   the needs of this case.
  10   REQUEST FOR ADMISSION NO. 98:
  11         Admit that the DOCUMENT attached hereto as Exhibit 41 is a true, correct,
  12   and genuine copy of Notice of Noncompliance No. 539412 from County of Los
  13   Angeles Department of Public Works Environmental Programs Division, dated
  14   August 22, 2007, directed to YOU, for violations by PACIFICA CHEMICAL at the
  15   ARTESIA PROPERTY.
  16   RESPONSE TO REQUEST FOR ADMISSION NO. 98:
  17         Responding party objects to this request as overbroad and unduly burdensome
  18   to the extent it seeks information not related to the subject property at 132 W. 132nd
  19   Street (Subject Property). Pacifica Chemical discontinued use of PCE in the 1980s,
  20   before selling the Subject Property in 2003 and moving its business elsewhere to a
  21   completely unrelated property.         Therefore, information regarding Pacifica’s
  22   operations after it sold and moved away from the Subject Property is not relevant and
  23   the burden of searching for and producing such information is not proportionate to
  24   the needs of this case.
  25        Dated: November 5, 2020                   PALADIN LAW GROUP® LLP
  26                                           By:     /s/ Kirk M. Tracy
  27                                                  Kirk M. Tracy
                                                      Counsel for Defendant
  28                                                  Hussain M. Shaikh
                                                -25-                        2:19-CV-02123-DMG-AGR
                  SHAIKH’S RESPONSE TO TC RICH’S REQUESTS FOR ADMISSIONS, SET TWO
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 311 of 464 Page ID
                                  #:4083




            EXHIBIT 7
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 312 of 464 Page ID
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                        HUSSAIN M. SHAIKH, a narried tran aR his separate property
                     the following at-setibrd reel property sn
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                                 California, as per map recorded ln Bonk 827, rages 57 to 59 inclusive
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             FOR A VALC'AHL.) CON 1DERA71O_E. re.eipt of which is herein acknowledged.

                                            Judy Shaikh, a marriee wonnn, wife of grantee herein

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                                            Hussain M. Shaikh, a married roan as his separate property

             the followine described red! property in the    Cuutny                      --                                                    Angeles
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                                            pages 57 to 59 inclusive; commonly known as 13:. West
                                            132nd Street




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                      Dated        June 19, 1974                                                                                           ^      r.1GLí


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                            undee7Ntned, a Notary pabhc. m std for raid Canty and Stem. personally appeased

                                  Hussain M. Shaikh


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                                                          SHORT FORM n5.Ft CF tIUST AND ASSIGNMENT Of RÉN(S

                   This D cd of Trust, Made UFis                                    -th            dai d              August, 1979                                , between

                  HUSSALN M. SiirctlC: , a raarried man
                                                                                                                                                , herein called r.      Sea,
                   w>we actdrtaa                          76 Strawberry Lane                           Rolling Hills Estates, CA 90274
                                                        ,marane ani tne.tl                                reel         taon)      "V8U
                   IMPERIAL S A N C O R P,                                 a California corporation, herein called TBUSraE, and
   2
   o              MARMAC RESOURCES CCSPANY, a corporation
                                                                                                                                    , herein called BENEFICIARY.
                   Witnesseth that               TrUStOt tRREti OCABLY GRANTS, TRS%FF.RC aht'                       lu TRiSTEt IN TRUST. WITH POWER OF SALE.
                   that property in                                                                                              County, California. dtw:ribed As:
                                                                                           Los l'.ngeles


                                      Lot 4 of Tract yo. 27807, in the County of Los Angeles, State of
                                      California, as per map recorded in 3ook 327, Pages 57 to 5's inclusive
                                      of Yaps, in the office of the County Recorder of sn ?d County.




                 This Deed of Trust i; second and subject to a Deed of Trust securing a rote in the
                 amount c _ $700,000.1!) reccrdirg concurrently herewith.


                   TOGETHER WITH the rents..scon sod profits eh..rent. S.B1EI T. HOW'E... LR, e.. :1.- r.9151. pu+..r and aothordy g:..w n sod tonfeaed
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                                                                                       GRANT DEED
                    THE UNDERSIGNED GRANTOR(S) DECLARES)
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                                                                                              or encumbrances remaining at time of sale.
                                               p unincorporated area                                       0 city of                                                                          AND
                 FOR A VALUABLE CONSIDERATION, receipt of which is hereby acknowledged,
                 Hussain M. Shaikh, anunmarried                                      man               .




                 hereby GRANT(s) to
                Maroon Khan., a single                    man


                 the following described real property in the
                 County of      Loe Angeles                   , State of California:
                Lot 4 of Tract'27807 as recorded in Book827
                office of the county recorder of said county.                                                 Pages 57-59 of Mapa in the.
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        .     edged to me that he (She or they) executes it.
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    Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 319 of 464 Page ID
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    ä : Los Angeles, California




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        (    ) Unincorporilnd arma (     ) City of
                roe Parcel No.

         Haroon Khan, a single man

        FOR A VALUABLE CONSIDERAYION.                              HERBY GRANT TO
                                                                                                                                                            O.




        Hussain M. Shaikh, an unmarried man

       the real property in the COunly 01          Los Angelus                                                            Stato of California. deecneOd as:

        Lot 4 of Tract 27807 as per map recorded in Book 827 Pages 57 -59
        of Maps in the offices of the county recorder of said county.



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       geld COunly anO útale porsertalty appeared                   Haroon Khan

       personally known to me (or proved to ma on the beats of satisfactory ey lenCe) tá be the person
       subscribed to this instrument and acknowledged
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                                                       MAIL TAX STATEMENT AS DIRP.CTED ABOVE
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Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 320 of 464 Page ID
                                  #:4092

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                                                             03 1309454

                                                      RECORDED/FILED IN OFFICIAL RECORDS
                                                             RECORDER'S OFFICE
                                                            LOS ANGELES COUNTY
                                                                 CALIFORNIA

                                                        MAY 08 2003
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TITLE(S) :                                 DEED




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  Assessor's Identification Number (AIN)
  To be completed by Examiner OR Title Company In black ink.            Number of Parcels Shown


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                             THIS FORM NOT TOBE DUPLICATED
Case 2:19-cv-02123-DMG-AGR
   CHICAGO TITLE INSURANCE CO. Document 75-1 Filed518/03
                                                   02/09/21 Page 321 of 464 Page ID
                                      #:4093
               RECORDING REQUESTED BY

      tND WHEN RECORDED MAIL TO                                                                                03 1309454
 Eun Hee Lee
 2362 W. 232nd Street
 Torrance, CA 90501




                                                                                                  Space Above This Line for Recorder's Use Only
 A.P.N.: 6132-041-022                                               Order No.: 31045288 -X49                                Escrow No.: 16965

                                                                                    GRANT DEED
 THE UNDERSIGNED GRANTOR(s) DECLARE(s) THAT DOCUMENTARY TRANSFER TAX IS: COUNTY $2,344.65 M UXX                                                          X
 [x ]           computed on full value of property conveyed, or
 [[       ]]    computed on full value less value of liens or encumbrances remaining at time of sate,
      x         unincorporated area; [ ] City of       s/A ieolW(s /, and

 FOR A VALUABLE CONSIDERATION, Receipt of which is hereby acknowledged,

 Hussain M. Shaikh, an unmarried man

 hereby GRANT(S) to

 Eun Hec Lee, an married woman as her sole and separate property


 the following described property in the Oit(y /df/ILds/dtt                               County of Los Angeles, State of California;

 See Exhibit 'A' attached hereto and made a part hereof.


                                                                                      t



Document Date: April 11, 2003

STATE OP CALIFORNIA                                                       >ss
COUNTY OF t-8S
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and acknowledged to me that heishatherececuted the same in his/hef/tkeirauthorized capacity(ies) and that by his/110111MT signature(s) on the instrument
the person(s) or the entity upon behalf of which the person(s) acte!. executed the instrument.
WITNESS my hand           official sc

Signature




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                                        Mail Tax Statements to:                      SAME AS ABOVE or Address Noted Below                                k
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           Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 322 of 464 Page ID
                                                      518103
                                             #:4094
             OT 4 OF TRACT 27807, IN THE COUNTY OF LOS ANGELES, STATE OF CALIFORNIA, AS                     3
           'PER MAP RECORDED IN BOOK 827 PAGES 57 THROUGH 59 INCLUSIVE OF MAPS, IN THE
            OFFICE OF THE COUNTY RECORDER OF SAID COUNTY.

            EXCEPT ONE -HALF OF ALL OIL, GAS MINERALS AND OTHER HYDROCARBON SUBSTANCES
            WITHIN AND UNDER THAT PORTION OF SAID LAND WHICH LIES BELOW A DEPTH OF 500
            FEET FROM THE SURFACE THEREOF, WITHOUT RIGHT TO ENTER UPON OR ONTO THE
            SURFACE AND TOP 500 FEET OF THE SUBSURFACE OF SAID LAND, AS RESERVED BY
            CATHERINE S. RUSSELL, AS TRUSTEE AND TITLE INSURANCE AND TRUST COMPANY, A
            CORPORATION, SUCCESSOR IN DEED RECORDED DECEMBER 31, 1971 IN BOOK D5307 PAGE
            444, OFFICIAL RECORDS AS DOCUMENT NO. 4116.




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 Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed518103
                                                 02/09/21 Page 323 of 464 Page ID
                                   #:4095
                                                                                          4

 ORDER NO.:            31045288 -X49

                                       ILLEGIBLE NOTARY SEAL DECLARATION

                                           GOVERNMENT CODE 27361.7




 I CERTIFY UNDER PENALTY OF PERJURY THAT THE NOTARY SEAL ON TEE DOCUMENT TO WHICH THIS
 STATEMENT IS ATTACHED READS AS FOLLOWS:


NAME OF NOTARY:             AISHA MALIK

COMMISSION NO.:             1226738

DATE COMMISSION EXPIRES:                JUNE 28, 2003

COUNTY OP COMMISSION:             LOS ANGELES

PLACE OF EXECUTION OF THIS DECLARATION:                 LOS ANGELES

TODAY'S DATE:            MAY 5, 2003




                                  SI     A I    FI-   NAME: CHICAGO TITLE)




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Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 324 of 464 Page ID
                                  #:4096




            EXHIBIT 8
    Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 325 of 464 Page ID
                                      #:4097




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              or activity for which a corporation may be organized
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          corporation is authorized to           2,500.
                                             is 2,500.

          DATED:              /iT 1977.
                     February /YT-1977.



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             hereby declare
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              Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 326 of 464 Page ID
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              Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 330 of 464 Page ID
                                                #:4102

              ,sE..° °,.                State of California                                                        s
                                            Secretary of
                                                      of State
                   _                  Statement of Information                                                                           G012819
                   (Domestic Stock
                   (Domestic  Stock and
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                                          Agricultural Cooperative Corporations)
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                              FEES   (Filing and Disclosure):
                                                  Disclosure): $25.00.
                          If this is an amendment, see
                                                                $25.00.
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              IMPORTANT-READ      INSTRUCTIONS BEFORE
              IMPORTANT - READ INSTRUCTIONS         BEFORE COMPLETING
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                                                                                 FORM                                      In the office of
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                                                                                                                                            the Secretary
                                                                                                                                                Secretary of
                                                                                                                                                           ofState
                                                                                                                                                             State
        1.
        1.   CORPORATE NAME                                                                                                       of the State of California
        PACIFICA CHEMICAL, INCORPORATED

                                                                                                                                       AUG-31
                                                                                                                                       AUG -31 2018


       2. CALIFORNIA
          CALIFORNIACORPORATE
                     CORPORATE NUMBER
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                                         EXECUTIVE OFFICE
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       5.    STREET ADDRESS OF PRINCIPAL
                               PRINCIPAL BUSINESS
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                                                          IN CALIFORNIA,
                                                             CALIFORNIA, IF
                                                                          IF ANY
                                                                             ANY                            CITY                           STATE            CODE
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       6.    MAILING ADDRESS OF CORPORATION, IF
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                                                           THAN ITEM
                                                                 ITEM 44                                    CITY                           STATE        ZIP CODE




       Names and
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       officer may                        preprinted titles
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       7.    CHIEF EXECUTIVE OFFICER/                 ADDRESS                                               CITY                           STATE           CODE
                                                                                                                                                       ZIP CODE


       8.    SECRETARY                                ADDRESS                                               CITY                           STATE           CODE
                                                                                                                                                       ZIP CODE


       9.          FINANCIAL OFFICER/
             CHIEF FINANCIAL OFFICER/                 ADDRESS                                               CITY                           STATE       ZIP CODE


       Names and Complete
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                          AddressesofofAllAll
                                           Directors, Including
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       10. NAME
           NAME                                       ADDRESS                                               CITY                           STATE       ZIP CODE

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       11. NAME
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       13. NUMBER
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   address,                address is
   address, a P.O. Box address      is not
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                                             acceptable. If the agent is another corporation,
                                                                                   corporation, the agent must havehave on file with the
                                                                                                                                     the California
                                                                                                                                         California Secretary
                                                                                                                                                    Secretary of State
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   certificate pursuant to California Corporations Code section 1505 and Item 15 must be left blank.____________________________________________
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       14. NAME OF
       14. NAME OF AGENT
                   AGENT FOR
                         FOR SERVICE OF PROCESS
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        STREETADDRESS
   15. STREET ADDRESS OF
                      OF AGENT
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                                                          THECALIFORNIA
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   08/31/2018               HUSSAIN M SHAIKH                                              OWNER
            DATE
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                                               OF PERSON
                                                  PERSON COMPLETING
                                                         COMPLETING FORM
                                                                    FORM                            TITLE                                 SIGNATURE
   SI-200
   SI -200 (REV 01/2013)                                                                                                           APPROVED BY SECRETARY OF STATE
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 331 of 464 Page ID
                                  #:4103




            EXHIBIT 9
          SOLID WASTE MANAGEMEN
                                      #:4104
                                              COUNTY SANITATION
                                                     SANITATION DISTRICTS
                                                                DISTRICTS
                                                                          •     1) ,
    Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 332 of 464 Page ID
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                                                                  OF LOS
                                                                  OF LOS ANGELES
                                                                         ANGELES COUNTY
              Mill Road // Whittier,
 1955 Workmen Mi!!         Whittier, California
                                     California
Mailing Address:
Mailing Address: / P. 0. Box 4998, Whittier, Californio
                                             California 90607                               WALTER    GARRISON
                                                                                            WALTER E. GARRISON
Telephone: (213)
Telephone: (213) 699-7411
                 699-7411 //From
                             FromLos
                                  LosAngeles
                                      Angeles(213)
                                               (213)685  -521 7
                                                      685-5217                 Chief Engineer
                                                                                     Engineer and
                                                                                              and General Manager
                                                                                                          Manager



       November 18, 1980                                            In reply, please
                                                                                please refer
                                                                                        refer to
                                                                                              to
                                                                    File:08-00.05-00/80
                                                                    File : 08.00.05 -00/80

            Chemical Corp.
       Shah Chemical  Corp.
       132 W. 132nd
              132nd St.
                    St.
       Los Angeles,
           Angeles, CA
                     CA 90061
                         90061



       Attention: Yousi
       Attention:  Yousi Shaikh
                         Shaikh

     Subject:  Notification of
     Subject: Notification   of Industrial
                                 Industrial Wastewater
                                             Wastewater Discharge
                                                        Discharge Permit
                                                                  Permit and
               Surcharge Requirements




       Dear Mr.
            Mr. Shaikh:
                Shaikh:

          According to Sanitation Districts' records, your company has not yet
     applied for
              for an
                  an Industrial
                      Industrial Wastewater
                                  Wastewater Discharge
                                              DischargePermit.     The Sanitation
                                                          Permit. The  Sanitation
     Districts' Ordinance,
                 Ordinance, adopted
                             adopted April
                                      April 1,  1972, requires
                                            1, 1972,   requires that a permit be
     obtained by any company
                       company discharging
                               discharging industrial
                                            industrial wastewater
                                                         wastewater to
                                                                     to the
                                                                         the Districts'
                                                                              Districts'
     sewerage  system. AA Surcharge
     sewerage system.      Surcharge Statement
                                      Statement must
                                                 must also
                                                      also be
                                                            be filed
                                                               filed annually
                                                                      annually to
     reimburse
     reimburse the Districts for the costs of treatment
                                                  treatment of
                                                             of your
                                                                your industrial
                                                                      industrial
     wastewater.   The Ordinance
     wastewater. The    Ordinance establishes
                                   establishes aa deadline
                                                  deadline for
                                                            for filing of permit
     applications, which
                     which was
                           was April
                               April 1,
                                      1, 1976.
                                         1976.

           Since the
           Since  the deadline
                      deadline has
                                 has passed
                                     passed for
                                             for submittal
                                                 submittal of
                                                            of aa permit
                                                                  permit application
                                                                          application
     by your company, continued use of the sewerage system for disposal of
     industrial wastewater
     industrial   wastewater is
                              is technically
                                  technically illegal,
                                               illegal, and may be subject to
     interruption through
     interruption   through Districts'
                             Districts' enforcement
                                          enforcement actions.
                                                       actions. ToTo avoid
                                                                     avoid any such
     enforcement actions, you are advised to complete the enclosed permit
   * application as soon as possible, in accordance with the requirements
 ***
   * outlined
     outlined in
               inthe
                   theWastewater    Ordinanceand
                       Wastewater Ordinance     and  permit
                                                   permit   instruction booklet,
                                                          instruction    booklet,
kk*
kk* which
     which are also   enclosed.
                 also enclosed. Your completed application should be submitted,
                                   Your completed  application   should be  submitted,
     along with any necessary supporting information or plans to the local
     agency responsible
             responsible for
                           for processing
                                processing industrial
                                            industrialwaste
                                                        wastepermits.
                                                               permits. InIn your
     area, the responsible
                 responsible agency
                              agency is:
                                      is:

                              Dept. of County Engineer - Facilities
                                                         Facilities
                                Sanitation Division - 3rd Floor
                              550 South
                              550 South Vermont Avenue
                              Los Angeles,
                                  Angeles, CA
                                            CA 90020
                                               90020

                              Attn:  Rezai Khojasteh
                              Attn: Rezai  Khojasteh



EXHIBIT

0009                                                                                                         Ct»
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Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 333 of 464 Page ID
                                  #:4105
Yousi Shaikh
November 18,
November 18, 1980
             1980
Page
Page Two




     If
     If you
         you will
             will be
                   be unable to submit your completed permit application
                      the date
within 30 days from the    date of
                                 of this
                                    this letter,
                                          letter, or
                                                   or if
                                                      if you
                                                          you have
                                                               have any
                                                                    any questions,
                                                                         questions,
you are urged to telephone the Industrial Waste Waste Section
                                                      Section ofof the
                                                                   the Sanitation
                                                                        Sanitation
Districts at extension
              extension 261
                          261 so
                              so that
                                  that any
                                        any problems
                                             problems can
                                                       can be
                                                            be resolved.
                                                                resolved. The
information obtained through permit applications is used by the Sanitation
Districts to determine the best means to maintain a clean  clean environment
                                                                  environment at
                                                                               at
the least cost
           cost to
                to the
                    the local
                        local community.
                               community. Please
                                              Please help
                                                     help us
                                                           us to
                                                               to render this
                                                                          this
service.
service.

                                                              truly yours,
                                                         Very truly yours,

                                                         Walter E. Garrison


                                                    By        e
                                                          eon S. Dir cto
                                                                 Dirccto
                                                         Supervising Civil Engineer


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LSD: RE


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ENCL: *,  **,
       *, * *, ****
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cc:
cc: Dept.
     Dept. of
            of County
                County Engineer
                        Engineer -- Facilities
                                    Facilities

     Attn: Rezai
     Attn:  Rezai Khojasteh
                   Khojasteh
                       Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 334 of 464 Page ID
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                   ANNUAL INDUSTRIAL WASTE INSPECTION FILE UPDATE

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  MAILING ADDRESS

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                                                         PERMIT FOR INDUSTRIAL WASTEWATER DISCHARGE
                                                                                          DISCHARGE
       Z 04215
       Z 04215
          Case 2:19-cv-02123-DMG-AGR
                             SANITATIONDocument
                                       DISTRICTS75-1 Filed
                                                 OF LOS    02/09/21
                                                        ANGELES     Page 336 of 464
                                                                  COUNTY                                                                                                        Page ID
               RECEIVED.                                                           Mill Road / Whittier, Ca.
                                                                   1955 Workman #:4108                   Ca.
                                                         Mailing Address: / P.O. Box
                                                                                 Box 4998,
                                                                                     4998, Whittier,
                                                                                           Whittier, California
                                                                                                     California 90607
                                                                                                                90607
                                                          Walter E. Garrison, Chief Engineer and General Manager
                DEG 1" 1980
                                                                        Los f         Care 1...e6                ,, Calif.       lZ
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02
02   (Mailing Address)            t3Z
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                               (STREET)
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                                                                                                                (CITY)
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                                                                                                                                                                                       (ZIP)

03     I           A-41-                                                                                                                                                   of the property located at:
               (OWNER, TENANT,
               (OWNER, TENANT, ETC.)
                               ETC.)

04
04   (Street)
      PRINT
                   i¡ 3 2_
                        Z             , i, 3 2- t-lb            Y                      (City)        (s 46)4.1cI-s                                 (Zip)             yr)c,
                                                                                                                                                                     ci co I
      PRINT                                                   (ADDRESS OF PROPERTY PRODUCING WASTEWATER
                                                                                             WASTEWATER DISCHARGE)
                                                                                                        DISCHARGE)

osAssessors Map Book No.
o5Assessors                                    4
                                               4>       I 3 2.-
                                                             2             Page No.
                                                                                No.  0O Li- I
                                                                                            1                 Parcel No
                                                                                                                     No.                                    v 2- Z
                                                                                                                                                            (-) 2- 2-
                                                        (LEGAL
                                                        (LEGAL ADDRESS
                                                               ADDRESS OF
                                                                       OF PROPERTY
                                                                          PROPERTY PRODUCING
                                                                                    PRODUCING WASTEWATER
                                                                                              WASTEWATER DISCHARGE)
                                                                                                         DISCHARGE)


06
06
                . rerc.-f-            1,c)c,LAN
                                             r `DiNc-
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      PRINT
      PRINT                                        (LOCATION OF POINT OF WASTEWATER
                                                   (LOCATION             WASTEWATER DISCHARGE TO SEWERAGE SYSTEM)
  fcr a Permit for Industrial Wastewater Discharge to the sewerage system.
  fer

07 Type of Industry
07                              L' -a-m, Ii cc.44_
                               Cf_            _A ,_
                                          (GENERAL DESCRIPTION)
                                                               .5.4,6
                                                                   L.,e; 5                                  Z        4-1
                                          (GENERAL                                                                                (FEDERAL SIC NOS.)
                                                                                                                                  (FEDERAL


08
08 Number of Employees (Full Time)                          a                                               Time)
                                                                                                      (Part Time)


09
09   Raw Materials Used               SoA P k (4)ATF..,r-
                                      5c)Ap
                                                                         (GENERAL
                                                                         (GENERAL DESCRIPTION
                                                                                  DESCRIPTION -ADD
                                                                                              -ADD ADDITIONAL
                                                                                                   ADDITIONAL SHEETS
                                                                                                              SHEETS AS
                                                                                                                     AS NEEDED)
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10
10 Products Produced             1/t=1             G-r-Pr's
                                                                         (GENERAL
                                                                         (GENERAL DESCRIPTION
                                                                                  DESCRIPTION - ADD
                                                                                                ADD ADDITIONAL
                                                                                                    ADDITIONAL SHEETS
                                                                                                               SHEETS AS
                                                                                                                      AS NEEDED)
                                                                                                                         NEEDED)


III IWastewater
      WastewaterProducing
                 ProducingOperations
                          Operations                c       <<-A -, oh-A
                                                                    otJA           ICì1)Ss #Jc c Tames
                                                                                                 rA


                                                                (FULL DESCRIPTION -- ADD
                                                                (FULL                ADD ADDITIONAL
                                                                                         ADDITIONAL SHEETS AS NEEDED)
12
12   Time of Discharge -                    3o
                                   EA- SCE AM/F4Xto
                                             AM/I
                                 (WORKING DAY - CROSS OUT AM
                                                                -to 4;30
                                                               Al/PM,
                                                               AR
                                                          AM OR PM)
                                                                   PM,                                  Days per Week
                                                                                                                 Week (M>CL
                                                                                                                      (M)(].              bd-hD() Sa Su
                                                                                                                                       (CIRCLE DAYS)
                                                                                                                                       (CIRCLE DAYS)
                                                                                                                                                            Sa        Su



13Wastewater Flow Rate
I3Wastewater Flow Rate                 rI (o
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                                             eci           eta E -1ALI
                                                         AvG4A6.E bik I LI ,J  TAKt
                                                                            1 N..) TAB                                                     (Gallons Per Day)
                                                                                                                                                        Day)

I4Constituents of Wastewater Discharge DT>7"F-rr.s
14Constituents of Wastewater Discharge


                                        (GENERAL DESCRIPTION
                                        (GENERAL DESCRIPTION -- ATTACH
                                                                ATTACH CHEMICAL
                                                                       CHEMICAL ANALYSES
                                                                                ANALYSES RESULTS
                                                                                         RESULTS TO
                                                                                                 TO THIS
                                                                                                    THIS APPLICATION)
                                                                                                         APPLICATION)

Is Person
15 Person      in
                in company
                   company responsible for industrial wastewater discharge:

     I11/J.5.5.4
     J-4
         4) .S.5.4 i N
       R INT
                               M.
                               M
                             (NAME)
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                                                                                                            (POSITION)
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                                                                                                                                                           32-3 trre.e.,E1  -
     PRINT                   (NAME)                                                                         (POSITION)                              (T  EPHONE NUMBER)
                                                                                                                                                    (TELEPHONE NUMBER)

II affirm
   affirm that
          that all
               all information
                    information furnished
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                                            is true
                                                true and
                                                     and correct
                                                         correct and
                                                                 andthat
                                                                     thatthe
                                                                          theapplicant
                                                                              applicantwill
                                                                                       willcomply
                                                                                            complywith
                                                                                                  withthe
                                                                                                       theconditions
                                                                                                           conditionsstated
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                                                                                                                                             thispermit
                                                                                                                                                 permit form.
                                                                                                                                                        form.


Date               1
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16 Signature for Applicant
I6Signature      Applicant                                                   Lk,-                                 ,
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                                                                                                                                                          (POSITION)
(COMPANY ADMINISTRATIVE
(COMPANY      ADMINISTRATIVE OFNJ
                             OF                     L)
                                                    L)          (NAME)
                                                                (NAME)                                                                                     (POSITION)

17Approyed by City
I7Approved by City or
                   or County
                      County Official                                                               18 Approved by Sanitation Districts of Los
                                                                                                                                           Los Angeles
                                                                                                                                               Angeles County
                                                                                                                                                       County

Date
Date                                                                                                  Date
For Dept. of County Engineers                                            3-(1 1-751?-20
                                                                        EI
                                                                        [-     I- 75120               Walter E. Garrison, Chief Engineer and General Manager

      City of
Name
Name                                                                                                   by

Position                                                                                               Position
                                                                                                       Position

Note:
Note: Please
      Please submit
              submit application first to City or County Agency who may require a permit fee.
       This form when properly signed shall be a valid
                                                   valid permit
                                                         permit unless
                                                                unless suspended
                                                                       suspended or
                                                                                 or revoked.
                                                                                     revoked.
                                                                   RETURN THIS
                                                                          THIS COPY TO APPLICANT
                                                                                       APPLICANT WHEN
                                                                                                 WHENAPPROVED
                                                                                                      APPROVED
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 337 of 464 Page ID
 RECEIVED
 RECEIVED                         #:4109                               PERMIT NO.
                                                                       PERMIT NO.

                                         ADDITIONAL INFORMATION
                                         ADDITIONAL INFORMATION QUESTIONNAIRE
                                                                 QUESTIONNAIRE
         1 () 1980
              1980                               FOR PERMIT
                                                 FOR  PERMIT APPLICANTS
                                  SANITATION DISTRICTS
                                  SANITATION DISTRICTS OF OF LOS
                                                             LOS ANGELES
                                                                 ANGELES COUNTY
                                                                            COUNTY
                              1955Workman
                              1955 Workman Mill
                                            Mill Rd.,
                                                 Rd., P.O.
                                                      P.O. Box
                                                           Box 4998, Whittier, CA.
                                                               4998, Whittier, CA.90607
                                                                                   90607
SAN ITATIOC,w                LTER E.
                             LTER E. GARRISON,
                                     GARRISON,CHIEF
                                               CHIEFENGINEER
                                                    ENGINEERAND
                                                             ANDGENERAL
                                                                GENERAL MANAGER
                                                                        MANAGER

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Name of
Name               .E4- 41_
     of Company .3_144A____CeNire&Nic-4
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                        (STREET)
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Address of Wastewater Discharge
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Legal Address            (   ti 3 I2..      FT .) 4i
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                                                                                                   Application No.
                                                                                                               No
                       ( MAP
                         MAP BOOK
                             BOOK NO.)
                                  NO.)        1 PAGE NO.)
                                              (PAGE  NO.)                PARCEL NO.)
                                                                      (( PARCEL NO.)



IF YOUR COMPANY
           COMPANYDISCHARGES
                       DISCHARGESOR  ORWILL
                                         WILLDISCHARGE
                                                DISCHARGETO
                                                          TOTHE
                                                             THESEWER
                                                                 SEWERany
                                                                       anyofofthe
                                                                                thewastewater
                                                                                    wastewater constituents
                                                                                               constituents
       below, please
listed below,              the appropriate
              please check the appropriate box:
                                           box:
 1. Flammable
 1.  Flammable wastes
                    wastes (406A)                                         9. Cyanide
                                                                          9.  Cyanidewastes
                                                                                        wastes (406J)
                                                                                                 (406J)                                         El
 2. Toxic
 2. Toxicor orpoisonous
                poisonous wastes
                              wastes (406B)                              10. Total
                                                                         10.  Totaldissolved
                                                                                    dissolved solids
                                                                                                solids above
                                                                                                       above
 3. Acidic
 3. Acidicmaterials
              materials(pH(pHlessless than
                                       than 6.0) (406C)        ❑              5000 mg
                                                                                    mg/1 /1 (406K)
                                                                                            (406K)
 4. Materials
 4.  Materialsthatthat could
                       could obstruct
                                obstruct the                             11. Highly
                                                                         11.  Highlyodorous
                                                                                      odorous wastes
                                                                                                wastes (406M)
     sewer (406D)
    sewer    (406D)                                                      12. Dissolved
                                                                         12.  Dissolvedsulfides
                                                                                          sulfidesover
                                                                                                    over0.1
                                                                                                          0.1 mg
                                                                                                               mg/1/1 (406N)
 5. Rainwater
 5.  Rainwater (406E)
                   (406E)                                                13. Basic
                                                                         13.  Basic materials
                                                                                    materials
     Dilution water
 6. Dilution
 6.             water (406F)                                   Li             (pH
                                                                              (pH greater
                                                                                   greater than 10.5) (4060)
 7. Petroleum
 7.  Petroleum based       soluble
                   based soluble                                         14. Toxic
                                                                         14.  Toxicgases
                                                                                     gases (406P)
                                                                                            (406P)
     cutting oils (406G)                                                 15. Temperature
                                                                         15.  Temperature over 120° F. (406Q)
 8. Any
 8.  Anyquantities
           quantitiesof ofpetroleum
                            petroleum basedbased                         16. Highly
                                                                         16.  Highlycolored
                                                                                      coloredwastes
                                                                                               wastes (406V)
                                                                                                        (406V)
     oils (406H)
17. Wastes
17.  Wastes larger
               larger than
                       than 33/8/g" in diameter
                                  " in   diameter (406W)
                                                  (406W)
18. Any
18.  Anyarsenic,
           arsenic, boron,
                     boron, cadmium,
                               cadmium, chromium,
                                             chromium, copper,
                                                            copper, lead,  mercury, nickel,
                                                                    lead, mercury,   nickel, selenium,    silver, tin,
                                                                                              selenium, silver,   tin,                          CI
     zinc, or other toxic
                      toxic materials
                               materials (406X)
                                            (406X)
19. Blow
19.  Blowdown
            downor  orbleed
                        bleedwater
                                water from
                                         fromcooling
                                              coolingtowers,
                                                        towers,boilers
                                                                  boilersor
                                                                          orevaporative
                                                                             evaporative coolers
                                                                                           coolers (406Y)
                                                                                                   (406Y)
20. Single
20.  Singlepass
              pass cooling
                    cooling water
                               water (406Z)
                                        (406Z)
21. Radioactive
21.  Radioactive materials        (406AÁ)
                     materials (406AA)
22. Recognizable
22.  Recognizable portions
                       portions of ofthe
                                       the human
                                            human anatomy (406BB)
                                                                (406BB)
     NOTE: Numbers
     NOTE:      Numbersin    inparentheses
                                parentheses refer
                                                refer to
                                                       to the
                                                           the designated
                                                               designated section inin the
                                                                                        the
               Districts'
               Districts' Industrial
                           IndustrialWasteWaste Ordinance.
                                                 Ordinance.

IF YOUR COMPANY HAS ANY
                    ANY OR
                        OR WILL
                           WILLHAVE
                                HAVEANY
                                     ANYOF
                                         OFTHE
                                            THEFOLLOWING
                                                FOLLOWINGPRETREATMENT
                                                          PRETREATMENTSYSTEMS
                                                                       SYSTEMS
for
for wastewater
    wastewater priorpriorto
                          todisposal
                              disposaltotothe
                                           thesewer,
                                               sewer, please
                                                      please check
                                                             check the
                                                                   the appropriate
                                                                       appropriate box.
                                                                                     box.
1. Interceptor, clarifier,
1.                 clarifier, sump
                              sump oror trap             ❑       10. Cyanide destruction
                                                                               destruction                                                      El
2. Screen
2.          or filter
    Screen or   filter                                   ❑       11. Chromium
                                                                     Chromium reduction
                                                                                  reduction
3. Centrifuge
3.  Centrifuge                                           ❑       12. Spill
                                                                      Spillprotection
                                                                            protection
4. Cyclone
4.  Cyclone                                              CI      13. Rainwater
                                                                      Rainwater diversion
                                                                                  diversion or                                                  0
5.
5. Grit
    Gritremoval
         removal                                         ❑           storage
                                                                      storage system
                                                                               system
6. Grease or
6. Grease   or oil
               oil removal
                    removal                              ❑       14. Grinder
                                                                      Grinder over
                                                                               over 22horsepower
                                                                                      horsepower
7.
7. Solvent
    Solventseparation
             separation                                  ❑       15. Air
                                                                 15.  Airflotation
                                                                          flotation
8. Acid
8.  Acidororbase
             base neutralization
                    neutralization                       ❑       16. Other
                                                                     Other
9. Chemical
9.  Chemical coagulation
               coagulation or  or precipitation
                                  precipitation          0
                                                                 17. Other
                                                                 17. Other

II hereby affirm that
   hereby affirm  thatall
                       allinformation
                           informationfurnished
                                        furnishedisistrue
                                                       trueand
                                                            andcorrect
                                                                correcttotothe
                                                                             thebest
                                                                                 bestof
                                                                                      ofmy
                                                                                        myknowledge.
                                                                                           knowledge.

Date
Date                                           19
                                            ,, 19
                                              t
Signature for Applicant
Signature for Applicant
 (COMPANY ADMINISTRATIVE OFFICIAL)
 (COMPANY ADMINISTRATIVE OFFICIAL)                                             (NAME)                                     ((POSITION)
                                                                                                                            POSITION)


                                                                          11
 Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 338 of 464 Page ID
                                        #:4110
                      SANITATION DISTRICTS OF LOS ANGELES
                                                  ANGELES COUNTY
                                                          COUNTY

                                                                                  TABLE A

                              REQUIREMENTS
                              REQUIREMENTS FOR
                                           FOR INDUSTRIAL
                                               INDUSTRIAL WASTEWATER DISCHARGE
                                                                     DISCHARGE PERMIT
                                                                               PERMIT

                                                                        January 1,
                                                                        January 1, 1974
                                                                                   1974


     STANDARD
     STANDARD                                                            MINIMUM
                                                                          MINIMUM
                                                                                                      WATER
                                                                                                      WATER CHARACTERIZATION
                                                                                                             CHARACTERIZATION
   INDUSTRIAL
    INDUSTRIAL                     DESCRIPTION
                                   DESCRIPTION OF                       WASTEWATER
                                                                        WASTEWATER
                                                                                                 INFORMATION REQUIRED
                                                                                                 INFORMATION REQUIRED FOR
                                                                                                                      FOR PERMIT
                                                                                                                          PERMIT 5/5/                CRITICAL SIC NO.
                                                                                                                                                     CRITICAL SIC NO.
 CLASSIFICATION
  CLASSIFICATION                      INDUSTRY
                                       INDUSTRY                        PRE-TREATMENT
                                                                       PRE -TREATMENT              Type of Test
                                                                                                           Test                Minimum
                                                                                                                               Minimum              CLASSIFICATION  2/
                                                                                                                                                    CLASSIFICATION 2/
(SIC)
 (SIC) NUMBER
       NUMBER 6/                                                       REQUIREMENTS
                                                                       REQUIREMENTS                  Code
                                                                                                     Code/ 3/                Frequency 4/

0100-0199
0100 -0199             AGRICULTURAL
                       AGRICULTURAL PRODUCTION—CROPS
                                    PRODUCTION -CROPS                             1'                       1/
                                                                                                           1/                      1                          1

0200-0299
0200.0299              AGRICULTURAL
                       AGRICULTURAL PRODUCTION—
                                    PRODUCTION -                        Screening,                  A, B, C.
                                                                                                    A, B, C, D,
                                                                                                             0,                    4/                         No
                                                                                                                                                              No
                       LIVESTOCK
                       LIVESTOCK                                        Sampling Point              E,
                                                                                                    E, H
                                                                                                       H



0700.0799
07000799
except
                        AGRICULTURAL
                        AGRICULTURAL SERVICES
                                     SERVICES
                                                                                  11/                      1/
                                                                                                           1/                      1/                         1/

0740-0749
0740 -0749 and
0750-0759
0750 -0759


0740-0749
0740 -0749              Veterinary Services                             Screening,                  A, B. C, D                     4/                         No
                                                                        Sampling
                                                                        Sampling Point              E, H

 0750-0759
 0750.0759              Animal Services excepting                                 1/                       1/                       1/                        1/
                        Veterinary


 0800-0899
 0800 -0899             FORESTRY
                        FORESTRY
                                                                                  1
                                                                                  1/                       1/                                                 1/

 0900-0999
 0900 -0999             FISHING, HUNTING AND TRAPPING                             1/                       1/                      1/                          1/
                                                                                                                                                               1/'


 1000-1099
 1000 -1099             METAL MINING
                              MINING                                              1/                       1/                      1/                          1/
                                                                                                                                                               1 /1




  FOOTNOTES
  FOOTNOTES
  1/ Contact
  1/ Contact the
             the Sanitation
                 Sanitation Districts
                            Districts directly
                                      directly for
                                               for Permit
                                                   Permit requirements
                                                          requirements ifif any
                                                                            any industrial
                                                                                 industrial wastewater
                                                                                            wastewater (not
                                                                                                       (not residential
                                                                                                            residential type
                                                                                                                         type wastewater),
                                                                                                                              wastewater), is
                                                                                                                                            is planned
                                                                                                                                               planned to
                                                                                                                                                        to be
                                                                                                                                                           be dis-
                                                                                                                                                              dis-
     charged to
     charged to the
                the sewer.
                    sewer. Companies
                           Companies in
                                     in this
                                        this category
                                             category may
                                                      may not
                                                          not have
                                                              have any
                                                                   any discharge
                                                                       discharge of
                                                                                 of industrial
                                                                                    industrial wastewater
                                                                                               wastewater to
                                                                                                          to the
                                                                                                             the sewer
                                                                                                                 sewer and
                                                                                                                       and thus
                                                                                                                           thus may
                                                                                                                                may not
                                                                                                                                    not require
                                                                                                                                        require an
                                                                                                                                                an
      Industrial Wastewater
      Industrial Wastewater Discharge
                            Discharge Permit.
                                      Permit.
  2/ A
  2/ A "yes"
       "yes" designation
             designation inin this
                               this column
                                    columnindicates
                                            indicatesthat
                                                      thatthe
                                                           thecompany
                                                               companyisisinina acritical
                                                                                  criticalSIC
                                                                                           SICNo.
                                                                                                No.classification
                                                                                                     classificationand
                                                                                                                   and must,
                                                                                                                       must, regardless
                                                                                                                             regardless of
                                                                                                                                        of daily
                                                                                                                                           daily wastewater
                                                                                                                                                 wastewater flow
                                                                                                                                                             flow
      volume, furnish
      volume, furnish the
                      the infor"mation
                          information required
                                         requiredunder
                                                  underPermit
                                                         PermitClass    or 2,
                                                                Class 1 or 2, (Class
                                                                              1(Class 1 ifif flow
                                                                                             flow is
                                                                                             1    is over 50,000 gallons per day).
                                                                                                                             day).

  3/ Wastewater characterization
                    characterization analysis
                                     analysis data
                                              data must
                                                   must be
                                                        be obtained
                                                            obtained by
                                                                      by measurements
                                                                         measurementsor     orestimates
                                                                                               estimates(estimates
                                                                                                         (estimatespermitted
                                                                                                                     permittedforfornew
                                                                                                                                     newfacilities
                                                                                                                                         facilitiesonly)
                                                                                                                                                    only)and
                                                                                                                                                          andsubmitted
                                                                                                                                                              submitted
      by companies
      by   companies inin Permit
                          Permit Class 1 or 2 with the application
                                                       application form
                                                                   form for
                                                                         for the
                                                                              the Industrial
                                                                                   Industrial Wastewater
                                                                                              Wastewater Discharge
                                                                                                          DischargePermit.
                                                                                                                       Permit.Companies
                                                                                                                                Companiesin  inPermit
                                                                                                                                                 PermitClass
                                                                                                                                                         Class33are
                                                                                                                                                                 arenot
                                                                                                                                                                     not
      required to
      required   to submit
                    submit chemical
                           chemical analysis data but must
                                                       must submit
                                                             submit measurements
                                                                     measurements or   or accurate
                                                                                          accurate estimates
                                                                                                    estimatesofoftheir
                                                                                                                  theirflow
                                                                                                                        flowdischarged
                                                                                                                             dischargedtotothe
                                                                                                                                            thesewer.
                                                                                                                                                  sewer.For
                                                                                                                                                         Forcode
                                                                                                                                                             codeiden-
                                                                                                                                                                   iden-
      tification number
      tification number see
                          see Critical
                              Critical Parameter
                                       Parameter Report
                                                  Report Form.
                                                         Form.
  4;' Wastewater characterization
  4/ Wastewater   characterization analysis
                                    analysis data
                                             data must
                                                  must be
                                                        be determined
                                                           determined annually
                                                                       annually and
                                                                                and submitted
                                                                                    submitted to
                                                                                               to the
                                                                                                   the Sanitation
                                                                                                       Sanitation Districts
                                                                                                                   Districts by
                                                                                                                             by only
                                                                                                                                only those
                                                                                                                                      those companies
                                                                                                                                              companies having
                                                                                                                                                          having aa
      discharge to the sewer
                       sewer ofof over
                                  over 10,000
                                       10,000 gallons
                                               gallons per
                                                       per working
                                                            working day
                                                                    day unless
                                                                        unlessaarequired
                                                                                 requiredminimum
                                                                                          minimumfrequency
                                                                                                      frequencyforforobtaining
                                                                                                                      obtainingthis
                                                                                                                                 thisdata
                                                                                                                                       dataisisshown
                                                                                                                                                shownininTable
                                                                                                                                                          TableAA
      for the
      for the given
              given type
                    type of
                         of industry.
                            industry.

     Companies required
     Companies   required toto submit
                               submit only
                                       only annual
                                            annual characterization
                                                   characterizationanalysis
                                                                    analysisdatadatashould
                                                                                      shouldsubmit
                                                                                               submitititdirectly
                                                                                                          directlytotothe
                                                                                                                       theDistricts
                                                                                                                           DistrictsononJuly
                                                                                                                                         July1;l; companies
                                                                                                                                                  companies required
                                                                                                                                                             required to to
     submit
     submit data
            data every
                 every 6 6 months
                           months should
                                    shouldsubmit
                                            submitdata
                                                   dataon
                                                        onJanuary      and July
                                                           January 1 and  1  July 1;
                                                                                  l; companies
                                                                                     companies required
                                                                                                    required to
                                                                                                              to submit
                                                                                                                  submit data
                                                                                                                          data every
                                                                                                                                 every33months
                                                                                                                                          monthsshould
                                                                                                                                                    shouldsubmit
                                                                                                                                                           submitdatadata
     on
     on January
        January 1,
                 1, April  1,July
                    April 1,  July1,
                                   1,and
                                      andOctober
                                           October1.
                                                   1.Required
                                                      Requiredindustrial
                                                                industrialwastewater
                                                                          wastewater characterization
                                                                                         characterization analysis
                                                                                                              analysis data
                                                                                                                         data not
                                                                                                                               not received
                                                                                                                                    received within
                                                                                                                                              within 45
                                                                                                                                                     45 days
                                                                                                                                                        days ofof the
                                                                                                                                                                   the re-
                                                                                                                                                                       re-
     quired
     quired date
            date will
                 will be
                      be considered
                          considered delinquent
                                       delinquent and
                                                  and a
                                                      a possible
                                                        possible cause
                                                                  cause for
                                                                         for revocation
                                                                              revocation cf
                                                                                          cf the
                                                                                              the Industrial
                                                                                                   Industrial Wastewater
                                                                                                               WastewaterDischarge
                                                                                                                              DischargePermit.
                                                                                                                                           Permit.

  5/ Wastewater
  5/ Wastewater analyses
                analyses for use in the annually
                                        annually required
                                                 required Industrial
                                                           Industrial Wastewater
                                                                      WastewaterTreatment
                                                                                 TreatmentSurcharge
                                                                                          SurchargeStatement,
                                                                                                    Statement,including
                                                                                                               includingdata
                                                                                                                         dataon
                                                                                                                              ontotal
                                                                                                                                 totalflow,
                                                                                                                                        flow,peak
                                                                                                                                              peakflow,
                                                                                                                                                    flow,
     chemical oxygen
              oxygen demand
                     demand and
                            andsuspended
                                suspended solids
                                          solids (A,
                                                 (A, B,
                                                     B, C,
                                                        C, and
                                                           and D),
                                                               D), must
                                                                   must be
                                                                        be made
                                                                           made according
                                                                                according to
                                                                                          to the
                                                                                             the frequency
                                                                                                 frequency shown
                                                                                                           shown in
                                                                                                                  in Table
                                                                                                                     Table B.
                                                                                                                           B.

      The Standard
      The Standard Industrial
                   Industrial Classification
                              Classification (SIC)
                                             (SIC) Number
                                                   Number may
                                                          may be
                                                              be obtained
                                                                 obtained for
                                                                          for any
                                                                              any industry
                                                                                  industry or
                                                                                           or company
                                                                                              company by
                                                                                                      by using
                                                                                                         using the manufacturing or non manufacturing
                                                                                                                                    non-manufacturing
      index of
      index of the
               the Federal
                   Federal Government's
                           Government's Standard
                                        Standard Industrial
                                                  Industrial Classification
                                                             ClassificationManual,
                                                                            Manual,1972,
                                                                                    1972,available
                                                                                          availablefor
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                                                                                                                               thelocal
                                                                                                                                   localCity
                                                                                                                                         CityEngineer
                                                                                                                                              Engineer or
                                                                                                                                                       or
      County Engineer
      County Engineer or
                      or by
                         bycalling
                            callingthe
                                     theSanitation
                                         SanitationDistricts
                                                    Districtsatat(213) 699
                                                                   (213)   -7411, oror(213)
                                                                         699-7411,     (213)685 -5217.
                                                                                             685-5217.




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Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 339 of 464 Page ID
                            COUNTY #:4111
                            COUNTY OF  LOS ANGELES
                                    OF LOS  ANGELES
                       DEPARTMENT OF COUNTY
                       DEPARTMENT OF  COUNTY ENGINEER
                           SANITATION DIVISION
                        PLAN CHECK REVIEW
                                   REVIEW SHIFT
                                          SHFET
                                                        Date
                                                        Date
FIRM NAME .5 i1// Cy/V//6/5
FIRM NAME                      1,e
                   C E/i/J /Gi4.L     Go,CP-
                                       G care /á
                                                   Uninc. Co. Territory
                                                              Territory
FIRM ADDRESS 132. il,/,/.32/VG9
     ADDRESS /32.- 14/ /32/V0                      City of
                                                   Co. Engr. is
                                                              is City
                                                                 City Engr.
                                                                      Engr.
PlanCheck
Plan  Check
          By By   K K 7 4,'V
              pi/W.                                       Yes
                                                          Yes            No
                                                                         No

                                                                             OK
1.
1.  Required No. of Plans
2.
2.  I.
    I. W. Plans and Details
3.
3.  Permit
    Permit Application (County, City,
                                   City, San.
                                          San. Dists.)
                                                Dists.)                t/
4.
4.  Permit
    Permit Application Fee Received
5.
5.  City Authorization Received
6.
6.  I.
    I. W. Statement
7.
7.  Critical Parameter
             Parameter Report
                         Report/Addl.
                                /Addl. Info.
                                        Info. Questionnaire
                                               Questionnaire
8.
8.  Type of I.
            I. W.
                W. Facilities
                   Facilities (I
                               (I-2-510,
                                  -2 -510, Nottingham
                                            Nottingham 750, etc.)
                                                             etc.)
9.
9.  I.
    I. W. Facilites Adequate
10.
10. Method of Disposal (Local,
                         (Local, trunk,
                                  trunk, ground,
                                          ground, haul,
                                                   haul, etc.)
                                                          etc.)
11.
11. Allocable Sewer Capacity
                      Capacity (Peak
                               (Peak Flow
                                      Flow inin gpm)
                                                gpm)
12.
12. I-File
    I -FileRequest
            RequestForm
                      Form(Indicate
                           (IndicateI-No.   & Region,
                                       I -No.          if if
                                               & Region,   assigned)
                                                             assigned) _-47----2
13.
13. Permit Form
14.
14. Rainwater Diversion System Required
                                  Required              Yes
                                                        Yes     No
                                                                No
15.
15. Plans/Application
    Plans /Application Approved
                        Approved for
                                  for Transmittal      San. Dists.
                                      Transmittal to San.    Dists.

     Reviewed By:
     Reviewed By:                            Trap Card Required
                                                       Required Yes
                                                                Yes           No
                                                                              No


     FOLLOW UP INSTRUCTION:
               INSTRUCTION:




     05/17/79
     05/17/79
                                         #:4112
                              COUNTY OF LOS ANGELES
                                                     •
     Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 340 ofOFFICE
                                                                         464 Page
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                     DEPARTMENT OF
                     DEPARTMENT  OF COUNTY
                                    COUNTY ENGINEER-  FACILITIES
                                            ENGINEER—FACILITIES
                                SANITATION DIVISION                     Billing
                                                                        Billing    (-7
                                                                                     (T



                                                  INDUSTRIAL WASTE SURVEY
City
C i t y 4/17/4cevy7otNa7`eb/
        4/12/14C017701Vf7k21                                                                             I-Fi1e No.
                                                                                                         I-File No.           ;        -.¢
SMD No.
    No.           Df6e),
                  DX6G) ,/,c—                                                                            Permit No.
                                                                                                         Permit No.
                                                 /
FIRM NAME            Sly
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Address
Address           /ì(g,2
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Contac.t            s-A ß,t'
         Name ifi_57s-,4),vA/
Contact Name                     ,j-` /4a,' /        /
                                                     Title
                                                     Title      `/.esiO4
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                                                                   i.e.c/o/e_ei-
                                         chemicals
                              List ALL chemicals
                             (List
Business and
Business  and processes:
              processes: (usedused and  /or produced)
                                    and/or   produced)    æhric.,
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Type and Quantity I.W.
                  I.W. (List
                       (List chemical
                             chemical names)
                                      names)

            74Q/
          / / rr/ t! L' d J CG. e7,
                  /;-•          G                         y.v / /rs   sre         .7 c4   e         ,e•e/r-
                                                                                                   4'1S4-           .04 - f, s) ,„1:0
                                                                                                                      rt_fitv,)  .O CG-A? "
WASTE DISPOSAL:
      DISPOSAL:                                                 Sample Taken ,t,'„,,,e                          Parameters
                                                                                                                Parameters         ,li':r>
                                                                                                                                   ,/,<„„

      Sewer: SMD
      Sewer: SMD                          yes
                                          /Vis                  San.Dist.
                                                                San.Dist.                      /
                                                                                               /                Volume
                                                                                                                Volume       -e
                                                                                                                             _e    .24-4_, e

      Surface Drainage
      Surface                                     h,-,,,'       Cooling Water
                                                                Cooling Water                      /7•=7/7e     Uncontaminated           ,,,,e
                                                                                                                                         hoof
     Ground         wone
                    /7,
                      ,,,
                        ,e                                      Holding Tank                       ,,,,
                                                                                                      ,,tr      Level Alarm           i2“ - e9e
     Name of Liquid
     Waste Hauler                                                                                               Other
PRETREATMENT FACILITIES:
PRETREATMENT FACILITIES:                                                       Location                       /file hf
                                                                                                              /"2.5-,,ye, /ler/ e, h hu/.'4,,t

      Trap:  Standard
      Trap: Standard                                                           Non -Standard
                                                                               Non-Standard                         /-2,,e

      Other             vive 4,f/,
                        o oe         74            .11,(""                                                      Sample Box
                                                                                                                Sample

REQUIREMENTS AND
REQUIREMENTS AND DATA:
                 DATA:

      Inspection Freq.
      Inspection Freq.                                       Rainwater list                   1-7 ,            Permit Date
                                                                                                                      Date

      New Industry
          Industry                           yeas               Resurvey
                                                                Resurvey             Aio                       T.C. Requested

      Classification
      Classification                                            SIC No.
                                                                    No.          02e40/                        Disp. Method
                                                                                                                     Method         ¿-./
REMARKS AND RECOMMENDATIONS:
            RECOMMENDATIONS: /f7,27k,-;)
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Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 341 of 464 Page ID
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.     Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 342 of 464 Page ID
                                             e•
                                        #:4114

                                                COUNTY OF LOS ANGELES
                                                              ANGELES
                                                                                            • •
                                            DEPARTMENT
                                            DEPARTMENT OF COUNTY ENGINEER
                                                                 ENGINEER




                                            /
                                    PROJECT PLANNING AND POLLUTION CONTROL DIVISION


                                                   INSPECTOR'S REPORT



     TO
     TO'                  cJ                                                        DATE:
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     REPORT:                                Vey /ei¡5                       fo 0/7          Zh2
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     76t 550L -15-CE 658-2-70
                     658-2-70
           Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 343 of 464 Page ID
                                    410      #:4115                •
                                     \
                                         a
                               •       COUNTY OF LOS ANGELES
                                                     ANGELES
Re cievPal
   c /e    h                                            ENGINEER
                                   DEPARTMENT OF COUNTY ENGINEER
                                        SANITATION DIVISION

aSf/ch
 o..s- //4//-7
/C7
                                          VIOLATIQN
                                NOTICE OF VIOLATION
 0aa le
 O               --                            AND
                                   ORDER TO COMPLY
                                            COMPLY
                                                             Date June
                                                             Date      16, 1981
                                                                  June 16, 1981
                                                             File
                                                             File    T-751,-20
                                                                     T- 7519 -20

      To
      To Shah   Chpmiral Earpnration
          sHAIIChPmir.al Corporation
      Location 132 West
      Location 132 West:112nd street. Los
                        132nd street      Angeles
                                      Lós Angeles

              You are hereby
                      hereby directed
                             directed to
                                      to .correct the following
                                         correct the   following violations
                                                                 violations of
                                                                            of Los
                                                                               Los
              County Ordinance
      Angeles County Ordinance No.
                               No. 6130
                                   6130 and
                                         and/or
                                            /or the
                                                the conditions
                                                    conditions and limitations
      of Industrial
         Industrial Waste
                     Waste'DisposaI Permit No.
                          'Disposal Permit No.              by   Immediately       1981
                                                                                   1981


             Tmmedlately discontinue
             Trimpdintely discontinue the
                                      the discharge
                                          discharge of
                                                     of liquid
                                                         liquid waste
                                                                 waste tri-the
                                                                        to the sewer by

          of _a
      way of a floor
                floor sink
                       sink from
                             from the
                                   the washing
                                        washing out'
                                                out' of your mixing
                                                     of your         tanks .
                                                              mixing tanks.
              An Industrial W
                            Waste Permit is required
                                                  ••• heföre  Alsrha_r,ng liquid waste
                                                      •- • "' •


      to
      to the sewer.
             sewer.
              All li.uid              be discharged
                  liquid waste should be d'              _
                                                    to the
                                                        I sewer throe an .0approved
                                                                  • ..11    .00 • - 0


      pretreatment facility. The facility can
                                          can be
                                              be installed
                                                 installed after
                                                           after plans have been

      submitted
      submitted and approved.
                    approved.
             Submit
             Submit aa proposal
                       proposal by
                                 by August
                                     August 14,1981 thatwould
                                             1419l that  would correct
                                                                correct the
                                                                         the above
                                                                              above viola-
                                                                                    viola-
      tion.
      tion.




      550 So.
          So. Ver-
               Ver=nt
                   _nt Avenue
                        Avenue                STEPHEN J. KOONCE, COUNTY ENGINEER
      Los Angeles, California 90020
                               90020          Kenneth R. Kvammen,Asst.Deputy
                                                         Kvammen,Asst.Deputy Co.Engr.
                                                                             Co.Engr.
      (213) 735-254
      (213) 735 -254


      rw  41                                  By
      3-27-81                                      A'06e7.7` /-Arr.f,y
           Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 344 of 464 Page ID
                                             #:4116

                                            COUNTY OF LOS ANGELES
                                  DEPARTMENT OF COUNTY
                                  DEPARTMENT OF COUNTY ENGINEER
                                                        ENGINEER-FACILITIES
                                                                -FACILITIES
                                             SANITATION DIVISION
                                550
                                550 SOUTH VERMONT
                                          VERMONT AVENUE,
                                                   AVENUE, LOS
                                                            LOSANGELES
                                                                ANGELES 90020
                                                                        90020

                                INDUSTRIAL WASTE PLAN CHECK INSTRUCTION SHEET


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                                                                                 w 42:570/3offigeL.0.
                     Faci ity    Name                                              I-File
                                                                                    I-File o. .




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 ,zge   /37.2    #<a
                   ,(O
      Facility Address
      Facility Address
                                                :$777.11                     C
                                                                           Locality
                                                                                   4:' A



                     Applicant or
                     Applicant or Engineer
                                  Engineer                                Mailing Address
                                                                          Mailing Address


                  AND PLANS
  THE APPLICATION AND  PLANS YOU
                             YOU HAVE
                                  HAVE SUBMITTED
                                       SUBMITTED FOR
                                                  FOR REVIEW
                                                       REVIEW ARE
                                                               ARE NOT
                                                                    NOTAPPROVED.
                                                                        APPROVED. SUBMIT,
                                                                                   SUBMIT, COMPLETE
  OR CORRECT THE ITEMS
     CORRECT THE ITEMS CIRCLED
                        CIRCLED BELOW.
                                 BELOW. RETURN        SHEET WITH REQUESTED
                                         RETURN THIS SHEET                   MATERIAL.
                                                                   REQUESTED MATERIAL.


  1.
  1.       Complete and sign the County Sanitation
                                        Sanitation Districts
                                                   Districts Permit
                                                             Permit Application.
                                                                    Application.

  2.
  2.       Complete and sign the County Industrial
                                        Industrial Waste
                                                   Waste Permit
                                                         Permit Application.
                                                                Application.

  3.
  3.       Complete and sign the City of                                         Permit Application.
                                                                                        Application.

  4.
  4.       Submit an application fee
                                 fee of
                                     of $$               payable to the Los Angeles County
                                                                                    County Engineer.
                                                                                           Engineer.

  S.
  s.       Furnish chemical analyses and other
                                         other data
                                                data required
                                                     required on
                                                              on the
                                                                 the attached
                                                                      attached County
                                                                               County Sanitation
                                                                                      Sanitation
           Districts' Critical Parameter Report
                                         Report Form
                                                 Form or
                                                      or Additional
                                                         Additional Information
                                                                     Information Questionnaire.
                                                                                 Questionnaire.

  6.
  6.       Place the name and address of the
                                           the Company
                                               Company having
                                                       having the
                                                              the wastewater
                                                                  wastewater discharge
                                                                             discharge at
                                                                                       at the
                                                                                          the lower
                                                                                              lower
           right-hand
           right -hand corner
                       corner of the
                                 the plans.
                                     plans.

  7.
  7.       Submit a plot plan drawn to scale showing
                                             showing acreage,
                                                     acreage, adjacent
                                                              adjacent streets
                                                                       streets and
                                                                               and north
                                                                                   north arrow.
                                                                                          arrow.

  8.
  8.       Provide a site drainage
                          drainage plan.
                                   plan.

6) Provide
6,-) Providea aroof
                 roofororananapproved
                               approvedrainwater
                                         rainwaterdiversion
                                                    diversion system
                                                                system for
                                                                        for all
                                                                            all outside          producing
                                                                                 outside waste producing
       areas drained to thethe sewer.
                                sewer.
                                                                                   •
      Submit an industrial wastewater plumbing
                                            plumbing plan
                                                      plan showing
                                                            showing all
                                                                     all floor
                                                                          floor drains,
                                                                                drains, floor
                                                                                         floor sinks,
                                                                                                sinks,
      service sinks
                sinks and
                       and waste
                             waste lines
                                   lines and
                                          and facilities
                                              facilities for
                                                           for handling
                                                                handling industrial
                                                                          industrial wastewater
                                                                                      wastewater from
                                                                                                   from
      the point of origin
                      origin toto the
                                  the connection
                                       connection to
                                                   to the
                                                       the public
                                                            public sewer.   All equipment
                                                                    sewer. All  equipment or facilities
      generating industrial wastewater must  must be
                                                  be identified
                                                      identified onon plans.
                                                                      plans.

       Separate sanitary
   1. Separate   sanitary wastes
                           wastes originating
                                   originating from
                                                from rest
                                                      rest rooms,
                                                            rooms, lavatories,
                                                                    lavatories, drinking
                                                                                 drinking fountains,
                                                                                           fountains,
       etc., from industrial process wastewater
                                        wastewater until
                                                    until all
                                                            all industrial
                                                                industrial wastewater
                                                                            wastewater pretreatment
                                                                                        pretreatment
       or flow measuring steps
                           steps are
                                  are completed.
                                      completed.

/12.2 Submit
       .     scaled
        Submit scaleddrawings
                       drawingsfor
                                forall
                                    all wastewater
                                         wastewater pretreatment facilities.
                                                    pretreatment facilities.




                                                      OVER
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          Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 345 of 464 Page ID
                                                                          r        ttio!      .

 13.t   Provide and show on plans
                              plans aa gravity
                                       gravity separation
                                               separation interceptor
                                                          interceptor of  54)0 gallon
                                                                      of 5c.0   gallon capacity
                                                                                       capacity
      ] with
      ' with aa sampling
                sampling box on the downstream
                                    downstream end.
                                                end.

 14.
 14. Provide an automatic
                automatic full
                          full-time
                               -time total
                                      total flow
                                             flow measurement
                                                  measurement system
                                                              system with flow indication,
                                                                               indication,
     totalization, and recording and show
                                      show on
                                            on plans.
                                                plans.

 15.
 IS. Provide a schematic mass balance flow diagram of the plant wastewater sources
                                                                           sources from
                                                                                   from
     water supply
           supply to
                  to wastewater
                     wastewater discharge.
                                discharge. Show
                                            Show water
                                                 water and
                                                       and wastewater flow rates,
                                                           wastewater flow rates,
     evaporation losses, losses to product,
                                   product, etc.
                                            etc.

 16.
 16. Provide a description of liquid waste materials leaving the plant
                                                                 plant other
                                                                       other than
                                                                             than in
                                                                                   in the
                                                                                      the
     industrial wastewater discharged
                           discharged to
                                      to the
                                         the sewer            types of
                                                   indicating types
                                             sewer indicating       of materials
                                                                       materials and
                                                                                  and daily
                                                                                      daily
     quantities.
     quantities.

 17.
 17. Provide an automatic effluent pH control and recording
                                                  recording system
                                                            system for
                                                                   for acid
                                                                       acid wastes
                                                                            wastes and
                                                                                   and
     show on plans.
             plans.

 18.
 18. Do not discharge
            discharge one
                      one-pass
                          -pass cooling
                                cooling water to the public
                                                     public sewer.
                                                            sewer.

 19.
 19. The indicated rate of industrial waste discharge to the sewer is substantially higher
     than normally
          normally allocated
                   allocated for
                             for property
                                  property of
                                            of this
                                                thissize.
                                                     size. Contact
     at telephone                             for the procedure necessary to obtain sewer
                                                                                    sewer
     capacity clearance.
              clearance.

 263 Submit
      Submita aplan
                planshowing
                     showingoutdoor
                             outdoor storage
                                      storage tanks,
                                               tanks, spill
                                                       spill containment
                                                              containment details
                                                                          details and
                                                                                  and cooling
                                                                                      cooling
      tower facilities.
            facilities.

 2
011)-.A41,14.a.t..i.e.4&4, six
                            six sets  of re'
                                sets of   ret4selilans
                                             -ised   laps and
                                                          and supporting information must
                                                              supporting information    must hehe returned
                                                                                                   returned
       to this office by      mg-4/57- ..7        ,ele
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 Checked by                                     Date
                                                Date                            Telephone


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       Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 346 of 464 Page ID
                                   SURVEY#:4118
                                           REQUEST


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6odoe.rtrpi Date
             Date             Wl isty       ( `j & f     To    000 %A L L 144.44.¡
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                                                                                 -
Firm  lame
Firm .dame     SHAH CHEMICAL CORPORATION
               SHAH                                                    -No. zleggrappct
                                                                     II-No._tmrypoweo

Location       132
               1 2 WEST 132    STREET,
                        1 2 ND STR  T LOS ANGELS,

Thomas Guide Page     62k,
                      6h, AA-1
                            -1               Telephone   323-8881
                                                         323- 8,81       Permit
                                                                         Permit

Remarks                          a:
                        :1ím REPnRT
             REQUIRE SURVEY   :         r
                                    AND SKETCH




cp 88
cp                                             Wt.
                                                 ;W. Y. TEN
                                                By                       .      Date
12/72
12/72                                                                  ge
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                                              LOS AnGELES
                                                  A f1GELES
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    Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 347 of 464 Page ID
                                      #:4119


                        DEPARTMEC1T    OFCOUf1T5'
                        DEPARTfT1Ef1T OF  COURTS'Ef1GIf1EER-FACILITIES
                                                  EfIGMER-FACILITIES
STEPHEN
STEPHENJ.   KOONCE
        J. KOONCE
CUUNIY
CoUN   ENGINEER
     Y ENGINEER             550
                            550 SOUTH
                                 SOUTH VERMCNIT, LOS LOS
                                       VERfI'lOf1T,  AnGELES, CA 90020
                                                         Af1GELES, CA 90020
                                                                               BOARD OF
                                                                               BOARD OF SUPERVISORS
                                                                                        SUPERVISORS
                                         (213) 738
                                         (213)     -2011
                                               738-2011
RAYMOND W.
RAYMOND    LOOMIS
        W. LOOMIS
CHEF DEPUTY
CHEF DEPUTY                                                                      PETER F.SCHABAHUM
                                                                                 PETER F. SCHABARUM
                                      July 28, 1981
                                               1981                                    KENNETH HAHN
                                                                                       KENNETH HAHN
                                                                                  EDMUND D.
                                                                                  EDMUND     EDELMAN
                                                                                         D. EDELMAN
                                                                                        DEANE DANA
                                                                                        DEANE DANA
          Shah
          Shah Chemical Corp.
                        Corp.                                                  MICHAEL D.
                                                                               MICHAEL    ANTONOVICH
                                                                                       D. ANTONOVICH

          132
          132 W. 132nd St.
                       St.
          Los Angeles, CA 90061
                           90061
          Attention:
          Attention: Mr.  Hussain M. Shaikh
                      Mr. Hussain                                    File No.
                                                                     File  No. 1-7519-20
                                                                               1-75199-20

                      SHAH
                      SHAH CHEMICAL CORP.
                                    CORP.
           Gentlemen:
           Gentlemen: 132
                      132 W. 132ND ST. (COUNTY)
                                   ST. (COUNTY)

                               APPLICATION FOR INDUSTRIAL
                               WASTEWATER DISCHARGE PERMIT
           The application
               application you
                           you have
                               have submitted
                                     submitted for
                                                for review
                                                     review by
                                                             by the
                                                                 the County
           Engineer and Sanitation Districts
                                    Districts is
                                              is NOT
                                                  NOT approved
                                                       approved because
                                                                 because
           additional information and plans are required
                                                  required to
                                                            to allow
                                                                allow
           proper evaluation of your operations and their     possible
                                                       their possible
           effects on the sewerage system and
                                           and on
                                               on the
                                                   the environment.
                                                        environment.
           Please submit the information outlined
                                          outlined in
                                                   in the
                                                      the enclosed
                                                          enclosed Plan
                                                                    Plan
           Check Instruction Sheet within
                                   within 30
                                           30 days
                                              days of
                                                   of the
                                                      the date
                                                          date of
                                                               of this
                                                                   this
           letter.
           letter.

           If
           If you have
                   have any
                        any questions,
                            questions, please  contact Mr.
                                        pleasecontact        W. Y. Ten
                                                       0..r. W.
           of this office on (213) 738-2527.
           of this                  738-2527.
                                                                truly yours,
                                                           Very truly yours,
                                                           STEPHEN J. KOONCE
                                                                      KOONCE
                                                           County Engineer
                                                                  Engineer

                                                           74}9.
                                                           7/P•iia0-4.;ral
                                                           H. R. Khojasteh
                                                           Supervising Civil Engineer I
                                                           Sanitation Division

           HRK:mls 41

           Enclosures
           cc:
           cc: Los
                Los Angeles
                     Angeles County
                              County Sanitation Districts,
                                     Sanitation Districts,
                    Industrial Waste Section
                   Industrial




            2-26-81 (2a)'
                    (2a).
                                        #:4120
                                             COUfTV OF
                                             COMP?  OF LOS
                                                        LOS ANGELES
                                                             AflGELES
                                                                             •
      Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 348 of 464 Page ID



                                    DEPARTMEnT  OF COUIITY
                                    DEPARTfMEfT OF COUflTYEf1GIílEER-
                                                           EfIGIIIEER-FACILITIES
                                                                      FACILITIES
STEPHEN '.)'J KOONCE
STEPHSN          KOONCE
F.,...:FI
(.  ..• Iv IF N.4 1,.‘ F1i              550 SOUTH VEAfl1OfT,
                                                  VERM011T,LOS
                                                             LOSAf1GELES,
                                                                 AnGELES CA 90020

Hiara Earmack
Hiara Barmack                                      (213)
                                                    (213) 738-2011
                                                          738 -2011                    BOARD OF
                                                                                       BOARD OF SUPERVISORS
                                                                                                SUPERVISORS
CHIEF DEP.;
CHIEF       rY
      CEF;;'r".
                                                December 31, 1981                        PETER F. SCHABARUM
                                                                                         PETER F. SCHABAROM
                                                                                              KENNETH HAHN
                                                                                              KENNETH   HAHN
                                                                                         EDMUND
                                                                                         EDMUNDD     EDELMAN
                                                                                                  D EDELMAN
                                                                                                 DEANE DANA
                                                                                                 DEANE
               SHAH CHEMICAL CORP.
               SHAH CHEMMICAL CORP.                                                   MICHAEL D.
                                                                                      MICHAEL D. ANTONOVICH
                                                                                                 ANTONOVICH

               132
               132 W. 132nd
                      132nd St.
                             St.
               Los Angeles, CA 90061                                     File No. I-7519-20
                                                                                  1-7519-20
               Attention: Mr. Hussain
               Attention: Mr. Hussain M.
                                       M. Shik'h
                                           Shikh
              Gentlemen:
              Gentlemen:
                                                  p LI I , CY NOTTICE
                                                 ,DES          NOTICE
                             APPLICATION  FOR INDUSTRIAL
                             APPLICATION FOR   INDUSTRIALWASTEWATI
                                                           WASTEWAT DISCHARGE
                                                                      DISCHARGE PERMIT
                                                                                PERMIT
                                             Re: SHAH CHEMICAL
                                                       CHEMICAL CORP.
                                                                 CORP.
                                                  132
                                                  132 W. 132nd St. (Unincorporated Areì)
                                                                                    Area)
              On July
                   July28,
                        28, 1981
                            1981                  were notified
                                              you were  notified that
                                                                 that your
                                                                       your firm's
                                                                            firm's
              application for an Industrial Wastewater Discharge Permit was
              not approved.
                  approved. The
                              The application
                                   application was
                                                was not
                                                    not approved
                                                         approved because addi-
              tional
              tional information and plans were required to allow proper
              evaluation  of your
              evaluation of  your operations.
                                   operations. ToTo date,
                                                     date, we
                                                           we have
                                                              have not
                                                                   not received
              any response.
                  response. The
                              The requested
                                   requested information
                                              information must
                                                           must be
                                                                be furnished in
              satisfactory
              satisfactory detail in order for you to obtain the required
              Industrial
              Industrial Wastewater Discharge Permit that will allow your
              company to legally discharge industrial wastewater to the
                      sanitary sewer
              public sanitary  sewer system.
                                      system.
              The required information must be submitted to this office
                                                                     office
              within
              within 1515    days of
                                  of the
                                     the  date
                                         date   of
                                               of   this
                                                   this   letter.
                                                         letter.  If
                                                                  If you
                                                                     you have
              any questions,
                  questions, please
                              please contact
                                      contact Mr.
                                               Mr. Mert
                                                     Mert Ramos             at
                                                                            at
              (213) 738-2463
              (213) 738-2463    .
                                                                  truly yours,
                                                             Very truly yours,
                                                             STEPHEN J. KOONCE
                                                             County Engineer

                                                                  ,454-41f!
                                                                  iato-f-140
                                                             H. R. Khojasteh
                                                             Supervising Civil Engineer I
                                                             Sanitation Division
               cc:
               cc: Los
                    Los Angeles
                         Angeles County
                                  County Sanitation
                                          Sanitation Districts,
                                                     Districts, Industrial Waste
                                                                           Waste Section
                                                                                 Section

        - (9)
           (9) 7/16/81
                7/16/81
     Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 349 of 464 Page ID
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                                               COUATY    OFLOS
                                                             LOS(i(1GELE.S
                                                                 AriGELES
                                       DEPART-MEM  OF CO!
                                       DEPFRTnIEnT OF CO )r?TY
                                                          1f   E(lGIt10ER-FACI! ITIES
                                                                EflGIIIEER-FACILITIES
STEPHEN
ST E PHE N JJ KC{?NCf
t.        f c. ...: .                          SOU7H VERMOAT
                                           550 SOUTH wrimonT. LOS
                                                               LOSArsGEI.ES,
                                                                   AfIGELES.CA
                                                                             CA90020
                                                                                90020

                                                        ?.131 7:- s-2011
                                                        (213) %'    1`911                                            BOARD
                                                                                                                     BOARD OF
                                                                                                                           OF SUPERVISOR::
                                                                                                                              SUPERVISORS
Hiam
Hi   Barmack
       rmack
                                                                                                                        PETEP.    scAtiArium
                                                                                                                        PETER r-, SCr+:.l3ArIUM
                                             January     19,
                                                         19, 1982
                                                             1982                                                             KENNETH
                                                                                                                              KENNETH HAHN
                                                                                                                                      HAHN
                                                                                                                        E061UNI)
                                                                                                                        E DM UNDCD. "VELA".r.P'
                                                                                                                                    DELM AN
                                                                                                                                hFANI.
                                                                                                                                DE ANi.DANA
                                                                                                                                       DANA
            SHAH CHEMICAL CORP.
                          CORP                                                                                       MICHAEL
                                                                                                                     MICHAEL U.
                                                                                                                             C: A':T(},NOVICH
                                                                                                                                is NTONOVICH


            132
            132 W. 132nd
                   132nd St.
                         St.
            Los Angeles, CA 90061                                                                 File No.
                                                                                                       No. T-7519-20
                                                                                                           I-- 7519 --20

            Attention: Mr. Hussain M. Shikh
            Gentlemen:
            Gentlemen:
                                                 SECOND
                                                .,i.__y.v.v: DELINQUENCY NOTICE
                                                   PEMADRINWENPX,WIX1        _.   ..a,.-.._..:-   ...,
                                                                                                         r.0 v:vc+

                               APPLICATION             ii
                                            FOR7r,T17ÙSTiJ?L
                               APPLICATION FCR     ffftSTRIAL    WASTEWATER
                                                                  fiTEWA`I'F. DISCHARGE
                                                                              DISCHA.RGE PERMTT
                                                                                          PERMIT



            On
            Or 7/28/81
                7/28/81 && 12/31/81
                           12/31/81          you were
                                                 were notified
                                                       notified that
                                                                 that your
                                                                       your firm'
                                                                             firm's
                                                                                  s
            application for an Industrial Wastewater Discharge Permit was
            not approved.
                approved.
                    oved. TheThe application
                                  application was
                                               was not
                                                   not approved
                                                        approved because   addi-
                                                                  because addi-
            tional information and plans were required to allow proper
            evaluation  of your
            evaluation of   your operations.
                                  operations. ToTo date,
                                                   date, we
                                                          we have
                                                             have not
                                                                   not received
            any response.
                response. TheThe requested
                                  requested information
                                             information must
                                                          must be
                                                               be furnished
                                                                   furnished in
            satisfactory detail in order for you to obtain the required
            Industrial
            Industrial Wastewater Discharge Permit that will allow your
            company to legally discharge industrial wastewater to the
            public sanitary
                   sanitary sewer
                              sewer system.
                                     system.
            The required information must be submitted to this office
            within
            within 1515 days of of
                           days  thethe
                                      date
                                        dateofofthis
                                                 this letter.  If you
                                                      letter. If   you have
                                                                       have
            any questions   please contact
                questions please    contact Mr.
                                             Mr. Mert
                                                 Mert Ramos               at
                                                                          at
            (213) 738- 2463
            (213) 738_   2463 .
                                                                     Very truly
                                                                     Very truly yours,
                                                                                yours,
                                                                     STEPHEN
                                                                     STEPHEN- J.
                                                                               J. KOONCE
                                                                                  KOONCE
                                                                     County Engineer

                                                                            /i'¿, j ;G
                                                                     H. R. Khojasteh
                                                                     Supervising Civil
                                                                                 Civil Engineer
                                                                                       Engineer II
                                                                     Sanitation Division
             cc:
             cc: Los
                  LosAngeles
                      Angeles County
                               County Sanitation
                                       Sanitation Districts,
                                                   Districts, Industrial
                                                              Industrial Waste Section


                   7/16/81
              (9) 7/16/81
              (9)
                       •                              •
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 350 of 464 Page ID
                                  #:4122


                      SHAH CHEMICAL
                      SHAH       CHEMICAL CORPORATION     CORPORATION
                      44-xtuvF08/EtvluitgAx/tuutmixxuntrunctnumoRKIKA
                      4  1rA8T  Sv  F XI S AX/V404EX X XX XII
                                                       Ki           XAP02403
                                                                       DOM
                                                                TEL.
                                                                TE L.213/323-8881
                                                                      213/323-8881
                      132 W.
                      132    132nd Street
                          W. 132nd  Street
                      Los Angeles,
                      Los Angeles, CA
                                   CA 90061
                                       90061
                                                                   RECEIVED
                                                                   RECEIVED

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          Mr. Mert Ramos
                                                                   laY
          County of Los Angeles
          Department of
          Department  of County
                         County Engineer- Facilities
                                 Engineer-Facilities            sANfTIXT'oN
          550 South
              South Vermont,
                     Vermont,
                                                                SAN!TATioN
          Los Angeles, California
                        California 90020
                                    90020



         PPPLICATION FOR INDUSTRIAL WASTEWATER DISCHARGE
         APPLICATION
         PERMIT (Your Delinquency Notice dated 1
         PERMIT                                12/31/82)
                                                 2/31 /82)
         FILE  a. 1-7519-20
         FILE .d0. I- 7519 -20

         Dear Mr. Ramos:
         Dear     Ramos:

         With reference to our phone
                               phone conversation
                                      conversation of
                                                    of this
                                                       this date,
                                                             date,
         please let me reiterate
                       reiterate that
                                 that Mr.
                                       Mr. Hussain
                                           Hussain M.  Shaikh, the
                                                    M. Shaikh,
         president of our company, is out of the
                                              the country.
                                                   country.   He
                                                              He
         has been away since the beginning of December,
                                               December, but
                                                          but is
                                                               is
         expected back in Los Angeles
                              Angeles by
                                       by February
                                          February 5th,
                                                    5th, 1982.
                                                         1982.

         Kindly extend the originally prodived 15 day period
         grace period up to the
                             the 8th
                                  8th of
                                       of February,
                                          February, atat which
                                                         which day
                                                                day Mr.
                                                                    Mr.
         Hussain will
                 will for
                       for sure
                           sure be
                                 be back
                                     back in
                                           in the
                                               theoffice.   Mr. Shaikh
                                                    office. Mr.  Shaikh
         has not as yet seen the Delinquency
                                   Delinquency Notice,
                                                  Notice, since
                                                          since we
                                                                 we are
                                                                    are
         holding his mail
                      mail until
                           until he
                                  he returns.
                                      returns.

         I
         I am sure Mr. Shaikh will be taking care of
                                                  of this
                                                     this pending
                                                          pending
         matter immediately
                immediately upon
                            upon his
                                 his return.
                                     return.  Kindly grant the
         extension.
         extension.

         Thank you.
         Thank you.

         Sincerely yours,
         Sincerely yours,



         HEL   MARKGRAF- iCOWLtR
         HELM MARKGRAF-
         Secretary
         Secretary
                                       •
      Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 351 of 464 Page ID
                                        #:4123

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                                 DEPARTMEAT    OFCOUFITY
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              SHAH CHEMICAL  CORP.
                   CHEMICAL CORP.                                                               kliCHALL CC
                                                                                                MICNLLI                t'pNC:IC4
              132 W. 132nd
              132 W. í 32nd St.
                            St.
              Los
              Los Angeles,
                  Angeles, CA 90061
                                                                             File  Do.1- 7510 -2w
                                                                             File No.
              Attention: Mr. Hussain M. Shikh
              Gcntlemen:
              Gentlemen:
                                           FTNALWLINOUENU
                                           FINAL D''_r.I 1`.".:JU.%1Ti YNO TICE
                                                                         NOTï.C.F
                         APPLICATION FOR INDUSTRIAL
                         APPLICATION FOR  INDUSTRIALWASTEWATER
                                                           WASTEWATERL.CUC:`!ARGE
                                                                             DI CHARGEPERMIT
                                                                                        PFR^


              on7/28/81,12/31/81
              On 7/28/81 î 2/31 /81& &1/19/82
                             ,           1/19/82you
                                                  youwere
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                                                                             '.mug:'f:ir7.'s
              application   forananIndustrial
              application for       Industrial    Was-tewater
                                              Wastewater        Discharge
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              not  approved. The
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              tional information    and plans
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              evaluation      your operations.
              evaluation of your     operations. To To date,
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              satisfactory detail in
              satisfactory detail   in order
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                                                                        jui reë
              Industrial
              Industrial Wastewater Discharge Permit that will allow your
              company to legally discharge industrial wastewater tc    to the
              public sanitary sewer
                               sewer system.
                                      system.
              The required information must be submitted to this office
              within    15
                        15 days
                            daysof
                                 of the
                                     the date
                                          date of
                                               of this letter. If
                                                  this letter.  If you
                                                                   you have
                                                                       have
              any questions, please contact Mr.Mr. Mert Ramos
                                                        Ramos             aatt
              (213)  78-2463
              (213) 738-2463


                                                                 truly yours,
                                                            Very truly yours,
                                                            STEPIEN J. KOONCE
                                                                       KOONCE
                                                            County Engineer
                                                                       .)
                                                             140       :1r.
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                                                                                       •


                                                            H. R. Khojasteh
                                                            Supervising Civil Engineer II
                                                                        Civil Engineer
                                                            Sanitation Division
              cc:  Los Angeles
              cc: Los   Angeles County
                                County Sanitation
                                       Sanitation Districts,
                                                   Districts,Industrial
                                                              IndustrialWas'
                                                                          aste

              (9)
              (9) 7/16/81
                   7/16/81
76L268- PSCase
76L268- PS 4-78
           4-78                   LOS ,ANGELES
                  2:19-cv-02123-DMG-AGR        COUNTY
                                               COUNTY
                                         Document       LETTERGRAM
                                                         LEITERGRAM
                                                  75-1 Filed 02/09/21 Page 352 of 464 Page ID
                                    fp_
                                                #:4124               •
                    CWS                                            M. RAMOS
                                                                   M. RAMOS
    TO
    TO                                               FROM
                                                     FROM

 Subject                                                                Data
                                                                        Date   6-27-83
                                                                               6 -27 -83   No.
                                                                                           No.


           The following companies have not responded
                                            responded to
                                                      to our
                                                         our repeated
                                                             repeated delinquency
                                                                      delinquency
           notices as
                   as of
                      of today.
                         today. We
                                 We are
                                    are referring
                                        referring these companies to
                                                                  to you
                                                                     you for
                                                                         for
           necessary action.
           necessary action. Copies
                              Copies of
                                      of our
                                          our final
                                               final notices
                                                     notices are
                                                             are attached for your
                                                                              your
           reference.
           reference. Thank you.
                      Thank you.


           1.
           1. LA MICHOACANA BAKERY                                      1-7517-1K
                                                                        I- 7517 -1K

           2.
           2. COMMUNITY HOSPITAL
                        HOSPITAL OF
                                 OF L.A.
                                    L.A.                                1-248-39
                                                                        I- 248 -39

           3.
           3. LITTLE RANCHITO                                           1-558-22
                                                                        I- 558 -22

       .   4.
           4. LUSTRO CORP.
              LUSTRO CORP.                                              1-6522-7
                                                                        I- 6522 -7

           5.
           5. ANTHONY H.
                      H. COMPANY,
                         COMPANY, INC.
                                  INC.                                  1-692-59
                                                                        I- 692 -59

           6.
           6. SHAH CHEMICAL CORP.
                   CHEMICAL CORP.                                       1-7519-20
                                                                        I- 7519 -20

           7.
           7. LONG BEACH BOTTLE SUPPLY                                  1-5923-22
                                                                        I- 5923 -22
76L266 Cat?
761.266 Cae 12 -72          LOS ANGELES
        Case 2:19-cv-02123-DMG-AGR
            12-72                        COUNTY
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                                            75-1 Filed 02/09/21 Page 353 of 464 Page ID
    4•••*.ihm•-
                                          #:4125        Carl joberg
              Don Tallman                               Supervising Industrial Waste
                                                                                   Waste
     TO                                        FROM Engineering Inspector
                                                                       Inspector IIII
                                                        Sanitation Division
  Subject                                                              Date
                                                                       Date                   Ho.
                                                                                              No.

                  FINAL NOTIFICATION FOR INDUSTRIAL                           July 29, 1983
                                                                                       1983
                  WASTEWATER PERMIT
                  Please inquire as to the
                                       the status
                                           status of
                                                  of the
                                                     the following
                                                         following facilities:
                                                                   facilities:

                  1.
                  1. Long Beach Bottle Supply
                     Permit on file dated 3/26/75, no longer valid due to past
                     change of ownership.
                               ownership.
                  2.
                  2. Shah Chemical
                          Chemical Co.
                                   Co.
                      No existing
                         existing permit.
                                   permit. NoNo response
                                                 response since
                                                           since Plan
                                                                 Plan Check
                                                                      Check Instruction
                                                                            Instruction
                      Sheet sent
                            sent out  7/28/81: -Application
                                  out 7/28/81.`  -Application fee paid.
                                                                   paid.

                  3.
                  3. Little Ranchito

                      Slaughterhouse with no existing
                                             existing permit
                                                      permit or
                                                             or sewer
                                                                sewer connection.
                                                                      connection.
                      No response since Plan Check Instruction Sheet sent out 12/30/81.

              CWS:RW-rw
              CWS : RW-rw 41
                          41
 Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 354 of 464 Page ID
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                                   #:4126

                                                  COUNTY OF
                                                         OF LOS
                                                             LOS ANGELES
                                                                 ANGELES
                                              DEPARTMENT OF COUNTY
                                                            COUNTY ENGINEER
                                                                    ENGINEER
                               PROJECT  PLANNING AND
                               PROJECT PLANNING  AND POLLUTION
                                                     POLLUTION CONTROL
                                                               CONTROL DIVISION
                                                                       DIVISION

                                                         INSPECTOR'S
                                                         INSPECTOR'S REPORT
                                                                     REPORT



TO:
TO:          /9/7 7/ Gj //maW
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                                                                                                   DATE:                                 /2
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                            COUNTY OF LOS
                                      LOS ANGELES
                                          ANGELES
                                                            •
 Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 355 of 464 Page ID




                    DEPARTMENT OF COUNTY
                                  COUNTY ENGINEER -FACILITIES
                                         ENGINEER-FACILITIES
STEPHEN J. KOONCE
COUNTY ENGINEER        550 SOUTH VERMONT,
                                 VERMONT, LOS
                                          LOS ANGE LES, CA 90020
                                              ANGELES,
                                                                    BOARD OF SUPERVISORS
                                      1213
                                      1213)738 -2011
                                            738-2011
HIAM BARMACK                                                          PETER F SCHABARUM
                                                                      PETER    SCHABARUM
CHIEF DEPUTY                     September 2$,
                                           28, 19$3
                                               1983                        KENNETH
                                                                           KENNETH HAHN
                                                                                     HAHN
                                                                      EDMUND
                                                                      EDMUND O  0 EDELMAN
                                                                                  EDELMAN
                                                                               DEANE
                                                                               DEANE DANA
                                                                                     DANA
                                                                   MICHAEL D
                                                                           0. ANTONOVICH
                                                                              ANTONOVICH



    Pacific Chemical Incorporated             File  No.I-1-7519-20
                                              File No.     7519 -20
    132
    132 West 132nd Street
    Los Angeles, CA 90061
                    90061
    Gentlemen:
    Gentlemen:                            NOTICE
                              DELINQUENCY NOTICE
           APPLICATION FOR INDUSTRIAL WASTEWATER DISCHARGE PERMIT
                                 PACIFIC CHEMICAL INCORPORATED
                                                 STREET
                                 132 WEST 132ND STREET
     On      August 211,
                    24, 1q.e3
                         1983        you were notified that your firm's
     application for an Industrial Wastewater Discharge Permit was
     not approved.
         approved. The
                     The application
                          application was
                                       was not
                                           not approved
                                                approved because addi-
                                                                  addi-
     tional information and plans were required to allow proper
     evaluation of
                 of your
                    your operations.
                          operations. ToTo date,
                                            date, we
                                                   we have
                                                      have not
                                                           not received
                                                               received
     any response.
         response. The
                     The requested
                          requested information
                                     information must
                                                  must be
                                                        be furnished
                                                           furnished in
     satisfactory detail in order for you to obtain the required
     Industrial Wastewater Discharge Permit that will allow your
     company to legally discharge industrial wastewater to the
            sanitary sewer
     public sanitary   sewer system.
                              system.
     The required information must be submitted to this office
     within 30
     within  30    days of
                        of the
                           the date
                               date of
                                     of this
                                         this letter.
                                               letter. If
                                                        If you
                                                           you have
     any questions, please contact
                           contact     Mr. W. Y. Ten              at
                                                                  at
    (213) 738-2531
    (213) 738 -2531    .
                                                  truly yours,
                                             Very truly yours,
                                             STEPHEN J. KOONCE
                                             County Engineer



                                                Ramos
                                             M. Ramos
                                 /-`A-       Supervising Civil Engineer
                                                               Engineer II
                                             Sanitation Division
     cc:
     cc: Lot
          Los Angeles
               Angeles County
                        County Sanitation
                                Sanitation Districts,
                                           Districts, Industrial
                                                      Industrial Waste Section


     (9)
     (9) 7/16/81
          7/16/81
    Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 356 of 464 Page ID
                                      #:4128
                            41 COUNTY OF LOS ANGELES
                                 COUNTY OF LOS ANGELES
                       DEPARTMENT OF COUNTY
                       DEPARTMENT    COUNTY ENGINEER- FACILITIES
                                            ENGINEER-FACILITIES
STEPHEN J. KOONCE
COUNTY ENGINEER           550 SOUTH
                          550 SOUTH VERMONT,
                                    VERMONT,LOS
                                             LOSANGF
                                                 ANGLES,
                                                     LES,CA
                                                         CA 90020
                                                            90020
                                                                         BOARD OF
                                                                               OF SUPERVISORS
                                                                                  S'IPERVISORS
                                             12131 733-2011
                                             1213) 733.2011
HIAM BAP MACK                                                              PETER F. SCHABARUM
                                                                                    SCHABARUM
CHIEF OE "UTY
      DE!'UTY                      November 4, 1983
                                               i983                             KENNETH
                                                                                KENNETH HAHN
                                                                                          HAHN
                                                                                    ü. EDELMAN
                                                                           EDMUND LI.  EDELMAN
                                                                                   DEANE DANA
                                                                        MICHAEL
                                                                        MICHAEL D. ANTONOVICH
                                                                                   ANTONOVICH


    Pacific
    Pacific Chemical Incorporated             File  No.I-1-7519-20
                                              File No.     7519 -20
    132
    132 West 132nd Street
    Los Angeles, CA 90061
                    90061
    Gentlemeri:
    Gentlemeri:       SECOND
                      SECOND DELINQUENCY
                              DELINQUENCY NOTICE
                                          NOTICE
           APPLICATION FOR INDUSTRIAL WASTEWATER DISCHARGE PERMIT
                                 PACIFIC
                                 PACIFIC CHEMICAL INCORPORATED
                                 132 WEST 132ND STREET
                                                  STREET
     On 8  /24/83 && 9/24/83
          $/24/$3     9/24g3          you were
                                    .you  were notified
                                                notified that
                                                          that your
                                                               your firm's
                                                                     firm's
     application
     application for an Industrial Wastewater
                                       Wastewater Discharge
                                                   Discharge Permit
                                                              Permit was
                                                                      was •
     not approved.
         approved. TheThe application
                           application was
                                        was not
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                                                                    addi-
     tional
     tional information
             information and plans were required to allow proper
     evaluation of
                 of your
                     your operations.
                           operations. ToTo date,
                                             date, we
                                                   we have
                                                      have not received
                                                                received
     any response.
         response. TheThe requested
                           requested information
                                      information must
                                                   must be
                                                         be furnished
                                                            furnished in
     satisfactory
     satisfactory detail in order for you to obtain the required
                                                              required
     Industrial Wastewater Discharge Permit
                                         Permit that
                                                 that will
                                                      will allow
                                                            allow your
                                                                  your
     company to legally discharge industrial
                                      industrial wastewater
                                                  wastewater to
                                                              to the
                                                                 the
     public sanitary sewer
                        sewer system.
                              system.
     The required information must be submitted to this office
     within
     within _15 -15 days
                       daysofofthe
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                                    date of
                                          of this
                                             this letter.   If you
                                                   letter. If   you have
                                                                    have
     any questions, please
                        please contact
                                 contact        W. Y.
                                            Mr. W.  Y. Ten
                                                       Ten             at
                                                                       at
     (213)   738-2531
      (213) 738 - 253i

                                                         truly yours,
                                                    Very truly yours,
                                                    STEPHEN J. KOONCE
                                                    County Engineer
                                                              -



                                                    M. Ramos
                                                       Ramos
                                   / 4"*"'e/2._)    Supervising Civil Engineer
                                                                      Engineer II
                                   fW2.'            Sanitation Division
                                                               Division
     cc:
     cc: LoS
          Los Angeles
               Angeles County
                        County Sanitation
                               Sanitation Districts,
                                          Districts, Industrial
                                                     Industrial Waste
                                                                Waste Section


      (9)
      (9)    7/16/81
             7/16/81
                               •   #:4129

                                   COUNTY OF LOS ANGELES
                                                 ANGELES
                                                                          •
 Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 357 of 464 Page ID



                           DEPARTMENT OF COUNTY ENGINEER- FACILITIES
                                                ENGINEER-FACILITIES
STEPHEN J. KOONCE
COUNTY ENGINEER
                                        VERMONT, LOS
                              550 SOUTH VERMONT, LOS ANGELES, CA 90020
                                                                                     BOARD OF SUPERVISORS
                                                                                     BOARD    SUPERVISORS
                                             (21317:38-2011
                                             (21317:38-2011
                                                                                        PETER F. SCHABARUM
                                                                                                 SCHABARUM
HIAM BARMACK
HIAM BARMACK                                 18, 1984
                                     January 1$, 1984                                        KENNETH HAHN
                                                                                                      HAHN
CHIEF DEPUTY
CHIEF        ---
      DEPUTY.-
                                                                                        EDMUND D. EDELMAN
                                                                                                   EDELMAN
                                                                                                DEANE DANA
                                                                                     MICHAEL D. ANTONOVICH

   Pacific Chemical Incorporated
   3.32
   1.32 West 132nd Street                                                File  No.I-1-7519-20
                                                                         File No.     7519 -20
   Los Angeles, CA 90061
                    90061

        Gentlemen:
        Gentlemen:               FINAL DELINOUt2"CY
                                 FINAL DFLINO?TF "'CY NOTICE
                                                      TOTICE

                   APPLICATION FOR INDUSTRIAL WASTEWATER DISCHARGE PERMIT
                                                                   PERMIT


        On 8/24/83
           8/24/83. 99/28/83&1114/3
                      /28/F13&11/4/83 you
                       ,                you were
                                             were notified
                                                  notified that
                                                            that your
                                                                 your firm's
                                                                       firm's
        application for an Industrial Wastewater Discharge Permit was
            approved. The
        not approved.   The application
                             application was
                                          was not
                                              not approved
                                                   approved because addi-
        tional information and plans were required to allow proper
                                                                 proper
        evaluation  of your
        evaluation of  your operations.
                             operations. ToTo date,
                                               date, we
                                                     we have
                                                        have not
                                                              not received
        any response.
            response. The
                        The requested
                             requested information
                                        information must
                                                     must be
                                                           be furnished
                                                              furnished in
        satisfactory
        satisfactory detail in order for you to obtain the required
        Industrial.
        Industria]. Wastewater Discharge Permit that will allow your
        company to legally discharge industrial wastewater to the  the
               sanitary sewer
        public sanitary  sewer system.
                                system.
        The required information must be submitted to this office
                                                              office
        within
        within 1515 days of of
                       days  the date
                               the dateof
                                        ofthis
                                            this letter.
                                                 letter. If
                                                          If you
                                                              you have
                                                                  have
        any questions,
            questions, please
                        please contact
                               contact Mr.Mr. W.
                                              W. Y. Ten              at
                                                                     at
        (213)
        (213) 738-
                                                            truly yours,
                                                       Very truly yours,
                                                       STEPHEN J. KOONCE
                                                       County Engineer

                                                         Gam.      . /

                                                              4'


                                              tAL-
                                                          Ramos
                                                       M. Ramos
                                                       Supervising Civil Engineer
                                                                         Engineer II
                                                       Sanitation Division
        cc:
        cc: Los
             LosAngeles
                 Angeles County
                          County Sanitation
                                  Sanitation Districts,
                                             Districts, Industrial
                                                        Industrial Waste Section
                                                                         Section

              7/16/81
         (9) 7/16/81
         (9)
     Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 358 of 464 Page ID
                                       #:4130                                                             •                           PERMIT NO.

                                              ADDITIONAL INFORMATION QUESTIONNAIRE
                                              ADDITIONAL
                                                      FOR PERMIT
                                                      FOR  PERMIT APPLICAN1S
                                                                  APPLICAN1S
                                      SANITATION DISTRICTS OF LOS ANGELES COUNTY
                                  1955 Workman
                                  1955 Workman Mill
                                                 Mill Rd.,
                                                      Rd., P.O.
                                                           P.O. Box
                                                                Box 4998,
                                                                    4998, Whittier,
                                                                          Whittier,CA.
                                                                                    CA.90607
                                                                                       90607
                                    John D. Parkhurst, Chief Engineer and General Manager

                                                  LOS ANGELES,
                                                  LOS ANGELES, CA
                                                               CA                                        .. Calif.
                                                                                                            Calif. 11             // 27
                                                                                                                                      27 /84
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                                                                                                                        MO.          DAY          YR
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Name of
Name of Company
        Company __              PACI ICA CHEMICAL
                                PACIYICA  CHEMICALINCORP31. ?TED
                                                   INCORP3RATED
                                                                                                               S.I.C. No.
                                                                                                               S.I.C. No. _
Mailing Address
Mailing                          132 W. 132nd Street, Los Angeles, CA 90061
                                132 W. 132nil Street, Los Angeles, CA 90061
PRINT
PRINT                      ( STREET)
                           (STREET)                                                         1 CITY}
                                                                                              CITY           STATE)
                                                                                                            (STATE)                             IZIP)
                                                                                                                                                I ZIP)

Address of Wastewater Discharge                    _ dto
                                                     dto._
PRINT
PRINT                                                    STREET)
                                                       ( STREET)                            i CITY)
                                                                                              CITY)          'TATEI
                                                                                                             ',TATE)                            ZIP)
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Legal Address
Legal                  1 (hl
                       ;  01 r 1                 1p141
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                                                                        o .2.                    Permit Application       (C74-4-1_44_
                                                                                                                    No.'l (c)
                                                                                                        Application No.         (            etei_
                           (I MAP
                              MAP BOOK
                                  BOOK NO.)
                                       NO.)       (( PAGE
                                                     PAGE NO.)
                                                          NO. )            ( PARCEL
                                                                             PARCELNO.
                                                                                    NO.))


 IF YOUR
IF   YOURCOMPANY
              COMPANYDISCHARGES
                            DISCHARGES         OROR  WILL
                                                   WILL     DISCHARGE
                                                         DISCHARGE     TOTO  THESEWER
                                                                           THE    SEWERany    anyofofthe
                                                                                                      thewastewater
                                                                                                           wastewater constituents
                                                                                                                         constituents
 listed below,
listed   below, please
                   please check the appropriate box:
   1. Flammable
   1. Flammable wasteswastes (406A)
                               (406A)                                    9. Cyanide
                                                                             Cyanide wastes
                                                                                        wastes (406J)
                                                                                                (406J)
   2. Toxic
      Toxic or or poisonous
                   poisonous wastes
                                wastes (406B)
                                            (406B)                      10. Total
                                                                             Totaldissolved
                                                                                   dissolved solids
                                                                                               solids above
                                                                                                        above
   3. Acidic
      Acidicmaterials
                materials (pH
                            (pH less
                                  less than
                                          than 6.0)
                                               6.0) (406C)
                                                    (406C)                   5000
                                                                             5000 mgmg/1 /1 (406K)
                                                                                            (406K)
   4. Materials
   4. Materials thatthat could
                          could obstruct
                                  obstruct the                          11. Highly
                                                                             Highly odorous
                                                                                     odorous wastes
                                                                                                wastes (406M)
                                                                                                          (406M)
       sewer (406D)
       sewer                                                            12. Dissolved
                                                                        12.  Dissolved sulfides
                                                                                          sulfides over
                                                                                                    over 0.1
                                                                                                           0.1mgmg/1/1 (406N)
   5. Rainwater
       Rainwater (406E)
                     (406E)                                             13. Basic
                                                                             Basic materials
                                                                                    materials
   6.  Dilution water (406F)
   6. Dilution            (406F)                                ®            (pH greater than 10.5) (4060)
   7. Petroleum
   7.  Petroleum based
                     based soluble                                      14. Toxic
                                                                             Toxic gases
                                                                                   gases (406P)
                                                                                            (406P)
       cutting oils (406G)                                              15. Temperature
                                                                             Temperature overover 120°
                                                                                                   120° F. F. (406Q)
                                                                                                              (406Q)
   8. Any
   8.  Any quantities
             quantities of petroleum based                              16. Highly
                                                                             Highlycolored
                                                                                     coloredwastes
                                                                                               wastes (406V)
                                                                                                         (406V)
       oils (4061-1)
       oils  (406H)
17. Wastes
       Wastes larger
                  larger than
                          than 33//s"  in any dimension
                                   8 " in      dimension (406W)
                                                            (406W)
18. AnyAnyarsenic,
              arsenic,boron,
                        boron,cadmium,
                                 cadmium,chromium,
                                                chromium,copper,
                                                            copper,lead,
                                                                    lead,mercury,
                                                                          mercury,nickel,
                                                                                     nickel,selenium,
                                                                                              selenium,silver.
                                                                                                           silver,tin,
                                                                                                                   tin,
       zinc, or other toxic materials (406X)
 19. Blow
       Blowdowndownor orbleed
                         bleedwater
                                 waterfrom fromcooling
                                                 coolingtowers,
                                                         towers,boilers
                                                                 boilersor
                                                                         orevaporative
                                                                            evaporativecoolers
                                                                                           coolers(406Y)
                                                                                                    (406Y)
 20.  Single    pass  cooling
20. Single pass cooling water   water      (406Z)
 21. Radioactive
21.    Radioactive materials
                       materials (406AÁ)
                                     (406AA)
22. Recognizable portions
 22.  Recognizable        portions of of the
                                          the human
                                              human anatomy
                                                       anatomy (406BB)
                                                                (406BB)
       NOTE: Numbers in parentheses refer to
       NOTE:                                            to the
                                                           the designated
                                                               designated section
                                                                           section in
                                                                                    in the
                                                                                        the
                 Districts' Industrial Waste Ordinance.
                                                   Ordinance.

IF YOUR COMPANY HAS ANY OR WILL HAVE ANY OF THE FOLLOWING PRETREATMENT SYSTEMS
for wastewater prior
                   prior to
                          to disposal
                             disposal totothe
                                           thesewer,
                                               sewer,please
                                                      pleasecheck
                                                             checkthe
                                                                   theappropriate
                                                                       appropriate box.
                                                                                     box.
1.
1.  Interceptor,   clarifier, sump   or trap              ]
                                                         bJ      10.
                                                                 10. Cyanide
                                                                     Cyanide destruction
                                                                                destruction
2. Screen
2.  Screen or filter                                     ❑       11 Chromium
                                                                 11. Chromium reduction
                                                                                  reduction
3. Centrifuge
    Centrifuge                                           0       12. Spill protection
                                                                 12.       protection
4. Cyclone
    Cyclone
5. Grit
    Grit removal
6. Grease
         removal
            or oil removal
    Grease or oil removal                                        14.
                                                                 14.
                                                                       [
                                                                 13. Rainwater diversion or
                                                                 13.
                                                                     storage system
                                                                     Grinder
                                                                              system
                                                                              over  2 horsepower
7. Solvent
    Solvent separation
             separation                                          15.
                                                                 15. Air flotation
                                                                         flotation
8. Acid
8.  Acidororbase
            base neutralization
                    neutralization                               16. Other
                                                                16.
9. Chemical   coagulation      or precipitation
    Chemical coagulation or precipitation
                                                                 17. Other
                                                                17.  Other

  hereby affirm
I hereby
I
         affirm that all information furnished is true and correct
                                                           correct to
                                                                   to the
                                                                      the best
                                                                          best of
                                                                               of my
                                                                                  my knowledge.
                                                                                     knowledge.

Date
Date        1 /27j                              _, 198.4
                                                 , 19_8_4




Signature for Applicant
    ICOMPANY ADMINISTRATIVE
    (COMPANY ADMINISTRATIVE OFFICIAL)
                            OFFICIAL)
                                                                                                                  Pr ci-c-lcnt
                                                                                                                  President-
                                                                                                                          POSITION )
                                                                                                                              ( POSITION )
                                                                                                                              (


                                               SAIN M.
                                               SAIN  M.SHAIKH`NAME)
                                                        SHAIKH (NAME)
                                                                                                                                SANITATION
                                                                                                                                SANITATION DISTRICTS O FLOS
                                                                                                                                           DISTRICTSOF             COUNTY
                                                                                                                                                            ANGELESCOUNTY
                                                                                                                                                        LOSANGELES

                                                                                                                                 D. Par
                                                                                                                            John D. Parkhurst,
                                                                                                                                        khurst, Chief
                                                                                                                                                Ch iefEngineer
                                                                                                                                                      Engineer and General
                                                                                                                                                                   General Manager

                                                                                                                                                     PERMITINFO
                                                                                                                                                     PERMIT     RMATIONCHECK
                                                                                                                                                            INFORMATION         IST 1/
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                                                                                                                                                                                                      Waste-                                                                             Plans of    Cti ra.
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                                                                                                                                                 Water                    Water




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                                                     Add'I.       Critical                                                                                                                                                                                Company                                                                  System   Company's
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                            Permit                  Inform.      Parameter                                        Floor or                       Mass                     Source




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                                                   Question -                                                                                   Balance                         and                                                      Plant            Address                                                              pH Control




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       Permit                                                                             Plot




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                              Appli-                               Report                                         Plumbing
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           Class                                     naire         Form                   Plan                                                                                                                                                                                              System




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       1                               X                               X                      X                           X                            X                          X                                                              X              X
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 1/ If any questions exist on the information required, or the methods of submitting the information to the Sanitation Districts, please call the Districts' Industrial Waste Section at 484 1370, ext. 308 or after
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           June 1, 1974 call (213) 699 -7411.




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 2/ Please note that companies in Permit Class 3 must normally provide a minimum industrial wastewater pre- treatment facility consisting of an interceptor (sump, clarifier) having a 30- minute detention t me
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       W% t 7,,' d
     (min. 500 gals.) for peak wastewater flows, and properly baffled to prevent sand, grit, oil and grease from entering the sewer.
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Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 360 of 464 Page ID
                                  #:4132                         •
                     PACIFICA CHEMICAL INCORPORATED
                     132 W.
                     132 W. 132nd
                              132nd STREET
                                    STREET•LOS
                                             LOSANGELES,
                                                 ANGELES,CALIFORNIA
                                                            CALIFORNIA 90061
                                                                       90061
                     TEL.: (213)
                     TEL.:  (213)532 -9291 • TELEX:
                                  532-9291    TELEX: 69-1496
                                                     69 -1496




        1/30/1984
        1/30/1984




        Mr. W. Y. Ten
        Countyof Los Angeles
        Department of County
           Engineer-Facilities
            Engineer -Facilities
        550 South
        550  South Vermont
        Los Angeles, CA 90020



        Dear Mr.
             Mr. Ten:
                 Ten:

        Attached you will find completed application
                                           application #Y104144
                                                       #Y104144
        for a
        for a permit for Industrial Wastewater
                                      Wastewater Discharge,
                                                 Discharge, as
                                                            as
        well as a completed additional information question-
        naire. Also
        naire.  Also attached
                      attached is
                               is our
                                  our check
                                       check #2154 for $228.00.
                                                       $228.00.

        A to Z Plumbing of Long Beach has been engaged to
        survey our
        survey our existing
                   existing plumbing
                             plumbinglines.
                                       lines. Prints
                                              Prints will be
        submitted as soon as they
                              they are
                                   are received.
                                       received.

        If you have any further questions or require
        If                                   require further
                                                     further
        information, please contact
                            contact the
                                    the writer.
                                        writer.




        Enclosures
        Enclosures


        TSC/HM-F
        TSC /HM -F




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              FES 011984
                       ENGINE.ER
               cougrt ENGINEER
         Ili
                 ATIO DIVISION
            SPOTP,TION
           SAiiT
APPLICATION NO.                                                        EXISTING INDUSTRY                                                                  PERMIT
                                                                                                                                                          PERMIT NO.
                                                                                                                                                                 NO.

     z.
              Case 2:19-cv-02123-DMG-AGR
             (946
             n. P.946
                                PERMIT
                                PERMIT R
                                 SANITiWN
                                            Document 75-1
                                       'RINDUSTRIAL
                                          INDUSTRIAL       Filed 02/09/21
                                                      WASTEWATER
                                                       WASTEWATER
                                                    #:4133
                                             DISTRICTSOF
                                 SANITiWN DISTRICTS    OFLOS
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                                                              ANGELES CCp1TY
                                                          LOSANGELES
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                                                       i955
                                                        955 Workman
                                                            Workman Mill
                                                                       Mill Road
                                                                            Road // Whittier,
                                                                                    Whittier, Ca.
                                                                                              Ca.
                                             Mailing Address: / P.O. Box 4998, Whittier, California
                                                                                           California 90607
                                                                                                      90607
                                             XX/VM-XIMMialic Chief
                                             XXVIX&XXXWAXIO       Chief Engineerand
                                                                      Engineer    andGeneral
                                                                                      General Manager
                                                                                                Manager
                                       Charles W.
                                               W. Carry
                                                  Carry
                                               Los Angeles                                           Calif.
                                                                                                     Calif.        66//      20
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                                                                                                               MO.         DAY
                                                                                                                           DAY         YR.
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                                                PACIFICA CHEMICAL INC.
olAPPLICATION
01 APPLICATION ISIS HEREBY
                  HEREBY   MADE
                         MADE BY BY PACIFICA CHEMICAL INC .
                                            PRINT
                                            PRINT                                       (FIRM
                                                                                        (FIRM NAME)
                                                                                              NAME)

02 (Mailing Address)
02 (Mailing Address)          132W.
                              132 W. 132nd
                                     132nd Street
                                           Street                                    Los Angeles,
                                                                                     Los Angeles, CA                                          90061
                                                                                                                                              90061
                                                                                                   (CITY)
                                                                                                   (CITY)                     (STATE)
                                                                                                                              (STATE)                          IP)
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                  tiaroon khan
                          Khan                                                                                                                   of the
                                                                                                                                                 of theproperty
                                                                                                                                                        property located
                                                                                                                                                                  located at:
                                                                                                                                                                          at:
             (OWNER, TENANT,
                     TENANT ETC.)
                             ETC.)

04 (Street)
04 (Street)       132 W. 132nd Street
                  132                                                       (City)
                                                                            (City)   Lcs Angeles,
                                                                                     Lc.s Angeles, CA
                                                                                                   CA                             (Zip)
                                                                                                                                  (Zip)      90061
                                                                                                                                             90061
    PRINT
    PRINT                                       (ADDRESS OF PROPERTY PRODUCING
                                                                     PRODUCING WASTEWATER
                                                                               WASTEWATER DISCHARGE)
                                                                                          DISCHARGE)

o5Assessors Map Book
osAssessors Map Book No.
                     No.                                             Page
                                                                      Page No.
                                                                           No.                                            Parcel No.
                                                                                                                          Parcel No.          `rim
                                                                                                                                                ``"
                                            (LEGAL ADDRESS
                                            (LEGAL ADDRESS OF
                                                           OF PROPERTY
                                                              PROPERTY PRODUCING
                                                                       PRODUCING WASTEWATER
                                                                                 WASTEWATER DISCHARGE)
                                                                                            DISCHARGE)


06     132W.
     132   W., 132ndStreet,
             132nd   Street,Los
                             LosAngeles,
                                Angeles, CA
                                         CA
     PRINT
     PRINT                               (LOCATION OF
                                         (LOCATION OF POINT
                                                      POINT OF
                                                            OF WASTEWATER
                                                               WASTEWATER DISCHARGE
                                                                          DISCHARGE TO SEWERAGE SYSTEM)
  fcr
  fer aa Permit
         Permit for Industrial Wastewater Discharge to the sewerage system.
                                                                    system.

07 Type
07 Type of Industry      blending
                         blending of
                                  of textile
                                     textile detergents
                                             detergents and
                                                        and softeners
                                                            softeners
                                  (GENERAL DESCRIPTION)                                                                       NOS)
                                                                                                                 (FEDERAL SIC NOS.)


08 Number
08        of Employees (Full
                       (Full Time)
                             Time)               12
                                                 12               (Part Time)     none
                                                                                  none
                      Flilsoft N N-20
                      Milsoft       -20 (ICI); CARSANON
                                           (ICI);        N- 9(LONZA);
                                                  CARSANON   N-9(LONZA); CARSOSOFT
                                                                              CARSOSOFTT -90 (LONZA);
                                                                                          T-90 (LOMA);Sodium
                                                                                                       Sodium
09
09 Raw Materials Used
                 Used Lauryl     Sulfate,
                                   Sulfate,Ammonium   Lauryl
                                               Ammonium LaurylSulfate,
                                                               Sulfate,Peg    -600
                                                                        Peg-60C)   (EMERY)
                                                                (GENERAL DESCRIPTION
                                                                (GENERAL
                                                                                    (EMPIRV)
                                                                         DESCRIPTION --ADD
                                                                                       ADD ADDITIONAL
                                                                                           ADDITIONAL SHEETS AS
                                                                                                             AS NEEDED)
                                                                                                                NEEDED)


10 Products Produced
Io Products Produced       Detergents and
                           Detergents and softener,
                                          softenes
                                                                (GENERAL DESCRIPTION - ADD ADDITIONAL
                                                                (GENERAL                   ADDITIONAL SHEETS
                                                                                                      SHEETS AS
                                                                                                             AS NEEDED)
                                                                                                                NEEDED)


IiI IWastewater
      WastewaterProducing
                 ProducingOperations Rinsing
                          Operations Rins3    of tanks
                                           ng of  tanks


                                                    (FULL DESCRIPTION
                                                    (FULL DESCRIPTION -- ADD
                                                                         ADD ADDITIONAL
                                                                             ADDITIONAL SHEETS
                                                                                        SHEETS AS NEEDED)

12
12   Time
     Time of
          ofDischarge
             Discharge—-          88         AMM91
                                             AM1,`FIVIto
                                                       to            }CM  PM,
                                                                      AM.'PM,                Days per Week M
                                                                                                           M TTWW Th
                                                                                                                   Th FF Sa
                                                                                                                          Sa Su
                                                                                                                              Su
                            (WORKING DAY
                            (WORKING DAY -- CROSS
                                            CROSS OUT
                                                  OUT AM
                                                      AM OR
                                                         OR PM)
                                                            PM)                                                           (CIRCLE DAYS)
                                                                                                                          (CIRCLE DAYS)

I3Wastewater
 I3Wastewater Flow
              Flow Rate         16 gl/min.
                                16 glfinin.                                                                        50G
                                                                                                                   500       (Gallons Per Day)

I4Constituents of Wastewater Discharge rinsing
14Constituents                         rinsingmaths   of remaining
                                               tab.ks of                                      material before starting nc:,
                                                          rema n rg material before starting rA
 detergents and
 detergents and sof toners
                softeners
                                 (GENERAL DESCRIPTION
                                 (GENERAL DESCRIPTION -- ATTACH
                                                         ATTACH CHEMICAL
                                                                CHEMICAL ANALYSES
                                                                         ANALYSES RESULTS
                                                                                  RESULTS TO
                                                                                          TO THIS
                                                                                             THIS APPLICATION)
                                                                                                  APPLICATION)

I5Person
15 Person    in company responsible for industrial wastewater discharge:

     JUAN MONTES and
     JUAN PONTES  andTOMAS
                     TOMAS MACED0N10
                           MACEDONIO                                                   Operators
                                                                                       Operators                                  (213) 323
                                                                                                                                  (213)     -8861
                                                                                                                                        323-8881
     PRINT
     PRINT            (NAME)
                      (NAME)                                                                      (POSITION)
                                                                                                  (POSITION)                       (TELEPHONE NUMBER)
                                                                                                                                   (TELEPHONE NUMBER)

II affirm that
          that all
               all information
                    information furnished
                                 furnished is
                                            is true
                                                true and
                                                     and correct
                                                         correct and
                                                                 and that
                                                                      that the
                                                                            the applicant
                                                                                applicantwill
                                                                                          willcomply
                                                                                               complywith
                                                                                                     withthe
                                                                                                          theconditions
                                                                                                              conditionsstated
                                                                                                                         statedon
                                                                                                                                onthe
                                                                                                                                   theback
                                                                                                                                       backofofthis permit form.
                                                                                                                                                thispermit form.


Date
Date            6/20/85
                6/20/85                     , 19
                                              19



   Signature for
I6Signature
16            for Applicant
                  Applicant
(COMPANY ADMINISTRATIVE
(COMPANY       ADMINISTRATIVE OFFICIAL)
                              OFFICIAL)              (NAME)
                                                     (NAME)                                                                               (POSITION)
                                                                                                                                          (POSITION)

17Approved
I7Approved by City or County Official                                                   18
                                                                                        18 Approved
                                                                                           Approved by Sanitation Districts of Los Angeles County

Date
Date                                                                                        Date
                                                                                            Date

For
For Dept.
    Dept. of
          of County
             County Engineers
                    Engineers                               [1
                                                            Ell                        , lValegfMaY4EON,          Chief
                                                                                            II iff6r(5_.(flfak s'6df,    Engineer
                                                                                                                      Chief        and
                                                                                                                            Engineer andGeneral
                                                                                                                                         GeneralManager
                                                                                                                                                Manager
                                                                                      teharl es-1td.
                                                                                     'Charles    .1. carry
                                                                                                     carry
      City of                                      _El      )



Name
Name                                                                                         by

Position
Position                                                                                     Position
Note:
Note: Please
       Pleasesubmit
                submitapplication
                       applicationfirst
                                    firsttotoCity
                                              CityororCounty
                                                       CountyAgency
                                                                Agency who
                                                                        who may
                                                                             may require
                                                                                 require a permit fee.
       This
       This form
             form when
                  when properly
                        properly signed
                                 signed shallshall be
                                                   be aa valid
                                                         valid permit
                                                               permit unless
                                                                      unless suspended
                                                                             suspended oror revoked.
                                                                                             revoked.

                                                                      COUNTY
                                                                      COUNTY ENGINEER'S
                                                                             ENGINEER'S COPY
         Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 362 of 464 Page ID
                                    UNITY
                                 UdTY     OF
                                      OF LOS   LOS    ANGELES •
                                                ANGELES
                                           #:4134
                                 DEPAW  ENT OF
                                 DEPAhZi1ENT OF COUNTY
                                                COUNTY ENGINEER
                                                        ENGINEER
                                     SANITATION
                                     SANITATIOìJ DIVISION
                                                  DIVISION                       -



                                   PLAN CHECK REVIEj'i
                                   PLAN CHECK  REVIEW SHEET
                                                       SHEET

                                                                            Date     2,   -
                                                                                          -16 - s, S
       NAPIEFA
 FIRM NAME   FAa Fy         c_      C,   cwl   C          r *{   -
    -                                                                  Uninc. Co. Territory
 FIEN ADDRESS
 FIR.r'1      13 13 '\/.1U1 •
         ADDRESS              13 .d
                            ` L,,40(                 `S4reae,i         City of     LL Ú1,         DC 6
                                                                                               °) Dc, 6
                                                                       Co. Engr. is
                                                                                  is City
                                                                                       City Engr.
                                                                                            Engr.
 Plan Check
 Plan  CheckByBy a-t
                  b2,1-,Ni
                      ni                 r_ 171 _5
                                     f,2Nr-Rd3                                Yes          -    No
                                                                                                NO
                                                                                                   OK
  1.
  1.   Required  No. of
       Required NTo.   of Plans
  2.
  2.   I.
       I. W.
           i. Plans
              Plans and
                     and Details
  3.
  3.   Permit Application
               Application (County,
                              (County, City,
                                         City, an.
                                                an.. Dists
                                                      Dists
  4.
  4.   Permit Application Fee Received #160    4060              Coot,* 4'z/f
                                                                            eS
                                                                        0 0&c    001
  5.
  5.   City Authorization Received                                                ,4//m
  6.
  6.
  7.
  7.
       I.
       I. W.
           W. Statement
       Critical Parameter
                 Parameter Report
                             Report/Addl.
                                     /Addl. Info.
                                             Info. Questionnaire
                                                    Questionnaire                /,//
                                                                                                  .
  8.
  8.   Type of I. W.W. Facilities
                        Facilities (I-
                                    (1-2-510,
                                        2 -51O, Nottingham   750, etc.) -1----a-/1500Aorr
                                                Nottingham ?50,                 ¡f Spp A(?Tr
  9.
  9.   I-. W.-Facilites Adequate
       s.                 Adecuate
  10.
  10. Method of Disposal (Local, trunk,trunk, ground,
                                               ground, haul,
                                                         haul, etc.)
                                                                etc.)
  11.
  11. Allocable Sewer Capacity
                          Capacity (Peak
                                    (Peak Flow
                                           Flow in
                                                 in gpm)
                                                     gpm)                       75
                                                                                75
  12.
  12. I-7File
       I -File Request
                Request Form   (Indicate II-No.
                          Form (Indicate     -No. & Region,
                                                      Region, if
                                                               if assigned)T-
                                                                   assigned)T-75-   ict_g_
                                                                                75 -iq  _
' 13.
   13. Permit  Form
       Permit Fcrrn                                                            N /A
  14.
  14. Rainwater
       Rainwater. Diversion
                   Diversion System
                               System Required                Yes
                                                              Yes       No
  15.
  15. Plans/Application
       Plans /Application Approved
                             Approved for
                                       for Transmittal       San. Dists.
                                            Transmittal to San.     Dists.      ¿7
                                                                                /7

        Reviewed By:
                 By:                                             Trap
                                                                 Trap Card
                                                                      Card Required Yes
                                                                                    Yes                No

        FOLLOW UP INSTRUCTION:
                  INSTRUCTION:

        A. Thomas Guide Page No. & C/D                   611 4 A/4
        B. SIN Page
        B. Si1D       No. C -Sck
                Page No.     -S9
        C.
        C. Facility
            Facility Code
                      Code 2.4E
                            LiE7                          -

                                                                 ,m         --
        D. Type
           Type of
                of Rain
                   Rain Diversion_System
                        Diversion System
           & Square Footage
           & Square Footage of Unroofed
                                Unroofed Area
                                         Area
                                                                       /A
                                                                      t¡/

         E. Standard
             Standard Industrial
                          Industrial Ciassication       sti 2/42-5?//,
                                                  No. a $4r
                                     Ciassication No.       2/25?4/
                                                                 "`7 `1
        FF.
          . Industry
             Industry CodeCode   (R).5
                                  --    •
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 363 of 464 Page ID
                       •          #:4135


                      PACIFICA CHEMICAL INCORPORATED
                      132 W.
                          W. 132nd
                             132nd STREET
                                    STREET •LOS
                                             LOSANGELES,
                                                 ANGELES,CALIFORNIA
                                                            CALIFORNIA90061
                                                                       90061
                      TEL.:(213)
                      TEL.: (213)532
                                  532-9291    TELEX: 69
                                     -9291 • TELEX:     -1496
                                                     69-1496



         9/3/1985
         9/3/1985
                                                                                ECEIVE
                                                                               RECEIVE
                                                                                    80 0 9 1985
                                                                                    sËPO91985
                                                                               L. A. COUNTY
                                                                                     COUNTY ENG:NEER
                                                                                            ENG: NEEF?
         Mr. Carl Sjoberg
                  Sjoberg                                                       SANITATION
                                                                                SANITATION DIVISION
                                                                                            DIVISION
         County of Los Angeles
                        Angeles
         Engineering Services
                      Services
         P.O.BOX 2418
         P.O.BOX 2418
             ANGELES, CA
         LOS ANGELES,  CA 90051
                          90051




         Gentlemen:
         Gentlemen:

         This letter is in response to our telephone conversation
                                                     conversation this
                                                                  this
         date.
         date.

                        premises aa 2,000
         We have on our premises     2,000 gl.
                                            gl. tank
                                                 tank in
                                                       in which
                                                          which we
                                                                 we are
                                                                    are storing
                                                                        storing
         Perchloroethylene.
         Perchloroethylene. This
                              This material
                                    material isis used
                                                  used for
                                                        for resale purposes
                                                                    purposes only.
                                                                             only.
         We receive it in aa bulk
                             bulk shipment
                                   shipment and
                                             and it
                                                  it is
                                                      is pumped
                                                         pumped directly
                                                                 directly into
                                                                          into
         the storage
             storage tank.
                     tank. Thereafter
                             Thereafter wewe are
                                              are repackaging
                                                   repackaging the
                                                                the bulk material
         and fill it into
                     into 55
                           55 gl.
                               gl. drums.
                                   drums. WeWe do
                                                do not
                                                    not use
                                                        use Perchloroethylene
                                                            Perchloroethylene
         in our products.
                products.

         Sincerely,
         Sincerely,




         HUSSAIN M. SHAIKH




         HMS/HM-F
         HMS /HM -F
          Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 364 of 464 Page ID
                              COIONTY OF#:4136
                              COONTY                  OF LOS ANGELS
                                              LOS ANGELS
                                         DEPARTMENT OF PUBLIC WORKS
                                                    2150 ALCAZAR STREET
                                                    2250               STREET
                                               LOS
                                               LOS ANGELES, CALIFORNIA
                                                                CALIFORNIA9003E  90038
                                                   Telephone
                                                    Telephone :: (213)
                                                                  (213)226
                                                                       226-4111
                                                                           -4111
                                                                                            ADDRESS ALL CORRESPONDENCE
                                                                                                        CORRESPONDENCE TO:TO:
THOMAS A. TIDEMANSON. Director                                                                        P.O. BOX
                                                                                                      P.O. BOX 2418
                                                                                                               2418
HIAM BARMACK,
     BARMACK. Chief Deputy Director
                             Director                                                        LOS ANGELES, CALIFORNIA
                                                                                                           CALIFORNIA 90051
                                                                                                                      90061
      L EASTON,
JAMES L. EASTON, Chief Deputy Director
WYNN LL SMITH,
WYNN    SMITH. Chief Deputy Director
                                                                                               REPLY PLEASE
                                                                                            IN REPLY PLEASE
                                                                                            REFER  TO FILE:
                                                                                             REFERTO          1-7519-2
                                                                                                              I- 7519 -2
        Er.
        Mr. Charles W. Carry
        Chief Engineer and General Manager
        County Sanitation Districts                                                        September 99 , 1985
                                                                                           September      1985
        1955
        1955 Workman Mill Road
         Attention: Mr. Leon Directo
         Dear
         Dear Mr. Carry
         Subject:
         Subject: PACIFICA  CHEMICAL
                     PACIFICA CBEMICAL INC.
                                        INC.
                     132 W. 132nd Street
                    132
                    Los Angeles, CA
                                 CA 90061
                                    90061

        We are transmitting herewith
                            herewith the
                                     the following:
                                         following:
                         X       Permit Application N0.2;-04946
                                        Application No. Z -04946
                        X        Industrial
                                 Industrial Waste Disposal Plans
                                                              Plans (6) sets
                                                                    (6) sets
                                 Additional Tnformation Questionnaire
                                 Critical Parameter Report Form
                        X        Supporting Tnformation
                                 Other,
                                 Other,

        For the following
                following action:
                          action:
                   For       necessary action                                            jurisdiction
                                                                              Not in our jurisdiction
             X     For       your review
                             your review and
                                         and approval
                                              approval               x        Please return
                                                                                     return (4)  approved
                                                                                            (4) approved
                   For       your comments                                    sets
                                                                              sets
                   Per       our conversation                                 County Public Works approval
                   Other                                                              completion of
                                                                              pending completion  of sewer
                                                                                                     sewer
                                                                              study
        Special remarks:
                remarks:


             truly yours,
        Very truly yours,
        T.A. TIDEMANSON
        Dir
        Dir : ctor
              ct or Public Works
                           Works



        S pervising Civil Engineer
                          Engineer II
        Engineering Services Division

        MR:ps
        MR:ps 41
              41
        5/8/85
        5/8/85   (4)
                 (4)
     Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 365 of 464 Page ID
                                       #:4137               •
                                                     SANITATION DISTRICTS
                                              COUNTY SANITATION
                                                         LOS ANGELES
                                                      OF LOS ANGELES COUNTY
1955Workman
1955 WorkmanMill
            Mill Road
                 Road//Whittier,
                       Whittier, California
                                 California
Mailing Address:
Mailing Address: // P.
                    P. 0. Box
                          Box 4998,
                              4998,Whittier,
                                    Whittier, California
                                              California90607
                                                         90607                                CHARLES W. CARRY
Telephone: (213) 699-7411 // From
Telephone:                   From Los
                                  LosAngeles
                                      Angeles(213)
                                              (213)685 -5217
                                                    685-5217                    Chief Engineer and
                                                                                               and General Manager
                                                                                                           Manager


                                                                  January 29,
                                                                           29, 1986
                                                                                1986
                                                                  File:08-00.05-00/85-11027G
                                                                  File:08- 00.05- 00/85- 11027G
        Mr. Mert Ramos
        Dept.
        Dept. of Public Works
        2250
        2250 E. Alcazar
                 Alcazar St.
                         St.
        P.O.
        P.O. Box
              Box 2418, Terminal Annex
        Los Angeles,
             Angeles, CA
                       CA 90051
                          90051

        Dear Mr. Ramos:
        Dear     Ramos:

                              Industrial
                              Industrial Wastewater Discharge Permit No. 11027
                                                                         11027

                                                  Pacifica Chemical,
                                                           Chemical, Inc.
                                                                     Inc.
                                                  132
                                                  132 W.
                                                      W. 132nd Street
                                                  Los Angeles,
                                                      Angeles, CA
                                                                CA 90061
                                                                   90061

             Enclosed are four (4) approved sets of plans
                                                        plans and
                                                               and copies
                                                                   copies of
                                                                           of the
                                                                               the
        approved Industrial Wastewater Discharge
                                         Discharge Permit
                                                    Permit for
                                                            for the
                                                                 the subject
                                                                     subject company.
                                                                               company.
        Please review these for compliance with your
                                                   your requirements,
                                                         requirements, and
                                                                         and retain
                                                                              retain
        the copies you require
                       require for
                                for your
                                    your files.
                                          files. AA copy
                                                     copy of
                                                           of this
                                                              this letter
                                                                    letter is forwarded
        to the applicant to notify him
                                    him of
                                         of the
                                            the Sanitation
                                                Sanitation Districts'
                                                             Districts' permit
                                                                          permit
        requirements, which
                      which are
                            are in
                                 in force
                                    force from
                                           from the
                                                 the current
                                                      current date.
                                                               date. IfIf any additional
                                                                          any  additional
        permit requirements are issued toto the
                                            the applicant
                                                applicant byby your
                                                                your agency,
                                                                     agency, copies
                                                                               copies
        should be forwarded
                  forwarded to
                            to the
                                the Sanitation
                                    Sanitation Districts
                                                 Districts for
                                                             forour
                                                                  ourrecords.
                                                                      records. The
                                                                                 The
        approved plans consit
                       consit of:
                               of:

         1.  Dwg. : Sewer
         1. Dwg.      SewerPlan
                       :    Plan of
                                  of Pacifica
                                      Pacifica Chemical,
                                               Chemical, Inc.
                                                         Inc.

             Approval of the plans and permit
                                       permit is
                                               is contingent
                                                  contingent upon
                                                              upon continuing
                                                                   continuing
        compliance with applicable Sanitation
                                   Sanitation Districts' Ordinance requirements,
                                               Districts' Ordinance   requirements,
        upon any corrections shown in red on the
                                              the drawings,
                                                  drawings, and
                                                             and upon
                                                                 upon the
                                                                       the items
                                                                           items
        indicated on the attached
                         attached requirement
                                  requirement list.
                                               list.

             If you have any questions concerning these              requirements,
                                                                     requirements, please
                                                                                   please
        call Gilbert Chang of the Sanitation Districts'              Industrial Waste
        Section at
                at extension
                   extension 257.
                             257.

                                                                 Very truly
                                                                 Very truly yours,
                                                                            yours,

                                                                         W. Carry
                                                                 Charles W. Carry


                                                                      S. Di
                                                                 Leon S. Di recto
                                                                            recto
        LSD:GC:wh
        LSD:GC:wh                                                                  Engineer
                                                                 Supervising Civil Engineer
        cc:
        cc: Pacifica
             Pacifica Chemical,  Inc.
                       Chemical, Inc.
             132 W. 132nd
                     132nd St.
                           St.
             Los Angeles,
                  Angeles, CA
                            CA 90061
                               90061
             Attn:   Hussain Shaikh
             Attn: Hussain   Shaikh
    Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 366 of 464 Page ID
                                      #:4138
                             SANITATION DISTRICTS OF LOS ANGELES
                                                         ANGELES COUNTY
                                                                 COUNTY

                     Charles W. Carry, Chief Engineer and General Manager
             1955
             1955 Workman Mill Road, P.O. Box 4998, Whittier, California
                                                              California 90607
                                                                          90607


                        INDUSTRIAL WASTEWATER DISCHARGE PERMIT
                        INDUSTRIAL

                                     REQUIREMENT LIST


Company Name                Pacifica Chemical,
                                     Chemical, Inc.
                                               Inc.

INDUSTRIAL WASTEWATER DISCHARGE
INDUSTRIAL            DISCHARGE PERMIT
                                PERMIT NO.
                                       NO.               132 W. 132nd
                                                                132nd Street
                                                                      Street

DATE OF PERMIT ISSUANCE           January 29, 1986
                                              1986


      The above named company is required to comply with all indicated items on this list
as a condition
      condition of
                 of the
                    the permit
                         permit approval.
                                  approval. Satisfactory
                                               Satisfactory evidence
                                                                evidence of compliance with
                                                                                          with these
                                                                                                these
conditions should
             should be
                    be supplied
                        supplied toto the
                                       the Sanitation
                                            Sanitation Districts
                                                          Districtswhere
                                                                       whererequested.
                                                                              requested. Satisfactory
                                                                                          Satisfactory
evidence will consist of a minimum of writtenwritten notification
                                                       notification signed
                                                                       signed by
                                                                               by aa responsible
                                                                                     responsible
         official, and
company official,   and in
                         in some
                            some cases
                                   cases may
                                          may involve
                                                involve the
                                                          the submission
                                                               submission ofof additional
                                                                               additional drawings
                                                                                            drawings and
                                                                                                      and
data.
data
   I1   Characterization tests of the industrial wastewater
                                                         wastewater must
                                                                      must be
                                                                            be performed
                                                                                performed
        at the intervals indicated on the Required Characterization
                                                           Characterization Tests
                                                                                Tests
        form and reported on the enclosed Critical Parameter
                                                           Parameter Report
                                                                        Report Form.
                                                                                Form.
        All indicated analyses must be performed
                                             performed byby aa Sanitation
                                                               Sanitation Districts'
                                                                            Districts'
        approved laboratory.
                  laboratory. TheThe certification
                                      certification section
                                                        section onon the
                                                                     the back
                                                                          back of the Critical
        Parameter Report Form must be completed and     and signed
                                                             signed by
                                                                     by aa responsible
                                                                           responsible
        company official.     Revision of
                 official. Revision      of the
                                             the Required
                                                  Required Characterization
                                                             Characterization Tests
        may be considered
                considered after
                            after initial
                                    initial analyses
                                              analyses and
                                                         and upon
                                                              upon written
                                                                    written request
                                                                             request
        with
        with valid
              valid supporting
                    supporting information
                                 information fromfrom the
                                                       thesubject
                                                            subjectcompany.
                                                                      company. ItIt is
        the responsibility of the subject
                                      subject company
                                                 company to
                                                          to report
                                                              report analyses
                                                                      analyses ofof
        any other toxic materials shown
                                      shown inin the
                                                  the Criticàl
                                                      Critical Parameter
                                                                  Parameter List,
                                                                             List,
                   known to
        which are known   to be
                             be present
                                 present inin the
                                               the wastewater.
                                                    wastewater.                                    /XX/
                                                                                                   /XX/

   2.
   2. The permittee is required to adopt
                                   adopt aa program
                                            program of
                                                    of regular
                                                       regular pretreatment
                                                               pretreatment
        equipment maintenance and cleaning
                                    cleanina at at intervals
                                                   intervals frequent
                                                              frequent enough
                                                                       enough to
                                                                              to
        prevent a build -up of
                  build-up   of grit,
                                 grit, oil,
                                        oil, or
                                             or grease
                                                 grease which
                                                         which may
                                                               may enter
                                                                   enter the
        sewer.
        sewer.                                                                                      /XX/
                                                                                                    /XX/

   3.
   3. The pH of the wastewater must be maintained above 6.0 at allall
      times.  Proper neutralization
      times. Proper   neutralization procedures
                                      procedures must
                                                 must be observed to
                                                                   to
      assure that
             that this
                  this limit
                        limit is
                              is not
                                  not exceeded.   Batch neutralization
                                       exceeded. Batch  neutralization
      is
      is required for any tanks containing acidic solutions before
                                                               before
      they are discharged to the sewer,
                                   sewer, if
                                          if the
                                             the solution
                                                 solution pH
                                                           pH is
                                                              is less
                                                                 less
      than 6.0.
      than 6.0.                                                                                     /XX/
                                                                                                    /XX/
   4.
   4  Numerical limits have been
                              been established
                                    established by
                                                 by the
                                                     the Sanitation
                                                         Sanitation Districts
                                                                      Districts
      for the
      for the maximum
              maximum concentrations of heavy metals, and   and other
                                                                other toxic
                                                                       toxic
      materials, permissible in an an industrial
                                      industrial discharge
                                                  discharge toto the
                                                                 the public
                                                                      public
      sewers. The
      sewers.  The limits
                    limits are
                            are those
                                 those shown
                                       shown in
                                              in the
                                                 the enclosed table
                                                                table of
                                                                       of
      "Industrial Wastewater
      "Industrial  Wastewater Effluent
                                Effluent Limitations."
                                          Limitations." TheThe subject
                                                               subject company
                                                                        company
      is advised that any discharge in excess of these
      is                                              these limits
                                                             limits requires
                                                                     requires
      corrective action
      corrective  action by
                         by the
                             the discharger.
                                  discharger. Penalties
                                                Penalties applicable
                                                            applicable toto
      violations of these
                     these limits
                            limits will
                                    will be
                                         be strictly
                                             strictly enforced
                                                       enforced byby the
      Sanitation Districts.
      Sanitation Districts.                                                                         /XX/
                                                                                                    /XX/
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 5.
 5. All wastewater
        wastewater discharged  to. the sewer
                    discharged to.the  sewer must
                                             must have
                                                  have aa temperature
                                                          temperature
    lower      1400 F.
    lower than 140°  F.                                                              /XX/
                                                                                     /XX/

 6.
 6. All industrial wastewater discharged to the
                                             the sewer
                                                 sewer must
                                                       must not
                                                            not contain
                                                                contain
    over 0.1
         0.1 milligram
             milligram/liter
                       /liter of
                              of dissolved sulfides.
                                 dissolved sulfides.                                 /XX/
                                                                                     /XX/

 7.
 7. The permittee is required to notify
                                 notify the
                                        the Sanitation
                                            Sanitation Districts
                                                        Districts of
                                                                   of any
                                                                      any
    change in the status of the subject facility,
                                        facility, if
                                                   if ownership
                                                      ownership or
                                                                or operating
                                                                    operating
                                  the industrial
    responsibility changes, or if the industrial waste
                                                  waste connection
                                                        connection is
                                                                    is legally
                                                                       legally
    abandoned.
    abandoned.                                                                        /XX/

 8.
 8. A new permit application must be
                                  be submitted
                                      submitted when
                                                when there
                                                      there is
                                                             is aa
    significant change in wastewater
                          wastewater quantity
                                      quantity (25%
                                               (25% or
                                                     or more)
                                                        more) or
                                                               or
    quality from that given in the approved
                                    approved Permit
                                             Permit information.
                                                     information.
    The completed application should be submitted
                                         submitted to
                                                    to the
                                                       the local
                                                            local
    governmental agency for initial processing
                                     processing prior
                                                prior to
                                                       to Sanitation
                                                           Sanitation
    Districts' review. Approval
    Districts' review.  Approval must
                                 must be
                                       be obtained
                                          obtained prior toto any
                                                              any
    construction of new
                    new facilities.
                        facilities.                                                   /XX/

 9.
 9. Waste haulers reports must be obtained and kept on file for a
                             days for
    period of at least 180 days    for any
                                       any liquid
                                           liquid wastes
                                                   wastes leaving
                                                          leaving the
                                                                   the
          other than
    plant other  than in
                      in the
                          the sewer
                               sewer system.   These reports
                                      system. These  reports must
                                                              must be
                                                                   be
         available to
    made available  to representatives
                       representatives ofof the
                                             the Sanitation
                                                 Sanitation Districts
                                                             Districts
    upon request.
    upon request.                                                                     /XX/

10.
10. The proposed sample box is hereby designated
                                         designated asas the
                                                          the legal
                                                               legal sampling
                                                                      sampling
    point for
          for the
               the subject
                   subject company.    The permittee
                            company. The    permittee isis responsible
                                                           responsible for
    maintaining and
    maintaining  and cleaning
                     cleaning the
                               the sampling
                                    sampling point
                                              point to
                                                     to prevent
                                                         preventany
                                                                  anybuild
                                                                       build-up
                                                                             -up
    of oil and grease, sediment or sludge;
                                      sludge; failure
                                               failure toto do
                                                            do so
                                                                so does
                                                                   does not
                                                                         not
    invalidate sampling
                sampling test
                          test results.
                               results. Analytical
                                          Analytical results
                                                       results from samples
                                                                       samples
    taken from this location according to accepted
                                              accepted sampling
                                                         sampling procedure
                                                                   procedure
    shall be accepted
              accepted as
                        as binding.
                           binding. Safe
                                      Safe and
                                            and convenient
                                                convenient access to  to the
                                                                         the
    sampling point must be provided for representatives
                                           representatives of  of the
                                                                  the Sanitation
                                                                       Sanitation
    Districts.
    Districts.                                                                         /XX/

11.
11. The Environmental Protection
                       Protection Agency
                                  Agency requires
                                          requires the
                                                    the Sanitation
                                                        Sanitation Districts
                                                                    Districts
    to obtain data on the quantities of the principal
                                              principal raw
                                                         raw materials
                                                             materials consumed
                                                                        consumed
    or the principal products produced, if the
                                             the company
                                                  company is
                                                          is considered
                                                             considered to
                                                                         to be
                                                                             be aa
    major discharger
          discharger or
                     or discharges
                         discharges toxic
                                     toxic materials
                                            materialsininits
                                                          itswastewater.
                                                               wastewater. The
                                                                            The
    maximum daily rate
                  rate of
                        of raw
                           raw materials
                               materials consumed
                                          consumed or
                                                    or products
                                                       products produced
                                                                 produced should
                                                                          should
    be reported in thousands of pounds per day,
                                             day, barrels
                                                   barrels per
                                                           per day,
                                                                day, production
                                                                     production
    units per day or other
                     other appropriate
                            appropriate rate
                                         rate units.
                                               units.                                  /XX/

12.
12. Under no circumstances shall process
                                   process solution
                                            solution spills
                                                     spills be
                                                             be discharged
                                                                discharged to
                                                                           to
    the sewer.
        sewer. Unreclaimed
                Unreclaimed or
                             or untreated
                                 untreated process
                                            process solution
                                                    solution spills shall be
                                                                           be
    hauled to a legal
                legal disposal
                      disposal site.
                                 site.                                                 /XX/
13.
13. The discharge of flammable and toxic materials, such as petroleum
    solvents and chlorinated
                 chlorinated solvents
                             solvents to
                                       to the
                                           the sewer
                                                sewer is
                                                       isprohibited.
                                                          prohibited. The
                                                                      The
    permittee must take precautionary measures to prevent
                                                     prevent accidental
                                                             accidental
                      substances to
    spillage of these substances to the
                                    the sewer
                                         sewer system.
                                                 system.                              /XX/

13.  The information
13. The   information requested,
                      requested, or
                                  or satisfactory
                                     satisfactory evidence
                                                  evidence of
                                                           of compliance,
                                                               compliance,
     must be submitted to the Sanitation Districts within 60 days to
     satisfy condition
              condition number
                         number 11.
                                11.                                                   /XX/
        Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 368 of 464 Page ID
                            SANIION
                             SANIION DISTRICTS.OF
                                     DISTRICTSOF    LOS ANGELES
                                                   LOS
                                              #:4140             INTY
                                                         ANGELES 411NTY
                                     INDUSTRIAL
                                      INDUSTRIAL WASTE SECTION

                              REQUIRED WASTEWATER CHARACTERIZATION
                                                  CHARACTERIZATION TESTS
                                                                   TESTS
Firm
Firm Name                 Pacific Chemical,
                          Pacific Chemical, Inc.
                                            Inc.                      Permit No.
                                                                      Permit No.    11027
                                                                                    11027

                          132 W. 132nd Street
                                       Street                                  January 29,
                                                                                       29, 1986
                                                                                           1986
Address of Property                                                     Date
                                                                        Date
Producing
Producing Wastewater
Discharge
Discharge                                                                           2842, 2844
                          Los Angeles,
                              Angeles, CA
                                        CA 90061
                                           90061                        S.I.C.No.
                                                                        S.I.C.No.

                          1 per six months
                                    months
Frequency of Analyses
             Analyses                                       1/ Flow                               Gal/Yr
                                                                          500,000
                                                                          500,000                 Gal /Yr

The following analyses and flow measurements shall be reported at the indicated frequency to
the Sanitation Districts on the Districts' Critical Parameter Report Form (copy attached),
                                                                                     attached),
which must be
            be signed
               signed by
                      by an
                         an administrative
                            administrative officer
                                            officer of
                                                     of the
                                                         the company.
                                                              company. Certain
                                                                        Certain requested
                                                                                requested character-
ization
ization tests
         tests may
               may be
                   be deleted
                      deleted from
                              from future
                                   future reports, if it can be demonstrated in writing that
they exist in very minute amounts in the wastewater and are not used in any processes
                                                                                 processes which
generate  wastewater.
generate wastewater.


     Ident.
     Ident.                                        Ident.
                                                   Ident.
     Code               Test 3/
                             3/
                             -                                            Test 3/
                                                                          Test 3/
                                                   Code
       A      Flow (Total)
              Flow (Total)                   2/
                                             2/

       ExXXXX :FI X PëAYcì)
       EXXXXXIFIW“043                        2/
                                             2/



       C       COD
               COD

       D          (Suspended Solids)
               SS (Suspended Solids)


       E       pH

       H       Sulfide - Dissolved


       GG      Oil & Grease
               Oil

       .1
       :I      Surfactants (MBAS)
                           (MBAS)

      607
      607      Tetrachloroethylene
               Tetrachloroethylene




1/ Companies required to submit only annual characterization analysis data should submit it
   directly to the Districts on July 1; companies required to submit data every
                                                                             every 6
                                                                                   6 months should
   submit data on January 1, and July 1; companies required to submit data every 3 months
   submit                                                                              months should
                                                                                              should
   submit data on January 1, April
   submit                    April 1,
                                    1, July
                                       July 1,
                                             1, and
                                                and October
                                                    October 1.
                                                             1. Required
                                                                 Required industrial  wastewater
                                                                          industrial wastewater
   characterization analysis
                    analysis data
                             data not
                                   not received
                                       received within
                                                 within 45
                                                        45 days
                                                            days of
                                                                 of the
                                                                    the required
                                                                        required date
                                                                                 date will be
                                                                                            be con-
                                                                                               con-
   sidered delinquent and a possible cause
   sidered                            cause for
                                            for revocation
                                                 revocation of
                                                             of the
                                                                the Industrial Wastewater Discharge
                                                                                           Discharge
   Permit.
   Permit.
2/
2/ Total
   Total Flow and maximum 30- minute peak
                          30-minute   peak flow
                                           flow rate
                                                rate for
                                                     for the
                                                         the day when
                                                                 when composite
                                                                      composite characterization
                                                                                characterization
   sample
   sample is taken.
             taken.
3/ It is the responsibility of the subject company to report analyses      of
                                                                           of any other toxic materials
                                                                                              materials
   shown on the Critical Parameter Report Form, which
   shown                                         which are known to
                                                                 to be
                                                                    be     present in the wastewater,
                                                                           present in the wastewater,
   or may occur in the wastewater as a result
                                       result of
                                              of aa process
                                                    process change.
                                                            change.
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                                        #:4141
                            SANITATION DISTRICTS OF LOS ANGELES COUNTY
                                                                COUNTY

                                   TABLE OF SURCHARGE TEST FREQUENCY



          YEARLY
          YEARLY CUMULATIVE
                 CUMULATIVE FLOW                    Required Frequency of Tests
                                                                           Tests for
                                                                                  for
                                                          Surcharge Parameters
                                                                    Parameters
      Million             Million                  (Critical            A, B,
                                                   (Critical Parameters A,  B, C,
                                                                               C, D)   J
                                                                                   D) li
      Gallons            Cubic Feet
                               Feet       (Flow, Peak Flow, COD and Suspended
                                          (Flow,                    Suspended Solids,  respt.)
                                                                               Solids, respt.)

 Less than 6.0        Less than
                           than 0.80
                                0.80                0
                                                    0



 6.0
 6.0 to 15.0
        15.0         0.80 to 2.00                   1 per 6 Months
                                                            Months


,15.1
.15.1 to 36.0         2.00 to
                           to 4.80
                              4.80                  1 per 3 Months
                                                            Months


 36.1 to 250
         250          4.80 to
                           to 33.33
                              33.33                 1 per Month


      250
 Over 250             Over 33.33
                           33.33                    1 per Week
                                                          Week




 NOTES:

 J Companies
 lj Companies having
               having peak
                       peak flows
                             flows of
                                    of 100
                                        100 gallons
                                            gallons per
                                                    per minute
                                                        minute or
                                                               or more
                                                                  more or
                                                                       or total
                                                                          total flows
                                                                                flows of
                                                                                      of
     50,000 gallons per working day or more must provide a continuous automatic
     indicating, totalizing and recording or total industrial wastewater flows
                                                                             flows
     discharged.
     discharged.

 J
 gj   Companies with cumulative yearly flows less than 6.0 million gallons may
      determine surcharge parameters for use in the "Long
                                                        "Long Form"
                                                              Form" Surcharge
                                                                    Surcharge Statement
                                                                               Statement
      or may pay for discharge at the current flat rate charge per million gallons
      or                                                                        gallons
      used in the "Short Form" Surcharge Statement and not test for surcharge
                                                                        surcharge
      parameters.  Atleast
      parameters. At  least two
                             two determinations
                                  determinations of
                                                  of the
                                                      the surcharge
                                                          surcharge parameters
                                                                    parameters must be
      made to furnish data for use in the "Long Form" Surcharge
                                                          Surcharge Statement.
                                                                    Statement.
                                     SANITATION
                Case 2:19-cv-02123-DMG-AGR
                                     SANITATION  DISTRICTS
                                               Document
                                                  DISTRICTS    OF
                                                               OF LOS
                                                              75-1      ANGELES
                                                                     Filed
                                                                   LOS             COUNTv
                                                                             02/09/21
                                                                        ANGELES         Page 370 of 464 Page ID
                                                                                   COUNTv
                                       Ces
                                       C    s W. Carry, Chief
                                           W. Carry,  Chief Engineer   '&
                                                              Engineer .&
                                                           #:4142         General Manage
                                                                                  Mana
                                                             P hon.(213)
                                                        Telephon
                                                        Tele               699 -7411/ /From
                                                                  . (213) 699-7411      From Los
                                                                                             Los Angeles
                                                                                                 Angeles
                                                                                                    9    (213)
                                                                                                         (213) 685 -5217
                                                                                                               685-5217

              ACCOUNT NO.
    SURCHARGE ACCOUNT NO.
                                                                         INDUSTRIAL
                                                                         INDUSTRIAL WASTEWATER
                                                                                         WASTEWATER
                                                                                                                                                                    PERMIT
                                                                                                                                                                    PERMIT NO.
                                                                                                                                                                           NO.
                                                                    CRITICAL PARAMETER
                                                                    CRITICAL PARAMETERREPORT
                                                                                       REPORT FORM
                                                                                              FORM
                                                                                                                                                                     i(o /
              MCl :1(A)                of u.• ,A7iL
                                    CifCMl(,I              TAB                                                                                    ,2 ¢,2
                                                                                                                                                      4-2   .zga4'
                                                                                                                                                                g 4-Cfr.
    (Print) Name of Company Having
    (Print)                 Having Wastewater
                                   Wastewater Discharge                                                                                           SIC
                                                                                                                                                  SIC Number(s)
                                                                                                                                                      Number(s)


                3 -2••    W       / 3.2-NP
                                  132Zrlo         sT.
                                                   T.     Los 4/vG_EL1                   CA              q006/
                                                                                                         430 0 61
    (Print) Address of Wastewater Discharge
    (Print)                       Discharge

                                                                                                                                                                           t0
                                                                                                                                                                           to
    (Print) Sample Date
    (Print)                                                                                       Sample Point
                                                                                                  Sample Point Location
                                                                                                               Location                                            Reporting
                                                                                                                                                                   Reporting Period
                                                                                                                                                                             Period


      DAILY WATER
      DAILY WATERUSE
                  USEFOR
                     FOR REPORTING
                         REPORTING PERIOD (GAL)
                                          (GAL)                                              AVG.                                             MAX.
                                                                                                                                              MAX.

     WASTEWATER FLOW (A,B)
                 BY
     DETERMINED BY:        1 1 DIRECT MEASUREMENT
                                      MEASUREMENT                                      1-1 METERED WATER
                                                                                       7-7 METERED  WATER SUPPLY
                                                                                                           SUPPLY                        ri   ADJUSTED METERED
                                                                                                                                                       METERED WATER
                                                                                                                                                               WATERSUPPLY
                                                                                                                                                                     SUPPLY
                                                                                       7
                                              I




             SAMPLE:
     TYPE OF SAMPLE:           GRAB
                           El GRAB                                                          TIME COMPOSITE
                                                                                            TIME COMPOSITE                                   FLOWPROPORTIONED
                                                                                                                                         ED FLOW  PROPORTIONED COMPOSITE
                                                                                                                                                               COMPOSITE

                                                                         CRITICAL
                                                                         CRITICALPARAMETER
                                                                                  PARAMETER VALUES
                                                                                            VALUES
  IDENT.
  (DENT.
   CODE
                         PARAMETER 1/
                                  —       -                  -
                                                             2/
                                                             —
                                                                        QUANTITY VALUES
                                                                        QUANTITY VALUES
                                                                                                       IDENT
                                                                                                       IDENT..
                                                                                                        CODE
                                                                                                                             PARAMETER
                                                                                                                             PARAMETER 1/
                                                                                                                                       1/
                                                                                                                                          -
                                                                                                                                          —                 -2/—      QUANTITY
                                                                                                                                                                      QUANTITY VALUES
                                                                                                                                                                               VALUES

  3  (f3
  3 (._AD      WASTEWATER FLOW (Total)                                                gals /day
                                                                                      gals/day         LL -370
                                                                                                       LL-370        RADIOACTIVITY
                                                                                                                     RADIOACTIVITY(Alpha,
                                                                                                                                   (Alpha,Beta,
                                                                                                                                          Beta,                                           pci /I
                                                                                                                                                                                          pci/I
                                                                                                           371,
                                                                                                           371,                         Gamma)
                                                                                                                                        Gamma)
                                                                                                           372.
                                                                                                           372.
  3/B
    B          WASTEWATER FLOW
               WASTEWATER FLOW (Peak)
                                (Peak)                                                gals /mi.
                                                                                      gals/mi.         MM-111
                                                                                                       MM -111       TEMPERATURE
                                                                                                                     TEMPERATURE                                                    Degrees F
  C-403
  CC--403       COD                                                                      mg/1
                                                                                         mg /1         NN -104
                                                                                                       NN-104        COLOR                                                               Units
                                                                                                                                                                                         Units
 (6151
 (6-151        SS (Suspended
               SS (Suspended Solids)
                             Solids)                                                     mg/1
                                                                                         mg /1         00 -253
                                                                                                       00-253        THIOSULFATE (S)
                                                                                                                                  (5)                                                    mg /1
                                                                                                                                                                                         mg/1
 ,, E-ß
":->E-_,
       151.     pH                                                                       Units
                                                                                         Units     *   PP-703
                                                                                                       PP -703       CALCIUM                                                             mg/1
                                                                                                                                                                                         mg /1
   F -155
   F-155        TOTAL DISSOLVED
                TOTAL DISSOLVED SOLIDS                                                   mg/1
                                                                                         mg /1         QQ -704
                                                                                                       QQ-704        MAGNESIUM
                                                                                                                     MAGNESIUM                                                           mg/1
                                                                                                                                                                                         mg /1
  G-201
  G -201        AMMONIA
                AMMONIA (N)
                          (N)                                                            mg/1
                                                                                         mg /1     '   RR -719
                                                                                                       RR-719        POTASSIUM                                                           mg/1
                                                                                                                                                                                         mg /1
 (H -25v
 (H-25          SULFIDE—
                SULFIDE - DISSOLVED
                           DISSOLVED                                                     mg /1
                                                                                         m9/1          SS-706
                                                                                                       SS -706       BARIUM
                                                                                                                     BARIUM                                                              mg/1
                                                                                                                                                                                         mg /1
  I -206
  1-206         CYANIDE                                                                  mg /1
                                                                                         mg/1          TT -204
                                                                                                       TT-204        NITRATE
                                                                                                                     NITRATE                                                             mg/1
                                                                                                                                                                                         mg /1
   J -313
   J-313        FLUORIDE                                                                 mg/1
                                                                                         mg /1         UU -301
                                                                                                       UU-301        CHLORIDE                                                            mg/1
                                                                                                                                                                                         mg /1

   K -707
   K-707        ALUMINUM
                ALUMINUM —  - Total
                                Total                                                    mg/1
                                                                                         mg /1         VV -319
                                                                                                       VV-319        BROMIDE                                                             mg/1
                                                                                                                                                                                         mg /1
   L -725
   L-725        ANTIMONY
                ANTIMONY —  - Total
                               Total                                                     mg/1
                                                                                         mg /1         WW -257
                                                                                                       WW-257        SULFATE                                                             mg /1
                                                                                                                                                                                         mg/1
   M -705
   M-705        ARSENIC
                ARSENIC —- Total
                            Total                                                        mg /1
                                                                                         mg/1          XX -311
                                                                                                       XX-311        PHOSPHATE
                                                                                                                     PHOSPHATE —   - ORTHO
                                                                                                                                     ORTHO                                               mg /1
                                                                                                                                                                                         mg/1
   N -726
   N-726        BERYLLIUM—
                BERYLLIUM     - Total
                                 Total                                                   mg/1
                                                                                         mg /1         620           BENZENE                                                             µ9/1
                                                                                                                                                                                         lig/1
   0 -314
   0-314        BORON—
                BORON  - Total
                         Total                                                           mg/1
                                                                                         mg /1         604           CARBON TETRACHLORIDE
                                                                                                                                TETRACHLORIDE                                            jigil
                                                                                                                                                                                         blgi1
   P -708
   P-708        CADMIUM —
                CADMIUM   - Total
                             Total                                                       mg /1
                                                                                         mg/1          611
                                                                                                       611           CHLOROBENZENE                                                       jig /1
                                                                                                                                                                                          /4/1
   Q -709
   Q-709        CHROMIUM—
                CHROMIUM    - Total
                                Total                                                    mg /1
                                                                                         mg/1          613
                                                                                                       613           DICHLOROBENZENE                                                     jig /1
                                                                                                                                                                                         ilg/1
   R-711
   R -711       COBALT—
                COBALT  - Total
                           Total                                                         mg/1
                                                                                         mg /1         619
                                                                                                       619           1, 2-DICHLOROETHANE
                                                                                                                     1, 2- DICHLOROETHANE                                                µg /1
                                                                                                                                                                                         pg/1
  S-712
  S -712        COPPER—
                COPPER - Total
                         Total                                                           mg /1
                                                                                         mg/1          603
                                                                                                       603           1, 1,
                                                                                                                     1, 1, 1-TRICHLOROETHANE
                                                                                                                           1- TRICHLOROETHANE                                            jig /1
                                                                                                                                                                                         iig/1
   T -713
   T-713        IRON—
                IRON - Total
                       Total                                                             mg /1
                                                                                         m9/1          657
                                                                                                       657           2- CHLOROPHENOL
                                                                                                                     2-CHLOROPHENOL                                                      jig /1
                                                                                                                                                                                         /..4/1
   U -714
   U-714        LEAD - Total
                LEAD — Total                                                             mg/1
                                                                                         mg /1         658
                                                                                                       658           2, 4-DICHLOROPHENOL
                                                                                                                     2, 4- DICHLOROPHENOL                                                jig
                                                                                                                                                                                         14/1/1
   V -716
   V-716        MANGANESE—
                MANGANESE - Total
                            Total                                                        mg/1
                                                                                         mg /1         663
                                                                                                       663           PENTACHLOROPHENOL                                                   jig
                                                                                                                                                                                         14/1/1
   W -717
   W-717        MERCURY—
                MERCURY - Total
                          Total                                                          mg /1
                                                                                         mg/1          664
                                                                                                       664              4, 6-TRICHOROPHENOL
                                                                                                                     2, 4, 6- TRICHOROPHENOL                                             jig /1
                                                                                                                                                                                         11g/1
   X -732
   X-732        MOLYBDENUM—
                MOLYBDENUM - Total
                             Total                                                       mg/1
                                                                                         mg /1         602
                                                                                                       602           CHLOROFORM                                                          µg /1
                                                                                                                                                                                         .14/1

   Y -718
   Y-718        NICKEL—
                NICKEL - Total
                         Total                                                           m9/1
                                                                                         mg /1         626
                                                                                                       626           2, 4-DIMETHYLPHENOL
                                                                                                                     2, 4- DIMETHYLPHENOL                                                jig /1
                                                                                                                                                                                          /4/1
   Z -720
   Z-720   SELENIUM
           SELENIUM —- Total
                        Total                                                             mg /1
                                                                                          mg/1         624
                                                                                                       624           ETHYL
                                                                                                                     ETHYL BENZENE
                                                                                                                            BENZENE                                                      jig /1
                                                                                                                                                                                         big/1
           SILVER—- Total
   AA -722 SILVER
   AA-722
   BB -723 SODIUM
                    Total
           SODIUM—- Total
                     Total
                                                                                          mg/1
                                                                                          mg /1
                                                                                          mg/1
                                                                                          mg /1
                                                                                                   .r607
                                                                                                       6 1
                                                                                                       641
                                                                                                     ,07
                                                                                                                     METHYLENE CHLORIDE
                                                                                                                     METHYLENE   CHLORIDE
                                                                                                                     TETRACHLOROETHYLENE
                                                                                                                     TETRACHLOROETHYLENE
                                                                                                                                                                                         Jg
                                                                                                                                                                                         µg
                                                                                                                                                                                            /1
                                                                                                                                                                                         ilg/1
                                                                                                                                                                                            /1
                                                                                                                                                                                         14/1
   BB-723
           THALLIUM—
   CC -734 THALLIUM
   CC-734             - Total
                        Total                                                             m9/1
                                                                                          mg/1        621
                                                                                                      62             TOLUENE                                                              /...0/1
                                                                                                                                                                                          u9   /1
   DD -735
   DD-735       TIN —
                TIN - Total
                      Total                                                               mg/1
                                                                                          mg /1        606           TRICHLOROETHYLENE                                                    jig /1
                                                                                                                                                                                          lig/1
   EE --736
        736     TITANIUM —- Total
                TITANIUM     Total                                                        mg /1
                                                                                          mg/1         525           HCH (Total)
                                                                                                                         (Total)                                                         Jg/1
                                                                                                                                                                                         /4/1

   FF -724
   FF-724       ZINC - Total
                ZINC — Total                                                              mg /1
                                                                                          mg/1         530           CHLORDANE (( Total)
                                                                                                                     CHLORDANE    Total)                                                 jig /1
                                                                                                                                                                                         1.4/1
   GG i OILOIL
   OG-4631i & GREASE
               & GREASE
                                                                    i
                                                                                          mg /1
                                                                                          mg/1     ! 507
                                                                                                   i                 DDT (Total)
                                                                                                                         (Total)                                                          µg /1
                                                                                                                                                                                          big/1

   HH -312
   HH-312       PHENOLS                                                                   mg/1
                                                                                          mg /1        521
                                                                                                       521           PCBs (Total)                                                         jig /1
                                                                                                                                                                                          1./g/1
      315
  Q-1-315                   (MBAS)
                SURFACTANTS (MBAS)                                                        mg /1
                                                                                          mg/1         512
                                                                                                    p 514
                                                                                                                 -   ALDRIN
                                                                                                                     ENDRIN
                                                                                                                                                                                          jig
                                                                                                                                                                                          pg/1

                                                                                                                                                                                          jig
                                                                                                                                                                                              /1
                                                                                                                                                                                              /1
   316
   316          NONIONIC SURFACTANTS(NID)                                                 mg /1
                                                                                          mg/1        514                                                                                 Alg/1

      1/ Report
      1/  Reportall  allcritical
                         criticalparameters
                                   parametersrequired
                                                requiredbybythe
                                                              theSanitation
                                                                  SanitationDistricts
                                                                              Districtsandandany
                                                                                               anyother
                                                                                                    othercritical
                                                                                                          criticalparameter
                                                                                                                    parameterknown
                                                                                                                               knowntoto
                                                                                                                                       bebepresent
                                                                                                                                            presentininthe
                                                                                                                                                         thewastewater.
                                                                                                                                                             wastewater.Those
                                                                                                                                                                          Thoseparameters
                                                                                                                                                                                   parameters
                                Districts but
          required by the Districts        but known
                                               knownto tobe
                                                          be absent
                                                             absent from
                                                                     from the
                                                                           the wastewater
                                                                                wastewater may be reported by placing the word    word absent
                                                                                                                                        absent in the appropriate space.
                                                                                                                                                                     space.Test
                                                                                                                                                                              Testprocedures
                                                                                                                                                                                   procedures
          must be
          must    be in
                      in accordance
                          accordancewith withprocedures
                                               procedurescontained
                                                           containedininthe
                                                                          thecurrent
                                                                               currentedition
                                                                                        editionofofSTANDARD
                                                                                                    STANDARD METHODS,
                                                                                                                    METHODS, ifif applicable.
                                                                                                                                   applicable. Test
                                                                                                                                               Test procedures    for priority
                                                                                                                                                     procedures for   priority organics
                                                                                                                                                                                organics must
                                                                                                                                                                                         must
          be run
          be   run in
                    in accordance
                        accordance withwith the appropriate EPA method.
      2/ IfIf values
              values are
                       are obtained
                             obtained by measurements or analyses write     writeAin
                                                                                   A inthis column.
                                                                                         this column.  Analysis
                                                                                                         Analysis values must
                                                                                                                    values mustbebe
                                                                                                                                  determined,
                                                                                                                                    determined,using
                                                                                                                                                 usingrepresentative
                                                                                                                                                          representative24  -hour composite
                                                                                                                                                                         24-hour
          samples (unless
          samples      (unlessthe theparameter
                                      parameterisisidentified
                                                     identified by footnote
                                                                    footnote 4/),
                                                                               4/), by
                                                                                    byaa State
                                                                                           State Certified
                                                                                                 Certifiedor orDistricts
                                                                                                                DistrictsApproved
                                                                                                                          ApprovedLaboratory.
                                                                                                                                    Laboratory.IfIfvalues
                                                                                                                                                    valuesareareobtained
                                                                                                                                                                 obtained by
                                                                                                                                                                           by estimate,  write
                                                                                                                                                                               estimate, write
          E in this
                 this column.
                       column. Estimated
                                  Estimated values
                                              values are
                                                     are acceptable   for new plants only.
                                                         acceptable for                 only.
                   flow rates
      3/ Report flow       rates for
                                  for sampling
                                      sampling day.
                                                 day.
                 samples should
      4/ Grab samples         should be
                                      be acquired
                                          acquiredwith
                                                    with precautions
                                                         precautions taken
                                                                       taken to
                                                                              to insure
                                                                                 insure that
                                                                                          that volatile
                                                                                               volatile constituents are preserved.
                                                                                                                           preserved.
         Case 2:19-cv-02123-DMG-AGR Document
                                          •
                                             75-1 Filed 02/09/21 Page 371 of 464 Page ID
                                            #:4143
                                                                RC
                                                            OTHER
                                                            OTHER                 ES
                                                                  CRITICAL PARAMETERS
                                                                  CRITICAL PARAMETERS             O
                                                                                                                                                     •
!DENT.
!DENT.                                                                   (DENT.                   PARAMETER                           QUANTITY VALUES
                                                                                                                                               VALUES
                  PARAMETER
                  PARAMETER                    2/
                                               2/      QUANTITY VALUES
                                                       QUANTITY  VALUES !DENT.
                                                                          CODE
                                                                                                  PARAMETER                    2/
                                                                                                                               2/     QUANTITY
CODE
                                                                                                                          •




                                                                             ti

                                                                             -Of




 (PRINT) Nameand
 (PRINT) Name andAddress
                 Address of
                         of Laboratory
                            Laboratory Preparing
                                       Preparing Analyses
                                                 Analyses




 (PRINT) Name
 (PRINT) Nameand
              andAddress
                  Addressof
                         of Company
                            Company Collecting
                                    Collecting Wastewater
                                               Wastewater Sample
                                                          Sample




                                                            CERTIFICATION BY PERMITTEE

           certify,under
        II certify, underthe
                          thepenalty
                              penaltyofofperjury,
                                          perjury,that
                                                    thatI have
                                                        I  havepersonally
                                                                personallyexamined,
                                                                            examined,and
                                                                                      andamamfamiliar
                                                                                                familiarwith,
                                                                                                         with,all
                                                                                                                allof
                                                                                                                    ofthe
                                                                                                                       the information
                                                                                                                            information in
                                                                                                                                         in this
                                                                                                                                            this Critical
                                                                                                                                                  Critical
 Parameter Report.
 Parameter       Report. Based
                         Based upon
                               upon my
                                     my inquiry
                                         inquiry of
                                                 of those
                                                    those persons
                                                           persons immediately
                                                                   immediately responsible
                                                                               responsible for
                                                                                            for obtaining
                                                                                                obtaining the
                                                                                                          the information
                                                                                                               information contained
                                                                                                                              contained in
                                                                                                                                         in this
                                                                                                                                             this Report,
                                                                                                                                                  Report,
 II believe
    believe that the information is a true and correct representation of the wastewater
                                                                             wastewater discharged
                                                                                        discharged from
                                                                                                     from the
                                                                                                           the stated
                                                                                                               stated discharge
                                                                                                                        discharge point.
                                                                                                                                   point.



 Signature of
 Signature of responsible
              responsible company official:                                                                           Date
                                                                                                                     Date



 Print name
 Print name of official.
               official.



 Title of
 Title of person
          person certifying
                 certifying report:
                            report:

                                                              P /easesubmit
                                                              Please  submitthis
                                                                             this report
                                                                                  report to:

                                                             INDUSTRIAL WASTE
                                                             INDUSTRIAL WASTE SECTION
                                                                              SECTION
                                                       Sanitation Distrcits of Los Angeles County
                                                                    P.O. Box
                                                                    P.O.   Box 4998
                                                                   Whittier,
                                                                   Whittier, CA
                                                                             CA 90607
                                                                                90607
     Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 372 of 464 Page ID
                          GCIONTY OF      CC.NTY OF LOSANGES5
                                       #:4144
                                          LOS          ANGELS
                                          DEPARTMENT OF PUBLIC WORKS
                                                          ALCAZAR STREET
                                                     1540 ALCAZAR  STREET
                                                LOS ANGELES.
                                                    ANGELES. CA
                                                              CALIFORNIA
                                                                LIFORNI A90033
                                                                          90033
                                                    Telephony :1213)
                                                    Telephone  :4313) 226.8111
                                                                      226-8111
                                                                                  ADDRESS
                                                                                  ADDRESS ALL
                                                                                          ALLCORRESPONDENCE
                                                                                              CORRESPONDENCETO
                                                                                                             TO
THOMAS A. TIDEM ANSI)N, Director
          TIDEMANSON,   Director                                                                P.O.
                                                                                                P.O. BOX
                                                                                                     BOX 40149
                                                                                                         40149
H'1'ti\ I..
WINN    L. SMITH,
            SMITH.Chief
                  ChiefDeputy
                        Deputy Director
                               Director                                            LOS
                                                                                   LOS ANGELES.
                                                                                       ANGELES. CALIFORNIA
                                                                                                CALIFORNIA90051
                                                                                                           90051
('ECII.
CECIL E. HUGH
         HUGH .. A4sistant
                 Assistant Director
                           Director


           July 22,
                22, 1987
                    1987                                                          IA RE PIN,PO'
                                                                                             PLIAS(    WM-1
                                                                                                       WM-1
                                                                                  Ruin
                                                                                  14REolY
                                                                                  REFER 1p fit1
                                                                                     •
                                                                                                AS(
                                                                                              il(
                                                                                                      I-7519-2
                                                                                                      1-7519-2


          Pacifica.Chemical,    Inc.
          Pacifica . Chemical , Inc.
          132 W. 132nd Street
                         Street
          Los Angeles,
          Los  Angeles, CA    90061
                          CA 90061


                    Mr. Hussain Shaikh
          Attention Mr.
          Attention

          Gentlemen:
          Gentlemen:

          PACIFICA            CHEMICAL
                              CHEMICAL INC.
                                       INC.
          132 WEST            132ND STREET,
                                    STREET, LOMITA
                                            LOMITA AREA
                                                   AREA
          INDUSTRIAL
          INDUSTRIAL          WASTEWATER DISCHARGE
                              WASTEWATER DISCHARGE PERMIT(S)  NO. 11027
                                                   PERMIT(S) NO.  11027 (J)
                                                                        (J)

          Enclosed is Industrial Wastewater Discharge
                                                Discharge Permit(s)
                                                            Permit(s) (IWDP)
                                                                       (IWDP) regulating
                                                                               regulating disposal
                                                                                            disposal
          of waste from
                    from operations
                         operations at
                                     at the
                                         the subject
                                              subject location.     The permit(s)
                                                        location. The   permit(s) are issued
          jointly by the Sanitation
                          Sanitation Districts
                                      Districts ofof Los
                                                      Los Angeles
                                                           Angeles County
                                                                   County (SDLAC)
                                                                           (SDLAC) and
                                                                                    and the
                                                                                         the local
                                                                                              local
          sewering
          severing agency (city or county)
                                     county) toto satisfy
                                                  satisfy permit
                                                            permit requirements
                                                                    requirements of
                                                                                  of the
                                                                                      the SDLAC
                                                                                           SDLAC
          Wastewater Ordinance and the local agency Industrial
                                                          Industrial Waste
                                                                      Waste and
                                                                             and Sanitary
                                                                                 Sanitary Sewer
                                                                                            Sewer
          Ordinance.
          Ordinance.  Additional
                       Additional conditions
                                   conditions  and
                                                and limitations
                                                     limitations  have
                                                                  have  been
                                                                        been  attached  to  your
                                                                                            your
          IWDP relating to local agency requirements and are
          IWDP                                                 are an
                                                                    an integral
                                                                       integral part
                                                                                 part of
                                                                                       of that
                                                                                           that
          permit as
                  as are
                     are any
                         any approved
                             approved plans
                                        plans submitted
                                               submitted with
                                                            withyour
                                                                 yourIWDP
                                                                       IWDPapplication.     Your
                                                                             application. Your
          IWDP(s)
          IWDP(s) or copies thereof shall be kept on   on the
                                                           the premises
                                                               premises for
                                                                         for which
                                                                              which the
                                                                                    the permit(s)
                                                                                         permit(s)
          is
          is issued.
             issued.

          Facilities under IWDP are subject to inspection
                                                  inspection by
                                                             by both
                                                                both SDLAC
                                                                      SDLAC and
                                                                            and the
                                                                                 the local
                                                                                     local
          agency.
          agency. Department
                   Departmentof
                              of Public
                                  Public Works
                                          Works Industrial
                                                 Industrial Waste
                                                            Waste Inspectors
                                                                   Inspectors perform this
                                                                                       this
          function for the local
          function         local agency
                                  agency with
                                          with jurisdiction
                                               jurisdiction over
                                                              over this
                                                                    thisIWDP.   An annual
                                                                         IWDP. An  annual
          industrial
          industrial waste                                  maintain aa valid
                     waste inspection fee is required to maintain       valid IWDP.
                                                                              IWDP.

          If you
          If you have
                 have any questions concerning your IWDP, please call
                                                                 call Mr.
                                                                      Mr. Shiv
                                                                          Shiv Gaur
                                                                               Gaur of
                                                                                    of
          this office
               office at
                      at (213)
                          (213) 226
                                 226-4016.
                                    -4016.

               truly yours,
          Very truly yours,

          T. A. TIDEMANSON
          Director of Public
                      Public Works
                             Works



          14. Michael
         .M.  Michael Mohajer
                      Mohajer
          Supervising Civil Engineer
          Supervising        Engineer III
                                      III
          Waste Management Division

          MMM:SG:ct
          MMM:SG:ct

          Enclosure

          cc:
          cc: SDLAC/Industrial
               SDLAC /IndustrialWaste
                                 Waste Section
                                       Section

          (5)  11-4-86
           (5) 11 -4 -86
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CourA:y    Los Angeles
Ccur'ty of Los  Anoeles   410       #:4145            Pere
                                                      Peril No.
                                                            No.  1i027(J)
                                                                  11027(J)
Department of Public Works
                       Works
Waste Management Division                                        File No.
                                                                 File No.   1-7519-2
                                                                            I- 7519 -2
         4069, Terminal Annex
P.O. Box 4089,            Annex
Los Angeles,
    Angeles, CACA 90051
                   90051                                              Date
                                                                      Date 7-22-87
                                                                           7 -22 -87

INDUSTRIAL
INDUSTRIAL WASTE DISPOSAL PERMIT
CONDITIONS AND LIMITATIONS

Part A - ON
         ON-SITE
            -SITE DISPOSAL,
                   DISPOSAL, PUBLIC
                             PUBLIC SANITARY
                                    SANITARY SEWER

  1.  Disposalof
  1. Disposal  of industrial
                   industrial wastewater
                               wastewater to
                                           to the
                                              the public
                                                  public sanitary
                                                          sanitary sewer system
      shall be limited to
                        to the
                           the flow
                                flow rate
                                     rate indicated
                                           indicated below:
                                                      below:

       [x]
       [x] a. Local
               Local Sewer.    Themaximum
                      Sewer. The    maximumpermitted
                                            permitted peak
                                                       peak flow
                                                             flow rate
                                                                   rate to
                                                                        to the
                                                                           the sewer
               shall be       16
                              16         gallons per
                                                 per minute
                                                      minute (gpm).
                                                              (gpm).

       [[ ]] b.
             b. Trunk
                 Trunk Sewer.    Maximumpermitted
                        Sewer. Maximum    permitted daily
                                                     daily flow
                                                           flow to
                                                                 to the
                                                                     the 'sewer  shall be
                                                                          sewer shall  be
                 no greater than 25%
                                   25% in
                                       in excess
                                           excess of
                                                  of the
                                                      the value
                                                           value on
                                                                  on line
                                                                     line 13
                                                                           13 of
                                                                              of the
                                                                                  the
                 attached Permit for Industrial
                                       Industrial Wastewater
                                                    Wastewater Discharge.
                                                                Discharge.

  2.  Pretreatment, monitoring
  2. Pretreatment,   monitoring and
                                 and control
                                      control facilities
                                              facilities required
                                                         required under
                                                                  under this permit
      shall consist of
                     of the
                        the system
                            system indicated
                                    indicated below:
                                                below:

       [x]
       [x] a. Sampling
               Samplingpoint
                          pointprior
                                 prior to
                                        to combining
                                            combining industrial
                                                      industrial wastewater flow
                                                                               flow with
                                                                                    with
               domestic wastewater.
                          wastewater.
       [x]     Final gravity
           b. Final
       [x] b.          gravity separator
                                separator (clarifier)
                                            (clarifier)     1500
                                                            1500        gallon capacity,
                                                                                capacity,
                   33     staae.
                          stage.
       C ] c. pH measurement and
         ] c.                    and recording
                                     recording system.
                                                 system.
       [
       E J d.
           d.  Automatic pH
               Automatic   pH control.
                               control.
       [   e. Flow measurement.
         ] e.
       C 3            measurement.
       [
       E ] f. Automatic rainwater
         J f.              rainwater diversion
                                      diversion system
                                                  system with
                                                          with alarm
                                                               alarm capable
                                                                      capable of
                                                                               of
               diverting storm flow in  in excess
                                            excess of
                                                   of the
                                                       the first
                                                           first 0.10
                                                                 0.10 inch
                                                                       inch of
                                                                            of rain
                                                                                rain from
                                                                                     from
               the sanitary
                   sanitary sewer
                               sewer system.
                                     system.
       [x] g.
       Ex3     Additional pretreatment/control
           g. Additional    pretreatment /controlfacilities:      Batch neutralization
                                                    facilities: Batch   neutralization




 3.  Industrial wastewater
 3. Industrial   wastewater shall
                             shall at
                                   at all
                                       all times
                                           times meet the following
                                                          following effluent
                                                                     effluent
     quality limitations
             limitations prior
                          prior to
                                 to discharge
                                     discharge to
                                               to the
                                                  the sanitary
                                                      sanitary sewer
                                                                sewer system:
                                                                       system:

        Ex3      Asspecified
             a. As
        Ex] a.      specified in
                               in Part
                                   Part DD -- Effluent
                                              Effluent Quality
                                                       Quality Limitations.
                                                               Limitations.
       [[ ]] b.  Additional quality
             b. Additional   quality limitations:
                                      limitations:



 4.  Thepermittee
 4. The  permittee shall
                    shall submit
                           submit the
                                  the following
                                      following periodic
                                                periodic reports:
                                                         reports:

       [[ ]] a.  Self- monitoringand/or
             a. Self-monitoring   and /or  industrialwastewater
                                         industrial     wastewater treatment
                                                                    treatment surcharge
                                                                              surcharge
                 reports as may be required
                                    required by
                                              by the
                                                  the Sanitation
                                                      Sanitation Districts
                                                                   Districts of
                                                                              of
                 Los Angeles
                     Angeles County.    NOTE: These
                              County. NOTE:     Thesereports
                                                       reports are
                                                                are to
                                                                     to be
                                                                        be submitted
                                                                           submitted
                 directly to the Sanitation
                                  Sanitation Districts.
                                              Districts.
        C  3
           ] b.
             b. Self-monitoring
                 Self -monitoringcompliance
                                   compliancereports
                                               reports as
                                                        as described
                                                            described in Part EE of
                                                                                 of this
                                                                                     this
                 permit.
                 permit.

 .5.   All required
           required industrial
                    industrial wastewater
                               wastewater collection,
                                          collection, pretreatment,
                                                       pretreatment, monitoring,
                                                                      monitoring,
       disposal and sampling facilities must be installed in accordance with
       approved plans and prior to
                                to initiating
                                   initiating any
                                              any discharge
                                                   discharge to
                                                             to the
                                                                the sewer
                                                                     sewer system.
                                                                            system.

                                            A-1
                                            A-1
                              •         #:4146
County of Los Angeles, Department of Public Works
County
                                                             •
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Industrial Waste Disposal Permit
industrial

 6. _-Discharge
 6.   _-Discharge of
                   of any
                      any toxic, flammable,
                                   flammable, explosive,
                                                 explosive, corrosive,  radioactive
                                                            corrosive, radioactive
      -ter nonbiodegradable substance
           nonbiodegradable    substance to to the
                                                the sanitary
                                                     sanitary sewer
                                                              sewer is
                                                                     is prohibited
                                                                         prohibited
       except as
  .__..except
    _          as provided
                  pro;'/idedininPart
                                 PartA.3
                                      A.3 above.
                                           above.

 7.    Discharge  ofuncontaminated
       Discharge of  uncontaminated   cooling
                                   cool        -water;.groundwater,
                                        ing -water.;  grpundwa ter, --stormwmter
                                                                        tcrú water or
                                                                                   or
       surface
       surf acedrainage
                 drainage water
                          pater _to  the sanitary
                                 to the  sanitary sewer
                                                    seweris
                                                          is prohibited
                                                              prohibited except    as
                                                                           except as
       specifically authorized by tbir,
       specifically                 ttliri permit.
                                            permit.

 8.
 8.    Discharlge      industrial wastewater
       Discharge ofof industrial   wastewater   to the
                                                to  the sanitary
                                                         sanitary sewer
                                                                   sewer with
                                                                          with
       temperatures exceeding 1400r
       temperatures exceeding 1400F is
                                     is prohibited.
                                        prohibited.

 9.
 9.    This
       This permit,      is    subjectto additional
               permit, ) is subject       to additional      Conditions
                                                       Conditions            Li miXL fions
                                                                      J1 Limj,t.l.tions
                                                                         A
       attacher:
      _attached: j'art   B -BWastes
                    ; P'art   - WastesNot'Authorized
                                         Not Authorizedfor forDischarge
                                                                Discharge or
                                                                           or Deposit
                                                                              Deposit in
       Part A,
       Part        PartC C- General
              A, Part        -    General   Conditionsand
                                        Conditions         andLimitations,
                                                                Limitations, Part-
                                                                               Part DD -
       Ef fluentQuality
       Effluent    QualityLimitations,
                             Limitations, Part
                                             Part EE -- Self-monitoring
                                                         Self-monitoring and
                                                                          and Reporting
                                                                               Reporting
        (only if
       (only   if designated
                  designated in Part
                                   Part A.4.b)
                                           A.4.b).
                                                 .




 10. Other
 10. Other::




                                            A
                           •1
County of Los Angeles, Department of Public Works
Industrial Waste
Industrial   Waste Disposal
                    Disposal Permit •
                                                             •
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Part BB -- WASTES
Part       WASTES NOT
                  NOT AUTHORIZED
                      AUTHORIZED FOR
                                 FOR DISCHARGE
                                     DISCHARGE OR DEPOSIT IN PART A
  1.
  1.   Industrial
       Industrial    wastes
                    wastes    not
                               not   specifically    autnorized
                                                     authorized    for
                                                                   for on-site
                                                                         on -site
       pretreatment, storage,
       pretreatment,   storage, deposit,
                                 deposit, discharge
                                           discharge or
                                                      or disposal
                                                          disposal in
                                                                   in Part
                                                                       Part A
                                                                            A of
                                                                               of
       this permit
       this permit shall
                    shall be stored in leakproof containers within an area
       designated on
       designated       plans approved
                   on plans    approved byby tne  Department of
                                             tne Department    of Public
                                                                   Public Works
                                                                           Works
       pending transport to a legal
       pending                  legal point
                                      point of
                                            of disposal.
                                               disposal.

  2.
  2.   The permittee shall determine if industrial wastes stored pursuant to
       Part B.1
       Part      above are
            B.1 above   are hazardous
                             hazardous wastes
                                        wastes as defined in   the California
                                                           in the   California
       Health and
       Health and Safety Code, Chapter 6.5 and as determined by California
                                                                   California
       Administrative
       AdministrativeCode,
                        Code, Title   22, Division
                               Title 22,   Division 4,
                                                    4, Chapter  30 and
                                                       Chapter 30    and shall
                                                                          snail
       manage such
              such wastes
                   wastes as
                          as prescribed
                              prescribed therein.
                                          therein.

  3.
  3.              wastes shall only be
       Hazardous wastes
       Hazardous                        be removed
                                            removed from
                                                    from the
                                                          the premises
                                                               premises under
                                                                          under aa
       Uniform Hazardous
       Uniform  Hazardous Waste
                             Waste Manifest
                                     Manifest unless        variance from
                                                unless aa variance     from such
                                                                              suco
       documentation has been granted by the California Department of Health
       Services (DOHS).
       Services            Generator copies
                 (DOHS). Generator     copies of   tne Uniform
                                               of tne   Uniform Hazardous
                                                                 Hazardous Waste
       Manifest snail
                shall be maintained
                          maintained by by the
                                           the permittee
                                               permittee for
                                                          for not
                                                               not less
                                                                   less than
                                                                         than 180
                                                                               180
       days or as directed
                  directed by
                            by DOHS.
                               DOHS.

  4.
  4.   A copy of the generator's Uniform Hazardous Waste     Waste Manifest
                                                                     Manifest shall
                                                                                 shall be
                                                                                       be
       provided to
       provided    to the   Department of
                       the Department      of Public
                                               Public Works,
                                                        Works, Engineering
                                                                 Engineering Services
                                                                                 Services
       Division, Solid Waste Management Unit, P.O. Box 2418, Terminal    Terminal Annex,
                                                                                   Annex,
       Los Angeles, CA 90051 within 30    30 days
                                              days from removal of such wastes from
       trie permittee's
       the   permittee's premises.     NOTE: This
                           premises. NOTE:       This requirement
                                                       requirement isis inin addition
                                                                             addition to
                                                                                       to
       any Self-Monitoring requirement in Part E of this permit when so
       designated inin Part
                        Part A.
                              A.
                                        •
  5.
  5.   The permittee shall maintain records of tne sources,  sources, quantity,
                                                                          quantity, name
                                                                                     name
       and address of hauler, date hauled, and point of legal disposal for
       nonhazardous industrial
                      industrial wastes
                                    wastes and
                                             and wastes
                                                  wastes granted
                                                          granted aa DOHS
                                                                      DOHS variance
                                                                             variance as
                                                                                       as
       described in Part
                      Part B.3
                             B.3 above.
                                  above.      Such records snail
                                                             shall be kept a minimum
       of 180
          180 days.
                days. AAlegal
                           legal point
                                  point ofof disposal
                                              disposal isis defined
                                                            defined asas one
                                                                           one for
                                                                                for which
       waste discharge
       waste   discharge requirements
                           requirements havehave been
                                                   been prescribed
                                                         prescribed by by aa California
                                                                              California
       Regional Waste Quality
                         Quality Control
                                   Control Board
                                             Board and
                                                    and which
                                                         which is
                                                                is in
                                                                    in full
                                                                        full compliance
                                                                              compliance
       therewith or
       therewith    or a   facility authorized
                        a facility   authorized to       receive such wastes by the
                                                    to receive
       jurisdiction(s)     regulating the
       jurisdiction(s) regulating        the facility
                                               facility and
                                                          and is
                                                               is in
                                                                   in full     compliance
                                                                        full compliance
       with all permits,
                  permits, regulations
                            regulations andand requirements.
                                                requirements.

  6.
  6.   Discharge of industrial wastewater
                                 wastewater toto aa channel,
                                                    channel, stormdrain,
                                                              stormdrain, stream,
                                                                            stream,
       river, lake,
       river,         ocean or
               lake, ocean    or other   surface waters
                                  other surface    waters isis pronibited
                                                                proni'bited unless
                                                                             unless
       authorized by
       authorized          National Pollutant
                    by aa National                 Discharge Elimination
                                      Pollutant Discharge      Elimination System
                                                                             System
       (NPDES) permit
       (NPDES) permit issued
                       issued by a California Regional WaterWater Quality
                                                                   Quality Control
                                                                            Control
       Board or the U.S. Environmental
                          Environmental Protection
                                          Protection Agency
                                                       Agency (EPA).
                                                               (EPA).
                           •                              •
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County of Los Angeles, Department of Public Works
Industrial Waste Disposal
                 Disposal Permit
                          Permit

Part C - GENERAL CONDITIONS AND LIMITATIONS

  1.
  1.   A copy of this permit shall be maintained on the premises where
                                                                 where it
                                                                       it
       will be available at all
                            all times
                                times to
                                      to operating
                                         operating personnel.
                                                   personnel.

 2.
 2.    Industrial waste pretreatment, storage and
                                               and disposal
                                                   disposal operations
                                                             operations shall
                                                                        shall
       be conducted in such
                       such a
                            a manner
                              manner that
                                     that no
                                          no nuisances
                                             nuisances are
                                                        are created.
                                                            created.

 3.
 3.    The permittee shall allow representatives
                                  representatives of
                                                  of interested
                                                     interested governmental
                                                                governmental
       agencies concerned with the disposal of industrial waste access at
       any reasonable time to take
                               take samples,   inspect operations
                                     samples, inspect  operations and
                                                                  and review
       any records required
                   required by
                            by this
                               this permit.
                                     permit.

  4.
  4.   The  permittee shall
       The permittee           secure written
                        shall secure   written approval    from this
                                                approval from            Department
                                                                   this Department
       before making any additions or modifications which may affect the
       quantity,
       quantity,   quality,
                   quality, or     method of
                               or method        disposal of
                                           of disposal          industrial waste
                                                           of industrial      waste
       materials.    Requests or
       materials. Requests          plans for
                                or plans         additions or
                                           for additions         modifications to
                                                            or modifications     to
       industrial waste treatment facilities or method of   of disposal
                                                                disposal shall
                                                                           shall be
                                                                                 be
       submitted for approval to the Department of  of Public
                                                       Public Works,
                                                               Works, Engineering
                                                                        Engineering
       Services Division,
       Services              P.O. Box 2418,
                 Division, P.O.                Terminal Annex,
                                       2418, Terminal    Annex, Los
                                                                  Los Angeles,
                                                                       Angeles, CA
                                                                                 CA
       90051.
       90051.

  5.
  5.         permit is
       This permit
       This              subject to
                     is subject       suspension or
                                  to suspension    or revocation   if conditions
                                                       revocation if  conditions
       exist which would justify
                           justify denial
                                    denial of
                                           of aa permit,
                                                 permit, if
                                                          if permittee
                                                              permittee fails
                                                                         fails to.
                                                                                to.
       correct  unsatisfactory conditions,
       correct unsatisfactory    conditions, if if any
                                                    any of        Conditions and
                                                             the Conditions
                                                         of the                and
       Limitations of this permit nave
                                    have been violated or if Annual Industrial
       Waste Inspection Fees, where required, are not paid within witnin 90 days
                                                                             days
       from date of notification.
                    notification.

  6.
  5.   The Director of Public
                         Public Works
                                 Works may
                                       may modify
                                            modify this
                                                   this permit
                                                        permit by
                                                                by addition,
                                                                    addition,
       revision, or
       revision,     elimination of
                  or elimination   of conditions
                                      conditions and  limitations as
                                                  and limitations  as may
                                                                       may be
                                                                           be
       necessary to accomplish the purpose of ordinances and laws covering
       disposal of
                of waste
                   waste materials.
                          materials.

  7.
  7.   This permit is valid only
                              only for
                                    for the
                                         the facility
                                              facility and
                                                        and location
                                                             location named
                                                                       named thereon
                                                                             thereon
       and  is not
       and is  not transferable.
                   transferable. In   In the
                                          the event
                                               event of
                                                     of any
                                                         any change of ownership,
                                                                          ownership,
       name or control of the industrial waste facilities subject to this
       permit, the permittee shall notify
                                       notify the
                                               the Director
                                                   Director ofof Public
                                                                 Public Works
                                                                         Works prior
                                                                               prior
       to the effective date
                          date ofof such
                                     such change.     Permittee shall
                                           change. Permittee      shall also
                                                                         also notify
       the succeeding owner or operator of the existence of this permit by
       letter, a copy of which shall be forwarded
                                             forwarded toto the
                                                            the Director
                                                                 Director of
                                                                           of Public
                                                                              Public
       Works. AA new
       Works.     new owner
                       owner shall
                              shall make
                                     make application
                                            application for an  an Industrial
                                                                    Industrial Waste
       Disposal Permit within 30 days from the date of assuming assuming control
                                                                          Control of
                                                                                  of
       any facility
           facility subject
                     subject to
                              to this
                                  this permit.
                                        permit.

  8.
  8.   Facilities
       Facilities   subject        this
                     subject toto this   permit
                                         permit   shall not
                                                 shall   not be     abandoned.
                                                               be abandoned.
       Cancellation of this
                        this permit
                              permit may
                                     may only
                                         only be
                                              be authorized
                                                 autnorized pursuant
                                                             pursuant to
                                                                       to L.A.
                                                                           L.A.
       County Code Section
                   Section 20.36.220.
                            20.36.220.
                                        COUNTY Or LOS ANGELES -- DEPARTMENT
                                                                         I1T OT T'UIiLIC WORKS - IIdDIISTRI1fL IrJAS'I'E DISPOSAL PERMIT

   1'E1A D- EFFLUENT QUALITY LIMITATIONS - JOINT OUTFAT,L SEWERS
                                                                                                     Electroplating EPA Point Source Standard                                                             Metal Finishing Point Sourc
                                                                                                     (Existing Sources) P2ES,40 C1'IZ Part 413                                                             PSES,40 CFIl Part 433*
                 Cons t ituents
                 Constituents                                          Phase Y




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                                                                        Limits                    1- Day       Equiv. 30-                      Equiv. 30-                                                           Max.mg /1                          Day Avg.
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  Dissolved Su lfide s
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TOTAL
TOTAL TOXIC ORGANICS (TTO)
      TOXIC ORGANICS (TTO)                                                                          4.57 *                                    2.13                                                                   2.13
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TOTAL LMETALS (3)
TOTAL METALS
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                                                                                                                                                                                                                                -1-3




  (1) For due by integrated facilitiea in determining alternative limits                                                                                       Compliance date for metals and
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  (3) The sum of concentrations or tnncrs of copper, nickel, chromium (total) urici zinc
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                                                                                                                                                            Compliance date for '1"['O is ;July 15,19ä6
    Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 378 of 464 Page ID
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                                         #:4150
                            COUNTY OF LOS ANGELES
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                   DEPARTMENT  OF COUNTY
                   DEPARTMENT OF  COUNTY ENGINEER-
                                          ENGINEER-FACILITIES
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                              SANITATION DIVISION
                                          DIVISION                   Billing    (-
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                       r)/              INDUSTRIAL WASTE SURVEY
                                                         SURVEY
City
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SMD No.                                                                         Permit No.
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      NAME .P,/-/C/A_1(,4
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Contact Name #0,0"ki     c ,4--/M-
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                                                  Title /116/2_
                           List ALL
                          (List    ALL chemicals
                                       chemicals )
Business and
Business and processes:
              processes:fused
                           used and   /or produced)
                                  and/or             , /fV6e7arl
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Type and Quantity I.W. (List
                       (List chemical
                             chemical names)
                                      names)                             g1 ilys-,411q5
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WASTE DISPOSAL:
      DISPOSAL:                                   Sample Taken                Parameters
                                                                          Parameters

   Sewer:
   Sewer: 67-117----)                             San.Dist.
                                                  San.Dist.                         Volume
                                                                                    Volume

   Surface Drainage                   A42v4
                                      ,i»' -      Cooling
                                                  Cooling Water*
                                                          Water.                    Uncontaminated

    Ground                                        Holding Tank
                                                          Tank                      Level Alarm
   Name of Liquid
   Waste Hauler                                                                     Other
                                                                                    Other

PRETREATMENT FACILITIES:
             FACILITIES:
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          Standard
   Trap: Standard
   Trap:                                        3647A10
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                                                                  Non-Standard

    Other                                                                           Sample Box         c-"
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REQUIREMENTS AND
             AND DATA:
                 DATA:

    Inspection Freq.
    Inspection Freq.                           Rainwater list
                                                         list                      Permit Date
                                                                                          Date

    New Industry                                  Resurvey                         T.C. Requested

    Classification                                SIC No.
                                                      No.                          Disp. Method
                                                                                         Method

REMARKS AND
        AND RECOMMENDATIONS:
            RECOMMENDATIONS:                     No 94
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Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 380 of 464 Page ID
                           COUNTY OF#:4152 ANGELES
                                      LOS ANGELES      411
                          ARTMENT OF
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                                  OF COUNTY
                                      COUNTY ENGINEER
                                              ENGINEER
            PROJECT PLANNING AND POLLUTION CONTROL DIVISION

TO:
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                                                                                 No.,__27-T,57p
                                                                            File No.               ---2?

                                        NOTICE OF COMPLIANCE
 The corrections made following issuance of the Notice
                                                Notice of
                                                       of Violation
                                                          Violation
 and Order
     Order to
           to Comply
               Comply issued  on .J / e/yr/for
                       issuedon'\J'40            violation
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                                                     violation     LosAngeles
                                                                       Angeles

 County Ordinance
        Ordinance No.
                  No.                             and/or
                                                  and /or the
                                                           the conditions
                                                                conditions and
                                                                           and limitations
                                                                               limitations of

 Industrial Waste Disposal
                  Disposal Permit
                           Permit No.
                                  No.                              , satisfy said Notice and
                                                                   ,




Order.
Order.
Department of
Department  of CoLinty
               County Engineer-      Facilities
                         Engineer-Facilities
  Sanitation:Division
 Sanitation  Division -. Industrial
                         lnd:jstriai Waste
                                     Waste        C. G. Brisley, Jr., Division Engineer
        4353 Lennox
              Lennox Boulevard
                       Boulevard
           Lennox, CA.
           Lennox,  CA. 90304
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                419-5650                          By
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Case 2:19-cv-02123-DMG-AGR Document
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                                                   02/09/21 Page 381 of 464 Page
                                              Angeles-                           ID                                                     fte
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                                                                                   Permit No. //°,2
Location                     ye             .-?               ..t%,G f`                 !' rt) ,,/b c._1rcta/fh/(Ì''ter



            VIOLATION(S):
            VIOLATION(S):

                      nC Excessive
                          Excessive oi4igreao-elsolids
                                      o g*se- C lids ininpretreatment       facilities. (joe,4ele.co)
                                                             pretreatment facilities.    C-3°`4 F«l
                     CD \ pH
                          pH of
                             of  wastewater
                                 wastewater is outside  of  established
                                                            established   limits.
                                                                          limits.
                     E3 Rain
                          RainDiversion
                                DiversionSystem
                                          System not
                                                  not working
                                                      working properly.
                                                                properly.
                     ED Discharging Industrial
                                       Industrial Waste
                                                   Waste to
                                                         to the
                                                              the ground
                                                                  ground or
                                                                          or street.
                                                                              street.
                     ED    Pretreatment
                           Pretreatment   facilitiesare
                                        facilities   are.in
                                                         . in need of repair.
                                                              need of repair.



                     ED    Industrial
                           Industrial Waste  Facilities are
                                      Waste Facilities  are not
                                                            not built
                                                                built according  to plans
                                                                       according to plans
                           approved by this
                                       this office.
                                            office.



                      ED   Annual Industrial
                                  industrial Waste
                                              Waste Inspection
                                                     Inspection Fee
                                                                 Fee not
                                                                      not paid.
                           Submit fee of $       to:
                                                 to:
                                                        L.A. County Engineer
                                                        Cashier Section
                                                        Cashier   Section Rm. 604
                                                        550  S. Vermont
                                                        550 S.            Ave.
                                                                 Vermont Ave.
                                                        Los Angeles.
                                                            Angeles, CA CA 90020
                      ED   Not Having
                           Not Havinga avalid
                                         valid Industrial
                                               Industrial Waste
                                                           Waste Discharge   Permit. Submit
                                                                   Discharge Permit.  Submit
                           application andapplication
                           application and applicationfee
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                                                                                               the office
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                                               s) corrected
  You are directed to have the above violation(s) corrected by
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                                                                Kenneth R.
                                                                Kenneth  R. Kvammen,
                                                                             Kvaen, Division
                                                                                     Division Engineer
                                                                                              Engineer
' Department
  Department of County
                CountyEngineer-
                       Engineer-Faciiities
                                Facwiittes
     Sanitation Division
     Sanitation Diviscn - lndu:.:rial
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Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 382 of 464 Page ID
                                  #:4154




         EXHIBIT 10
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Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 384 of 464 Page ID
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         EXHIBIT 11
        Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 385 of 464 Page ID
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 LEGEND                                                                                                                               FORMER PACIFICA CHEMICAL SITE
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  V     AMBIENT AIR SAMPLE                                                                                                               LOS ANGELES, CALIFORNIA

        INDOOR AIR SAMPLE

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        PCE CONCENTRATION IN AMBIENT AIR (pg/m3)

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        APPROXIMATE LOCATION OF CEMENTED TRENCH DRAIN                                                                                                       FIGURE
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LOCATIONS ARE APPROXIMATE                                                    DRAWN BY: EL   REVISED BY: AW    DATE: 04/04/2016   environmentaL ine
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 386 of 464 Page ID
                                  #:4158




         EXHIBIT 12
                   WORKERS' COMPENSATION DECLARATION
        I
      hereby affirm that I have a certificate of consent to self        76A667A
                                                                                                  APPLICATION FOR PLUMBING PERMIT
                                                                        CE
    insure, or a certificate of Workers' Compensation Insurance,             817 (REV. 10/81)
    or a certified copy thereof (Sec. 3800, Lab. C.)
                                                                                                    COUNTY OF LOS ANGELES                                  BUILDING AND SAFETY
    Policy       NYC42-0485-d74514 Western Employers
             Certified copy      is   hereby furnished.
                                                                                           FOR APPLICANT TO FILL IN (PRINT OR TYPE)
                                                                                                                                               BUILDING
             Certified copy is filed with the county building inspec-                                                                          ADDRESS
             tion department.                                                NUMBER               FIXTURE OR ITEM               @      FEE
                                                                                                                                                              K3.2 Pc              /.      2'
                                                                                                                                               LOCALITY
                 2/10/86                                                               WATER CLOSET
    Date                              Applicant                                                                                                NEAREST
                                                                                                                                               CROSS ST.
                                                                                                                                                                        /
                                                                                                                                                                 QGrC°P"--
                  CERTIFICATE OF         OM WORKERS'                                   BATH TUB
                               EXEMPTIOf
                          COMPENSATION .URANCE
                                                  y                                    SHOWER                                                  OWNER
    (This section need not be compie ed if the work involved by                                                                                                                  Cam/   ,e=ff//Z          íIll     -
    the permit is for one hundred dollars ($100) or less.)                                                                                     MAIL
                                                                                       LAVATORY
    I certify that in the
                          performance of the work for which this
                                                                                       SINK
                                                                                                                                               ADDRESS

                                                                                                                                               CITY
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    permit is issued, I shall not employ any person in any manner                                                                                                                           TEL.   NO.
    so as to become subject to the Workers' Compensation Laws.                                                                                                P//Pdl.4
                                                                                       DISHWASHER                                              CONTRACTOR
    Date
                                                                                                                                                               Taisho Plumbing Inc,
                                   Applicant                                           CLOTHES WASHER
NOTICE TO APPLICANT: If, after making this Certificate of                                                                                      ADDRESS ,                                 St.
                                                                                                                                                               2516 E. 1st,
Exemption, you should become subject to the Workers'                                   SWIMMING POOL RECEPTOR
Compensation provisions of the Labor Code, you must forth-                                                                                     CITY                                         TEL.
with comply with such provisions or this permit shall be                               LAWN SPRINKLER SYSTEM
                                                                                                                                                               Los Angeles                         NO.262-7+.77
                                                                                                                                               STATE                                        LIC.
deemed revoked.                                                                        WATER HEATER                                            LICENSE NO.
                                                                                                                                                              q
                                                                                                                                                              442003                        CLA          36
                    LICENSED CONTRACTORS DECLARATION
                                                                                                                                                         DISTRICTplg.                              O   SSED
    I                        I                                                         GAS SYSTEM               OUTLETS
 hereby affirm that am licensed under provisions of Chapter 9
(commencing with Section 7000) of Division 3 of the Business                           OUTLETS OVER                                                           //                                              BY
and Professions Code, and my license is in full force and effect.                      5 PER SYSTEM
                                                                                                                                               FINAL
                                                                                                                                               DATE                     °,                 VALIDATION
License Number               442003                   Lic Class   C36                                                 `   r                            2..,              /['d,
                                                                                           .
Contractor
                    Taisho Plumbing Date 2/10/86                               /%C.4tl-t x                                            'i       FINAL
                                                                                                                                                              '
             I   am exempt under Sec
                                                                                                                                                                                                                                                         #:4159




             B. &P.C.   for this reason
                                                                        Plan check fee
                                                      Date:
                                                                                       PLUMBING PERMIT ISSUING       FEE $
            Signature                                                                                                                 `%
                                                                                                              TOTAL FEE                    d
                                                                        Plan check applicant
                             SINGLE FAMILY
                     HOME OWNER- BUILDER DECLARATION                    Name
I
 hereby affirm that I am exempt from the Contractor's License
Law for the following reason (Section 7031.5, Business and              Address
Professions Code):
                                                                        City                                         Tel. No.
            I, as owner of the property, will do the work and the
            structure is not intended or offered for sale (Section
            7044, Business and Professions Code).
                      CONSTRUCTION LENDING AGENCY
I
  hereby affirm that there is a construction lending agency for
the performance of the work for which this permit is issued
(Sec. 3097, Civ. C.).

Lender's Name

Lender's Address
I certify that I have read this
                                 application and state that the
above information is correct. I agree to comply with all County
ordinances and State laws regulating Plumbing, and hereby
authorize representatives of this County to enter upon the
above- mentioned property for inspection purposes.
                                                                                   SEE REVERSE FOR        EXPLANATORY LANGUAGE

Sign             re or Permittee                              D   (/'
                                                                                                                                                                        LACOUNTYDPW0000011
                                                                                                                                                                                                                       Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 387 of 464 Page ID
                                                             INSPECTOR'S NOTES                  OWNER- BUILDER DECLARATION
        APPROVALS           DATE     INSPECTOR'S SIGNATURE
UNDER SLAB WORK                                                                  I hereby affirm that I am exempt from the Contractor's
ROUGH PLUMBING                                                                   License Law for the following reason (Section 7031.5,
GAS PIPING                                                                       Business and Professions Code): Any city or county which
                                                                                 requires a permit to construct, alter, improve, demolish,
GAS VENT                                                                         or repair any structure, prior to its issuance, also re-
HOT WATER HEATER                                                                 quires the applicant for such permit to file a signed state-
PLUMBING FIXTURES                                                                ment that he Is licensed pursuant to the provisions of the
                                                                                 Contractor's License Law (Chapter 9 (commencing with
GAS TEST
                                                                                 Section 7000) of Division 3 of the Business and Profese
UTILITY CO. NOTIFIED                                                             sions Code) or that he is exempt therefrom and the basis
                                                                                 for the alleged exemption. Any violation of Section
FINAL                                                                            7031.5 by any applicant for a permit subjects the appli-
                       enter on .Jront                                           cant to a civil penalty of not more than five hundred
                                                                                 dollars ($500).:
                                                                                          I, as owner of the property will do the work, and
        APPROVAL       7    L       Z         2-//444                            the structure is not intended or offered for sale.
                                                                                       7044,  Business and Professions Code: The Contrac-
                                   7í                                            (Sec.
                                                                                 tor's License Law does not apply town owner of property
                                                                                 who builds or improves thereon, and who does such
                                                                                 work himself provided that such improvements are not
                                                                                 intended or offered for sale. If, however, the building or
                                                                                 improvement Is sold within one year of completion, the
                                                                                 owner-builder will have the burden of proving that he did
                                                                                 not build or Improve for the purpose of sale.)

                                                                                     I   am exempt under Sec.

                                                                                     B & P.C.   for this reason
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                                                                                     Date

                                                                                     Owner


                        INSPECTOR'S NOTES




                                                                                             LACOUNTYDPW0000012
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Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 389 of 464 Page ID
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         EXHIBIT 13
      Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 390 of 464 Page ID
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Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 403 of 464 Page ID
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Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 405 of 464 Page ID
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    3. Address  of Wastewater
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                                                                                                                                                       10-27-9~                            SAMPLE BOX
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    CODE                                                         PARAMETER (1)                                                                   I SAMPLING METHOD ' TEST RESULTS (2) LAB ID CODE i
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    315             SIJRFACTANTS(1BA5) (MG/L)                                                                                                          COMPOSITE                                                       10196
    403             TOT-AL COD (AGI-L-)                                                                                                          -CmF'CISITE                                 130                       10112
    408             OIL F._GitEASE (1lGiL)                                                                                                             GRAB                                   8.4
_607                TETItACHL[]RCIETHYLFiMIE (LaG/L)                                                                                                   GRAB                                 425                            1'




    (1)      Report the
            Report   the test
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    (3)     indicate
            Ind icate the appropriate laboratory certification I.D.  I. D. Code for each testing
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    Please submit this report fo:
    Please                    to:            Sanitati on Districts of Los Angeles County
                                             Sanitation                           County                         Industrial Waste
                                                                                                                            Waste Section            P.O. Box
                                                                                                                                                     P.O. Box 4998       Whittier, CA 90607
       Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 407 of 464 Page ID
WATER 'TREATMENT
STATE CERTIFIED
      CERTIFIED LAB
                LAB         CHEM
                            CHEM PRO
                                   PRO LABORATORY,
                                        LABORATORY,
                                         #:4179            INC.
                                                             INC.                   (31 0) 532
                                                                                    (310)  532 -• 8611
                                                                                                  8611
                                                                                                  851 s
                                                                                    (213) 770 •- 8515
          MONITORING
POLLUTION MONITORING                                                                   CHEMICAL ENGINEERS
                                                                                                ENGINEERS                                                                                             (714) 530 - 6623
WASTE WATER ANALYSIS                            941 West
                                                941 West 190th
                                                         190th Street             California 90248
                                                               Street • Gardena • California       -4398
                                                                                             90248-4398                                                                                          FAX: (213) 770 -• 4403
                                                                                                                                                                                                 FAX:




     CLIENT              Pacifica Chemical,Inc.                                                                                             LABORATORY No.
                                                                                                                                            LABORATORY No.                                 9679
                         132 w.
                         132 W. 132nd St
                                      st
                         Los Angeles,
                             Angeles, CA 90061                                                                                              REPORTED                     12-02-1998
                                                                                                                                                                         12 -02 -1998

                         Mukesh                                                                                                             SAMPLED                      10-27-1998
                                                                                                                                                                         10 -27 -1998

                                                                                                                                            RECEIVED                     10-27-1998
                                                                                                                                                                         10 -27 -1998
     DISCHARGE ADDRESS
             132 w.
             132 W. 132nd St.,
                           St., Los Angeles, CA CA 90061
     SAMPLE Wastewater from   sample
                         from sample  box
             Time composite 10/26 to 10/27 refrigerated @    @ 37
                                                               37 F
                                                                  F
     MARKS   semi-annual
             Semi -annual composite  and grabs-
                          Composite and   grabs-Permit#11027
                                                 Permit #11027
             sampled by MM@ 2pm
              SAMPLE as taken by our representative
     BASED ON SAMPLE

              Results in
                      in mg
                         mg/1
                            /1 unless
                               unless otherwise
                                      otherwise noted.                                                                                                                   REPORTING
               CONSTITUENTS                  RESULTS                                                                                  METHOD                               LIMITS
             Chemical oxygen
                       Oxygen Demand                                                                 130
                                                                                                     130                               5220D                             10
             suspended
             Suspended Solids                                                                         40                               2540D                               4
                                                                                                                                                                           4
             pH, units **
             pH,                                                                                       8.6                             4500-H+
                                                                                                                                       4500 -H+                            0.1
             Sulfides,  Dissolved **
             Sulfides, Dissolved                                                                      <0.05                            4500-S-2
                                                                                                                                       4500 -S -2                         0.05
             MBAS                                                                                See Page 33                                                          See Page 33
             Oil && Grease                                                                             8.4                             55208
                                                                                                                                       5520B                              44
             Purgeable Halocarbons                                                                                                     601                            See Page 22
               1,1,1-Trichloroethane
               1,1,1 -Trichloroethane                                                                        359
               Trichloroethane                                                                               643


                          Submitted,
             Respectfully Submitted,
                      LABORATORY, INC.
             CHEM PRO LABORATORY, INC.

                  ~COl~
                     g,)2
             Thomas N.
                    N. Fukuman,
                        Fukuman,
             Manager,
             Manager, Analytical
                       Analytical Services
             TNFjtxn
             TNF/txn
             PM256

            Chem Pro Laooratorylnt:
                     Labors       Inc: State
                                       State Certification   If: 1265
                                              Certifil:ation N:   1265 • Environmental Protection Agency (EPA) !D#:    ID if: CA00218    Loo Angeles County
                                                                                                                              CA00218 • Los             County Sanitation  DislrictIJD#:
                                                                                                                                                                Sanitation District        10112.
                                                                                                                                                                                     D I: 10112.
            Note: Unless notified
                         notified in writing, all
                                  in writing, all samples       Sanitation Dislricts
                                                           for Sanitation
                                                  samples for                        teslll will
                                                                           Districts tests  will be retomed
                                                                                                    returned to tustomer. Allother
                                                                                                                customer. All othersamples  willbe
                                                                                                                                    samples will be discarded
                                                                                                                                                    dis<:arded by appropriate
                                                                                                                                                                  appropriate disposal
                                                                                                                                                                               disposal protocol
                                                                                                                                                                                        prototol30   days from
                                                                                                                                                                                                  30 days from date reponed.
                                                                                                                                                                                                                    reported.




      An  reports are
      All reports are submitted
                      submitted as
                                as the
                                   the confidential
                                       confidential Information to clients.
                                                    information to clients. Publication
                                                                            Publ1cat10n from or regarding
                                                                                        from or regarding our reports is
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                                                                                                                                                        approval
        Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 408 of 464 Page ID
WATER.,.REATMENT
WATER  'MEATH ENT
STATE CERTIFIED LAB
POLLUTION MONITORING
           MONITORING
                             CHEM PRO
                             CHEM         #:4180
                                    PRO LABORATORY,
                                         LABORATORY,         INC.
                                                             INC.                    (310) 532.
                                                                                           532 - 8611
                                                                                     (213) 770-
                                                                     CHEMICAL ENGINEERS
                                                                     CHEMICAL ENGINEERS
                                                                                           770 - 8515                                     f.
                                                                                                                                         sIZP
                                                                                                                                                           (714}
                                                                                                                                                           (714) 530 •- 6623
WASTE WATER
WASTE  WATER ANALYSIS                  941 West
                                       941 West 190th Street             California 90248-4398
                                                      Street • Gardena • California 9024B-439B                                                        FAX: (213) 770
                                                                                                                                                                 770 -• 4403
                                                                                                                                                                        4403




                                                                                                                            PAGE 2 OF 33
               Customer:     PACIFICA CHEMICAL
               Lab No.:
                   No.:      9679
               Date:         11-5-1998
                             11 -5 -1998
               Purgeable Halocarbons         Limits of Detection
                         601
                     EPA 601                        ugjl
                                                    ug /1

               Bromodichloromethane                                                                 25
               Bromoform                                                                            25
               Bromomethane                                                                         25
               Carbon tetrachloride                                                                 25
               Chloroethane                                                                         25
               Chloroform                                                                           25
               2-Chloroethyl
               2- Chloroethyl vinyl
                               vinyl ether
                                     ether                                                          25
               Chloromethane                                                                        25
               Dibromochloromethane                                                                 25
               Dichlorofluoromethane                                                                25
               1,1-Dichloroethane
               1,1- Dichloroethane                                                                  25
               1,2-Dichloroethane
               1,2- Dichloroethane                                                                  25
               1,1-Dichloroethylene
               1,1- Dichloroethylene                                                                25
               Trans-1,2-dichloroethylene
               Trans- 1,2- dichloroethylene                                                         25
               1,2-Dichloropropane
               1,2- Dichloropropane                                                                 25
               Cis-1,3-dichloropropylene
               Cis -1,3- dichloropropylene                                                          25
               Trans-1,3-dichloropropylene
               Trans -1,3- dichloropropylene                                                        25
               Methylene Chloride                                                                   25
               1,1,2,2-Tetrachloroethane
               1,1,2,2- Tetrachloroethane                                                           25
               Tetrachloroethylene                                                                  25
               1,1,1-Trichloroethane
               1,1,1 -Trichloroethane                                                               25
               1,1,2-Trichloroethane
               1,1,2 -Trichloroethane                                                               25
               Trichloroethylene                                                                    25
               Trichlorofluoromethane                                                               25
               Vinyl chloride                                                                       25




       All reports
       All reports are
                   are submitted
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                                        confidential information to clients. Publication
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       Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 409 of 464 Page ID
                                               #:4181
   Client:           Chem Pro Laboratory, Inc.
                     Chern                                        PAGE
                                                                  PAGE 3
   Attn:             Mr. Thomas N. Fukuman                        SAMPLE
                                                                  SAMPLE DATE:  10-27-1998
                                                                  LAB
                                                                  LAB //fl 9679
   Client's Project:
   Clientts           P.O. #FU9907PM, 698
                      P.O. 14FU9907PM,



   Date Received:                            10/27/98                                                  Lab No:      30198-001
   Date Sampled:                             10/27/98                                                  Sample ID:   Pacific Chemical
                                                                                                       Matrix:      Water



                                                                                                                                         ..--.
             ..'                                                                                                                    ..           y
   EPA 425.1 (MBAS)                                         10/29/98
                                                           110/29/98                       1.4               iL         0.1        0.1 JIO
                                                           1




                                                                                                 HH1




                                                                                                                                                     _



   MDL == Method
          MethodDetection
                    DetectionLimit
                             Limit
   ND = Not
          Not Detected
              Detected (Below  DIR)
                        (Below DLR)
   DF = Dilution
          Dilution Factor
                   Factor(DLFUMDL)
                           (DLRIMDL)




   Reviewed/Approved By:                           f)~
                                                   6 /d?-..-                                                        Date:      3
                                                                D id . Kern
                                                                DfidJ.Kern
                                                                Department Supervisor
   The cover letter is an nt e
                          integral part ofthis
                                        of this analytical
                                                analytical report.
                                                           report"




111
'-..,-Advanced   Technology
        Advanced Technology
                   Laboratories                                           E. 33rd Street
                                                                     1510 E.               Signal Hill,
                                                                                                  Hill, CA
                                                                                                        CA 90807       Tel: 562
                                                                                                                       Tel: 562 989-4045         Fax: 562 989-4040
                                       Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 410 of 464 Page ID
                                                                         #:4182

                                                                                        Spike Recovery and APO Summery Report                              ADDENDUM 1 OF PAGE 3
                                                                                                                                                           SAMPLE DATE;  10-27-1998
                                                                                                                                                           LAB # 9679
Method:        EPA 425.1
               EPA 425.1                                                                                       Date:              10/29/98
                                                                                                                                  10/29198
Analyst:
AnaiYlJt:      MO                                                                                              Sample ID:
                                                                                                               Samp!eiD:          BLANK
                                                                                                                                  BLANK
Data Fils:
     File:     8302-1 W
               8302·1W                                                                                         Matrix:            WATER
                                                                                                                                  WATER
                                                                                                               QC lletch:MBAS
                                                                                                               QC  Botch:MBAS 981029W-1
                                                                                                                              981029W·1
   ANALYTE          UNITS        LCS Cono
                                 LCSConc        Rell
                                            LCS Res    %Reo
                                                       % Reo   METH BLANK   SPI
                                                                            SPL CONC
                                                                                CONC   SPK
                                                                                       SPK ADDED   MS RESULT
                                                                                                      RESULT     MSDRESULT
                                                                                                                 MSD RESULT       'k>MS
                                                                                                                                   %MS RREC
                                                                                                                                         EC   %MSD REC
                                                                                                                                              'k>MSO REC     REC Limit
                                                                                                                                                           % REC limit   RPD
                                                                                                                                                                         RPD   RPD Umit
                                                                                                                                                                               RPD Limit   MDL
      MBAS          mQIL
                    mg/L           1.0
                                   1.0       0.95       95        NO          NO
                                                                              ND         1.0         0.95               0.98         95          98         80-120
                                                                                                                                                            8().120      3        20       0.10


'--·




Approved by:   t V '-"¥¥C!!!!'
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                                  11
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                                                                                                                Date:     U    /3 /ts




                                                                                                                                                                                ,.,r:rdvanced
                                                                                                                                                                                        Advanced Technology

                                                                                                                                                                                ~                 Laboratories
              Case              2:19-cv-02123-DMG-AGR     Document        75-1
                                                                            OF LOSFiled    02/09/21   Page 411 of 464 Page ID
   LACSt"
                .
             ONLY
   LACSD USE ONLY                                  SANITATION
                                                    Charles W.
                                                               DISTRICTS
                                                               D ISTRICTS
                                                                       #:4183
                                                            W Carry, Chief
                                                                     Chief Engineer
                                                                                    ANGELES
                                                                           Engineer &
                                                                                    & General
                                                                                              COUNTY
                                                                                              COU NTY
                                                                                      General Manager
                                                                                              Manager                PAGE 01
                                                                                                                     PAGE       01
                                                                                                                          01 OF 01

- ~t=--- -
                                                                                                                (562) 699
                                                                                   For information please call (562)  699-7411
                                                                                                                          -7411 ext. 2900
        · !H-   1Hr            <.-    lf       [~[                                                                                                                                                     PERMIT NO.
                                                                                                                                                                                                              NO.
    u -- J LJ
-D --                            ~         '·
                                           -L_
                                             - -
                                                n                                         INDUSTRIAL WASTEWATER
                                                                                          INDUSTRIAL                                                                                                    01 1 0 27
                                                                                                                                                                                                        01.1021
    [ I ... "' [I                It   JTI. I                                              SELF
                                                                                          SELF MONITORING
                                                                                               MONITORING REPORT
                                                                                                          REPORT                                                                        SURCHARGE ACCOUNT NO.
                                                                                                                                                                                                  ACCOUNT NO.

  i0·;i.1
  1&'21-1 - ~q1                      ~-                   Report due no later than                 Ol/15/1999
                                                                                                   07/15/1999                                                                                          1895971
 1. Name ot Company Having Wastewater Dscharge
                           Waslewater Discharge                                                                           22.. Has the Ownership or Occupancy Changed~
                                                                                                                                                                     Ince Last Report?
   PACI FI CA CHEMICAL
   PACIFICA                HK
              CH ... MICAL INC
 3. Address of Wastewater Discharge
                          Discharge
                                                                                     cC                               I          I    4. Name
                                                                                                                                      4.
                                                                                                                                                                Oves
                                                                                                                                                                  Yes

                                                                                                                                         Name of Industrial Wastewater Contact.
                                                                                                                                                            Wastewater Contact
                                                                                                                                                                                    -       o
                                                                                                                                                                                            o

                                                                                                                                                                                            I   5. Phone No.
                                                                                                                                                                                                5.
   13
   1322 W 132ND ST LOS
        W 13ZNO    LDS ANGELES CA 90061                                                                                                MR· MO
                                                                                                                                       MR. MONTES   M CE ON ((211
                                                                                                                                              NTE S MACEDON   21 ~
                                                                                                                                                                                        1
                                                                                                                                                                                                               5532
                                                                                                                                                                                                                 32--8881
                                                                                                                                                                                                                     8881
 6. Melling Addl'l!ss (If Different From
    Mailing Address                 From Above)
                                         Above)                                                                       7.
                                                                                                                      7. Sic
                                                                                                                         Sic No.(s)                        I      Reporting Por1ol
                                                                                                                                                               8, Reporting
                                                                                                                                                               8.           Period
   1132
 9_(Print)
 9.
              132ND ST LOS ANGELES CA 990061
     3 2. '-W 13ZND
    (Print) Name
            Name of
                 of Company
                    Company Colleding
                                        006 1
                                       Wastewater Sample
                            Collecting Wastewater Sample
                                                                                                                  I 22842,
                                                                                                                  I




                                                                                                                     J8 4210. , 2844
                                                                                                                                28 44
                                                                                                                            10. (Print)
                                                                                                                                (Print) Sample Data
                                                                                                                                               Date
                                                                                                                                                                        ,.01/01/19991- .06/30/1999
                                                                                                                                                                   From:Ol/01/1999ro 06/30/1999

                                                                                                                                                                 111.
                                                                                                                                                                   11. (Print) Sample Locations;
                                                                                                                                                                         (Print) Sample Location(s)
                                                INC.
                           CHEM PRO LABORATORY, INC.                                                                         4-26
                                                                                                                             4 -26 TO
                                                                                                                                   TO 44-27-99
                                                                                                                                        -27 -99                                    SAMPLE BOX
                                                                                                                                                                                   SAMPLE BOX
 12. Dally
 12. Dally Wastewater
           Wastewater Discharge For
                                For Reporting
                                    Repor1in g Period
                                               Period (Gal.)
                                                       (Gel.)                  to
                                                                               13.Method
                                                                                  MethodFor
                                                                                         ForDetermining
                                                                                             DeterminingWastewater
                                                                                                        WastewaterFlow
                                                                                                                   FlowFor
                                                                                                                        ForSampling
                                                                                                                           SamplingDay
                                                                                                                                    Day(Z01,
                                                                                                                                        (Z01, Z02)
                                                                                                                                              Z02)                                              14. Type
                                                                                                                                                                                                14. Type of
                                                                                                                                                                                                         of Composite
                                                                                                                                                                                                            Composite Sample
 Average:
 Average:                6384                                                  D Direct Measurement
                                                                                         Measurement                                                                                            iJS.   Time Composite
                                                                                                                                                                                                            Com posite

 Maximum:                9576                                                  ~
                                                                               IX Adjusted Me!ered
                                                                                           Metered Water Supply                                                                                 D      Flow Propor110ned CompositE
                                                                                                                                                                                                            Proportioned Composite
                                                                               0          Discharge
                                                                                       No Dischar ge During Reporting Period
 15. NOTE
     NOTE:




  CODE                                                       PARAMETER (1l                                                             SAMPLING METHOD                    TEST RESULTS (2) LAB ID CODE (3
   L01              WASTEWATER FLOW, TOTAL(GPD)                                                                                                                                6384
   101              PH (UNITS)
                                                                                              f                                             GRAB                                  7.6                                 10112
   151              SUSPENDED SOLIDS (MG /L)                                          .>.                                                   COMPOSITE                           290                                    It
   252              SOLUBLE SULFIDE (MG /L)                                                                                                 GRAB                                 <0.05                                 'r

   315              SURFACTANTS(MBAS) (MG /L)                                                                                               COMPOSITE                            <0.1                                 10196
   403              TOTAL COD (MG /L)    ,                                                                                                  COMPOSITE                           510                                   10112
   408              OIL C GREASE (MG /L)        y-                                                                                          GRAB                                    75                                 II


    607             TETRACHLOROETHYLENE (UG /L)                                                                                             GRAB                               M25                                      il




  (1}
  (1)      Report
           Report the lestl'tlsults
                        test results from
                                      from the the most recent
                                                         recent sample co    llected within the reporting period and
                                                                           collected                             and include
                                                                                                                      include all
                                                                                                                               aJI laboratory
                                                                                                                                    Ialloratory test
                                                                                                                                                 test sheets
                                                                                                                                                      sheets with
                                                                                                                                                             with the
                                                                                                                                                                   the self
                                                                                                                                                                       self-monitoring
                                                                                                                                                                            -monitoring report
                                                                                                                                                                                        report form.
                                                                                                                                                                                               form.
  (2)      Test results
           Test          are valid
                results Bl'l! valid only
                                    only itif the
                                              the correct
                                                   correct sampling method is observed and the laboratory analysis Is     is performed by a State or Sanitation Districts' approved laboratory.
                                                                                                                                                                                           laboratory.
  (3)
  (3)      Indicate
           Indicate the appropriate laboratory
                                        laboratory certification     I.D. Code
                                                      certification I.D.  Code for
                                                                                for each
                                                                                    eachtasting
                                                                                          testingparameter,
                                                                                                  parameter.

                                                                                             CERTIFICATION BY
                                                                                                           BY PERMITEE
                                                                                                              PERMITEE
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                     penalty of
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                                                                                                                                                                       systemdesigned
                                                                                                                                                                               designedto  to assure that qualified personnel
 properly gather and evaluate
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                                                                                                       personoror arsons who manage
                                                                                                                               manage tt 'e system,            persons directly responsible
                                                                                                                                            system . or those persons           lllsponsible forlor gathering
                                                                                                                                                                                                    gathering the
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                                                                                                                                                                                                                    information,
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                                                                                                                                             significant penalties for
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                                                                                                                                                                       submitting false
                                                                                                                                                                                  false information,
                                                                                                                                                                                         information, Including
                                                                                                                                                                                                       including the possibility
                                                                                                                                                                                                                       possibility
     tine and Imprisonment for knowing violations
 of fine                                         VIOlations.

 Signature of responsible company official:                                                                                                                                        Date: -
                                                                                                                                                                                   Date:            - --      -   -    - --   -

 Print
 Print name
       name of      official: ~
            of official:      U O:i'                      nV         _         .   - Lh                                                                      Title:
                                                                                                                                                             Title' _ _ _ _ _ __ _ _ _ _ _ _ _ __

 Please submit this
               this report to:
                           to:                 Sanitation
                                               San itation Districts of Los
                                                                        Los Angeles
                                                                            Angeles County
                                                                                    County            Industrial Waste Section
                                                                                                                       Sectlon           P.O. Box 4998
                                                                                                                                         PO.                   Whittier, CA 90607
        Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 412 of 464 Page ID
 • WATE~REATMENT
   WATEre REATMENT
   STATE
   STATE CERTIFIED
         CERTIFIED LAB
                   LAB
                                CHEM PRO
                                CHEM      PRO LABORATORY,
                                                 LABORATORY, INC.
                                                 #:4184                                        532-
                                                                                         (310) 532
                                                                                         (323) no
                                                                                                      8611
                                                                                                   - 8611
                                                                                               770 -- 8515
' POLLUTION
   POLLUTION MONITORING                     CHEMICAL ENGINEERS
                                                      ENGINEERS                                530 - 6623
                                                                                         (714) 530
   WASTE WATER
          WATER ANALYSIS   941 West
                           941      190th Street • Gardena • California
                               West 190th                    California 90249 -4398
                                                                        90248-4398  FAX: (323) no
                                                                                               770 ·- 4403




        CLIENT            Pacifica Chemical,Inc.                                                                                         LABORATORY No.
                                                                                                                                         LABORATORY No.                               0505
                          132 w.
                          132          st
                              W. 132nd St
                          Los Angeles,
                              Angeles, CA 90061                                                                                          REPORTED                    05-18-1999
                                                                                                                                                                     05 -18 -1999

                          Mukesh                                                                                                         SAMPLED                     04-27-1999
                                                                                                                                                                     04 -27 -1999

                                                           RECEIVED                                                                                                  04-28-1999
                                                                                                                                                                     04 -28 -1999
       DISCHARGE ADDRESS
               132
               132 W.
                   W. 132nd St.,
                             St., Los Angeles,
                                       Angeles, CA 90061
       SAMPLE Wastewater from sample box
               Time composite 4/26 to 4/27 refrigerated 2 32  32 F
       MARKS   Semi-annual  Composite and
               Semi -annual Composite  andgrabs
                                           grabs-Permit#11027
                                                - Permit #11027
               sampled by PH@ 10am
                               lOam
       BASED ON SAMPLE asas taken by our representative
                        in mg
               Results in  mg/1
                              /1 unless
                                 unless otherwise noted.
                                                  noted.                                                                                                             REPORTING
                 CONSTITUENTS
                 CONSTITUENTS,                 RESULTS                                                                             METHOD                              LIMITS
                                                                                                                                                                       LIMIT$,

               Chemical oxygen
                         Oxygen Demand                                                               510                           5220D           10
               Suspended Solids                                                                      290                           2540D            4
               pH,
               pH, units*                                                                              7.6                         4500-H+
                                                                                                                                   4500 -H+         0.1
               sulfides,
               Sulfides, dissolved*                                                                   <0.05                        4500-S2-ABCD
                                                                                                                                   4500 -S2 -ABCD   0.05
               Surfactants, (MBAS)
                             (MBAS)        See                                                       Page 33                       425.1        See Page 33
               Purgeable Halocarbons(Ag
               Purgeable  Halocarbons{~g/1)*
                                        /1)*                                                                                       601          See Page 22
                 1,1-Dichloroethane
                 1,1- Dichloroethane                                                                  45
                 1,1,1-trichlorethane
                 1,1,1- trichlorethane                                                               360
                 Trichloroethane
                 Trichloroethene                                                                      28
                   & Grease,
               Oil & Grease, Total*                                                                   75                           5520B                                     4


               ** Denotes
                  Denotes grab sample unless otherwise noted
                                                       noted above.
                                                             above.
               Respectfully Submitted,
               Respectfully Submitted,
               CHEM PRO LABORATORY, INC.
                                    INC.

               ~01(~
               Thomas N. Fukuman,
                      N. Fukuman,
               Manager, Analytical Services
               Manager,
               TNF/mm
               PM256

             Chem PrO  Labore
                   Pro Laboratoty        State Certification I:
                                   lac: State                1: 1265
                                                                 12M • Environmental      Protec:tloo A&eru:y
                                                                         EnvirOilllleutal Protection  Agency(EPA)
                                                                                                              (EPA)ID!DI: CAIIOZI8 • Loa Angelos
                                                                                                                       1:CA00218          Angeles COWin'
                                                                                                                                                     County Sllllitalion Dimic!IDI:
                                                                                                                                                            Sanitation District'       1011.2.
                                                                                                                                                                                 !DI: 10112.
                          uollfied in writiD&, aD aamplcs foer Suitatioa
                   UDlcu noti
             Note: Unless
             Note:                                                        Marta' tellls will be retDmed
                                                               Sanitation Diatricll             reterned to CDttomer.  AOadler
                                                                                                             customer. AD  othersamplea
                                                                                                                                  samples
                                                                                                                                        willt be discarded
                                                                                                                                                 discardedIIY appropriate
                                                                                                                                                           appropriate      disposalprotocol
                                                                                                                                                                          disposal   protocol30 days from
                                                                                                                                                                                             30 days from date
                                                                                                                                                                                                          datereported.
                                                                                                                                                                                                               reported




         MI reports
         All         are submitted
             reports are submitted as
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                                      the confidential
                                          confidential information to clients. Publication
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                                                                                                                  reports is
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                                                                                                                                        pending our
                                                                                                                                                our written
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                                                                                                                                                            approval.
      Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 413 of 464 Page ID
WAnlR
WATER TREATMENT
STATE
       TREATMENT
STATE CERTIFIED
      CERTIFIED LAB
                LAB         CHEM PRO
                            CHEM   PRO LABORATORY,
                                        LABORATORY, INC.
                                        #:4185                                      (31 0) 532 -• 8811
                                                                                    (310)
                                                                                    (323) no
                                                                                    (323)
                                                                                                  8611
                                                                                           770 .-8515
                                                                                                  8515
POLLUTION MONITORING
          MONITORING                                                 CHEMICAL ENGINEERS
                                                                              ENGINEERS                                                                    (714) 530 -• 8823
                                                                                                                                                                        6623
       WATER ANALYSIS
WASTE WATER                            941 West
                                       941 West 180th
                                                190th Street             California 90248
                                                      Street • Gardena • California       -4398
                                                                                    90248-4398                                                                   no ·
                                                                                                                                                      FAX: (323) 770 - 4403




                                                                                                                            PAGE 22 OF 33
               Customer:     Pacifica Chemical Inc.
                                               Inc.
               Lab No.:
                   No.:      0505
               Date:         4-25-99
                             4 -25 -99
               Purgeable Halocarbons         Limits of Detection
                     EPA 601                        ugfl
                                                    ug /1

               Bromodichloromethane                                                                25
               Bromoform                                                                           25
               Bromomethane                                                                        25
               Carbon tetrachloride                                                                25
               Chloroethane                                                                        25
               Chloroform                                                                          25
               2-Chloroethyl
               2- Chloroethyl vinyl
                               vinyl ether                                                         25
               Chloromethane                                                                       25
               Dibromochloromethane                                                                25
               Dichlorofluoromethane                                                               25
               1,1-Dichloroethane
               1,1- Dichloroethane                                                                 25
               1,2-Dichloroethane
               1,2- Dichloroethane                                                                 25
               1,1-Dichloroethylene
               1,1- Dichloroethylene                                                               25
               Trans-1,2-dichloroethylene
               Trans- 1,2- dichloroethylene                                                        25
               1,2-Dichloropropane
               1,2- Dichloropropane                                                                25
               Cis-1,3-dichloropropylene
               Cis -1,3- dichloropropylene                                                         25
               Trans-1,3-dichloropropylene
               Trans- 1,3- dichloropropylene                                                       25
               Methylene Chloride                                                                  25
               1,1,2,2-Tetrachloroethane
               1,1,2,2- Tetrachloroethane                                                          25
               Tetrachloroethylene                                                                 25
               1,1,1-Trichloroethane
               1,1,1 -Trichloroethane                                                              25
               1,1,2-Trichloroethane
               1,1,2- Trichloroethane                                                              25
               Trichloroethylene                                                                   25
               Trichlorofluoromethane
               Trichlorofluoromethane                                                              25
               Vinyl chloride                                                                      25




       All reports
       All         are submitted
           reports are submitted as
                                 as the
                                    the confidential
                                        confidential information to clients. Publication
                                                     information to          Publication from
                                                                                         from or regarding
                                                                                                 regarding our reports is
                                                                                                                        rs reserved
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                                                                                                                                             our written
                                                                                                                                                 written approval.
                                                                                                                                                         approval.
   Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 414 of 464 Page ID
                                             #:4186
Client:               Chem Pro
                     Chern Pro Laboratory, Inc.             Page 33 of
                                                            Page    of 33
Attn:                Tom  Fukuman
                     TomFukuman                             Laboratory //:
                                                            Laboratory    II: 0505
                                                                                                                         Date Sampled:
                                                                                                                              Sampled:      4-27-99
Client's Project:                                    #758, PO#FU4688PM



Date Received:                                       04/29/99                              Lab No:      35283-001
Date Sampled:                                        04/27/99                              Sample ID:
                                                                                           Sample  ID: Pacifica
                                                                                                        PacificaChemical
                                                                                                                Chemical (0505)
                                                                                                                          (0505)
                                                                                           Matrix:      Wastewater




EPA 425.1 (MBAS)                                     04 29 99                       ND        mg/L     0.1     0.1       OL/MO




MDL   Method Detection Limit
ND = Not
     Not Detected
          Detected (Below
                    (Below DLR)
DF = Dilution
D.F  Dilution Factor
              Factor (DLR/MDL)
                      (DLRIMDL)




                  By:_ _ _ _-e~-"'-'"---L~+------
Reviewed/Approved By:
Reviewed/Approved                                                                                      Date:
                                                                                                             ---
                                                                                                                    l/3d/Q;'
                                                                                                               1460.77
                                                                                                                 --'---
                        Cheryl de los Reyes
                        Technical Operations
                                   Operations Manager
The
The cover  letter iso an
    cover letter      an integral
                         integral part of this
                                  part of  this analy!Jcal
                                                analytical report.
                                                           report,



            Advanced Technology
                    Laboratories                                     1510 E.
                                                                          E. 33rd Street           Hill, CA
                                                                                            Signal Hill, CA 90807    Tel: 562 989-4045
                                                                                                                     Tel:                Fax: 562 989-4040
                                     Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 415 of 464 Page ID
                                                                       #:4187


                                                                                        Spike Recovery and RPD
                                                                                        Spike              RPD Summary Report




Method:       EPA 425.1/SM 5540C
              EPA 425.1/SM                                                                                      Date:               04/29/99        Addendum to Page 3
 Analyst:     MO/OL
              MO /OL                                                                                            Sample ID:
                                                                                                                Sample              BLANK
                                                                                                                                                    Laboratory #: 0505
                                                                                                                                                    Laboratory #:
Data File:
     File:    9119-1W                                                                                           Matrix:             WATER
                                                                                                                                                    Date Sampled: 44-27-99
                                                                                                                                                                     -27 -99

  ANALYTE
  ANAL Y!_E
     MBAS
                UNITS
                mg /L
                           LCS Conc LCS
                               1.0
                                     LCS Res
                                       1.0
                                       1.0   j
                                               % Rec
                                         Re,;_f%
                                                 100
                                                       METH BLANK
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                                                            BLANK      SPL CONC
                                                                       SPLCONC
                                                                         ND
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                                                                                                  ~~-RESUL!
                                                                                                   MS RESULT
                                                                                                      0.97
                                                                                                     _().97
                                                                                                                QC Batch:MBAS
                                                                                                                QC
                                                                                                                  MSD
                                                                                                                  MSD RESULT
                                                                                                                      RESULT
                                                                                                                                    990429W -1
                                                                                                                                    990429W-1
                                                                                                                                     %MS _R~c_; %MSD
                                                                                                                                     %MS REC
                                                                                                                                        97 __ j
                                                                                                                          1.0 ______ _J!_Z_
                                                                                                                                                ':lol',llSD REC
                                                                                                                                                         100
                                                                                                                                                             REC   % REC Limit RPD
                                                                                                                                                                   'J§_REC:!-i!!JJ!}_RPD
                                                                                                                                                                     80 -120
                                                                                                                                                                     80-120      I   3
                                                                                                                                                                                              RPDLi_n1it~Q[,_
                                                                                                                                                                                           1- RPD
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                                                                                                                                                                                                  Limit
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                                                                                                                                                                                                        MDL
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                          /7'           ___.-'
 Approved by:
 Approved                c./--                                                                                  Date:
                                                                                                                Date:       ~t!/C?';?
                                                                                                                              7'13e1;47
              Liping Liu
                     Liu
              Inorganics
              lnorganics Supervisor
                         Supervisor




                                                                                                                                                                           p,
                                                                                                                                                                           b.~             Advanced Technology
                                                                                                                                                                                              Laboratories
'LACSO UhE ONLY  Case 2:19-cv-02123-DMG-AGR     Document
                                          SANITATION
                                          SANITATION   DISTRICTS
                                                       DISTRICTS 75-1OF
                                                                     OF LOSFiled   02/09/21
                                                                             ANGELES   COUNTY Page 416 of 464 Page ID
                                                                                       COUNTY
                                           Charles W.
                                           Charles             #:4188
                                                   W. Carry, Chief
                                                             C hief Engineer & General Manager
                                                                                       M anager              PA 4L 01 tÌrO 01
                                                                              For information
                                                                              For             please call (562)
                                                                                  information please      (562) 699
                                                                                                                699-7411
                                                                                                                    -7411 exL
                                                                                                                          ext. 2900
  LAB REPORT                 SIGN       RE                                                                                                                                                    PERMIT NO.
                                                                                                                                                                                              PERMIT NO.
 YCÌY N                     Y          N                                           INDUSTRIAL WASTEWATER
                                                                                   INDUSTRIAL WASTEWATER
                                                                                   SELF
                                                                                                                                                                                              J110.11
                                                                                                                                                                                              01
r1,qTF RF :FnlF1                 Irna,l s                                          SELF MONITORING REPORT
                                                                                                   REPORT




                                                                                                                                )
                                                                                                                                                                                    SURCHARGE ACCOUNT
                                                                                                                                                                                              ACCOUNT NO.
                                                                                                                                                                                                      NO.

 1.40-06                     0,161-                    Report due no later than
                                                       Report                                    01/15/2000
                                                                                                 01/ 15/ 2000                                                                                .:.. 09~-/ 1
                                                                                                                                                                                             1E395971
1. Name of Company Having Wastewater
                             ,-.:Water DischaJge
                                       Discharge                                                                       2. Has the Ownership or Occu               Changed Sinc t the Last Report?
      AL 1t-LtA %ntr'Lt.AL
 PACir~              ~ ~ · ~ INC
                               C                                                  c                                                                                 es              No
3. Address
3. Address of Wastewater Discharge                                                                                                  4. Name of Industrial Wastewater Conlaát             5. Phone No.
  132
  13_       Pt    13ZUU ST LL'.."5 ANGLES CA 90061                                                                                                                                                      632 -B311
6. Mailing Address (II
6, Mailing         (If Different From Above)                                                                       7. Sic No .(s)
                                                                                                                          Na(ss)                                  eporting
                                                                                                                                                                  eporting Period
  132 W 132Nú ST LUS
 ~J :             L S                               ANr;EL          S CA 80061                                      2134 21
                                                                                                                                      '     +*
                                                                                                                                                            8.

                                                                                                                                                                         07/01/1999rr,12/31/1999
                                                                                                                                                                 From: 0 7 / 0 1 / 1999ra:1 2 / 3 1 /1 999
                                                                                                                                                                 From:

9. {Print)
9.         Name of
   (Print) Name of Company
                   Company Collecting Wastewater Sample                                                                  10, (Print) Sample Date                  11. (Print)
                                                                                                                                                                  11.  (Print) Sample
                                                                                                                                                                               Sample Location(s)
                            CHEM PRO LABORATORY,
                                     LABORATORY, INC.
                                                 INC.                                                                   10 -27        TO      10 -28 -99 &
                                                                                                                                                         &                        SAMPLE
                                                                                                                                                                                  SAMPLE BOX
                                                                                                                                                                                         BOX
12. Dally
12. Daily Wastewater
          Wastewater Discharge For
                               For Reporting
                                   R.eporting Period
                                              Period (Gal.)
                                                      (Gal.)                 13. Method
                                                                             13. Method For
                                                                                        For Determining                     Sampling Day
                                                                                            Determining Wastewater Flow For Sampling Day(Z01,
                                                                                                                                         (Z01, Z02)
                                                                                                                                               Z02)                                      14. Type
                                                                                                                                                                                         14. Type of
                                                                                                                                                                                                  of Composlte Sample
                                                                                                                                                                                                     Composite Sample
Average:
Average.                                                                     0     DirectMeasurement
                                                                                   Direct Measurement                          12-21  TO 12
                                                                                                                               12 -21 TO    -22 -99
                                                                                                                                         12-22-99                                        [X!
                                                                                                                                                                                         ® Time
                                                                                                                                                                                             TimeComposite
                                                                                                                                                                                                  Composite

M~imu m: --------- ------------ ------------
Maximum:                                                                     0     Adjusted Metered Water Supply                                                                         0   Flow             Com posit
                                                                                                                                                                                             Row Proportioned Composil
                                                                             0D    No Dtscharge        Reporttng Period
                                                                                      Discharge During Reporting
15. NOTE:
15. NOTE




 CODE                                                       PARAMETER 11)                                                            SAMPLING METHOD                     TEST RESULTS (2) LAB ID CODE (7.!
   "0..           ..,,S i:_0A L R FLu W, TC TAL(GPu)                                                                                                                        uO.2IF
  10i            1-ii   (UNITS)                                                                                                             GRAB                                11.1                        10112
  15.             SUäPENDEJ) SCUDS (P'1 (a /L)                                                                                              COMPOSITE                        270                            10112
  :5             áCLUtLE SULFIDE (MG/L)                                                                                                     GRAB                                <0.05                       10112
   1_             SURFACTANTS(MRAS) (MG /L)                                                                                                 COMPOSITE                             3.6                        10196'
  4-03            1UTAL COO (MG /L)                                                                                                         COMPOSITE                      2200                              10112
  +t3fi          (AL E GREASE (M3 /L)                                                                                                       GRAB                             180                             10112
  O7             Ti TkAC 1LJROLTHVLFNE (UG /L)                                                                                              GRAB                             110                            10138 --




(1)     Report the test results from the most recent sample collected within    wfthln the reporting period
                                                                                                     peri od and
                                                                                                             and Include
                                                                                                                 Include all
                                                                                                                         all laboratory
                                                                                                                              laboratory test
                                                                                                                                          test sheets
                                                                                                                                               sheets with
                                                                                                                                                      with the
                                                                                                                                                           the self -monitoring report
                                                                                                                                                               self-monitoring  report form.
                                                                                                                                                                                       form .
(2)
(2)     Test results
        Test results are
                     are valid
                         valid only
                               only tfif the correct sampling method is observed and the laboratory analysis is performed by a State or Sanitation Districts   Districts' approved
                                                                                                                                                                          approved laboratory.
                                                                                                                                                                                   laboratory.
(3)
(3)                  appropriate laboratory
        Indicate the appropriate  laboratory certification
                                                 certification I.D.
                                                                I.D. Code
                                                                     Codefor
                                                                          for each
                                                                              eachtesting
                                                                                     testingparameter.
                                                                                             parameter.

                                                                                                        BY PERMITEE
                                                                                          CERTIFICATION BY PERMITEE
     certify
   I cert1                      law that this document and all
          fy under penalty of law                                 all attachments
                                                                      attachments werewere prepared
                                                                                            prepared under
                                                                                                       under my
                                                                                                             my direction
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                                                                                                                           orsupervision
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                                                                                                                                           in accordance
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                                                                                                                                                                           designed to assure that qualified personnel
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property gather
properly    gather and
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                                         information submitted.
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                                                                   Based on on my
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of fine and imprisonment for knowing violati   violall

                                        official.\<t,;/--..:._==---~~----------------------------------------------- Date: _LL.,?9/ I30U
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          of responsible
Signature of responsible company official-                                                                                                                                      Date:

Print
Print name of official:
              official. _       ____:__MV
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                                                                                                                            ....._=t.. . ,lL-t.-(t, _. ./.,__,_;--- - - --
Please submit this report to· Sanitation
                   report to: Sanitation Districts of Los Angeles County Industrial
                                                                         Industrial Waste
                                                                                    Waste Section                                         P.O. Box 4998
                                                                                                                                          RO.               Whittier, CA 90607
         Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 417 of 464 Page ID
· WATER TREATMENT
  WATER l'REATMENT
  STATE CERTIFIED
  STATE CERTIFIED LAB          CHEM PRO
                              CHEM   PRO LABORATORY,
                                          LABORATORY,
                                           #:4189            INC.
                                                               INC.                   (310) 532
                                                                                      (310)      - 8611
                                                                                            532-8611
                                                                                      (323) 770 -- 8515
                                                                                                   8515
  POLLUTION MONITORING
            MONITORING                                                                  CHEMICAL ENGINEERS
                                                                                                 ENGINEERS                                                                                              (714) 530 - 6623
  WASTE WATER
  WASTE  WATER ANALYSIS
                ANALYSIS                         941
                                                 941 West 190th Street
                                                                Street                                  California 90248-4398
                                                                                            • Gardena • California                                                                                 FAX: (323) 770
                                                                                                                                                                                                              770 -- 4403
                                                                                                                                                                                                                     4403




       CLIENT              Pacifica Chemical,Inc.                                                                                              LABORATORY No.
                                                                                                                                               LABORATORY No.                                1249
                                                                                                                                                                                             1249
                           132 w.
                           132 W. 132nd St
                                        st
                           Los Angeles,
                               Angeles, CA 90061                                                                                               REPORTED                     11-19-1999

                           Mukesh                                                                                                              SAMPLED                      10-28-1999

                                                                                                                                               RECEIVED                     10-28-1999
       DISCHARGE ADDRESS
               132 w.
               132  W. 132nd St.,
                             St., Los
                                  Los Angeles,
                                       Angeles, CA 90061
       SAMPLE Wastewater from sample box
               Time
               Time composite
                     composite 10/27
                               10/27 to
                                      to 10/28 refrigerated @
                                                            @ 34 F
       MARKS   Semi-annual Composite and grabs-Permit#11027
                                           grabs-Permit#11027
               sampled by PH@ 8:30am
       BASED ON SAMPLE as taken by our representative
                                          representative

                Results in mg/1 unless otherwise
                                       otherwise noted.
                                                 noted.                                                                                                                     REPORTING
                 CONSTITUENTS                 RESULTS                                                                                    METHOD                               LIMITS

                Chemical Oxygen
                          oxygen Demand                                                               2200                               5220D         10
                suspended
                Suspended Solids                                                                       270                               2540D          4
                                                                                                                                                        4
                pH, units*
                pH,                                                                                     11.1                             4500-H+        0.1
                Sulfides,
                Sulfides, dissolved*                                                                    <0.05                            4500-S2-ABCD   0.05
                Purgeable Halocarbons(#g/1)*
                           Halocarbons(Ag/1)*                                                                                            601        See Page
                                                                                                                                                        Page 2,
                                                                                                                                                             21 33
                    1,1-Dichloroethene                                                                 130
                    1,1,1-Trichloroethane                                                             1800
                    Tetrachloroethane
                    Tetrachloroethene                                                                  110
                Oil
                Oil && Grease,
                       Grease, Total*                                                                  180                               5520B                                       4
                                                                                                                                                                                     4



                ** Denotes
                   Denotes grab
                           grab sample unless otherwise noted above.
                                                              above.

                Respectfully Submitted,
               CHEM PRO LABORATORY, INC.
                                    INC.

                   ~~,            ,r;J·j. ,, ,.-, {.
                 '-·
                    4-27   w•j       \      /.   /j).,ft//Z.
                                            ~. ~4,(421.
               Thomas N.
                      N. Fukuman,
                         Fukuman,
               Manager,
               Manager, Analytical Services
                TNF/mam
                PM256

              Chem Pro
              Chem   ProLaboratory
                         LaboratoryInc:
                                      Inc: State
                                            StateCertificati011
                                                    Certification II:
                                                                   I: 1265
                                                                       1265 • Envirrmmental
                                                                               Environmental Protection
                                                                                                  Protecti<m Agency
                                                                                                             Agency (EPA)
                                                                                                                      (EPA)ID
                                                                                                                            ID#:     CA00218 • Los Angeles County Sanitation District
                                                                                                                                It: CA011218                                   District1130:  10ll2.
                                                                                                                                                                                       ID#: 10112,
              Note: Unless notifiedininwriting,
                    Unlessnotified      writing,allallsamples   forSanitation
                                                       samplesfor   Sanitationtrisnicts
                                                                                 Districts tests
                                                                                        tests    will
                                                                                              will bebe returned
                                                                                                      returned    to customer.r, All
                                                                                                               to CUMAMIC            othersamples
                                                                                                                                 Allother  samples will bediscarded
                                                                                                                                                   willbe           byappropriate
                                                                                                                                                           discardedby appropriate disposal protocol
                                                                                                                                                                                            protocol30
                                                                                                                                                                                                     30 days from      reponed
                                                                                                                                                                                                                  date reported.
                                                                                                                                                                                                             from date




         All
         All reports are
                     are submitted as the
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                                                        intormat<on to clients
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                                                                                                               our reports
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                                                                                                                                                             approval.
    Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 418 of 464 Page ID
                                      #:4190              Page 22 of
                                                                  of 55
                                                          Laboratory
                                                          Laboratory #: If: 1249
                                                                            1249

~HPOSITIVE
An POSITIVE                                               Date Sampled:
                                                                Sampled: 10-28-99

mr LAB SERVICE
•      , . LAB SERVICE
                                                                    781
                                                                    781 East Washington Blvd.,
                                                                        East Washington
                                                                                (21
                                                                                         Blvd., Los
                                                                                    3) 745-5312
                                                                                (213)
                                                                                                Los Angeles,
                                                                                       745-5312 FAX
                                                                                                     Angeles, CA
                                                                                                    FAX (213)
                                                                                                              CA 90021
                                                                                                                 90021
                                                                                                        (213) 745-6372




                                        CERTIFICATE
                                        CERTIFICATE OF
                                                    OF ANALYSIS
      Chem Pro
      Chern  Pro Laboratory,
                 Laboratory, Inc.                                                                       11/08/99
                                                                                                        11/08/99
      File# 70770
      941 West 190th St.
                                                                             Prj.# 816
      Gardena,         CA 90247
                                                                             P.O.No. FU4315WT
      Attn: Thomas
            Thomas Fukuman
      Phone: (323)770-8515
      Phone:  (323) 770-8515            Fax:
                                        Fax: (323) 770-4403

      Sample*:
      Sample#:  99-0415-001                                Collector: Client
                                                                       Client        Method:     Submitted By Client
      Received: 11/02/1999                                 Sampling Date/Time:
                                                           Sampling                 10/28/1999
                                                                                    10/28/1999   8:30:00 AM
                                                                                                         AM
      Type: Water

      I.D.:   Pacific
              Pacific Chemical
                      Chemical (1249)
                               (1249)


    ,Rar.ptrketer.               "                             ...........

      Extraction Method/Date                  EPA
                                              EPA 50308
                                                  5030B   EPA 601                   11/03/99
                                                                                    11/03/99
      Analysis Date
               Date                           EPA
                                              EPA 50308
                                                  5030B   EPA 601                   11/03/99
                                                                                    11/03/99
      Dichlorodifluoromethane                 EPA
                                              EPA 50308
                                                  5030B   EPA 601
                                                          EPA                         ND
                                                                                      ND             ug/I
                                                                                                     ug/1               80
      Chloromethane                           EPA 5030B
                                              EPA 50308   EPA
                                                          EPA 601                     ND             ug/I
                                                                                                     ug/1               40

      Vinyl chloride                          EPA
                                              EPA 50308
                                                  50308   EPA
                                                          EPA 601                     ND             ug/I
                                                                                                     ug/1               40
                                                                                                                        40

      Bromomethane                            EPA
                                              EPA 50308
                                                  5030B   EPA
                                                          EPA 601                     ND             ug/I
                                                                                                     ug/1               40

      Chloroethane                            EPA
                                              EPA 50308
                                                  5030B   EPA
                                                          EPA 601                     ND             ug/I
                                                                                                     ug/1              100
      Trichlorofluoromethane                      50308
                                              EPA 5030B   EPA
                                                          EPA 601                     ND             ug/I
                                                                                                     ug/1               20
                                                                                                                        20

      1,1-Dichloroethene                      EPA 5030B
                                              EPA 50308   EPA 601                     ND             ug/I
                                                                                                     ug/1               40

      Methylene chloride                      EPA 50308
                                              EPA         EPA
                                                          EPA 601                     ND
                                                                                      ND             ug/1
                                                                                                     ug/I              200

      trans-1,2-dichloroethene                EPA 50308
                                              EPA 5030E   EPA 601                     ND             ug/I
                                                                                                     ug/1               20
      1,1-Dichloroethane                      EPA 50308
                                              EPA 5030B   EPA
                                                          EPA 601                     130            ug/I
                                                                                                     ug/1               20
      Chloroform
      Chloroform                              EPA
                                              EPA 50308
                                                  5030B   EPA
                                                          EPA 601                     ND
                                                                                      ND             ug/I
                                                                                                     ug/1               20
      1,1,1-Trichloroethane                   EPA
                                              EPA 50308
                                                  5030B   EPA 601                    1800            ug/I
                                                                                                     ug/1               20
      Carbon Tetrachloride
             Tetrachloride                    EPA
                                              EPA 50308
                                                  50305   EPA 601                     ND
                                                                                      ND             ug/1
                                                                                                     ug/I               20
      1,2-Dichloroethane
      1,2-Dichloroethane                      EPA
                                              EPA 50308
                                                  50308   EPA 601                     ND
                                                                                      ND             ug/I
                                                                                                     ug/1               20
      Trichloroethene                         EPA
                                              EPA 50308
                                                  5030B       601
                                                          EPA 601                     ND
                                                                                      ND             ug/I
                                                                                                     ug/1              20
                                                                                                                       20

      1,2-Dichloropropane
      1,2-Dichloropropane                     EPA
                                              EPA 50308
                                                  5030B   EPA 601                     ND
                                                                                      ND             ug/1
                                                                                                     ug/I              20
                                                                                                                       20

      Bromodichloromethane                    EPA
                                              EPA 50308
                                                  5030B   EPA 601                     ND
                                                                                      ND             ug/1
                                                                                                     ug/I              20
                                                                                                                       20

      2-Chloroethylvinyl ether                EPA
                                              EPA 50308
                                                  5030B   EPA
                                                          EPA 601                     ND
                                                                                      ND             ug/I
                                                                                                     ug/1              100
      trans-1,3-dichloropropene               EPA 50308
                                                  5030B   EPA
                                                          EPA 601                     ND             ug/I
                                                                                                     ug/1              20

      cis-1,3-Dichloropropene
      cïs-1,3-Dichloropropene                 EPA 50308
                                                  5030B   EPA
                                                          EPA 601                     ND
                                                                                      ND             ug/I
                                                                                                     ug/1              20

      1,1,2-Trichloroethane                   EPA 50308
                                                  5030B   EPA
                                                          EPA 601                     ND
                                                                                      ND             ug/I
                                                                                                     ug/1              20

      Tetrachloroethene                       EPA 50308
                                              EPA 5030B   EPA
                                                          EPA 601                     110
                                                                                      110            ug/I
                                                                                                     ug/1              20

      Dibromochloromethane                    EPA 50308
                                              EPA 5030B   EPA
                                                          EPA 601                     ND             ug/1
                                                                                                     ug/I              20

      Chlorobenzene                           EPA 50308
                                              EPA 5030B   EPA
                                                          EPA 601                     ND             ug/I
                                                                                                     ug/1              20
                                                                                                                       20

      Bromoform                               EPA
                                              EPA 50308
                                                  5030B   EPA
                                                          EPA 601                     ND
                                                                                      ND             ug/I
                                                                                                     ug/1              40



                                                                                                       99-0415-001
                                                                                                       99-0415-001
    Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 419 of 464 Page ID
                                      #:4191               Page 3 of
                                                                  of 55

~HPOSITIVE
                                                                                 Laboratory  #:
                                                                                 Laboratory it:    1249
An POSITIVE                                                                      Date Sampled:
                                                                                       Sampled:    10-28-99

MI LAB SERVICE
•     , . LAB SERVICE
                                                                781
                                                                781 East
                                                                    East Washington Blvd.,
                                                                               (213)
                                                                               (21
                                                                                    Blvd., Los
                                                                                            Los Angeles,
                                                                                   3) 745-5312
                                                                                      745-5312
                                                                                                Angeles, CA
                                                                                                         CA 90021
                                                                                                   FAX (213)
                                                                                                   FAX
                                                                                                            90021
                                                                                                       (213) 745-6372




                                    CERTIFICATE OF
                                    CERTIFICATE OF ANALYSIS
                                                   ANALYSIS
     Chem   Pro Laboratory,
     Chern Pro  Laboratory, Inc.                                                                     11/08/99
     File# 70770
     941 West 190th St.
                                                                     Prj.# 816
     Gardena,         CA 90247
                                                                     P.O.No. FU4315WT
                                                                     P.O.No. FU4315WT
     Attn:
     Attn: Thomas
           Thomas Fukuman
                  Fukuman
     Phone; (323) 770-8515
     Phone:  (323)770-8515          Fax: (323)
                                    Fax: (323) 770-4403
     1,1,2,2-Tetrachloroethane            EPA
                                          EPA 50308
                                              5030B   EPA 601                      NO
                                                                                   ND             ug/I
                                                                                                  ug/1              20
     1,3-Dichlorobenzene
     1,3-Dichlorobenzene                  EPA 50308
                                              5030B   EPA
                                                      EPA 601                      NO
                                                                                   ND             ug/I
                                                                                                  ug/1              40

     1,4-Dichlorobenzene
     1,4-Dichlorobenzene                  EPA 50308
                                          EPA 5030B       601
                                                      EPA 601                      NO
                                                                                   ND             ug/I
                                                                                                  ug/1              40

     1,2-Dichlorobenzene
     1,2-Dichlorobenzene                  EPA 50308
                                          EPA 5030B   EPA
                                                      EPA 601                      ND
                                                                                   ND             ug/I
                                                                                                  ug/1              40

     Surrogates                           EPA 50308
                                          EPA 5030B   EPA
                                                      EPA 601                       *
     Bromochloromethane                   EPA 50308
                                          EPA 5030B   EPA
                                                      EPA 601                      96            Percent
     4-Bromofluorobenzene                 EPA 50308
                                          EPA 5030B       601
                                                      EPA 601                      100           Percent
     4-Bromochlorobenzene                 EPA 50308
                                          EPA 5030B       601
                                                      EPA 601                      97            Percent

     Sample*:
     Sample#:         99-0415-002                      Collector:                  Method:
     Received: 11/02/1999                              Sampling Date/Time:
                                                       Sampling   Date/Time:
     Type: Water

     I.D.:          Blank
             Method Blank


    Parameter                               prep/Test Method                     Result           Unit
                                                                                                 .unit     ... J~Q.t-
                                                                                                                PQL ..

     Extraction Method/Date
                Method/Date               EPA
                                          EPA 50308
                                              5030B   EPA
                                                      EPA 601                    11/03/99
     Analysis Date                        EPA 50308
                                              5030B   EPA
                                                      EPA 601                    11/03/99
     Dichlorodifluoromethane
     Dichlorodifluoromethane              EPA
                                          EPA 50308
                                              5030B   EPA
                                                      EPA 601                      NO
                                                                                   ND             ug/I
                                                                                                  ug/1               2

     Chloromethane                        EPA
                                          EPA 50308
                                              5030B   EPA
                                                      EPA 601                      ND             ug/1
                                                                                                  ug/I               1




     Vinyl chloride
     Vinyl                                EPA 50308
                                          EPA 5030B   EPA
                                                      EPA 601
                                                          601                      ND             ug/I
                                                                                                  ug/1               1



     8romomethane
     Bromomethane                         EPA 50308
                                          EPA 5030B   EPA
                                                      EPA 601
                                                          601                      ND             ugjl
                                                                                                  ug/I               1




     Chloroethane
     Chloroethane                         EPA
                                          EPA 50308
                                              5030B   EPA
                                                      EPA 601
                                                          601                      ND
                                                                                   ND             ug/1
                                                                                                  ug/I             2.5
     Trichlorofluoromethane
     Trichlorofl uoromethane              EPA
                                          EPA 50308
                                              50308   EPA
                                                      EPA 601
                                                          601                      ND
                                                                                   ND             ug/I
                                                                                                  ug/1             0.5

     1,1-Dichloroethene
     1,1-Dichloroethene                   EPA
                                          EPA 50308
                                              5030B   EPA 601                      ND
                                                                                   ND             ug/I
                                                                                                  ug/1               1



     Methylene chloride                   EPA
                                          EPA 50308
                                              5030B   EPA 601                      ND
                                                                                   ND             ug/1
                                                                                                  ug/I              55
     trans-1,2-dichloroethene             EPA
                                          EPA 50308
                                              5030B   EPA 601                      ND
                                                                                   ND             ug/I
                                                                                                  ug/1             0.5
     1,1-Dichloroethane
     1,1-Dichloroethane                   EPA
                                          EPA 50308
                                              50308   EPA
                                                      EPA 601                      ND             ug/I
                                                                                                  ug/1            0.5
                                                                                                                  0.5

     Chloroform                           EPA
                                          EPA 50308
                                              5030B   EPA
                                                      EPA 601                      ND
                                                                                   ND             ug/1
                                                                                                  ug/I            0.5

     1,1,1-Trichloroethane                   50308
                                         EPA 5030B    EPA 601                      NO
                                                                                   ND             ug/1
                                                                                                  ug/I            0.5
                                                                                                                  0.5

     Carbon
     Carbon Tetrachloride
            Tetrachloride                    50308
                                         EPA 5030B    EPA
                                                      EPA 601                      ND             ug/I
                                                                                                  ug/1            0.5

     1,2-Dichloroethane                  EPA 50308
                                             5030B    EPA
                                                      EPA 601                      ND
                                                                                   ND             ug/1
                                                                                                  ug/I            0.5

     Trichloroethene                     EPA 50308
                                         EPA          EPA 601                      NO
                                                                                   ND             ug/1
                                                                                                  ug/I            0.5
     1, 2-Dichloropropane
     1,2-Dichloropropane                 EPA 50308
                                             5030B    EPA 601                      NO
                                                                                   ND             ug/1
                                                                                                  ug/I            0.5

     Bromodichloromethane                EPA 50308
                                             5030B    EPA
                                                      EPA 601                      ND
                                                                                   ND             ug/1
                                                                                                  ug/I            0.5
                                                                                                                  0.5



                                                                                                    99-0415-002
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    Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 420 of 464 Page ID


   POSITIVE
A0 POSITIVE
      , . LAB SERVICE



     Chem Pro
     Chem   Pro Laboratory,
     File# 70770
                Laboratory, Inc.
                                      #:4192               Page 44 of
                                                           Page




                                                   CERTIFICATE
                                                   CERTIFICATE OF
                                                                   of 55




                                                               OF ANALYSIS
                                                                                         781 East
                                                                                         781 East Washington
                                                                                                     (213)
                                                                                                              Laboratory #:
                                                                                                              Laboratory
                                                                                                              Date Sampled:
                                                                                                              Date Sampled:
                                                                                                  Washington Blvd., Los
                                                                                                     (21 3) 745-5312
                                                                                                                     Los Angeles,
                                                                                                            745 -5312 FAX
                                                                                                                        FAX (213)
                                                                                                                                   1249
                                                                                                                                   10-28-99
                                                                                                                                   10 -28 -99
                                                                                                                         Angeles, CA
                                                                                                                                  CA 90021
                                                                                                                            (213) 745




                                                                                                                           11/08/99
                                                                                                                                     90021
                                                                                                                                  745-6372
                                                                                                                                      -6372




     941 West 190th St.
                                                                                                  Prj.# 816
     Gardena,         CA     90247
                                                                                                  P.O.No. FU4315WT
                                                                                                  P.O.No.
     Attn: Thomas
     Attn: Thomas Fukuman
                  Fukuman
     Phone:
     Phone: (323) 770 -8515
             {323)770-8515                          Fax: (323)
                                                    Fax: {323) 770 -4403
                                                               770-4403
     2-Chloroethylvinyl
     2- Chloroethylvinyl ether
                         ether                                  EPA
                                                                EPA 50308
                                                                    5030B       EPA
                                                                                EPA 601                       ND        ug/1
                                                                                                                        ug/I              2.5

     trans-1
     trans- 1,,3-dichloropropene
               3 -d ichl oropropene                             EPA
                                                                EPA 50308
                                                                    5030B       EPA
                                                                                EPA 601                       ND        ug/1
                                                                                                                        ug/I              0.5

     cis-1,3-Dichloropropene
     cis -1, 3- Dichloropropene                                 EPA 50308
                                                                EPA 5030B       EPA 601                       ND        ug/I
                                                                                                                        ug/1              0.5

     1, 1,2-Trichloroethane
     1,1,2  -Trichloroethane                                    EPA 50308
                                                                EPA 5030B       EPA
                                                                                EPA 601                       ND        ug/1
                                                                                                                        ug/I              0.5

     Tetrachloroethene
     Tetrachloroethene                                          EPA 50308
                                                                EPA 5030B       EPA
                                                                                EPA 601                       ND        ug/1
                                                                                                                        ug/I              0.5

     Dibromochloromethane                                       EPA 50308
                                                                EPA 5030B       EPA
                                                                                EPA 601                       ND        ug/1
                                                                                                                        ug/I              0.5

     Chlorobenzene
     Chlorobenzene                                              EPA
                                                                EPA 50308
                                                                    5030B       EPA
                                                                                EPA 601                       ND        ug/1
                                                                                                                        ug/I              0.5

     Bromoform                                                  EPA
                                                                EPA 50308
                                                                    5030B       EPA
                                                                                EPA 601                       ND        ug/1
                                                                                                                        ug/I                l

     1,1,2,2-Tetrachloroethane
     1,1,2,2- Tetrachloroethane                                 EPA
                                                                EPA 50308
                                                                    5030B       EPA 601                       ND
                                                                                                              ND        ug/I
                                                                                                                        ug/1              0.5

     1,3-Dichlorobenzene
     1,3- Dichlorobenzene                                       EPA
                                                                EPA 50308
                                                                    5030B       EPA 601                       ND
                                                                                                              ND        ug/1
                                                                                                                        ug/I
     1,4-Dichlorobenzene
     1,4- Dichlorobenzene                                      EPA
                                                               EPA 50308
                                                                   5030B            601
                                                                                EPA 601                       ND        ug/1
                                                                                                                        ug/I                1




     1,2-Dichlorobenzene
     1,2- Dichlorobenzene                                      EPA
                                                               EPA 50308
                                                                   5030B        EPA 601
                                                                                    601                       ND        ug/1
                                                                                                                        ug/I                l

     Surrogates                                                EPA
                                                               EPA 50308
                                                                   5030B        EPA 601
                                                                                    601                        *
     8romochloro methane
     Bromochloromethane                                        EPA
                                                               EPA 50308
                                                                   50308        EPA
                                                                                EPA 601                       89       Percent

     4-Bromofluorobenzene
     4- Bromofluorobenzene                                     EPA
                                                               EPA 50308
                                                                   5030B        EPA 601
                                                                                    601                       93       Percent
     4-Bromochlorobenzene
     4- Bromochlorobenzene                                     EPA
                                                               EPA 50308
                                                                   5030B        EPA 601
                                                                                    601                       74       Percent




     ND == Noi
           Not Detected
               Detected
     NA
     NA = Not
          Not .Applicable
               Applicable
     PQL =- Practical Quantitatiou Limit
            Practical Quantitation Limit
     Sub = Subcontracted analysis, original         ~nclosed
                                             reportenclosed
                                   original repon
     Any remaining sample(s) for testing
              ring sample(s)     testing will
                                         willbe
                                              be disposed
                                                 disposed of
                                                          of30            rec~ipt dale
                                                                     Irom receipt
                                                             30 days irnm         dat~ unless
                                                                                       unkss notili.:d.
                                                                                              nolilied.
                                                                                                          I
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                                                                                                                          99- 0415 -002
,•.
 Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 421 of 464 Page ID
                                   #:4193              Page 5 of 55

 ~HPOSITIVE
                                                                Laboratory #:
                                                                Laboratory    #: 1249
 An POSITIVE                                                           Sampled: 10-28-99
                                                                Date Sampled:

MI
. , . . , LAB SERVICE
              SERVICE
                                                 781 East
                                                 781      Washington Blvd., Los
                                                     East Washington
                                                             (213)
                                                             (21 3) 745-5312
                                                                            Los Angeles,
                                                                    745-5312 FAX
                                                                                 Angeles, CA
                                                                                FAX (213)
                                                                                          CA 90021
                                                                                              90021
                                                                                     (213) 745-6372


                                                                                 November 8,
                                                                                          8, 1999
                                                                                             1999


                                                    DATA
                                    QUALITY CONTROL DATA
                                               LCS
                                               LCS


 CLIENT:            Terra Vac
 FILE NO:
       NO:          72484
 REPORT NO:
 REPORT  NO:        99 0403
                    99-0403
 MATRIX:            Water
 METHOD:            EPA 601
                        601
 lAB NO:
 LAB NO:            LCS
 BATCH NO:
 BATCH  NO:         9307601
 DATE EXTRACTED:
       EXTRACTED:   11/03/99
                    11/03/99
 DATE ANALYZED:     11/03/99


                                                                                 LCS
                                                                                 LCS
                                        AMOUNT        AMOUNT                   RECOVERY
                                        SPIKED       RECOVERED                ACCEPTANCE
 PARAMETER                              (ug/1)
                                        (ug/1)        (ug/1)
                                                      (ugh)          %
                                                                     7 REG
                                                                       REC     RANGE(%)

 1,1-Dichloroethane                       30
                                          30             34
                                                         34           114          7-132
                                                                                 447-132

 Chloroform                               30             33
                                                         33           109
                                                                      109        80 123
                                                                                 80-123

 Carbon Tetrachloride                     30
                                          30             33
                                                         33           110
                                                                      110        69 131
                                                                                 69-131

 Trichloroethene                          30             34           113        71 125
                                                                                 71-125

 Tetrach1oroethene
 Tetrachloroethene                        30
                                          30             33
                                                         33           109        65-133


 Surrogates:
 Surrogates:

 Bromochloromethane                       30             27
                                                         27            91
                                                                       91        78-120

 4-Bromofluorobenzene                     30             37
                                                         37           122        64-120

 4-Bromoch1orobenzene
 4-Bromochlorobenzene                     30             29
                                                         29            98
                                                                       98        74-130




 LCS
 LCS      IABORATROY CONTROL SAMPLE
        = LABORATROY
        =

 R.P.D. - RElATIVE
 R.P.D. = RELATIVE PERCENT DIFFERENCE
 ND     = NONE DETECTED
      -Case 2:19-cv-02123-DMG-AGR
WATER TREATMENT
WATER TREATMENT
                             CHEM
                                  Document 75-1 Filed 02/09/21 Page 422 of 464
                             CHEM PRO    #:4194
                                   PRO LABORATORY,
                                        LABORATORY,        INC.
                                                            INC.
                                                                                                                                                                                            Page ID
                                                                                                                                                                                                           532.
                                                                                                                                                                                                     (310) 532    8611
                                                                                                                                                                                                               - 8611
STATE
STATE CERTIFIED LAB
                LAB                                                                                                                                                                                  (323) 770 -• 8515
                                                                                                                                                                                                                  8515
          MONITORING
POLLUTION MONITORING                                                                  CHEMICAL ENGINEERS
                                                                                               ENGINEERS                                                                                                   530.6623
                                                                                                                                                                                                     (714) 530 - 6623
WASTE WATER
WASTE  WATER ANALYSIS                           941 West 190th Street • Gardena • California 90248-4398                                                                                         FAX: (323)
                                                                                                                                                                                                     {323) 770 -• 4403




     CLIENT              Pacifica Chemical,Inc.                                                                                                         No.
                                                                                                                                             LABORATORY No.                                1445
                         132 w.
                         132 W. 132nd St
                             Angeles, CA 90061
                         Los Angeles,                                                                                                        REPORTED                     01-13-2000
                         Mukesh                                                                                                              SAMPLED                      12-21-1999
                                                     RECEIVED 12-22-1999
     DISCHARGE ADDRESS
             132 W.
                 W. 132nd St.,
                          St., Los Angeles,
                                   Angeles, CA 90061
     SAMPLE Wastewater from sample box
             Time composite 12/20 to 12/21 refrigerated @@ 34
                                                           34 F
     MARKS   Repeat for
                    for Semi-annual Report
             sampled by PH@ 2:30pm
                            2:30pm
     BASED ON SAMPLE as taken by our representative
             Results in mg/1                  noted.
                        mg/1 unless otherwise noted.                                                                                                                      REPORTING
              CONSTITUENTS                 RESULTS                                                                                     METHOD                               LIMITS

              Surfactants, (MBAS)
                           (MBAS)                                                                            3.6                    425.1                              See Page 22


             Respectfully Submitted,
             CHEM PRO LABORATORY,
                      LABORATORY, INC.
                                  INC.

              3'{?
             Thomas N.
                    N. Fukuman,
                       Fukuman,
                                    f0_ ~
             Manager,            Services
             Manager, Analytical Services

             TNF/mm
             PM256

            ChemPro
            Chem  ProLaboratory
                      LaboratoryInc:
                                   Inc: State  Certification If:
                                        StateCertification    f: 126S      Environmental Protection Agency
                                                                  126S • Environmental                  AJency (EPA)  ID If:
                                                                                                                (EPA) ID  I: CA0E213
                                                                                                                              CA00218 • Los
                                                                                                                                         Lns Angeles
                                                                                                                                              Angell'S Collllty
                                                                                                                                                        County Sanitation District
                                                                                                                                                                          District ID
                                                                                                                                                                                   1Dit:  10!12.
                                                                                                                                                                                      #:10112.
            Note: Unless
            Note: Unle58 notified             an samples
                         notified in writing, all          for Sllllitalion
                                                  samples for   Sanitation Districts   testswiD
                                                                            Districts tealll willbe
                                                                                                 bereturned
                                                                                                    returnedto
                                                                                                             tocustomer.
                                                                                                                cultomer. All
                                                                                                                          All other samples wiD
                                                                                                                              otber samples will be
                                                                                                                                                 be discarded
                                                                                                                                                    discardedby byappropriate
                                                                                                                                                                   appropriatedisposal
                                                                                                                                                                               disposalprotocol  'lO days
                                                                                                                                                                                        protocol 30  days from
                                                                                                                                                                                                           from date reported.




       All
       All reports
           reports are submttled as
                   are submitted as the
                                    the confidential
                                        contdentiat Information
                                                     information to
                                                                 to clrents  Publication lrom
                                                                    clients_ PubliCation      or regarding
                                                                                         from or regarding our reports
                                                                                                               reports $s reserved pending
                                                                                                                       1S reserved pending our
                                                                                                                                           our written
                                                                                                                                               written aoprova'
                                                                                                                                                       approva'
       Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 423 of 464 Page ID
                                                 #:4195
   Client:                 Chem
                           Chern Pro Laboratory, Inc.        Page 22 of 22
   Attn:
   A ttn:                  Tom Fukuman                       Laboratory #:
                                                             Laboratory    tl: 1445
                                                                               1445
                                                                   Sampled: 12-21-99
                                                             Date Sampled:
   Client's Project:       #831, PO#FU5620WT



   Date Received:                                          12/22/99                            Lab No:    40569-002
   Date Sampled:                                           12/21/99                            Sample ID: Pacific Chemical (1445)
                                                                                               Matrix:    Sewer Waste
                                                                                                          Sewer  Waste Water
                                                                                                                       Water




                              lysis                        Date Ait                     ft:                 MOL
   EPA 425.1 (MBAS)                                         12/22/99                    3.6'      mg/L    '0.10      10.2       NS




   NIDL
   MDL == Method
           Method Detection
                   Detection Limit
   NI) = Not
   Nil    Not Detected  (Below DLR)
              Detected (Below  DLR)
   DF == Dilution
          Dilution Factor  (DLR/MDL)
                   Facto•· (DLRIMDL)




   Reviewed/Approved By:
   Reviewed/Approved
                                                                                                                        1   /!; //ere
                                                                                                                                  8f&'
                                                                                                           Date: - - - - - " - - - ' - - - -
                                                                                                           Date:
                                                           Cheryl de los
                                                                     los Reyes
                                                           Technical
                                                           Technical Operations
                                                                      Operations Manager


 .\"~;:~nc:~::::;:~:"'''"'
.t:J       Laboratories
            Laboratories
                                                           ""
   The souci letter is an integral part of this tulalytical report.


        Advanced Technology
                                                                      1510 E.
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                                                                              33rd Street   Signal Hill, CA
                                                                                                         CA 90807     Tel: 562
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                                                                                                                                               P1:.1x: 562 989-4040
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 424 of 464 Page ID
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         EXHIBIT 15
Case
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                                     #:4197


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         Kirk M. Tracy SBN 288508 KTracy   @PaladinLaw.com
                                    KTracy@PaladinLaw.com
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                    AW GROUP®
         220 W. Gutierrez Street
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         Santa Barbara, CA  93101
                        CA 93101
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                               -9700
         Facsimile: (805)  852-2495
                     (805) 852 -2495
    5
                                   Counter- Claimant
         Counsel for Defendant and Counter-Claimant
    6    Hussain M. Shaikh
    7

    8                          UNITED STATES DISTRICT COURT
    9                         CENTRAL DISTRICT OF CALIFORNIA
                                                  CALIFORNIA
   10
         TC RICH, LLC, et al.,                          Case No.2:19
                                                        Case No. 2:19-CV-02123-DMG-AGR
                                                                     -CV- 02123 -DMG -AGR
   11

   12
                             Plaintiffs,                HUSSAIN M. SHAIKH’S
                                                                   SHAIKH'S
                                                        COUNTERCLAIM
   13           v.
                v.

   14    HUSSAIN M. SHAIKH, et al.,
   15                        Defendants.
   16

   17    HUSSAIN M. SHAIKH,
   18
                             Counter-Claimant,
                             Counter - Claimant,
   19
                v.
                v.
   20
         TC RICH, LLC; RICHARD G.
   21    FLEISCHER; and JACQUELINE
         FLEISCHER,
   22

   23
                             Counter-Defendants.
                             Counter -Defendants.

   24         Defendant and
                        and Counter
                             Counter-Claimant  Hussain M.
                                    - Claimant Hussain M.Shaikh   (“Counter-Claimant”)
                                                          Shaikh( "Counter- Claimant ")
   25   brings this Counterclaim against Plaintiffs
                                         Plaintiffs and
                                                    and Counter -Defendants TC Rich, LLC,
                                                        Counter-Defendants
   26   Richard G. Fleischer, and Jacqueline
                                  Jacqueline Fleischer  (collectively,"Counter-
                                             Fleischer (collectively,  “Counter-Defendants”)
                                                                                Defendants ")
   27   and alleges upon knowledge as to its own acts, and upon information and belief as to
   28
   28   the acts of all others, as follows:
                                                                                      EXHIBIT
                                           SHAIKH’S
                                           SHAIKH' S COUNTERCLAIM                      0015
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    1                                NATURE OF THE ACTION
    2         1.     Counter-Claimant files this Counterclaim in order to avoid or minimize
    3   its alleged liability associated with responding to environmental contamination
    4   alleged in the Complaint.
    5         2.     The area of contamination for which Counter-Complainant seeks relief
    6   includes the property located at 132 West 132nd Street, Los Angeles, (the “Property”)
    7   and areas to which the contamination has migrated outside the boundaries of the
    8   Property (the “Site”).
    9                                        PARTIES
   10                                   Counter-Claimant
   11         3.     Hussain M. Shaikh is a prior owner of the Property.
   12                                   Counter-Defendants
   13         4.     TC Rich, LLC is the current owner of the Property.
   14         5.     Richard G. Fleischer owns and controls TC Rich, LLC.
   15         6.     Jacqueline Fleischer owns and controls TC Rich, LLC.
   16                       JURISDICTION, VENUE, AND NOTICE
   17         7.     This Court has jurisdiction over the subject matter of Counter-
   18   Claimant’s First Cause of Action pursuant to section 113 of the Comprehensive
   19   Environmental Response, Compensation and Liability Act (“CERCLA”), 42 U.S.C.
   20   § 9613.
   21         8.     Venue is proper in this Court pursuant to Section CERCLA § 113(b)
   22   because the release and damage occurred in this district. 42 U.S.C. § 9613(b).
   23         9.     The state law claims alleged in this Counterclaim are related to the
   24   federal claims pursuant to 28 U.S.C. § 1367(a) and fall within the Court’s
   25   supplemental jurisdiction.
   26                                GENERAL ALLEGATIONS
   27         10.    The Site has been impacted by the presence of tetrachloroethylene
   28   (“PCE”) and other hazardous substances.
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    1          11.    On information and belief, each Counter-Defendant caused or
    2   contributed to the past or present handling, storage, treatment, transportation,
    3   generation, release, or disposal of hazardous substances, hazardous waste, and/or
    4   solid waste in the environment in, at, and around the Site, including soil, land,
    5   subsurface strata, air, vapor, groundwater, surface water, and the waters of the state
    6   of California, because each Counter-Defendant controlled and/or operated the Site
    7   from which hazardous substances, hazardous waste, and/or solid waste were released
    8   or otherwise discarded, and failed to exercise due care or to prevent or abate the
    9   hazardous substances, hazardous waste, and/or solid waste contamination.
   10          12.    On information and belief, once released into the environment, these
   11   hazardous substances, hazardous waste, and/or solid wastes have continued to spread
   12   and migrate within the environment at the Site, but Counter-Defendants failed to
   13   abate this contamination.
   14          13.    On information and belief, as a result of Counter-Defendants’ failure to
   15   abate the contamination, Counter-Claimant has incurred and will incur response costs
   16   in order to investigate and remediate the contamination.
   17          14.    On information and belief, Counter-Defendants did not make all
   18   appropriate inquiry when purchasing the Property, were not passive owners of the
   19   Property, and did not take any preventive actions or measures to avoid, prevent,
   20   reduce, or mitigate known or foreseeable releases of hazardous substances at the
   21   Property.
   22                             FIRST CAUSE OF ACTION
                               (Contribution – CERCLA § 113(f))
   23                           (Against All Counter-Defendants)
   24          15.    Counter-Claimant realleges and incorporates by reference the
   25   allegations set forth above in paragraphs 1 through 14, inclusive, as though set forth
   26   in full herein.
   27          16.    Counter-Defendants are the current owners of the Property. Counter-
   28   Defendants are thereby jointly and severally liable under section 107(a) of CERCLA
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    1   § 107(a), 42 U.S.C. § 9607(a).
    2          17.    The Site is a “facility,” as that term is defined in CERCLA § 101(9), 42
    3   U.S.C. § 9601(9).
    4          18.    Counter-Defendants are each a “person” as that term is defined in
    5   CERCLA § 101(21), 42 U.S.C. § 9601(21).
    6          19.    Counter-Defendants have alleged that a “release” or threatened release
    7   of a “hazardous substance,” as those terms are defined in CERCLA §§ 101(22), (14),
    8   42 U.S.C. §§ 9601(22), (14), has occurred at the Site.
    9          20.    Counter-Defendants are each a “covered person” under CERCLA
   10   § 107(a) each of Counter-Defendants are the current owners of the Property, within
   11   the meaning of CERCLA § 107(a)(1).
   12          21.    Pursuant to CERCLA § 113(f), Counter-Claimant is entitled to
   13   contribution from any other person who is liable or potentially liable under CERCLA
   14   for any amount that Counter-Claimant is found liable for costs incurred responding
   15   to the alleged releases or threatened releases of hazardous substances at the Site. If
   16   Counter-Claimant is in the future held liable to Counter-Defendants, then it is entitled
   17   to contribution from Counter-Defendants for some or all of any amounts for which
   18   the Estates are held liable and are required to pay.
   19          22.    Counter-Claimant gave notice of this Counterclaim to the Attorney
   20   General of the United States and the Administrator of the United States
   21   Environmental Protection Agency, as required by CERCLA § 113(l), 42 U.S.C.
   22   § 9613(l).
   23                            SECOND CAUSE OF ACTION
                            (Declaratory Relief – CERCLA § 113(g))
   24                           (Against All Counter-Defendants)
   25          23.    Counter-Claimant realleges and incorporates by reference the
   26   allegations set forth above in paragraphs 1 through 22, inclusive, as though set forth
   27   in full herein.
   28          24.    Pursuant to CERCLA § 113(f), 42 U.S.C. § 9613(f), Counter-Claimant
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    1   is entitled to contribution from any other person who is liable or potentially liable
    2   under CERCLA for any amount for which Counter-Claimant is held responsible in
    3   responding to the presence of hazardous substances at the Site, and to the actual or
    4   threatened release of such hazardous substances.
    5          25.    Accordingly, an actual legal controversy exists between Counter-
    6   Claimant, on the one hand, and Counter-Defendants, on the other hand. Counter-
    7   Claimant contends that it is entitled to indemnification and contribution based on the
    8   above-described threatened or actual liability. Counter-Claimant is informed and
    9   believes that Counter-Defendants contend otherwise.
   10          26.    Counter-Claimant desires and is entitled to a declaration of the parties’
   11   respective rights and duties pursuant to 28 U.S.C. § 2201, et seq., CERCLA § 113 (f)
   12   and (g), 42 U.S.C. § 9613 (f) and (g). No adequate or speedy remedy exists for
   13   Counter-Claimant in the absence of such a judicial declaration. Accordingly,
   14   Counter-Claimant hereby requests a declaration from the Court setting forth Counter-
   15   Claimant’s and Counter-Defendants’ liability for past, present and future response,
   16   removal and remediation costs, and other penalties and/or damages imposed on
   17   Counter-Claimant in connection with the Site.
   18                          THIRD CAUSE OF ACTION
             (Contribution Under the HSAA – Cal. Health & Saf. Code § 25363(d))
   19                        (Against All Counter-Defendants)
   20          27.    Counter-Claimant realleges and incorporates by reference the
   21   allegations set forth above in paragraphs 1 through 26, inclusive, as though set forth
   22   in full herein.
   23          28.    The California Hazardous Substance Account Act (“HSAA”),
   24   California Health & Safety Code § 25300 et seq., provides for an action by parties
   25   who have been held liable for removal or remedial action costs under the HSAA.
   26   Pursuant to the HSAA, such parties may seek contribution or indemnity for those
   27   costs from any person who is a “responsible party” under Health & Safety Code
   28   § 25323.5.
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    1          29.    Counter-Defendants are each a “person” within the meaning of HSAA,
    2   California Health & Safety Code § 25319, and a “responsible party” or “liable
    3   person” within the meaning of the HSAA, California Health & Safety Code §
    4   25323.5.
    5          30.    Counter-Defendants are liable to Counter-Claimant pursuant to
    6   California Health & Safety Code § 25363(d) in contribution or indemnity, to the
    7   extent that Counter-Claimant is are held liable or responsible for any costs pursuant
    8   to or otherwise recoverable under the HSAA.
    9          31.    Counter-Claimant gave notice of this Counterclaim to the Director of
   10   the California Department of Toxic Substances Control, as required by section
   11   25363(d) of the Health & Safety Code.
   12                            FOURTH CAUSE OF ACTION
                     (Declaratory Relief: Equitable Indemnity/Contribution)
   13                           (Against All Counter-Defendants)
   14          32.    Counter-Claimant realleges and incorporates by reference the
   15   allegations set forth above in paragraphs 1 through 31, inclusive, as though set forth
   16   in full herein.
   17          33.    An actual controversy has arisen and now exists between Counter-
   18   Claimant and Counter-Defendants in that Counter-Claimant contends, and, on
   19   information and belief, Counter-Defendants deny, the following:
   20          (a)   That,   as   between   Counter-Claimant     and   Counter Defendants,
   21          responsibility, if any, for damages arising from or relating to the alleged
   22          contamination of the Site rests entirely or partially on Counter-Defendants; and
   23          (b) That, as a result, Counter-Defendants are obligated to partially or fully
   24          indemnify Counter-Claimant for any sums that Counter-Claimant may be
   25          compelled to pay as the result of any damages, judgment, or other awards
   26          recovered against Counter-Claimant as a result of such alleged contamination.
   27          34.    Counter-Claimant desires a judicial determination of the respective
   28   rights and duties of Counter-Claimant and Counter-Defendants of the comparative
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    1   liability of Counter-Claimant and Counter-Defendants for these damages, and a
    2   declaration of Counter-Defendants’ responsibility for equitable indemnity to
    3   Counter-Claimant for any sums that Counter-Claimant may be compelled to pay and
    4   for which Counter-Defendants are determined to be responsible, entirely or in part.
    5         35.    Such a declaration is necessary and appropriate at this time so that
    6   Counter-Claimant may ascertain its rights and duties, if any, with respect to Counter-
    7   Defendants’ and other persons’ present and future claims for damages. Furthermore,
    8   Counter-Claimant’s and Counter Defendants’ claims arise out of the same transaction
    9   (i.e., the alleged contamination of the Site) and determination of both in one
   10   proceeding is necessary and appropriate in order to avoid a multiplicity of actions.
   11                                 PRAYER FOR RELIEF
   12         WHEREFORE, Counter-Claimant respectfully requests that judgment be
   13   entered in its favor for the following:
   14         1.     For contribution under CERCLA and the HSAA, according to proof;
   15         2.     For a judicial declaration under CERCLA and the HSAA that Counter-
   16   Defendants are liable for each of their equitable shares of all present and future
   17   response costs and other damages allegedly incurred in connection with the Site,
   18   according to proof;
   19         3.     For all costs of suit herein;
   20         4.     For such other and further relief as this Court deems just and proper.
   21                                    JURY TRIAL DEMAND
   22         Counter-Claimant hereby demands trial by jury of any and all issues so triable.
   23        Dated: November 27, 2019                   PALADIN LAW GROUP® LLP
   24                                             By:    /s/ Kirk M. Tracy
   25                                                   Kirk M. Tracy
                                                        Counsel for Defendant and Counter-
   26                                                   Claimant Hussain M. Shaikh
   27

   28
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                                        SHAIKH’S COUNTERCLAIM
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   From:           cacd_ecfmail@cacd.uscourts.gov
   To:             ecfnef@cacd.uscourts.gov
   Subject:        Activity in Case 2:19-cv-02123-DMG-AGR TC Rich, LLC et al v. Hussain M. Shaikh et al Answer to Complaint
                   (Attorney Civil Case Opening)
   Date:           Wednesday, November 27, 2019 12:23:54 PM




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                                 UNITED STATES DISTRICT COURT

                              CENTRAL DISTRICT OF CALIFORNIA

   Notice of Electronic Filing

   The following transaction was entered by Stone, Bret on 11/27/2019 at 10:22 AM PST and
   filed on 11/27/2019
   Case Name:           TC Rich, LLC et al v. Hussain M. Shaikh et al
   Case Number:         2:19-cv-02123-DMG-AGR
   Filer:               Hussain M Shaikh
   Document Number: 46

   Docket Text:
   ANSWER to Amended Complaint/Petition, [22] with JURY DEMAND HUSSAIN
   M. SHAIKHS, COUNTERCLAIM against Jacqueline Fleischer, Richard G
   Fleischer, TC Rich, LLC filed by Defendant Hussain M Shaikh.(Stone, Bret)


   2:19-cv-02123-DMG-AGR Notice has been electronically mailed to:

   Bret A Stone bstone@paladinlaw.com, bpaget@paladinlaw.com, cbaker@paladinlaw.com,
   chughes@paladinlaw.com, ktracy@paladinlaw.com, mmariotti@paladinlaw.com,
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   Cory T Baker    cbaker@paladinlaw.com

   John Sung Cha       jcha@raineslaw.com, cwilliams@raineslaw.com

   Kirk Matthew Tracy        ktracy@paladinlaw.com

   Mark Erik Elliott    mark.elliott@pillsburylaw.com, april.iniguez@pillsburylaw.com,
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 433 of 464 Page ID
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   stephanie.amaru@pillsburylaw.com

   2:19-cv-02123-DMG-AGR Notice has been delivered by First Class U. S. Mail or by
   other means BY THE FILER to :

   The following document(s) are associated with this transaction:

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   Original filename:C:\fakepath\2019-11-27 Shaikh Counterclaim.pdf
   Electronic document Stamp:
   [STAMP cacdStamp_ID=1020290914 [Date=11/27/2019] [FileNumber=28847026-
   0] [2f656d90b1814f489b820bba760919e0a1dd7cb8571a44e6deb650956a2af03c22
   936d49edefbb901208278d9ce1f67539f1d483e5e9678e4c2b1f2e97676a28]]
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         EXHIBIT 16
      Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 435 of 464 Page ID
                                          #:4207
                        COUNTY SANITATION DISTRICTS OF LOS ANGELES COUNTY
                                              JAMES F. STAHL - Chief Engineer and General Manager
                                                1955 Workman Mill Road - Whittier, CA 90601-1400
                                                     P.G. Box 4998 - Whittier, CA 90607-4998                              r                       r
                                                 Telephone: (562) 899 -7411 - Fax (562) 692 -5103

                                                   DISCHARGER IDENTIFICATION QUESTIONNAIRE                            "        iltAY6AL,s--
                                                                                                                                         '




SECTION A
1.    Legal Business Name(s):             C f Ì(L                                                Permit No(s):

2.    Fictitious Name /DBA:

3.    Situs Address:          3rC                                                                    s           C4
4.    Mailing Address:             5Api C
5.    Business Phone:     (,fia D)   bÇ      e..    d t?    Fax: (3 /o )CGS/
6.    Property Owner(s) of Situs: /7Us>A I 7-)                  álierA 11
7.    Address(es) of Property Owners: 915- c_              0144/69/1          414 L.1

SECTION B
8.    Please circle the appropriate item (a -f) which best describes your organization and provide the applicable requested information:

      a. Corporation:
                 (1)     State(s) of incorporation:         CAL,
                 (2)     Year(s) of incorporation:         Oc -r        l    7e.
                 (3)     Corporate ID number(s):                   C f p 005't
                 (4)     Please attach a copy of the Statement of Officers filed with the Secretary of State.

      b. Division, Operational Group, or Subsidiary (0 wholly -owned,                 direct,     indirect):
                 (1)     State(s) of incorporation of Parent Co.: 1Ll4
                 (2)     Year(s) of incorporation of Parent Co.: l
                 (3)     Corporate ID number(s) of Parent Co.:                            4
                 (4)     Please attach a copy of the Statement of Officers of Parent Company filed with the Secretary of State.

      c. General Partnership:
                 (1)     List the General Partners:                  /1-7/)/9
                 (2)     Please attach a copy of the certified statement of partnership filed pursuant to Corporations Code §16105.

      d. Limited Partnership:
                (1)    Please attach a copy of the Certificate of Limited Partnership prepared in accordance with Corporations Code
                       §1621(a)(1) -(5), and any amendments filed pursuant to §15622 within the last five (5) years.

      e. Limited Liability Company:
                  (1)    Please attach a copy of the current list of members prepared pursuant to Corporations Code §17058(a)(1).

      f.   Sole Proprietor:
                  (1)    Owner's Name:                                                                                                        -
                  (2)    Owner's home address:
                  (3)    Business Fictitious Name and County it is registered in:


 9.   When did your company begin operations at this situs?           .1 ,   L" v /

                                                                                                                      DE      2 - Z004
                                                                                       EXHIBIT                                 ,,
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                                                                                                                         :
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SECTION B (Continued)
10.   Was this location previously occupied prior to your operations?               eft    Yes            No

       If yes, please answer a through c:
       a.    Name of previous company:           /IA )4/WV[Y "/ Aal rte iC
                                                   /''1                                                   _z-C
       b.    Name(s) of previous owners /operators:    /Y /, /-4A?IC.
       c.    Address of previous owner:         /o 05" F 4,47? -c4 13LtìD
                                                                                          Col ast -'      r `Y o7
SECTION C
      The Sanitation Districts' Wastewater Ordinance specifies in Section 401 that the Industrial Wastewater Discharge Permit is not
transferable. Each permittee shall immediately notify the Districts in writing of any change in name or legal capacity (business
ownership).

11.    Since the last permit approval has your company undergone any of the following? Please check the appropriate box and
       indicate the dates for (a) or (b):

       a.       Change in name, Date:                Alt,
       b.       Change in legal capacity (ownership),       Date:            NO
       c. a. No change

12.     If you checked either 11 a or 11b, please indicate if appropriate documents were filed with the Secretary of State.

        a.      Yes,     Date:
        b.      No

        If you checked 12a, please attach copies of the appropriate documents provided to you by the Secretary of State.

13.     Is the present operation an acquisition of the previous business?                  Yes X No
        If yes, did you acquire:                Assets              Liabilities            % of Stock

        Explain briefly, if needed:



14.     Name(s) and title(s) of person(s) in charge of the industrial wastewater discharge:

                             NJ        S                                           rnlrr
SECTION D
Must be signed by a company official (i.e., President, Vice President, Controller, Corporate Secretary, etc.)

I represent and warrant that the above information is true and correct.

Print your      me and title:

Signature:                v.LC`uv .     `\,.
Date:                  cJolo 71,
Address           15' fl 57              .
                                                .11472=Sr A au                              CARS o*                   `10 764 6

  FOR DISTRICTS' USE ONLY

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                 Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 437 of 464 Page ID                            1


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        r;LiFORNIA CORPORATE DISCLOII.URE:                                                                                        CT (Corporatioris Code section 1502)
           El Check here if the corporation is pubi                                                                               y traded. if publicly traded, complete this form am I the Corporate Disclosure Stalernen
               PTSUPP). See Item 2 of Instructiont
     i.:0 CHANGE STATEMENT
               If there has been no chançle ir any                                                                               f the information contairied in the last Statement )1' Information filed with the Secretan
               including ahy information coital led ill                                                                          'orm SI-PTSUPP, if applicable, check the box and voceed to Item 16.
               If there have been any change:: to ti                                                                              information contained in either form, or no Statern,Int of Information has been previous: í flic
               form (and Form SI-PTSUPP, if rublic                                                                               traded) must be completqd in its entirety.                       .


     'XIMPLETE ADDRESSES FOR THE FOLI., WING (Do not abbreviat the name of the city. Items 4 and 5 cannot be P.O. Boxes.)
               STREET ADDRESS OF PRINCIPAL EX ECU rIVE                                                                           "ICE                                                 CITY AND STATE                                                                                       ZIP CO(
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               STREET ADDRESS OF PRINCIPAL BUSINE:SS
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             AMES AND COMPLETE ADDRESS ES (1 THE FOLLOWING OFFICERS (The' corporation must have these three officers. ) con) i.                                                                                                                                                                             G...

             , the specific officer may be added; lime% er, tl-E preprinted titles on this form mutt not be altered.)
               CHIEF EXECUTIVE OFFICER/                                                                       ADC f              iss                                                  CI I Y AND STATE                                                                                     Z CO[
              //í-c" r)
               SECRETARY/
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               CHIEF FINANCIAL OFFICER/                                                                       ADC f :SS                                                               CITY AND STATE                                                                                       ZIP C01 U
     ! V3,,S4 /11                           .             SNAll-41,_22:
                                                                 LAI                                 4...-                                                Ag                                                             24 1i-sly-I
     IAMES AND COMPLETE ADDRESSES C I ALL DIRECTORS, INCLUDING DIRECTORS WHO ARE ALSO OFFICERS (The o poi
             lust have at least one director. Attach add tiona                                                                   ages, if necessary.)
               NAME                                                                                                               SS                                                  CITY AND STATE                                                                                       ZIP COU F
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         ;   r.). NAME                                                                                         IA                                                                     CITY AND STATE                                                                                       ZIP C(5( F


             1. NAME                                                                                          ADC I               ;SS                                                 CITY AND STATE                                                                                       ZIP CO/.


               NUMBER OF VACANCIES ON THE BOARD OF C I ECTORS. IF ANY:
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t                                                                    OFPROCES:; (If                                               agent is an individual, the 'agent inust.reside in Cal/fa-di and Item 14 mustba completed with                                                                            co:
     .,ddress. If the agent is another Corporatic:n, (hi                                                                         igent must have on file w th the California Secretaiii'i,f State a certificate purivant to Corpor
I      ection                                            f                                                                                                                                                                                              .               .


4            I. NAME OF AGENT FOR SERVICE OF PROCESS


         , 4 . ADDRESS OF AGENT FOR SERVE OF FOCE I 3 IN CALIFORMIÁ,IF Ft.N IND VIDUAL,                                                                                               CITY                                           STATE                                                 ZIP COI .r'
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Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 438 of 464 Page ID




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Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 439 of 464 Page ID
                                  #:4211




         EXHIBIT 17
      Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 440 of 464 Page ID
                                        #:4212

                                  COUNTY OF
                                  COUNTY OF LOS ANGELES
                                                ANGELES
                                   DEPARTMENT OF
                                   DEPARTMENT OF PUBLIC
                                                 PUBLIC WORKS
                                           900 S
                                           900 S FREMONT AVENUE
                                           ALHAMBRA,CA
                                           ALHAMBRA,  CA91803  -1331
                                                         91803-1331
                                           T
                                           TELEPHONE: (626)458 -5100
                                            ELEPHONE:(626)458-5100

                       NOTICE OF NON - COMPLIANCE
                       NOTICEOF NON—COMPLIANCE



        Date      slap  ID
                  51 3(3 IDa                                             File No.
                                                                         File No.            i

        To MAO
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               54AtK4-t                                              Permit No.
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                 Failure    legally abandon
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                 Failure to pay
                 Failure to      the Annual
                            pay the           Industrial Waste
                                       Annual Industrial         Inspection Fee.
                                                           Waste Inspection    Fee.
                 Other
                 Other




        You are
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            questions regarding  this matter,
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        Very truly
        Very truly yours,
                   yours,

       JAMES A NOYES,
       JAMES      NOYES,                                          County, Department
                                                              L A County, Department ofof Public Works
                of Public
       Director of Public Works
                                                              Environmental Programs Division
                                                              Palos Verdes-Centinela
                                                              Palos Verdes -Centinela Valley District
       BY                                                     24320
                                                              24320 South Narbonne
                                                                           Narbonne Avenue
              ste Control Engineering Inspector               Lomita, CA 90717
                                                              Lomita,          -1194
                                                                         90717-1194
             nvironmental Programs
                          Programs Division




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  Case
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         2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 441 of 464 Page ID
                                      #:4213
                     LOS ANGELES COUNTY DEPARTMENT OF PUBLIC WORKS
                         ANGELES COUNTY                             WORKS
PUB                          ENVIRONMENTAL PROGRAMS        DIVISION
                                             PROGRAMS DIVISION
ervice



                                                NOTICE OF VIOLATION
                                                        AND
                                                 ORDER TO COMPLY

    Date:
    Date:               033
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   To:
   To:                                                                         Permit No.:
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   Site Name:
        Name:                                                               Violation No.:
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        Address:
   Site Address:
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   You are
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                                       the following              of[[41Cos
                                           following violation(s) of         Angeles County Code,
                                                                      41-Cos Angeles        Code,
              ] City of
   Title 20[[ ]      of       Cc-vi.-
                              cafs071)                           Municipal Code/Ordinance
                                                                           Code/Ordinance
          conditions and limitations
   and/or conditions     limitations of
                                     of Industrial Waste
                                                   Waste Disposal Permit No.
                                                         Disposal Permit No.


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    If you have any
       you have any questions
                    questions regarding this matter,
                                             matter, please contact                   W4A---445- /)#'i
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    Very truly yours,
               yours,

    JAMES A. A. NOYES
                NOYES
    Director of
    Director of Public
                Public Works
                       Works                                     Address all correspondence to:




    By: c2441-1-4(
    By:                                                                 D EPARTMENT OF
                                                                        DEPARTMENT   OF PUBLIC
                                                                                        PUBLIC WORKS
       Environmental Programs
                     Programs Division
                              Division                                  ENVIRONMENTAL PROGRAMS
                                                                                        PROGRAMS DIVISION
                                                                        24320
                                                                        24320 S.
                                                                              S. NARBONNE AVE
    D Joe/NVOC frm
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                                                                        LOMITA CA 90717-1194
    Revised 11/13/02
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                                                INDUSTRIAL
                                                INDUSTRIAL 4JASTE  DISPOSAL PERMIT
                                                            WASTE DISPOSAL  PERMIT
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                                                        #:4214

                                        LOS
                                        LOS ANGELES  COUNTY DEPARTMENT
                                             ANGELES COUNTY  DEPARTMENT OF
                                                                         OF PUBLIC
                                                                             PUBLIC WORKS
                                                                                    WORKS                                                 PERMIT N0: 000016768
                                                                                                                                          PERMIT NO: 000016768     ,
                                        ENVIRONMENTAL PROGRAMS
                                                        PROGRAMS DIVISION
                                                                  DIVISION                                                           EFFECTIVE
                                                                                                                                     EFFECTIVE DATE: 01/26/05
                                        P.
                                        P. 0.  BOX 1460
                                            O. BOX 1460                                                                             EXPIRATION DATE:
                                                                                                                                    EXPIRATION DATE:
                                        ALHAMBRA,  CA 91802
                                        ALHAMBRA, CA   91802-1460  TEL: (626)
                                                            -1460 TEL:  (626) 458
                                                                               458-3517
                                                                                  -3517




    PERMISSION IS HEREBY
    PERMISSION IS HEREBY GRANTED
                         GRANTED TO:
                                  T0:
                 PACIFICA
                 PACIFICA CHEMICAL          UNIT A
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                 935 E ARTESIA  BLVD                                                       935 EE ARTESIA
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                                                                                                                                      ««< FACILITY    ADDRESS
                 CARSON, CA
                          CA 90746
                             90746                                                         MUKESH  DOSHI, CONTROLLER
                                                                                           MUKESH DOSHI,   CONTROLLER                 ««<   PRIMARY CONTACT
                                                                                                                                      ««< PRIMARY    CONTACT
                                                                                           (310)  464-8900
                                                                                           (310) 464 -8900                            ««<CONTACT
                                                                                                                                      ««<   CONTACT PHONE
                                                                                                                                                     PHONE
    TO
    TO TREAT/STORE/DISPOSE
       TREAT /STORE /DISPOSEINDUSTRIAL
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                 CITY OF  CARSON                          I ««<   AREA/CITY
                                                            ««< AREA  /CITY           I    ARTICLE VIII, CHAPTER
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                   CONSTITUENTS:
                   CONSTITUENTS:    COD, TSS
                                    COD, TSS
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                 DISCHARGE TIME:    FROM 08.00.00 TOTO 17.00.00
                                                       17.00.00 DISCHARGE
                                                                    DISCHARGE DAYS: M T W W TH
                                                                                            TH FF
                   AVERAGE FLOW:
                   AVERAGE FLOW:         340
                                          340 GAL
                                              GAL PER DAY                PEAK  FLOW:
                                                                         PEAK FLOW:          11 GAL PER MIN
                                                                                                GAL PER MIN
                       FACILITY:
                       FACILITY:    RECEPTOR  ONLY (STD
                                    RECEPTOR ONLY  (5TD II-1,
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                      SPEC INFO: SAMPLE
                      SPEC INFO:            BOX LOCATED
                                    SAMPLE BOX           NEXT TO
                                                LOCATED NEXT  TO THE
                                                                   THE LIQUID
                                                                       LIQUID CHEMICAL
                                                                               CHEMICAL STORAGE
                                                                                         STORAGE AREA
                                                                                                  AREA
    THIS CERTIFICATE IS
    THIS CERTIFICATE IS SUBJECT
                        SUBJECT TO THE FOLLOWING
                                TO THE FOLLOWING CONDITIONS:
                                                 CONDITIONS:
       JJ  JOINT
           JOINT PERMIT
                  PERMIT COVER LETTER                                                     Al
                                                                                          Al   COND && LIM,
                                                                                               COND    LIM, PUBLIC  SEWER
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                                       WITH THIS
                                            THIS PERMIT
                                                 PERMIT AND
                                                        AND ANY
                                                             ANY PLANS
                                                                 PLANS REFERENCED
                                                                        REFERENCED HEREIN
                                                                                    HEREIN ARE
                                                                                             ARE MADE
                                                                                                  MADE PART
                                                                                                        PART OF
                                                                                                              OF THIS
                                                                                                                  THIS PERMIT.
                                                                                                                        PERMIT.
    THE
    THE INDUSTRIAL WASTE CONTROL
        INDUSTRIAL WASTE  CONTROL ENGINEERING
                                  ENGINEERING INSPECTOR
                                              INSPECTOR IN
                                                        IN YOUR
                                                            YOUR AREA
                                                                 AREA WILL
                                                                       WILL EXPLAIN
                                                                             EXPLAIN THE
                                                                                      THE PERMIT
                                                                                           PERMIT CONDITIONS,
                                                                                                   CONDITIONS, ANDAND MAKE
                                                                                                                       MAKE PERIODIC
                                                                                                                             PERIODIC
    INSPECTIONS DF
    INSPECTIONS OF YOUR
                   YOUR OPERATIONS.  THIS PERMIT
                         OPERATIONS. THIS PERMIT IS
                                                 IS SUBJECT
                                                    SUBJECT TO
                                                             TD ANNUAL
                                                                ANNUAL INDUSTRIAL
                                                                        INDUSTRIAL WASTE
                                                                                    WASTE INSPECTION
                                                                                            INSPECTION FEES.
                                                                                                         FEES.


    GAIL FARBER
    GAIL FARBER
    DIRECTOR OF PUBLIC WORKS


    BY:
    BY:                      v
                             v ~
           tNV1RUNMtNIAL PRUGRALDIVISION
                                                                           DATE
                                                                           DATE OF
                                                                                OF ISSUANCE: 12/01/14
                                                                                             12/01/14                        38-003
                                                                                                                             38 -003 DPW
                                                                                                                                     DPW 12/86
                                                                                                                                         12/86




    LOS
    LOS ANGELES
         ANGELES COUNTY
                 COUNTY DEPARTMENT OF~F PUBLIC
                                        PUBLIC WORKS
                                               WORKS                  INDUSTRIAL
                                                                      INDUSTRIAL WASTE
                                                                                 WASTE DISPOSAL PERMIT                                    PERMIT
                                                                                                                                          PERMIT N0:
                                                                                                                                                 NO: 000016768
    ENVIRONMENTAL PROGRAMS DIVISION                                                                                                  EFFECTIVE
                                                                                                                                     EFFECTIVE DATE: 01/26/05
    P. 0.  BOX 1460
        0. BOX 1460                                                                                                                 EXPIRATION DATE:
                                                                                                                                    EXPIRATION DATE:
    ALHAMBRA, CA
    ALHAMBRA,  CA 91802
                   91802-1460 TEL: (626)
                        -1460 TEL: (626)458
                                          458-3511
                                             -3517

    PERMISSION
    PERMISSION IS HEREBY
                  HEREBY GRANTED TO:
                                 T0:
                 PACIFICA CHEMICAL          UNIT AA           «  CERTIFICATE HOLDER
                                                              « CERTIFICATE  HOLDER        008379
                                                                                           008379 037519 2222                          ««<   FILENUMBER
                                                                                                                                       ««< FILE    NUMBER/AREA
                                                                                                                                                         /AREA
                 935
                 935 EE ARTESIA BLVD
                                BLVD                                                       935
                                                                                           935 E ARTESIA BLVD
                                                                                                           BLVD                        ««<   FACILITY ADDRESS
                                                                                                                                       ««< FACILITY    ADDRESS
                 CARSON, CA
                          CA 90746                                                         MUKESH DOSHI,
                                                                                           MUKESH  DOSHI, CONTROLLER
                                                                                                           CONTROLLER                  ««<   PRIMARY CONTACT
                                                                                                                                       ««< PRIMARY    CONTACT
                                                                                           (310)  464-8900
                                                                                           (310) 464 -8900                             ««<   CONTACT PHONE
                                                                                                                                       ««< CONTACT    PHONE
    TO
    TO TREAT/STORE/DISPOSE
       TREAT /STORE /DISPOSEINDUSTRIAL
                              INDUSTRIALWASTE
                                         WASTEMATERIALS
                                               MATERIALSLOCATED
                                                         LOCATED AT
                                                                  AT THE
                                                                      THE FACILITY
                                                                           FACILITY INDICATED
                                                                                    INDICATED ABOVE, UNDER THE SANITARY SEWER AND
                                                                                                                              AND INDUSTRIAL
                                                                                                                                  INDUSTRIAL
    WASTE ORDINANCE FOR:
    WASTE ORDINANCE FOR:
                 CITY  OF CARSON
                 CITY OF  CARSON                          I ««<   AREA/CITY
                                                            ««< AREA  /CITY           I    ARTICLE VIII,
                                                                                           ARTICLE VIII, CHAPTER
                                                                                                           CHAPTER 55                  ««<   ORCINANCE/MUN
                                                                                                                                       ««< ORDINANCE        CODE
                                                                                                                                                      /MUN CODE
                 JOINT  PERMIT WW/CSDLAC
                 JOINT PERMIT    /CSDLAC                    ««<
                                                            ««< JURISDICTION
                                                                  JURISDICTION        I    NON-METALS
                                                                                           NON- METALS WITH
                                                                                                        WITH CHEMICAL
                                                                                                             CHEMICAL WASTES, NO
                                                                                                                              NO       ««<
                                                                                                                                       ««< INDUSTRY
                                                                                                                                             INDUSTRY
                                                                        POST THIS AT
                                                                        POST THIS AT YOUR
                                                                                     YOUR LOCATION
          i-~'
      PUBLIC WORKS




           ~~~-                                PERMIT/CERTIFICATE
                                               PERMIT/CERTIFICATE
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             ~~              COUNTY OF LOS
                             COUNTY    LOS ANGELES DEPARTMENT OF PUBLIC WORKS
                                           ANGELES DEPARTMENT                                              p~
                                                                                                           Al
~ueuc             s
                                                          Environmental
                                                          Environmental Programs
                                                                        ProgramsDivision
                                                                                 Division
                                                                  P.O. Box
                                                                  P.O. Box 1460
                                                                            1460
                                                            Alhambra,  CA 91802146
                                                            Alhambra, CA   91802-14600


                    INDUSTRIAL
                    INDi1STR1 AL WASTE DISPOSAL
                                       DISPOSALPERMIT CONDITIONSAND
                                                PERMITCONDITIONS    LIMITATIONS
                                                                 ANDLIMITATIONS

PART A: ON-SITE  DISPOSAL —- PUBLIC SEWER
        ON -SITE DISPOSAL           SEWER

     1. Disposal
     1. Disposalofofindustrial
                     industrial wastewater
                                wastewater toto the
                                                the.public           sewer shall be limited
                                                            sanitary sewer
                                                    .public sanitary                limited to
                                                                                            to the
                                                                                                theflow
                                                                                                    flow
        indicated
        indicated on
                  on the
                      theindustrial                  permit.
                          industrial waste disposal permit.
                                     waste disposal

     2. Pretreatment,
        Pretrea#ment,monitoring
                       monitoringand
                                  andcontrol
                                      controlfacilities
                                             facilities required under this permit shall
                                                        required under             shall consist
                                                                                         consist of
                                                                                                 of the
        systems) indicated
        systems)   indicatedon
                            onthe
                               theapproved
                                   approved plans.
                                             plans.

     3. Industrial
     3.  IndustrialWastewater
                     Wastewatershall
                                  shallatatall
                                            all times
                                                 times meet
                                                       meetthe    effluent quality, indicated
                                                              theeffluent           indicated on
                                                                                              on the attached
         Part D,
         Part D,ifif applicable prior to
                                      to discharge
                                         discharge to    the sanitary
                                                      to the          sewer system.
                                                             sanitarysewer   system.

     4. IfI# applicable,
     4.      applicable,the
                         thepërmittee
                             permittee~shall
                                         shallsubmit
                                               submitperiodic    compliance reports, as indicated on the
                                                       periodic compliance
         attached
         attachedPartPartEEand/ar
                           and /or any
                                    anyself  -monitoring
                                          self-monitor ing or
                                                           or industrial  wastewater treatment surcharge
                                                               industrial wastewater              surcharge
          reports which
         reports   which.may
                         maybeberequired
                                 requiredby   theCounty
                                           bythe                      Districts
                                                          Sanitation Districts
                                                  CountySanitation              of Los
                                                                                   Los Angeles
                                                                                       Angeles County. Note:
                                                                                                       Note:
          Self - monitoring
         Self-monit          reports required
                      oring reports  required by the
                                                   the Sanitation Districts
                                                                     Districts are
                                                                                are to    submitted
                                                                                       be submitted
                                                                                    to be           directly
                                                                                                    directly
              the Sanitation
         to the   Sanitation Districts.
                              Districts.

     5. All
     5. All required
             requiredindustrial
                      industrial. wastewater collection, pretreatment,
                                  wastewater collection,               monitoring, disposal and sampling
                                                         pretreatment, monitoring,
        facilities must
        facilities must be
                         be installed in accordance       approved
                                         accordance with approved
                                                     with           plans       to initiating
                                                                          prior to            any discharge
                                                                                   initiatingany  discharge
            the sewer.
        to the  sewer.

     6. Dilution
     6. Dilution prohibited  as substitute
                  prohibited as                 treatment. Except where
                                substitute for treatment.                    expressly authorized
                                                                    where expressly     authorized to
                                                                                                    to do so by
                                                                                                       do so
                                                      Requirement,
                        Pretreatment Standard or Requirement,
        an applicable Pretreatment                                   no  Industrial  User  shall ever
                                                                                                 ever  increase
                                                                                                       increase
        the use
        the  useofofprocess
                     processwater,
                              water,ororininany
                                             anyother
                                                  otherway
                                                        wayattempt
                                                              attempt to          á Discharge
                                                                       to' dilute a Discharge asas aapartial
                                                                                                      partial or
        complete substitute
        complete    substitute for adequate treatment
                                                 treatment to
                                                            to achieve     compliance with
                                                                achieve compliance       with aa Pretreatment
                                                                                                 Pretreatment
        Standard or
        Standard    orRequirement.
                       Requirement.The TheControl
                                             Control Authority
                                                     Authority may impose mass
                                                                may  impose    mass   limitations
                                                                                      limitations on Industriall
                                                                                                  on~lndustria
        Users
         Userswhich
                which are
                       areusing
                           using dilution  to meet applicable
                                 dilution to                                   Standards or
                                                               Pretreatmentt Standards
                                                    applicable Pretreatmen                or Requirements,
                                                                                             Requiremen   ts,or
        in other
        in other cases
                  caseswhere
                         wherethe
                                theimposition
                                     impositionof ofmass
                                                     masslimitations      appropriate..40
                                                           limitations is appropriate    40 CFR
                                                                                            CFR 403.6(d)
                                                                                                  403.6(d)




 EPAW1 -PartAA On-site
 EPAW1-Part                              sewer04/0210&
                        disposal -publicsewer
               On -site disposal-public        04/02/08
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                                  #:4216



   COUNTY OF
   COUNTY     LOSANGELES
           OFLOS ANGELES DEPARTMENT OF PUBLIC
                         DEPARTMENT OF        WORKS
                                       PUBLIC WORKS
              WASTE
   INDUSTRIAL WASTE
   INDUSTRIAL       DISPOSAL PERMIT                                                         A2
                                                                                            ~


   PART A:
   PART A: ON
           ON-SITE  DISPOSAL —- PUBLIC SEWER(CONTINUED)
              -SITE DISPOSAL                (CONTINUED)


   6.
   6.        Discharge of
             Discharge   of any toxic,
                                toxic, flammable,
                                       flammable, explosive, corrosive,radioactive
                                                  explosive,corrosive,              ornon
                                                                        radioactiveor  non--
             biodegradable substance
             biodegradable    substance to the sanitary sewer is   prohibited except  as provided
                                                                is prohibited except as provided
                Part A.3
             in Part      above.
                     A.3above.

    7.
    7.       Discharge of uncontaminated cooling water,
                                                    wafer, groundwater,         water or
                                                            groundwater, storm water     surface
                                                                                      or surface
             drainage water
             drainage   water to
                               to the
                                   the sanitary
                                        sanitary sewer
                                                  sewer isisprohibited
                                                              prohibited except
                                                                          except as  specifically
                                                                                  asspecifically
                           this permit.
             authorized by this permit.
             authorized by

    8.
    8.       .Discharge of industrial wastewater to the sanitary sewer
             :Discharge                                          sewer with temperatures
                                                                       with temperatures
                        140° F is
              exceeding 140°
              exceeding            prohibited.
                                is prohibited.

    9.
    9.                                                                       Limitations attached:
                    This permit is subjected to additional Conditions and Limitations    attached:
                    Part B -—Wastes
                    Part      WastesNotNotAuthorized
                                           Authorized for  Discharge or
                                                       for Discharge                in Pact
                                                                       or Deposits in       A
                                                                                       Pali A
                    Part C  — General  Conditions
                    Part - General Conditions      and  Limitations
                    Part D —
                    Part    - Effluent Quality Limitations
                              Effluent Quality
                    Part                       and Reporting
                           -- Self -monitoringand
                    Part E --Self-monitoring                   (if applicable)
                                                    Reporting(if   applicable)


    110.
      C. ~    Other:
              Other:
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   COUNTY OF LOS ANGELES DEPARTMENT OF PUBLIC WORKS
   INDUSTRIAL WASTE DISPOSAL PERMIT
   INDUSTRIAL                                                                                          B1
                                                                                                       B1          F
                                                                                                                   ~:


   PART B:
   PART B: WASTES
           WASTESNOT
                  NOTAUTHORIZED
                     AUTHORIZEDFOR DISCHARGE OR
                                FORDISCHARGE    DEPOSITIN
                                             OR DEPOSIT    PART A
                                                        1N PART

    1.         Industrial wastes not
               Industrial         not specifically
                                       specifically authorized
                                                     authorized for foron  -site pretreatment,
                                                                         on-site                storage,
                                                                                  pretreatment, storage,
               deposit, discharge or disposal in Part A of this permit shall be stored in leakproof
               containers within
               containers  within an area designated
                                            designated on plans approved                  Department of
                                                                      approved by the Department
               Public Works
                      Works bending                     legal point
                                                 to aa legal
                                      transport to
                             pendingtransport                 point of  disposal.
                                                                     of disposal.

    2.
    2.         The Permittee shall determine
                                     determine if industrial
                                                   industrial wastes stored pursuant        Part B.1
                                                                               pursuant to Part   B.1
               above are hazardous
               above        hazardous wastes as defined
                                                    defined in
                                                             in the
                                                                 the California
                                                                      California Health   and Safety
                                                                                  Health and   Safety
               Code, Chapter
               Code,  Chapter 6.5
                               6.5and
                                   and as
                                       asdetermined
                                          determined by byCalifornia  AdministrativeCode,
                                                           California Administrative  Code,Title  22,
                                                                                             Title22,
                        4, Chapter
               Division 4, Chapter 30
                                   30 and shall  manage    such  wastes  as prescribed  therein.
                                           shall manage such wastes as prescribed therein.

    3.
    3.          Hazardous wastes
                Hazardous  wastes shall
                                    shall only bebe removed
                                                     removed from the    premises under
                                                                    the premises             Uniform
                                                                                   under aa Uniform
                Hazardous Waste
                Hazardous  Waste Manifest              variance from such  documentation   has
                                  Manifest unless a variance from such documentation has been
                                             unless  a                                          been
                granted by the
                granted    the California
                                California EPA
                                            EPA Department
                                                   Department ofof Toxic  Substances Control (Cal
                                                                   Toxic Substances     Control  (Cal
                EPA). Generator
                EPA).              copies of
                        Generator copies    of the
                                                the Uniform
                                                     Uniform Hazardous
                                                              Hazardous Waste
                                                                          Waste Manifest           be
                                                                                            shall be
                                                                                  Manifest shall
                maintained
                maintained by the Permittee
                                   Permittee   for not
                                                   not less
                                                       less than three  years
                                                                       years  or
                                                                              or as
                                                                                 as directed
                                                                                    directed  by
                                                                                              by  Cal
                                                                                                  Cal
                EPA.
                EPA.

    4.
    4.          The Permittee
                     Permittee shall
                               shall maintain
                                      maintain records
                                                  records of ofthe
                                                                the sources,   quantity,name
                                                                     sources,quantity,   nameand      address
                                                                                                 and address
                of hauler,
                   hauler, date
                           date hauled,
                                 hauled, and
                                           and point
                                                  pointof oflegal                  nonhazardous      industrial
                                                              legaldisposal for nonhazardous industrial
                                                                     disposal  for
                wastes and wastes
                             wastes granted
                                      granted aa Cal
                                                   Cal EPAEPA variance
                                                                variance as   described in
                                                                           as described      Part B.3
                                                                                          in Part       above.
                                                                                                   B.3 above.
                Such records
                      records shall
                              shall be
                                     be kept
                                         kept aa minimum
                                                  minimum of                        legalpoint
                                                               ofi three years. AAlegal   pointof
                                                                                                ofdisposal    i~
                                                                                                    disposal is
                defined as one for
                                for which
                                    which waste
                                            waste     discharge     requirements   have  been   prescribed
                                                                                                prescribed byby
                a California Regional Water Quality Control Board     Board and
                                                                             and which     in full compliance
                                                                                  which is in
                therewith or a facility
                therewith       facility authorized
                                          authorized to receive
                                                             receive such
                                                                       such wastes
                                                                              wastes byby the   jurisdictions)
                                                                                           thejurisdiction(s)
                regulating the facility and is
                regulating                    is in
                                                  in full                      all permits,   regulations
                                                      fullcompliance with all permits, regulations and
                                                           compliance     with                             ar:~
                requirements.
                requirements.

    5.
    5.          Discharge of
                           of industrial
                               industrial wastewater
                                          wastewater toto aachannel,  stormdrain,stream,
                                                             channel,stormdrain,  stream,river,   lal;~.
                                                                                          river,lake.
                ocean or other
                ocean     other surface
                                   surface waters
                                            waters isisprohibited   unless
                                                        prohibited unless  authorized
                                                                           authorized  by a  National
                                                                                              Naiicr~a" :
                Pollutant Discharge Elimination     System(NPDES)
                                       Elimination System               permit issued
                                                              (NPDES) permit                Califarr,~a
                                                                               issued by a California
                Regional Water
                Regional  Water Quality
                                    Quality Control
                                            Control Board
                                                      Board or the
                                                                 the U.S.
                                                                      U.S.Environmental    Protect+c~~:
                                                                           Environmental Protecticr
                Agency (EPA).
                /agency (EPA).

   6.
   6.          The Permittee
                     Permi±tee shall
                                 shall immediately
                                        immediately notify
                                                       notify the County
                                                                  County of   Los Angeles
                                                                           of Los   Angeles Department       ~~`
                                                                                              Departure;-~t of
               Public Works (LACDPW)
                                (LACDPW) at    at(626)
                                                  (626)458                      Publicly Owned    Treatmert
                                                              -3517 and the Publicly Owned Treatment
                                                         458-3517    and  the
               Works(POD)
               Works      (POTW) of  of all
                                        all discharges
                                            discharges thatthat could
                                                                 could cause
                                                                        cause problems
                                                                                  problems to to the POPC'r;r.'
                                                                                                            ;r:~
               including
               i~tci~cir~;~ slug
                            slug   loading,
                                  ioadii~g:   s~i41s;
                                               spills, bypasses,
                                                       bypasses,    upsets,
                                                                    upsets,    etc.
                                                                               etc.    A follow  -up
                                                                                          follow-up    ~~~::e;;
                                                                                                       written
               notification describing
                             ~escribir~g the
                                          tk~e discharge
                                               ~iscl~~~-ge is required
                                                               required to be
                                                                           be submitted     within 55 days
                                                                                submi~ed within       c~ys ofo
               the incident.
                    incident.

    7.
    7.         The
               Ehe Permittee
                    Pei-~i~ittee shall
                                 snail confor
                                        car~foi7m
                                                ~-~ to the
                                                        the discharge
                                                             discharge prohibitions
                                                                       ~rohiGiiions outlined
                                                                                    outlined in   40CFr
                                                                                              in 40CFR
                     (a) (1)
               403.5(a)  (1) and 40CFR      4Q3.5 (b).
                                  ~OC~P.403.5       (b).

    D:fW/PERA~ITFOR!~5S!B1      Re:~isedo!07
    D: INN/PERM I7 FO R M S/B 1 R ev i s ed ô!0 7
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                                  #:4218


COUNTY
COUNTY OFOF LOS
            LOS ANGELES
                ANGELES DEPARTMENT OF PUBLIC WORKS
                        DEPARTMENT OF        WORKS
                                                                                                            Cl
                                                                                                            ~~
INDUSTRIAL
INDUST RIAL WASTE
            WASTEDISPOSAL   PERMIT
                   DISPOSAL PERMIT


PART C GENERAL  CONDITIQNS AND
        GENERALCONDITIONS      LIMITATIONS
                           AND LIMITATIONS

1. AAcopy
1.    copyofofthis
               thispermit
                    permitshall                  the premises
                                   maintained on the
                                be maintained
                          shall be                   premises where
                                                              whereititwili
                                                                       will be availableatstall
                                                                             beavailable    all times  to
                                                                                                 times to
    operating   personnel
    operating personnel

2. Industrial
2. Industri al waste
               waste pretreatment,          and disposal operatio
                                    storage and
                      pretreatment, storage              operations
                                                                  ns shall be
                                                                           be conducted
                                                                              conducted in  such aa
                                                                                         in such
   manner
   manner that
             that no nuisances are
                  no nuisances      created
                                are created

3. The
3.  Thepermittee
        permitteeshall
                   shallallow                   of interest
                                representatives of
                         allowrepresentatives      interested  governmental
                                                            ed governm                 concerned with
                                                                             agencies concerned
                                                                       ental agencies
    the disposal
    the disposal of
                  of industrial
                      industrial waste access
                                        access at any     reasonable
                                                     any reasonable   time
                                                                      time to take
                                                                               fake samples,
                                                                                     samples ,inspect
                                                                                               inspect
    operations
    operati ons and
                and review
                     review any
                             any records
                                  records required  by this permit
                                          required by       permit

4. The
4.  Thepermittee
         permitteeshall
                    shallsecure    written approval
                          secure written                        Department
                                            approval from this Departm         before making
                                                                           ent before           any additions
                                                                                       making any   additions
    or modifications
       modifications which   may affect
                      which may    affect the
                                          the quantity,
                                               quantity,quality,  or method of
                                                         quality, or          of disposal    industriall waste
                                                                                          of industria
                                                                                 disposal of
    materials.
    materials. Requests
               Requestsor     plans for
                           or plans                 or modifications
                                         additions or
                                     for additions     modificationsto   industrial waste
                                                                      to industrial       treatmentfacilities
                                                                                    wastetreatment
                of disposal of
     or method of             of disposal shall be submitte
                                                     submitted   for approva
                                                               d for approval { to the Department
                                                                                       Departm   ent of
                                                                                                     of Public
                                                                                                         Public
    Works,
    Works,Environmental                    Division, PO Box 1460,
                              Programs Division,
            Environmental Programs                                    Alhambra,CA
                                                               X460, Alhambra,         91802--1460.
                                                                                   CA 91802    1460..

5. This
5.  Thispermit
         permitisissubject
                    subjecttoto suspension     revocation
                                            or revocati
                                suspension or              if conditio
                                                        on if conditions
                                                                       ns exist which would justify denial of
                                                                          exist which                      of
                   permittee fails to correct unsatisfactory
    a permit, ifif permittee                                    conditions,
                                              unsatisfactory conditio    ns, if any
                                                                                any of
                                                                                    ofthe
                                                                                       theConditions
                                                                                           Conditio  ns and
    Limitations
    Limitations ofofthis
                     thispermit
                          permithave
                                 have been
                                      been violated or if
                                           violated or if Annual  Industrial
                                                                  Industria l Waste
                                                                              Waste Inspection
                                                                                    Inspecti    Fees where
                                                                                             on Fees
    required are
    required  are not    paid within 90 days from date of notification.
                    not paid                                notification.

6. The
6. TheDirector
         Directorof
                  ofPublic
                      Public Works
                              Works may    modify this permit by addition,
                                     may modify                  additior, revision,    elimination of
                                                                                     orelimination
                                                                            revision,or
    conditions
    conditio ns and
                and limitations
                     limitations as
                                 as may
                                    maybebe necessary     accomplish
                                                       to accompl
                                            necessary to          ish the purpose
                                                                           purpose of ordinances and
                                                                                    ofordinances
    laws covering disposal
                   disposal ofof waste materials.
                                 waste materials.

                                                and location named thereon and is not transfer
                               for the facility and                                           transferable.
                                                                                                        able.In
                                                                                                              In the
7. The
7.  Thepermit
        permitisisvalid
                    validonly
                         onlyfor
                                                                       industriall waste facilities
                                                                  the industria
                                         ip, name or control of the                                          to
                                                                                                      subjectt   this
                                                                                           facilities subject o this
    event of
    event                      ownership,
          of any change of ownersh
    permit,                                the Director of
                                                         of Public
                                                            Public Works prior
                                                                             prior to the effective
                                                                                           effective date   of
                                                                                                       date of such
    permit, the permittee
                 permittee shall notify the
    change. Permittee                        the succeeding    owner
                                                  succeeding owner      or operator
                                                                           operato  r of this
                                                                                         this permit   by providing
                                                                                                          providin  g
    change.   Permitteeshall
                          shall also
                                also notify
                                      notify the
                                        as well
                                letter, as                         (cc) the Director
                                            well as carbon copy (cc)                    of  Public   Works.
                                                                                                     Works.  A  new
    a copy of
            of this
               this permit
                     permit by
                             by letter,
    owner
    owner shall
            shall make                  for
                          application for
                  make application          an  Industrial
                                                Industria l Waste  Disposal    Permit within 30      days from the
                                                                                                 30 days
    date of
         of assuming
             assuming control
                         control of  any facility subject
                                  of any                            permit.
                                                   subject to this permit.

                                                   abandoned.
               subject to this permit shall not be abandon
   Facilitiess subject                                         Cancellation
                                                           ed. Cancella tion of
                                                                             of this permit may only be
                                                                                     permit may
8. Facilitie
8.
   authorized
   authorized pursuant                                            20.36.20.
                 pursuant to Los Angeles County Code Section 20.36.220.




EPA1C'I-Part   GENERAL CONDITIONS
EPA1C1 -PariCCGENERAL                 LIMITATIONS 03/19/08
                                  AND LIMITATIONS
                       CONDITIONS:JdD             03/19/08
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 447 of 464 Page ID
                                  #:4219




     COUNTY
     COUNTY OF
             OFLOS          DEPARTMENTOF
                   ANGELESDEPARTMENT
                LOSANGELES              OFPUBLIC  WORKS
                                           PUBLIC WORKS
                            5AL PERMI T                                                            D7
                                                                                                   D9
     INDUSTRIAL
     INDUS      WASTE DiSP0
          TRIAL WASTE DISPOSAL  PERMIT


     PART
     PP.RTD:
           D:EFFLUENT  QUALITYLIMITATIONS
              EFFLUENTQUALITY                JOINTT OUTFALL
                               LIMITATIONS --JOIN           PERMIT
                                                    OUTFACE PERMIT

                                                             PHASE I CONTR OL PER10
                                                                     CONTROL  PERIODD
                         CONSTITUE►~TS
                         CONSTITUENTS                             LOCAL   EFFLUENT
                                                                  LOCAL EFFLUENT
                                                                     LIMITS,mg/LI`
                                                                   • LIMITS, mglL*
                                                                                                        i


                Arsenic
                Arsenic                                                       3
                                                                              3

                Cadmium
                Cadmium                                                       15
                                                                              15

                Chromium (Total
                Chromium (Total                ~                              10
                                                                              10

                 Copper                                                       15
                                                                              15

                 Cyanide (Total)
                 Cyanide (Total)                                              10
                                                                              10

                 Dissolved Sulfides
                 Dissolved Sulfides                ~                          0.1
                                                                              0.1


                 Lead
                 Lead                      ~                                  40
                                                                              40

                  Mercury                                                 S 2
                                                                          ~ 2

                  Nickel
                  Nickel                                                      12
                                                                              12


                  pH Range                                          Never
                                                                    Neverlower  than 8
                                                                          lowerthan  6

                  Silver                                                       S
                                                                               5


                  Zinc                                                         25
                                                                               25

                                 & Grease
                  Floatablee Oil 8~
                  Floatabl                                              None
                                                                        None visible

                  Temperature                                                 140°F
                                                                              140°F
                  Temperature

       Total
       TotalIdentifiable
             Identifiable Chlorinated        arbonsr"
                                      Hydrocarbons**
                          Chlorinated Hydroc                                        Essentially
                                                                                    Essenti ally
                                                                                    None
                                                                                    None
       ~'        Maximum
                 Ma~dm               rat~on at
                             concentration
                        um canceni              any time
                                             at any
       'H'       Total Identifi able Chlorin ated Hydrocarbons
                 Total Identifiable Chlorinated Hydroc         (TICH) compri
                                                         arbons(fICH)        se:
                                                                      comprise:

                 Aldrin and Diefdrin;
                        and Dieldrin;
                 Endrin and Toxaph
                             Toxapheneena
                 Chlordane
                 Chlord     (cis &trans
                        ane(as   & trans),   trans-nonachlor,
                                          ), trans-nona chlor, oxychlordane, heptachlor,
                                                               oxychlordane, heptachlor,
                 and heptachlor
                 and             epoxide
                     heptachlor epoxide
                      and derivat
                           derivatives:   p,p', and
                                   ives: p,p',      o, p'
                                                and o, p' isomers
                                                          isomersof
                                                                  ofDDT,        and DDE
                                                                          DDD, and
                                                                    DDT,DDD,
                 DDT and
                 HCH:sumsum of  a, R,
                             ofa,           isomerss of hexach
                                   ß, y, b5 isomer             lorocyclohexane
                                                        hexachiorocyclohexane
                         orinated bipheny
                 Polychlorinated
                 Polychl           biphenyisis (PCB's
                                                (PCB's))


        D:IPERMI
        D:IPERMnFORMSID7 7 U2ev.D41071D2
                 T~ORMSID112ev.04107102
     Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 448 of 464 Page ID
                                       #:4220


                                                ANGELES
                                  COUNTY OF LOS ANGELES
                                                  PUBLIC WORKS
                                    DEPARTMENT OF PUBLIC
                                       "To Enrich
                                       "To Enrich Lives
                                                  Lives Through Effective and
                                                        Through Effective and Caring Service"
                                                                                     Service"

                                                   00 SOUTH
                                                  900
                                                  9   SOUTH FREMONT AVENUE AVENUE
                                                ALHAMBRA, CALIFORNIA
                                                ALHAMBRA,                    91803-1331
                                                              CALIFORNIA 91803    -1331
DONALD L.
       L. WOLFE,
          WOLFE,Director                              Telephone:
                                                      Telephone: (626)458-5100
                                                                 (626) 458 -5100
                                                      http://dpw.lacounty.gov
                                                      http://dpw.lacounty.gov                   ADDRESS ALL
                                                                                                ADDRESS ALL CORRESPONDENCE
                                                                                                            CORRESPONDENCETO:   TO:
                                                                                                          P.O. BOX 1460
                                                                                                                   1460
                                                                                                 ALHAMBRA, CALIFORNIA 91802
                                                                                                 ALHAMBRA,              91802-1460
                                                                                                                             -1460


                                                                                                    IIN
                                                                                                      N REPLY
                                                                                                        REPLYPLEAS
                                                                                                              PLEASfC-p p
                                                                                                    REFER   TOFILE:
                                                                                                     REFER TO  FILE: L-
                                                                                                                     L-   -1
                                                                                                  0008379-037519
                                                                                                    08379-03751 9



         Mr. Hussain Shaikh
         Pacific Chemical
         Pacific
         935 East Artesia Boulevard
         935
         Carson, CA 90746
         Carson,     90746

         Dear: Mr. Shaikh
         Dear:

         TRANSMITTAL OF APPROVED PLANS (A560883)
                                          (A560883)
         FACILITY LOCATED AT 935 EAST ARTESIA
                                      ARTESIA BOULEVARD,
                                               BOULEVARD, CARSON (22)
                                                                 (22)

         Enclosed
         Enclosed are
                   are two
                        two sets
                            sets of
                                 of approved
                                       approved industrial
                                                 industrial waste
                                                            wastedisposal
                                                                   disposal plans.
                                                                             plans. The plans must be
         presented to
         presented  to the local building
                                 building official when filing for any
                                                                    any building
                                                                        building or
                                                                                  or plumbing
                                                                                      plumbing permits
                                                                                                permits
         which
         which may bebe required
                         required ifif new
                                       new construction
                                            construction or
                                                          or plumbing
                                                              plumbing changes
                                                                       changes areare indicated
                                                                                       indicated on
                                                                                                 on the
                                                                                                     the
         plans.
         plans.

         One
         One set of these
                    these plans should be retained by your firm as
                                                                as a permanent
                                                                     permanent record.
                                                                                record.

        If you
       If  you have
                have any
                      any questions,
                           questions, please
                                      please contact   Mr. Rogelio
                                              contact Mr.            Gamino of
                                                           Rogelio Gamino   of this
                                                                               this office
                                                                                    office at
                                                                                           at
       (626)458-3571,
       (626)  458 -3571, Monday
                         Monday through
                                 through Thursday, 7
                                                   7 a.m.
                                                     a.m. to 5:30
                                                             5:30 p.m.
                                                                  p.m.

        Very truly yours,
                   yours,

        DONALD L. WOLFE
        Director of Public Works
                           Works



        TIM SMITH
        Senior Civil Engineer
        Senior
        Environmental Programs Division

        RG:my
        PAseclShaikh C560887
        P:\sec\Shaikh


        Enc.
        Enc.


                 ,ß'1Z
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 449 of 464 Page ID
                                  #:4221




               V=fCñ
                                                             COUNTY SANITATION DISTRICTS
                                                                               DISTRICTS
                  -"Ar     1EN                                                            OF LOS ANGELES COUNTY
                                                                                                                 STEPHEN R MAGUIN
                                                                                                                STEPHEN       MAGUIN
                                                                                                         Engineer and
                                                                                                   Chief Engineer and General
                                                                                                                      General Manager
                                                                                                                              Manager
     11955
       955 ',N4irhman
            WOIkrnan Mill Road
                           Road
      VVhittrer CA
     Whittier   CA 90601-1400
                     90601-1400
      Marring Address-
      Mailing  Address P 00 Box
                             Box4998.
                                 4998,Vvhrtfier.
                                        \Aff- ther.CA. 90807 4998
                                                   CA 90607-4996
      Tclaph0ne (582)
    'Telephone     (562) 899,
                         859-/411
                             -411 Fax
                                   Fax (562)
                                        (562l908-4224
                                                 908-4224                                      March
                                                                                               M arch 10,
                                                                                                       10, 2008
    wVJw    lacsd pr
    vraxaN lacsd  orgJ                                                                         Facility ID:208271
                                                                                                        ID:208271 II

          Frank Chin
          Los Angeles County Department of
                                        of Public Works
                                                  Works
             0, Box 1460
          P. 0.     1460
          Alhambra_
          A          CA 91802-1460
            lhambra. CA 91802 -1460


               Mr. Chin:
          Dear Mr. Chin:


                                               IIndustrial                             No. 016768
                                                 ndustrial Wastewater Discharge Permit No.
                                                                     Pacifica Chemical Inc.
                                                                                       Inc.
                                                                    935 E. Artesia Boulevard
                                                                    935
                                                                       Carson_ CA
                                                                       Carson.  CA 90746
                                                                                   90746


                     Enclosed are
                     Enclosed   are approved
                                    approved plans
                                                 plans and copies ofof the approved Industrial Wastewater
                                                                                                    Wastewater
          Discharge Permit for the subject company. This     This permit
                                                                   permit application
                                                                           application was
                                                                                        was submitted
                                                                                              submitted in in accordance
                                                                                                              accordance
          with Ordinance requirements. The    The approved
                                                   approved permit
                                                               permit consists
                                                                      consists of
                                                                                ofthe
                                                                                   the approved
                                                                                        approved permit
                                                                                                     permit application
                                                                                                             application
          and plans,
          and  plans. this approval letter.
                                      letter, the Industrial Wastewater
                                                              Wastewater Discharge
                                                                            Discharge Permit
                                                                                        Permit Requirement
                                                                                                  Requirement listlist and
                                                                                                                       and
          the Industrial Wastewater
                          Wastewater Discharge
                                        Discharge Permit
                                                     Permit Data
                                                              Data Sheet.
                                                                   Sheet.Please
                                                                           Please review
                                                                                   review these
                                                                                            theseforforcompliance
                                                                                                        compliancewith with
          your requirements,
                requirements, and retain the copies you require for your files. The     The applicant's
                                                                                              applicant's copy
                                                                                                            copy of
                                                                                                                  ofthe
          approved plans and Industrial Wastewater
                                             Wastewater Discharge
                                                            Discharge Permit,
                                                                        Permit,along
                                                                                 along with
                                                                                        with aa copy
                                                                                                copy ofofthis
                                                                                                          thisletter
                                                                                                                letterand
                                                                                                                       and
          requirement llist.  should be forwarded
                         ist, should      forwarded toto the
                                                          the applicant.
                                                              applicant. AA copy ofof this letter is forwarded to the
          applicant as notification ofofthe
                                         the Districts'
                                              Districts' permit
                                                         permit requirements,
                                                                 requirements,which
                                                                                  which are
                                                                                         are in
                                                                                              in force
                                                                                                  forcefrom
                                                                                                        from the
                                                                                                               thecurrent
                                                                                                                    current
          date. Ban),
                 If anyadditional
                        additionalpermit
                                    permitrequirements
                                             requirementsare areissued
                                                                 issuedtotothe
                                                                            theapplicant
                                                                                applicantby byyour
                                                                                                youragency,
                                                                                                      agency,copies
                                                                                                                copies
          should be forwarded to the the Districts
                                          Districts for
                                                    for our
                                                        our records.
                                                             records.

                     Approval
                     A pproval of
                                of the permit
                                       permit isis subject to
                                                           to compliance
                                                              compliance with
                                                                            with all
                                                                                 al l applicable
                                                                                      applicable Ordinance
                                                                                                   Ordinance
            requirements. upon any'
          requirements.          any corrections shown in red on the  the drawings_
                                                                          drawings. andand upon the items indicated
                                                                                                              indicated
          on the attached requirement
          on                requirement list.    Failure to
                                          list. Failure  to comply
                                                             comply with
                                                                     with all
                                                                           all items onon the requirement list.
                                                                                                            l ist.
           iincluding
             ncluding the deadline for submittal of of approvable plans.
                                                                    plans. invalidates this
                                                                                         this approval
                                                                                              approval and
                                                                                                        and issuance.
                                                                                                              issuance.
          IInvalidation  of this permit will result in the permittee
             nvalidation of                                  permittee being
                                                                       being deemed to be   be operating
                                                                                               operating without
                                                                                                          without aa
            valid
          val            and subject to immediate discontinuance of
               id permit and                                           of sewer services for for industrial
                                                                                                 industrial operations.
                                                                                                            operations.
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 450 of 464 Page ID
                                  #:4222




     Frank Chin
     Frank                                                   -2-
                                                             -2-                                              10, 2008
                                                                                                        March |0.2O08


                 If
                 I f you
                     you have
                          have any
                               any questions
                                   questions concerning these  rcquircnlents. please
                                                         these requirements.  please call                or
                                                                                     cal l Shannon Grund o|
     [he
     t he I)istricts
          Districts'  Industrial
                       IndustrialWaste
                                  Waste Section
                                        Section at
                                                at extension 2913,
                                                             2013.


                                                                        Very truly
                                                                             truly yours.
                                                                                   yours.

                                                                        StephenR.
                                                                        Stephen R. Maguin
                                                                                   Nxgoin

                                                                                           -(21(. ¿`
                                                                                   f~
                                                                                        0
                                                                                        01+11_ur_.

                                                                                   Wienke
                                                                        Suzanne S. \Vienke
                                                                                    Civil Engineer
                                                                        Supervising Civil Engineer

     cc:
     cc:   Mr. Hussain
               Hussain Shaikh
                        Shaikh
           President
           President
           Po'iúcoChumicu|
           Paeilica Chemical Inc.
                              Inc.
           93]C.
           935 E. Artesia U|,d.
                  Artesia Blvd.
                    CA 90746
           Carson, CA  90746
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 451 of 464 Page ID
                                  #:4223



                                                                                                                    INDUSTRIAL WASTE SECTION
                                                                                                                    INDUSTRIAL
                                                                                                                            1|955
                                                                                                                              955 Workman
                                                                                                                                   Workman Mill
                                                                                                                                              Mill Road
                                                                                                                                                    Road
SANITATIONDISTIO
SANITATION uT*7n/rrS .`FLOS     ANGELES
                      (),I1 I os; ANGELESCOUNTY
                                          COUNTY
                                                                                                                                    Whinier,
                                                                                                                                    W hinier, C[ \9Ooo|
                                                                                                                                                   90601
                                                                                                                                                    1998
                                                                                                                                                    l»»S
                                                                                                                              Vhimc,C
                                                                                                                              W hithcr.          :-4998
                                                                                                                           (562)   699-741 1
                                                                                                                             (562)699-7*||          2900
                                                                                                                                                    2900
                                                                                                                                 FAX:(562)
                                                                                                                                        (562) 908-4224

                                           IINDUSTRIAL WASTEWA1'ER DISCHARGE PERMIT
                                             NDUSTRIAL WASTEWATER            PERMIT
                                                        REQUIREMENT LIST


The approval and     and issuance
                         issuance of  ofthis
                                          this permit
                                               permitisis being
                                                             being made
                                                                   made conditionaUv
                                                                            conditionally andand subject to Pacifica Chemical Inc.      Inc.
being in compliance with     with all
                                    al lindicated
                                         indicateditems
                                                    itemson   onthis
                                                                 thislist
                                                                       listand
                                                                            andaccompanying
                                                                                  accompanyingdata    data sheet.
                                                                                                            sheet. Satisfactory
                                                                                                                      Satisfactoryevidence
                                                                                                                                    evidence
 o[ compliance with
of                    with these
                            these conditions
                                   conditions should
                                                  should be  be supplied to the Districts
                                                                                    Districts where
                                                                                                where requested.
                                                                                                         requested. Satisfactory
                                                                                                                        Satisfactory
 evidence wi
evidence     willl l consist of
                              ofua minimum
                                    minimum ofofwritten
                                                    writtennotification
                                                                notificationsigned
                                                                                signedbybyaaresponsible
                                                                                               responsible company
                                                                                                               company official,
                                                                                                                            official,and
                                                                                                                                      and in
                                                                                                                                           in
 some    cases     may
some cases may involve   involve   the
                                  the     submission
                                        submission    a  of  additional
                                                            additional    drovinasnnd
                                                                         drawings    and  dota,
                                                                                          data,    or
                                                                                                   or  verification
                                                                                                       verification    by a Districts
 representative. FailUre
representative.                 to comply
                       Failure to   comply with all  al l items
                                                           items on
                                                                  on the
                                                                     the rcqu!rement
                                                                           requirement list.
                                                                                          l ist. including
                                                                                                 including allal l deadlines
                                                                                                                    deadlines specified,
                                                                                                                               specified,
iinvalidates   this approval
   nvalidates this     approval andand issuance.
                                          issuance.Invalidation
                                                      Invalidation of   v[this
                                                                           this permit
                                                                                 permit will
                                                                                        wi l lresult
                                                                                               resultininPacifica
                                                                                                           PacificaChemical
                                                                                                                       ChemicalInc.Inc.being
                                                                                                                                        being
 deemed to
deemed     to be
              beoperatina
                      operating without
                                 without aa valid permit and    and subject to immediate discontinuance
                                                                                                  discontinuance of    olsewer
                                                                                                                          sewer services
                                                                                                                                 services for
                                                                                                                                            for
 industrial
 i ndustrial operations.
             operations.

FACILITY NAME
         NAME                             Pacifica Chemical Inc.
                                                            Inc.
FACILITY ID                               20827111
                                          208271
PERMIT NUMBER
PERMIT NUMBER                             016768
                                          016768
DATE
D     OF APPROVAL
  ATE OF                                  March 10,
                                          March |0.20U8
                                                    2008
DATE
D     Ó[EXPIRATION
  ATE OF EXPIRATION                             09.2O|3
                                          March 09; 2013

     Approval SIU (Rev
 I. Approval
 I.                  (Rev 01-01-2007)
                          01-01-2007)
This Industrial
       Industrial Wastewulcr
                  Wastewater Discharge          is issued
                               Discharge Permit is  issuedonly
                                                           only for
                                                                 for the
                                                                     the discharge
                                                                          dischargeof
                                                                                    oftreated
                                                                                       trcatctlwastewater
                                                                                                  waslcwatcrfrom
                                                                                                             lroni the
                                                                                                                   he
operations llisted
operations          as"outgoing-
              isted as "outgoing- in Section   of the
                                     Section 3 or            Data Sheet. This Permit will expire as sliosvii in Section
                                                  the Permit Data   Sheet.   This Permit  wi l l expire as shown  in Section
22 or the Permit
          Permit Data
                  Data Sheet.
                        Sheet.

2. Local Limits
2.                  (Rev 01-01-2007)
           Limits (Rev    01-01-2007)
Numerical
N umerical limits
             l imits have
                     have been    establishedby
                           been established      bythe
                                                     theDistricts
                                                         Districtsfor
                                                                    horthc/umpcmWo.
                                                                       the temperature,pU,      pH,fluohpoin\,
                                                                                                      iflashpoint, and
                                                                                                                   and maximum
                                                                                                                         maximum
concentrationsof
concentrations     o[heavy    metalsand
                      heavy metals    andother
                                             othertoxic
                                                    toxicmaterials
                                                          materialspermissible
                                                                       permissible   in inanan    inJuar|u|dischurgcm/hcpuNic
                                                                                              industrial   discharge to the public
sewers. The limits
sewers.         limits are
                       are those   shown in Section
                            those shown        Section 66 or
                                                           of the Permit Data       Sheet with
                                                                            Data Sheet        with the    designationor
                                                                                                     the designation    of Local
                                                                                                                           Local in the
 Regulation column,
Regulation     column. InIn addition,
                             addition,applicable
                                       applicable state    and federal
                                                     state and   federal lim
                                                                          limits   are shown
                                                                               its are    shown in  in Section
                                                                                                       Section66o[the
                                                                                                                 of the Permit Data
                                                                                                                          Permit   Data
Sheet with the
Sheet        the rcspcc        designations or
                         i ve designations
                  respective                      Stateand
                                               al State  andFederal
                                                               FederalininthetheRegulation
                                                                                  Regulationcolumn.column. The
                                                                                                             The permittee
                                                                                                                   pcnniucc is advised
that any discharge
          discharge in excess
                         excess ofof the
                                     the llimits
                                           imits shown
                                                  shown inin Sect  ion 6
                                                             Section   b of
                                                                         of the
                                                                              the Permit
                                                                                   Permit DataData Sheet
                                                                                                      Sheet requires corrective
                                                                                                                       corrective action
                                                                                                                                    action
by      discharger. Penalties
b y the discharger.    Penaltiesapplicable
                                   applicabletotoviolations
                                                   violations ofo(these
                                                                   these llimits
                                                                           imits will
                                                                                   wi l l he
                                                                                           he strictly
                                                                                              strictlyenforced
                                                                                                         enforced by
                                                                                                                   hy the
                                                                                                                       the Districts.
                                                                                                                            Districts.

    SoapCOD-BOD7
J. Soap
3.          COD-BOD7 Ratio Ratio(Rev
                                 (Rev02-28-2008)
                                       0Z'Z8'ZOV8)
There shall be no no discharge
                      discharge olj
                                 of wastewater
                                    wastewater streams
                                                streamsinin which
                                                            which hoth
                                                                   hoth the
                                                                        the COD/130D7
                                                                            COD/I30D7 ratio
                                                                                        ratio exceeds
                                                                                              exceeds l0.O
                                                                                                        10.0 and
                                                                                                             and the COD
                                                                                                                      COD
exceeds1 .10
exceeds    |.|0kgikLâof   anhydrous
                 kgikk.g of anhydrousproduct.
                                        product.The
                                                  Thepermitlec
                                                       permitteeshall
                                                                 shallprovide
                                                                       provideaa one-time
                                                                                 one-time certification of
                                                                                                        ofcompliance
                                                                                                           compliance
with this requirement ni(hin
                          within 30
                                 30days
                                     days of
                                          ofpermit
                                             permitissuance.
                                                     issuance. The
                                                               The terni
                                                                    term Anhydrous
                                                                          Anhydrous Product
                                                                                     Product shall mean    the theoretical
                                                                                                     mean the  theoretical
         if all
product if  al l water
                 water were
                        were removed
                              removed from the
                                             the actual
                                                 actual product.
                                                        product.
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                                  #:4224




4.    5n4Q(Rev
4. SEVIR       (Rev 01-01-2007)
                     0\'V|'2V07)
SeIfiionitoring ofofthe
Self-monitoring           theindustrial
                                industrialwastewater
                                              wastewatermust  must bc
                                                                    be performed
                                                                        performed at  at the intervals indicated in in Section
                                                                                                                       Section 55 ofthe
                                                                                                                                      ohhc
Permit Data
Permit      1)ataSheet
                  Sheerandandreported
                                  reportedononthe theSelf-Monitoring
                                                      Self-MonitoringReport  Kep"Ó(8Wk)
                                                                                   (SMR) form.hrm. The
                                                                                                     The Districts
                                                                                                           Districts will
                                                                                                                      wi l l send
the necessaty
      necessaiy SMR forms before each         each reporting period. All    All indicated
                                                                                 indicated analyses
                                                                                             analyses mug
                                                                                                        mustbe beperformed
                                                                                                                  performed by   by aa State
                                                                                                                                        State or
                                                                                                                                               or
Districts' certified laboratory. The
Districts'                                The certification
                                                certification section
                                                                 sechon "[ofthe
                                                                              the3K1R
                                                                                   SMR form must must be
                                                                                                       he coiipIetecl
                                                                                                          completed auJ and signed
                                                                                                                               signed by by aa
responsible company
                 company official.
                              official. ForForeach
                                                eachreporting
                                                      reportingperiod,
                                                                    period,the
                                                                             thecompleted
                                                                                  completedSKXKSMR form and  and the
                                                                                                                  the corresponding
                                                                                                                      corresponding
laboratory report must he submitted submitted to the Districts'
                                                          Districts' Industrial
                                                                       Industrial \Vaste
                                                                                    Waste Section no later than the due    ducdote
                                                                                                                                date indicated
                                                                                                                                       indicated
on the form. The   The wastewater
                         wastewater samples
                                         samples analyzed
                                                    analyzed must must be
                                                                        be collected
                                                                            collected inin such a way
                                                                                                    way that
                                                                                                         that they
                                                                                                               they arc
                                                                                                                    are representative of     of the
mm| discharge
total    discharge generated
                     generated by   by aa typical
                                          typical day's
                                                    day's operations. Each Each representative
                                                                                  representative sample (composite and/or grab)       grab)
should be  he collected over one 24-hour period     period andand analyzed
                                                                   analyzed forfor all
                                                                                   all parameters
                                                                                       parameters in in Section
                                                                                                        Section 5.5. All representative
samples must meet   meet all
                           al l applicable
                                applicable limits.
                                               limits. It isis the pcnni||ce'y
                                                                   permittee'sresponsibility'
                                                                                  responsibi l ity uz submit results from any additional
                                                                                                   to submit                         additional
x6f-mnnimring. and
self-monitoring,      and N  to notify
                                  notify the
                                          the Districts
                                               Districts ofof any
                                                               any other toxic materials,
                                                                                  materials, which are known to be present in          in the
«.asv:na\cr.
   ,astewater If the the permittee is subject to EPA Categorical Pretreatment Standards,       Standards,violations
                                                                                                             violations ofofeffluent
                                                                                                                              effluent
ut,:goricu|
     ; _,oricallimitations
                limitationsmust  mustbe be reported
                                            reported toto the
                                                           the Districts
                                                                Districts within
                                                                           within 2424 hours
                                                                                        hours of
                                                                                               of the
                                                                                                  the discharger
                                                                                                       discharger becoming
                                                                                                                    becoming aware of      of the
  m|uúoxzt(5h2)69v'74|L
  a dabon at (562) 699-741extension  1, extension  2Y07.
                                                     2907.Additional
                                                               Additionalsampling
                                                                            samplingand  andanalysis
                                                                                              analysismust
                                                                                                         musthe beconducted
                                                                                                                   conducted for all  al l
otxgoricu\ parameters
c.cegorical      parameters in   in violation.
                                    violation. TheThe results
                                                        results ofofthe
                                                                     the repeat
                                                                         repeat analysis
                                                                                  analysis must
                                                                                             must be submitted      within 30
                                                                                                       submitted within       30 days
                                                                                                                                  days ofof
hcconi
becoming   i ngaware
                aware ofof the violation
                                 violation.
5. Records Retention (Rev 01-01-2007)
5.                           0\'0\'IOV7)
lh permittee shal
The           shalll maintain records of
                                      of all
                                         al l information resulting from any
                                                                         any monitoring
                                                                               monitoring activities
                                                                                           activities required
                                                                                                      required hyhy 40
                                                                                                                     40
CFR 403.12,
CFR  40312, including
             including sellmoiiítoring
                        self-monitoringreports
                                         reportsarid
                                                  and baseline
                                                      baseline nionilorinf
                                                                monitoring reports.
                                                                            reports. Such
                                                                                      Suchrecords
                                                                                           recordsshall
                                                                                                    shal l include
                                                                                                            include for
                                                                                                                     forall
                                                                                                                         al l
samples:
samples:

       Ilic (late,
   a) The
   a)       date, exact
                   exact 131:1cc  method,and
                          place, method,  andtime
                                              t mieof
                                                    ofsainplin
                                                       aiiipI itigand
                                                                   and the
                                                                       the name of
                                                                                of tli                      ut or persun
                                                                                                                  persons taking
                                                                                                                           taking the
      samples;
      samples;

   h) Thu.
   h) Thu.                         ,..re performed;;
                                   .re perfori

   c) Who
   c) Whoperformed
          performed the
                     the analyses;
                         analyses;

   J) The
   d)  Theanalytical
           analyticalteehriiques/nìetliods
                      techniqueslmethods used; and

   cc)
     ) The
       Theresults
           resultsof
                  ofsuch
                     such analyses
                          analyses.

The permittee is required to retain for a minimum of lour
                                                        four years any records ofof monitoring activities and results
(whether or not such monitoring activities are
(whether                                    are required
                                                 required by
                                                          by 40
                                                             40 CPR
                                                                CFR 403.12)
                                                                      403.12)andand shall
                                                                                    shal l make
                                                                                           make such
                                                                                                 such records
                                                                                                      records available
                                                                                                              avai lable
 loi inspection and copying by the Districts. This
for                                            This period
                                                    period oh
                                                           of retention shal
                                                                        shalll be
                                                                               he extended
                                                                                  extended during
                                                                                             during the
                                                                                                    the course
                                                                                                        course of
                                                                                                               of any
                                                                                                                  any
unresolved
u nresolved litigation regarding the permittee
                                     permittee or
                                                or when
                                                   when requested
                                                         requested by
                                                                   by the
                                                                      the Districts,
                                                                          Districts,
6.    Sample Point
 o. Sample           (Rev 0|~0l'2VO7)
               Point(Rev    01-01-2007)
The permince's
The   pomikrc'o legal
                    legal sampling
                           sampling point(s) arearc indicated
                                                     indicated ininSection
                                                                    Section44ofthe
                                                                                 of the Permit Data       Sheet. The
                                                                                                    Data Sheet.    Thopcnni\tee
                                                                                                                        permittee isis
 responsible for
responsible    for maintaining
                   maintaining andandcleaning
                                         cleaningthe
                                                   thesampling
                                                       samplingpoint(s)
                                                                   poinuu)tompmvcn|
                                                                                 prevent any any build-up
                                                                                                   build-up ofo[oil and grease, sediment
                                                                                                                oil and          sediment
 ors|udgc
or  sludge;failure
             failuretotodo
                         doSO
                            so does
                               does noinot invalidate
                                           invalidate sampling testtest results     Analytical results from
                                                                        resuH Analytical                    |'mmvump|us
                                                                                                                  samples taken from
                                                                                                                                  from
 the locution(x)according
the  |ocurion(x)occon|ing to accepted
                                 accepted ,sampling
                                              sampling procedures
                                                         procedures shalshalll be
                                                                                beaccepted
                                                                                   acceptedas    as binding.
                                                                                                     binding. Safe
                                                                                                               Safe and
                                                                                                                     and convenient
                                                                                                                          cunvmim/
 access to
access   m the
            thesampling
                 uump|ixgpoinKu)
                            point(s) mustmustheheprovided
                                                   provided forúxopnscnm¡```
                                                                represeir          ''r.thc
                                                                                         theDistricts.
                                                                                              Districts.Should
                                                                                                          Should Districts'
                                                                                                                    Districts'staff
                                                                                                                              staff
determine that the sampling
                       sampling locations(s)are
                                  locations(s)areLinsate.
                                                      unsafe,di   lOculi to ac;,...!ss
                                                               difficult      access or crírequire
                                                                                            require modification, the the permittee
                                                                                                                          ponniucc mustmust
 propose alternatives
          alternatives which
                          which vviU     providesampling
                                \vi l l provide   sampling poirn(s)
                                                             poilli(s) acceptable
                                                                       acceptable to   to the
                                                                                          the Districts.    |[u
                                                                                                            Ira locked
                                                                                                                 locked security
eenclosure
  nclosure isis necessary, aa Districts'
                               Districts' padlock
                                            padlockshall
                                                     shall be
                                                           be used
                                                                usedto(nxccou
                                                                        secure the sampling
                                                                                       sampling pointpoint area.
                                                                                                           area. 'The
                                                                                                                  'The permittee
                                                                                                                        pcnnixcumust
                                                                                                                                  must
 call(562)
call  (562)6O9'74||.
            699-741 1 ,extension
                          extension 2907mmokearrangements
                                       2907 to make arrangementshrfor     installation
                                                                              installationoof i' the
                                                                                                  the lock.
                                                                                                      lock.
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 T Split
7.   Split Sample
           Sample(Rev(Rev01-01-2007)
                          01-01-2007)
The Districts'
      Districts'personnel
                  personnel may
                             may provide
                                 provide aa split
                                            spl it or
                                                   ofany
                                                      any composite
                                                          composite sample
                                                                      sample cnUcc|cd
                                                                              collected if
                                                                                         if sufficient sample volume is
aavailable.
  vailable. Districts'
             Districts'personnel
                         personnelmay
                                   mayalso
                                       also provide
                                             provide split,
                                                       split,concurrent.
                                                              concurrent, or
                                                                          or sequential
                                                                             sequential grab
                                                                                         grab samples.
                                                                                               samples. These
                                                                                                         Thesesamples
                                                                                                                  sampleswill
                                                                                                                           will
 bc left with ua designated company
 be                          company representative.      ([ the designee
                                      representative. Ifthe      designee is
                                                                          is not available,
                                                                                 available, these sump|cn
                                                                                                   samples will
                                                                                                           wi l l hc
                                                                                                                  be left with
 whoever
 w hoever is aval   able.
              available.

ThepcnniKec
The permittee is
               is required
                   required to
                             to follow
                                follow appropriate
                                        appropriate preservation techniques, analytical
                                                                                analytical procedures,
                                                                                             procedures, and
                                                                                                          and holding
                                                                                                               holding
        specified in 40 CFR
periods specified        CFR 136.136, if the analytical test results from
                                                                     from these samples are to he used for compliance or
surcharge reporting purposes. Failure
                                   Failure to
                                            to follow
                                               follow the prescribed procedures will
                                                                                  wi l l invalidate
                                                                                               date the
                                                                                                    the test
                                                                                                        test results.
                                                                                                             results.
8.
8.   Pretreatment Maintenance
     Pretreatment     Maintenance(Rev (Rev01-01-2007)
                                             01-01-2007)
The permittee is required to have in place a program of       of regular pretreatment equipment maintenance
                                                                                                      maintenance and cleaning
                                                                                                                        cleaning
to prevent a build-up of   of grit,
                              grit, oil,
                                    oil, or grease or other prohibited materials which
                                                                                     which may
                                                                                            may enter the sewer
                                                                                                           sewer and
                                                                                                                 and to
                                                                                                                      to ensure
                                                                                                                         ensure
compliance atalalalll times
compliance             timeswith
                               withapplicable
                                     applicableindustrial
                                                  industrial *xsuwaurcNun|
                                                           wastewater  effluentlimits.
                                                                                   limits.The
                                                                                           Thepcnni/mc
                                                                                               permitteeshould
                                                                                                          should also
                                                                                                                 also provide
                                                                                                                       provide
trained personnel for proper operation
trained                             operation and
                                               and regular
                                                    regular maintenance
                                                            maintenanceof ofalalll components
                                                                                    componentsa a the
                                                                                                  the pretreatment
                                                                                                       pretreatment system
                                                                                                                    system and
                                                                                                                             and
should also maintain an adequate supply of
should                                           of treatment chemicals as well
                                                                              wel l as replacement
                                                                                        replacement parts for key components
                                                                                                                   components
of the pretreatment system.
                         system.
9.
Y.      Floor Drains Advisory (Rev
                                 (Rev 01-01-2007)
                                      0l'0l'ZOO7)
&U
A       floor drains
   l l Moor   drains shal
                     shalll have
                            have grated
                                 grated covers with
                                               with 3/8"
                                                    3/8^ muximum
                                                         max rim openings m prevent
                                                                            pnvcn/ larger particles from clogging
                                                                                                         clogging
       sewer.
the sewer.

  1N.
   0. Rainwater,
       Rainwater,General
                      General(Rev(Rev01-01-2007)
                                        01-01-2007)
'The    Districts' policy on
  Fhe Districts'             on rainwater
                                  rainwater and
                                              and stormwater is  is established under the provisions
                                                                                              provisions of or Section 305 ofofthe
                                                                                                                                 the
 Wastewater Ordinance as         xs amended
                                     amended November
                                                November 11.    1989. Section
                                                              , 1989.   Section 305
                                                                                  ]05 specifies that
                                                                                                  that nono rainwater or
                                                                                                                       ormonnxmier
                                                                                                                         stormwater
 shall he discharged m     to the Districts'
                                    Districts' sewerage system, exceptexcept where
                                                                              where prior
                                                                                      prior approval
                                                                                            approval has has been
                                                                                                              been given
                                                                                                                   given by
                                                                                                                          by the
                                                                                                                              /heCkic[
                                                                                                                                  Chief
 Engineer. As   As aa general
                      general practice,
                                 practice,the
                                            the Districts
                                                 Districts require
                                                            require roofing
                                                                     roofing or
                                                                              or regrading ofofall
                                                                                                 al l open
                                                                                                      open areas
                                                                                                            areas with
                                                                                                                  with exposed drains
                                                                                                                       exposed     drains
 nh|chdinchorgemihcpuh|icycvvcr. This practice protects
 w   hich discharge     to the  public   sewer.   This  practice  protectsthe
                                                                            theDistricts'
                                                                                Districts'sewcra9e
                                                                                           st-Avera:gct system
                                                                                                         system irom
                                                                                                                 from cxcessi\'e
                                                                                                                       excessive
 hhvdraul   le loads
    ydraul ic  loads that
                       that can
                            eau be he created by iinw:iiited   rainwater and
                                                   unwanted rainwater      aiid stormwater
                                                                                storiliwater moot                    diversion systems
                                                                                              runt, i t. Rainwater diversion     systems
 shalll divert any m|nEiU
 shal                             in excess
                       rainfal l in  excess of
                                             o'U]
                                                0.1inch
                                                     inchtotoÚhcsmnn
                                                              the stormdrain.
                                                                         drain.Diverted
                                                                                  Divertedrainwater
                                                                                             rainwatermustmustmeet
                                                                                                                meetably
                                                                                                                      anyrequ   irenients
                                                                                                                          requirements
 of the Regional Water
 of                    Water Quality Control Board. Any      Any rainwater
                                                                   rainwater discharge
                                                                              discharge toto the
                                                                                              the sewer
                                                                                                  sewer system
                                                                                                           system must
                                                                                                                   must he
                                                                                                                         be in
                                                                                                                             in accordance
                                                                                                                                accordance
 with   die Districts'
 with the    Districts' "Guidelines tor   for the
                                              the Discharge
                                                   Discharge ofof Rainwater, Stormwater,
                                                                                Smnnxmuc Groundwater
                                                                                               Groundwater and  and Other
                                                                                                                     Other Water
                                                                                                                            Water
  D|ochurges^uvui|ub|cut
 Discharges"      available at hup://www.lacsd.org/info/industrial_waste/forms/default.asp.
                                   http://www.lacsd.org/info/industrial_waste/forms/delitult.asp.
1|i1.Spill
      SpillContainment,
            Containment,General
                         General(Rev
                                 (Rev01-01-2007)
                                      01-01-2007)
Any industrial user withwith a significant potential
                                             potential to discharge restricted moteriu|u,   as defined
                                                                                 materials, as defined inin the
                                                                                                            the Districts'
                                                                                                                Districts'
"Slug
"Slug Discharge   Control and
      Disclnii• f'ontrol      and Spill
                                  Spill Containment
                                          ContainmentPolicy"
                                                         Po|icy''avui|uh|eut
                                                                  available at kxp:/úvwr^|ucsJ^rg/inholinduu(rix|_
                                                                                http://www.lacsd.org/infolindustrial_
*ux\dpo|/üc` ,|ugJixdhurgc.uop'
wastelpoUc-„   lit:_.i iiischarge.asp,ioisrequired
                                           required minstall
                                                    to instal land
                                                                andmaintain
                                                                    maintain an
                                                                              an adequate
                                                                                  adequate spill
                                                                                            spil l containment
                                                                                                   containment system.
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12. Spill
12. Spill Containment Logbook (Rey
                              (Rev 01-01-2007)
                                   U|'V\'2007)
|[|hxpennit,cc
   the permitteehashasrestricted
                       restricted materials
                                    materials which
                                               which must
                                                      must hccontained
                                                            he contairied in in spill
                                                                                spillcontainment
                                                                                        containmentareas,   the permittee
                                                                                                     areas, the  pcnniucc is
required
required   to maintain  a log   hook
                                book  that is available to Districts'
                                                           Districts' employees
                                                                      employees       upon
                                                                                       upon request
                                                                                            request  or during  inspections.  Any
                                                                                                                               Any
material
m aterial that
          that enters aa spil
                         spilll containment
                                containmentareaarea mug
                                                    mustbebe handled
                                                              handled as
                                                                       as aa spiU,
                                                                             spill, including
                                                                                      includingrainwater
                                                                                                 rainwaterand
                                                                                                           andany
                                                                                                                anyprocess
                                                                                                                      process
wastewater
wastewater thatthatresults
                    resultsfrom
                             from"normal"
                                   "normal" operations.
                                              operations. All
                                                           Al l materials
                                                                materials removed
                                                                            removed from from spill
                                                                                              spillcontainment
                                                                                                    containmentareas,
                                                                                                                   areas, whether
restrictedor
restricted   or non-restricted
                non-restrictedas asdefined
                                     definedininthe
                                                 theDistricts'
                                                     Districts'"Slug
                                                                "Slu&Discharge
                                                                       DischargeControlControland
                                                                                               andSpill
                                                                                                    W±||Containment
                                                                                                          ContainmentPolicy"
                                                                                                                          Yo|io`
(hxpiúxw,x|ucxdorg/inúlinduxÓio|'vouulpo|icics/s|uêJisohurgc.u^p)
(http://www.lacsiorg/infolindustrial_wastelpolicies/slugdischarge.asp)              must
                                                                                       mustbe
                                                                                            be included
                                                                                                included in the
                                                                                                            the  log
                                                                                                                log   hook.
                                                                                                                     hook.  The log
                                                                                                                                 log
book must
book   mustcontain
              containthe
                       thefollowing
                            following information:
                                        information:

   a)      and time
   u) Date and


      Identity of
   b) Identity
   h)          of iiiaterial
                  material (an analysis is
                                        is required
                                           requiredif
                                                    if the
                                                       the spill
                                                            spill is of
                                                                     of unknown origin to determine the type
                                                                                          determine the type of
                                                                                                             of
       treatment or
       treatment urremodiation
                    remediation or
                                forproper
                                    properdisposa I)
                                           disposal)

   cc)) 0unn(ity(volume)
        Quantity volume)

   J) Cause
   d)  Cause

   ee)l Method
         Methodof
                ofdisposal
                   disposal (includes
                            (includestransfer
                                      transferto
                                               to off-site
                                                  off-sitetreatment
                                                           treatment system)
                                                                     system)

   0 Corrective
   It Correctiveaction
                 actionimplemented
                        implemented wtoprevent
                                        prevent spills
                                                spi l ls from
                                                         from reoccurring
                                                               reoccurring
 113.
   3. Haul Untreated
           Untreated Spills
                      Spills (Rev
                             (Rev O1'01'2007)
                                    01-01-2007)
        xo circumstances
 Under no  circumstancesshalshalll process
                                   processsolution
                                            solutionspills
                                                       spillshe
                                                              hedischarged
                                                                 dischargeddirectlyto
                                                                            directly tothe
                                                                                        thesewer.
                                                                                            sewer.Unreelaimcd
                                                                                                   Unuz|uimcJ or
                                                                                                              oruntreated
                                                                                                                 untreated
 processsolution
 process solution spills
                  spills shal
                         shalll be
                                be hauled to
                                           to aa legal disp,-,

 114.
   4. Manually Actuated
                  Actuated Pump
                            Pump(Rev
                                   (Rev01-01-2007)
                                          0l'0|2O07)
 SpiUx
 Spi      may be
     l ls may  be pumped
                  pumpedfrom
                           from containment areas      to pretreatment
                                                areas to  lJctrcat1i1entsystems
                                                                          systemsforfortreatment
                                                                                        treatmentprior
                                                                                                  prior to
                                                                                                        m discharge
                                                                                                           discharge after
                                                                                                                      after
 determining their
 determining    tb6rroomNü/y
                     treatabilityand
                                  andentering
                                       enteringthe
                                                 theinformation
                                                     informationinto
                                                                   intothe
                                                                         therequired
                                                                             requiredlogloghook.
                                                                                            hook.Pumps
                                                                                                  Pumpsusedused for
                                                                                                                 forthis
                                                                                                                     thispurpose
                                                                                                                          purpose
 must
 m ust hebe manually
            manually actuated
                      actuated and
                                and there
                                     there must bebe no
                                                     io other
                                                         other available
                                                               availableaccess
                                                                           access to the
                                                                                      the sewer.
 115. Spill Containment
   5. Spill Containment Modifications
 [huspiUcnntainmunt
 The  spill containmenttrench
                         trenchininArea
                                     Area2 must
                                           2 mustbebedisconnected
                                                       disconnectedand
                                                                     andsealed
                                                                          sealedoIT
                                                                                 offfrom
                                                                                     fromthe
                                                                                          thewastewater
                                                                                              wastewater trench.
                                                                                                          trench.
 &|sv,
 A lso, ohcrm
        a berm must
                must be
                     be installed
                         installed in
                                    inthe
                                       thetote
                                           totestorage
                                                storage area
                                                         area to provide adequate   containment for
                                                                         adequate containment   for the
                                                                                                    the chemical
 smmueuuc,.
 storaee totes.

 116.       Containment, Proposed
   6. Spill Containment,             (Rey 01-01-2007
                           Proposed (Rey    O\'0l'2007
 This approval ofofthe
                    the proposed
                        proposed spill
                                 spi l l containment
                                         containment system
                                                      system by
                                                             by the
                                                                 the li)isti
                                                                      I:)ist -cts
                                                                               ctsisisfor
                                                                                       foronly
                                                                                           onlythe
                                                                                                 thegeneral
                                                                                                     generalconcept
                                                                                                             conceptpresented.
                                                                                                                     presented.
 T|upmycrcungmcúnnuxdmuin/onuncxn[thcxymcmixUhcoxponsihi|i|yuNnpcnniuccondi|sussociu|xJ
 The   proper construction and maintenance of the system is the responsibi l ity            the perminee and its associated
 contractors.
 contractors.
 117.  0vU,'Úikm|ntegö|y(D,v0l'0|'20O7)
   7. Walls  -Dikes Integrity (Rev 01-01-2007)
 When    sp|U
 W hen spi        containment walls
             l l containment  voUs or
                                    or dikes are
                                              are constructed
                                                  constructed onon existing
                                                                   existing concrete
                                                                             concrete or
                                                                                      or masonry,
                                                                                         muoonrx the
                                                                                                  the contact
                                                                                                       contact mortar or
 coxcreushoUh,honJcdio
 concrete   shal l be bonded tothe
                                 thecxis/ivg
                                     exist ingsurface
                                               surface and  uU
                                                       and al    jointsshall
                                                              l joints  nhuU hehescu|cJ*idhucidosimun/xcx|axto,
                                                                                sealed with acid resistant sealant or
 mmate,iu|y.
    aterials.
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 18. Slug
18.  Slug Discharge
          DischargeControl
                     Control Plan
                              PlanAdv
                                    6dv(Rev
                                         (Rev01-01-2007)
                                              0l'm'2U07)
Upon request by
lipon         by the
                 the Districts,
                     Districts,the
                                the permittee
                                     permitteeisisrequired
                                                   requiredtotodevelo!)
                                                                developaa Slug
                                                                           SlugDischarge
                                                                                DischargeControl
                                                                                          ControlP!aii
                                                                                                  Planwhich
                                                                                                       whichcompi ics
                                                                                                             complies
with the Districts'
         Districts' Spill Containment Guidelines and includes.
                                                     includes, at a minimum. the following elements:
                                                                                           elemen(s:

  a) Description o(
  a)               of discharge practices,
                                practices, including non-routine
                                                       non-routine batch
                                                                    batch discharges   (onn-nou{ine batch
                                                                            discharges (non-routine batch discharges
                                                                                                          discharges
     are not al lossredunless
             allowed    unlessspecified
                               speci liedasasananapproved
                                                  approveddischarge
                                                           discharge ininthe
                                                                          the permit);
                                                                              pcnni/),

   h) Description
   h) Description nf
                  ofstored
                     stored chemicals;
                            chemicals;

  c) Procedures for immediately notifying
  c)                               notifying the
                                             the Districts
                                                 Districts of
                                                           ofsiLig  discharges,inc|udioguxyJischurge
                                                              slug discharges,  including any discharge that
                                                                                                         that would
                                                                                                              would
     violate aa prohibition
     violate    prohibition under
                            under 40
                                  40 CFK
                                     CFR403.5(h),
                                           40I5(b), with
                                                     with procedures
                                                           procedures for
                                                                        Or follow-up
                                                                           follow-up written
                                                                                     written notification
                                                                                             notification within
                                                                                                          within five
     days;
     days;

       |[ necessary,
  dd)) If necessary, procedures tou prevent
                                     prevent adverse
                                             adverse impact
                                                      impact únmaccidental
                                                              from accidentalnpiU/,
                                                                               spi l ls,including
                                                                                         including inspection
                                                                                                    inspection and
                                                                                                                and
       maintenance ofof storage areas,
                                 areas,handling
                                        handlinga.nd
                                                 a.nd transfer of
                                                               of materials,
                                                                  materials,loading
                                                                             loading operations.
                                                                                        operations.control
                                                                                                     controloF
                                                                                                             ofplant
                                                                                                                 plant site
                                                                                                                        site
       run-off, worker training, building ofoíconiainiiicnt
                                              containment structures
                                                            structures or
                                                                       or equipment,
                                                                          equipment,measures
                                                                                          measures hai
                                                                                                     for containing toxic
                                                                                                                     toxic
       organic pollutants (including
                           (including solvents).
                                       solvents),and/or
                                                 and/or measures
                                                         measures and
                                                                    and equipment
                                                                        equipmentfor  foremergency
                                                                                           emergencyresponse.
                                                                                                        response.

  c) This
  e)  Thisplan
           planiliust
                 musthe
                      bemaintained
                        maintained at
                                    at the
                                        the discharge
                                            discharge location
                                                       location and illusi
                                                                    must hebe made available for
                                                                                             for review
                                                                                                 review hy
                                                                                                        by Districts'
      personnel. Copies
                  Copies iimy
                          may he
                              he eqilired
                                 requiredtotohebesiihinittcd
                                                  submittedtotothe
                                                                theDistricts
                                                                   DistrictsFar
                                                                             for review.
                                                                                 review.
  119.
    9. Penalties   (Rev01-01-2007)
        Penalties (Rev   0l~ol'2007)
   Every person
  Every    person or permittee violating any provision
                                                     provision ofofthis
                                                                    this Industrial
                                                                          Industrial Wastewater
                                                                                       Wastewater Discharge
                                                                                                      Discharge Pcrmi/       (permit) or
                                                                                                                   Permit (permit)      or the
                                                                                                                                            the
  Districts' V1
Districts'     Vhs/evoier0rdÚnncr((Úz0ououjisguikyo|umiyJemcuxocuxdupouuunvicúuuispuuiubuHeus
               /
               2=Istetvaier Ordinance ((rdinance) is guilty of a misdemeanor, and upon conviction is punishable as
  provided
  provided by lawlaw (California
                       (California Health
                                    Health (IV',
                                             & Safety
                                                  Safety Code
                                                           Code Section
                                                                  Section47664766currently
                                                                                    currentlyalallows    foraaline
                                                                                                  lows for               m exceed
                                                                                                               line not to    exceed $1,000,
                                                                                                                                       S|,000,
oru/ imprisonment ú/r  for not
                           not more
                                more than
                                      than thirty
                                            thirty days,
                                                      days, urboth,
                                                             or both.Nlisdenieanor
                                                                        Misdemeanorviolations
                                                                                           violationsofofC:ililoriiia
                                                                                                           CaliforniaIlHealth
                                                                                                                          cal th &Sr Safety
                                                                                                                                      Safety
Code Section 25189.5 currently allow for a fine          tine not to exceed $100,000
                                                                                5100,000 and and imprisonment not to exceed one year.
  Misdemeanor       violations of
  M isdemeanor violations       oftlic
                                   the Clean Water
                                                 Water Act, 33 33 ESC
                                                                   USC 1319(c)
                                                                           l3|g(c) currently
                                                                                     currentlyallow
                                                                                                 allow for
                                                                                                        forxa line
                                                                                                               One not
                                                                                                                     not m
                                                                                                                         to exceed
                                                                                                                             exceed $25.000
                                                                                                                                       825,000
  and imprisonment not to
 and                         mexceed
                                exceed one
                                        one year),
                                              year). EachEach day
                                                               dayduring
                                                                     duringwhich
                                                                               which any
                                                                                       any violation
                                                                                             violation continues
                                                                                                       continues shall
                                                                                                                     shal l constitute
                                                                                                                            constitutea
separate offense. The   The Chief
                             ChiefEngineer
                                    Engineerisis authorized
                                                     authorized toto seek,
                                                                      seek,through
                                                                             through thethe office
                                                                                             office of
                                                                                                    ofthe
                                                                                                       the District
                                                                                                            District Attorney
                                                                                                                      Attorney of  ofLos
                                                                                                                                      Los
  Angeles
  A ngeles (A)lIllly
             County or  orother
                           otherappropriated
                                 appropriated authority,
                                                  authority,prosecution
                                                               prosecutionof   of criminal
                                                                                   criminal charges
                                                                                              charges against
                                                                                                       against any
                                                                                                                 any person
                                                                                                                       person violating
                                                                                                                                violating any
  provision u[of the permit
                      permit or
                              or the
                                  the Ordinance.
                                      Ordinance. Violations
                                                       Violationsofofdischarge
                                                                       dischargeI l imitations establ     ished under this
                                                                                                   established           [his permit or the
  Ordinance may may also
                      also he
                           he violations
                               violations of state
                                              state andand federal
                                                            federal environmental
                                                                     environmental laws  laws which
                                                                                               which'nay
                                                                                                       nay bebe punishable
                                                                                                                 punishable as  as felonies
                                                                                                                                    felonies
  and which may also carry substantial fines
and                                                     and penalties (California
                                                 lines and               (California Health
                                                                                        Health & Safety Code 25189-525189'5 currently
                                                                                                                                currently
 aallows
    l lows for a fine
                 tine not to exceed $100,000
                                       5100.000 (except
                                                     (except the tine can be   be up
                                                                                   up to $250,000
                                                                                          $250.000 for great bodily injury or
ssubstantial    probability of
    ubstantial probability    of death)
                                 death)and
                                         andimprisonment
                                               imprisonmentup     tiptotothree
                                                                           threeyears
                                                                                  yearsandand3333USC
                                                                                                   USCSection
                                                                                                          Section1319(e)
                                                                                                                    |3|9(d currently allows
   for x tine
 for   a fine not to  exceed   S1,000,000
                              S1 ,000,000 for x    a first conviction and imprisonment of        of up
                                                                                                    up to 15
                                                                                                           15 years).
                                                                                                               years).

IInn addition, any person or permittee who violates any provision of         of the Ordinance or any termterm or condition of
                                                                                                                           of any
 permit issued
          issued pursuant to
                          to the
                             the Ordinance
                                 Ordinance oror plan
                                                 plan approval
                                                       approval that that prohibits
                                                                           prohibitsororl imits
                                                                                          limitsthe
                                                                                                  thedischarge
                                                                                                      discharge()Carly
                                                                                                                o|uxy waste
                                                                                                                       waste or
                                                                                                                             or
 iimposes   any pretreatment
   mposes any   pretreatment requirement shal
                                           shalll be
                                                   be civi
                                                      civilly
                                                           l ly lliable to the
                                                                  iable to  the Districts
                                                                                Districts inin the
                                                                                               the maximum
                                                                                                   maximum sumsum provided
                                                                                                                   provided by
                                                                                                                             by law
                                                                                                                                law
for each day in which such violation occurs (California
                                                  (California Government Code Section     Section 54740 currently allows for
 civill penalties
civi    penalties which
                  which include,
                        inc|ude, hut are not llimited   m.0a tine of
                                               imited to,            ofupup to 525.000
                                                                                825,000 per day of  of violation).
20. Additional
20. AdditionalPretreatment
               PretreatmentAdvisory
                           Advisory(Rev
                                    (Rev 01'01'2007)
                                         01-01-2007)
The pconirtec
     permittec is advised that additional industrial wastewater
                                                       wastewater pretreatment equipment or othur oth,./ measures may be
required if
          if inspection or
                         or monitoring
                            monitoring indicates
                                        indicates prohibited
                                                  prohibited materials
                                                               materialsare
                                                                         are discharged.       such :)-
                                                                             discharged. If such    mc,mrex
                                                                                                        L ., .•Hares include
installation of
              of new pretreatment
                      pretreatment cquipmcn/,
                                   equipment,plans
                                                plans and
                                                       and necessary
                                                            necessary documentation
                                                                       documentation For For such added equipment
                                                                                                                equipment must
                                                                                                                           must be
                                                                                                                                 be
submitted (o
subriTined  to the local permit
                         permii agency and the
                                             the Districts
                                                 Districts for
                                                           for approval
                                                                approval prior
                                                                         prior to
                                                                                to construction.
                                                                                   construction.
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                                   #:4228

                                                                      '
                                                                      '




21. Prohibited
21.   Prohibited Discharge
                  Discharge Notification
                             Notification(Rev
                                          (Rev01-01-2007)
                                               01-01-2007)
IIn the event
  n the event of
               of the
                  the discharge
                      discharge of
                                 of any
                                    any prohibited
                                        prohibited waste, excessive
                                                          excessive quantities
                                                                    quantities or
                                                                               or concentrations
                                                                                  concentrations of
                                                                                                 of any
                                                                                                    any restricted
                                                                                                        restricted
waste,or
waste, orof
          of the
              the discharge
                   dischargeof
                             of material
                                 material not
                                           notcovered
                                               coveredunder
                                                       underthis
                                                             thispermit,
                                                                  permit,the
                                                                          thecompany
                                                                              companymust
                                                                                      mustimmediately
                                                                                           immediatelynotify
                                                                                                       notify the
                                                                                                              (he
Diytr|cmhy
Districts hy         (56Z)69Y'74||.
                     (562) 699-74 I Iextension
                                     , extensionlYO7.
                                                 2907,during
                                                       duringoffice
                                                              officehours
                                                                     hoursor
                                                                           orthe
                                                                              theLong
                                                                                  LongReach
                                                                                       Reach Pumpixg.Plant, (562)
                                                                                             Pumping Plant,(562)
4J7'Ö52O.
42          during non-o'ffice
  ,7-6520, during  non-office hours.
                               hours.


The Districts must
The           must also he notified orally
                        be notified of anycircumstances
                                           circumstancesaffecting
                                                         affectingplant
                                                                   plantprocesses
                                                                         processes or facility
                                                                                      faci l ityoperations
                                                                                                 operationsthat
                                                                                                            that may
                                                                                                                 may
potentially
potential ly result in
                    in the discharge
                           discharge of
                                     o[ similarly
                                        similarly prohibited or
                                                             or restricted
                                                                 restricted wastes, including but not limited
                                                                            wastes, including         l imited to
                                                                                                               to the
                                                                                                                   the
mu|[onction,
m alfunction, upset nr improper
              upset or improper operation
                                operation ofufplant
                                               plant processes,
                                                      processes, pretreatment   systems,spi
                                                                 pretreatment systems,    spill containment facilities,
                                                                                            l l containment  facilities, or
diversion/bypass mechanisms.
diversion/bypass   mechanisms. Failure
                                Failure to
                                         to immediately
                                             immediately notify
                                                           notify the
                                                                  the Districts of
                                                                                ofany
                                                                                   any such  event or
                                                                                       such event   or condition
                                                                                                       condition is
                                                                                                                 is aa
violation of the Wastevvater
violation of     Wuxte*utcr0nJinuncc.
                             Ordinance.

22. Surcharge Testing (Rev
22.                     (Rev 01-01-2007)
                              U|-V\'2V07)
lithe
  the perrnittee
      perrnittee is required or
                             or chooses
                                chooses to file
                                           Fi le aa Long
                                                    Long Form
                                                          FormSurcharge
                                                               SurchargeStatement,
                                                                        Statement,surcharge
                                                                                   surcharge tests
                                                                                             tests of
                                                                                                   of the
                                                                                                      the industrial
                                                                                                          industrial
wastewater    must be
wastewater must     beperformed
                       performedat  atthe
                                       theintervals
                                           intervalsindicated
                                                     indicatedononTable
                                                                   'fableAáo[the
                                                                            of theLong
                                                                                   LongForm
                                                                                         FormSurcharge
                                                                                               SurchargeStatement
                                                                                                          Statement
booklet and
          and submitted
              submitted annual
                          annually  with the
                                 ly with  the wastewater
                                              vun'c,u\c, treatment
                                                           treatment,surcharge
                                                                      surcharge statement.
                                                                                  statement. The
                                                                                             The company is is reminded
that  the surcharge
t hat the surchargetesting
                     testing requirements
                             requirementsare areindependent
                                                 independentof ofthe
                                                                  thetest
                                                                      testfor
                                                                           forself-monitoring
                                                                               self-monitoring reports required
                                                                                                       required in Section 5
of the
of'     Permit Data
    the Permit  Data Sheet.
                      Sheet. For
                              For further
                                  further io[nnnuiox
                                           informationononsurcharge
                                                            surchargetesting
                                                                       testing oquirxmcom,
                                                                                requirements,please
                                                                                              please contact
                                                                                                     contact the Districts'
                                                                                                                  Districts'
Surchargegroup
Surcharge    groupatu|(5b2)69g'74|\,
                     (562) 699-741 1,  extension
                                         extensionZÚ0U.
                                                    2600.

 23. Capacity
23.   Capacity Unit
                Unit Increase   Advisory (Rev
                     Increase Advisory   (Rev 01-01-2007)
                                                0|'0|-2O07)
IIfFthe
     thewastewater
          wastewaterflow
                      low rate
                          rate and
                                and strength
                                    strength data
                                              data indicate
                                                    indicate an
                                                             an increase
                                                                increase in in the
                                                                               the sewerage
                                                                                   seweragecapacity
                                                                                              capacity unit
                                                                                                        unit usage
                                                                                                             usagebyby25%
                                                                                                                       25% or
                                                                                                                           or
 more, the
more,    the permitted
             punni/occmay
                        nay ft.
                            h,. required
                                required to
                                         to revise
                                             revise its permit,
                                                        permit,uxd
                                                                and will
                                                                     wi l lhe
                                                                            berequired
                                                                                requiredto
                                                                                         topay
                                                                                            payaa corresponding
                                                                                                  corresponding connection
                                                                                                                   connection
6e should
fee shouldeXiSti 1g sC.\
           existing se,', ('ï       seline capacity
                                           capacity units he
                                                          be insu ñicieiìt to
                                                             insufficient   to accomiiiodate
                                                                               accommodate discharge
                                                                                             discharge at
                                                                                                       at that
                                                                                                           that ttime.
                                                                                                                  me.
24. Status
24. Status Change
            Change Notification
                      Notification (Rev
                                   (Rev 01-01-2007)
                                         0l'O|'2U07)
the permitter:
The  permittee is
                is required
                   required to notify
                                notifythe
                                       the Districts
                                             Districtsof
                                                      ofany
                                                          anyTi..mge
                                                               I/ mge in
                                                                       in the
                                                                           the status of the
                                                                               status of  the subject
                                                                                              subject faci
                                                                                                      facility,
                                                                                                           l it if ownership
                                                                                                                   ownership ur
                                                                                                                             or
operating responsibi
operating  responsibility
                       lity changes, or
                                      or if      industriel et. wonection
                                         if the industrH            amectionisislegally
                                                                                   legal lyabandoned
                                                                                            abandoned,

25. 25 percent
25.    Percent Increase     Kr, Kcq
                Increase - Rev   Req(Rev
                                     (RevO)-U\'ZUV7}
                                           0)-01-2007)
únuw
A new punni|upp|icuÜuo
       permit application must
                            mustbcsubmitted
                                  be submitted when
                                                  when there
                                                        there is usignihcun(
                                                                 a significant change  in wastewater
                                                                               change in  ,vu`\cvvubrquaxii|y
                                                                                                     quan     (moo than
                                                                                                              (more  than
25 percent)
25  percent) or
              orquality
                 quality from
                         únm that
                              that given
                                   given in
                                          in the
                                              the approved  permit information.
                                                  approved permit   information. The
                                                                                  Thecompleted
                                                                                      completed application
                                                                                                  application must
                                                                                                              must he
                                                                                                                    he
submitted to
submitted  to the
              the local
                   local governmental
                         governmental agency
                                        aâuncyforforinitial
                                                      initial processing prior to
                                                              processing prior to Districts'
                                                                                  Districts' review.
                                                                                             review. Approval
                                                                                                      Approvalmust
                                                                                                               mustbe
                                                                                                                    be
obtained prior
obtained prior to
                to aiiy
                   any construct ion anew
                        construction of iiew facilities.
                                             facil ities.

26. Waste
26.       Hauler Reports
    Waste Hauler   Reports(Rev
                           (Rev01-01-2007)
                                 0\'V\'Z007)
\Vastehauler
Waste  haLlIerreports
               reportsmust
                       musthe
                            heobtained
                               obtainedand
                                         andkept
                                             keptononfile
                                                      Filefor
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                                                                        oFatatleast
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                                                                                            yearsfor
                                                                                                   ftrany
                                                                                                       anysolid
                                                                                                           solid wastes
                                                                                                                 wases From
                                                                                                                        from
tthe wastewater pretreatment
  he wastewater  pretreatmentsystem
                               systemand
                                       andliquid
                                           liquid wastes
                                                  wastesleaving
                                                          leaving the
                                                                   the plant
                                                                        plant other
                                                                               other than
                                                                                      thaninin the
                                                                                               thesewer
                                                                                                   sewersystem.
                                                                                                         system These
                                                                                                                These
 reports must
reports  mum be
              be made
                 madeavailable
                        available to
                                  <orepresentatives
                                     representativesofu[the
                                                       the Districts upon
                                                                      upon request.
                                                                             request.

27, Equipment
27, Equipment Changes     (Rey 01-01-2007)
                Changes (Rev    0\-0i-2007)
[ngincoixgdrovings
Engineering         úzrchaogoo
             drawings             in in
                       l'or changes  equipment  or or
                                        equipment   processes
                                                      processesmust
                                                                mustbe
                                                                     besubmitted
                                                                        submitted to
                                                                                   tothe
                                                                                      the Districts
                                                                                          Districtsthrough
                                                                                                    throughthe
                                                                                                            thelocal
                                                                                                                local
agencyfor
agency  for approval before implementation.
                             implementation.

28. Construction Deadline
28.                        (Spill CvumhomruV.60
                 Deadline (Spill  Containment), 60 days(Rev
                                                        (Rev 01-01-2007)
                                                              N'0\'Z0V7)
The proposed
The  proposed   cuuumc|ionshuUhccump|etujwi\hinÚ0doys[mm{hcduuo[uppn`vui
              construction shall he completed within 60 days from the date of approval.
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                                                                       |NDU3Tki\iT\STT
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     SANITATIONDDISTRICTS
     SANITATION                       o[                   E,` <.uOmlY
                                                               :OUNTV
                                                                                                                                          y0, Box
                                                                                                                                         P.O.  Box 4ov8
                                                                                                                                                    1998
                                                                                                                             Win
                                                                                                                             W     uiu(x9Oo07-4vv8
                                                                                                                               hittier. CA 90607-1908
                                                                                                                            062}699-741
                                                                                                                            (562)  699-741 |1 Ni  : 2900
                                                                                                                                               Ext. 2900
                                                                                                                                 TAX:    (562)908-472*
                                                                                                                                     X: (562)90S-122/


                                   SANITATION DISTRICTS
                                              DISTRICTS OF
                                                        OF LOS
                                                           LOS ANGELES
                                                               ANGELESCOUN1'Y
                                                                       COUNTY
                              INDUSTRIAL WASTEWATER
                                         WASTEWATER DTSCH    ARGEPERMIT
                                                      DISCHARGE   PERMIT DATA SHEET
                                                                              SHEET

SECTION I:
SECTION    GeneralInformation
        I: General Information
    Permit Number                           01676X
                                            016768                                                 Facility   |D
                                                                                                   Faci l ity ID           20827111
                                                                                                                           208271

    Facility
    Faci l ity Name                         Puci6co[hcmicx|
                                            Pacifica Chemical Inc,
                                                               Inc,                                Parcel'somber
                                                                                                   Parcel Number            7]26'O02-03]
                                                                                                                            7326-002-033
                                                                                                                           88117+08'O|4
                                                                                                                             1 17-008-014

    Facility
       i lity Address                       935 F.
                                            935 E.Artesia
                                                   Artesia Boulevard
                                                           Boulevard                               District Number
                                                                                                   District                08
                                                                                                                           08
                                            Carson, CA 90746
                                            Carson,
                                                                                                 Thomas Bros.
                                                                                                        Bros. Grid
                                                                                                              Grid         734/L7
                                                                                                                           734tIJ7

Fu/i|ityyunni,Contact
Facil ity Permit Contact                    I||unuinShaikh
                                               lussain Shaikh                                      Number oil
                                                                                                          orEmployees
                                                                                                              mployees     20
                                                                                                                           2O

Telephone Number                            310'763-5600
                                            310-763-5600


    Local Agency                            Los Angeles County Department o[f Public
                                                                              Publie Works
                                                                                     Works

    Agency
    A gency Address                         P.O.Box
                                            P. O. Box 1460
                                                      1460
                                            Alhambra,
                                            A lhambra,C,A
                                                      CA 91802-146(1
                                                          91802-146(1



SECTION 2:
SECTION    Permit Status
        2: Permit

IIndustrial
  ndustrial Waste
            Waste Discharge
                  Discharge
Permit Status                               APPROVED
:Application Rece ved Date
             Received Date                  May
                                            M    20.Z005
                                              ay 20, 2005

    Approval
    A pproval Date                          March
                                            M arch |0.2OOD
                                                   10. 2008

    Expiration Date
    Expiration                              March
                                            M       O9.lU|3
                                              arch 09. 2013

    SECTION
    S ECTION 3:
             3://'low  Stream Imfurnmation
                  I mm Stream /n/urination



             -        -              --         '
     K0 reject.
     l20 relecE_ and floor
                     Ilooe and equipment
                               cquipment             Process Flo             Outgoing      |   403                                          .dad       i



     wash down
     wash                                                                                                                            AU Others
                              ~~_._.^_~~.'
     NOTES  (re: Regulations. Section
     N OTES (re:              Section 3):
                                      36

     FederalRegulation:
     Federal Regulation:403
                         403   40C|K403
                            - 40C1=R     |U
                                     403 IL
     Local Regulation:
     Local Regulation: IU
                       |U Standard   Alll Others
                          Standard - Al


SECTION
        -----------
SECTION 4:
        f: Sample
           Sample Point
                  Point Information
                        Information

                                                                         |




  010768&
1 016768,1                      1 The existing.
                                I      existing weir box located              Aui
                                                                              Act*, c'|\Y'Pcnni/
                                                                                    e-I W-Permit          Final Effluent
                                  u`the
                                  at the northwest
                                         northwestcorner
                                                    corneror
                                                           "[the
                                                             the              Required
            ___           _____[/rUUY___                   _    _     __| _____                          __
|      e:                                      The
                                               T he local sewer on Walnut
                                                                   Walnut Street.
                                                                          Street.
ï




                                               935 E.
                                               935 F. AFL
                                                      Ar( io
                                                          ia Boulevard
                                                          "m4ú
                          _   _--' _.~__'_-    Carson.
                                                arson. (            ---_.
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                                               #:4230




        5: Monitoring Requirements
SECTION 5:
SFCTION

                                   016768A(The
                                   016768A (The existing weil
                                                         weirbc,
                                                              he                               at the northwest corner
                                                                                                  the northwest corner of
                                                                                                                       of the
                                                                                                                          the laciIiI)   )




,    COD. Total                                              Semiannually
                                                                 innr. I ly                                             ( ompo,iic           mg'L
     h1I3AS                                                  Semiannually                                               Composite
                                                                                                                          mposite            mg ,'L

     Oill &
     Oi   & Grease
            Grease                                           Semiannually                                               Grab
                                                                                                                        G rab                mg /L
                                                                                                                                             mg/L.,
                                                                                                                                                      __
     pll
     pH                                              I       Semiannually
                                                             Semiannually                                               Grah
                                                                                                                        Grab                 S.U,
                                                                                                                                             S.D.
     Solids, Suspended
     Solids,
                                                     L Semiannual
                                                       Semiannually ly
                                                       !‘Semiannually
                                                                                                                        Composite            mg/L
                                                                                                                                             m e/1,
                                                                                                                                             mg/I,
                                                                                                                                                  -
     Suidde. Soluble
     Sudide.                                             seiniannually                                                  Grab                 mg/L

                                                                                                 January  01, 2008
                                                                                                 J anuary 01, 2008


    SECTION 6; Substance Limits
            6; Substance Limits

                                   C 16708A
                                     I 6708A ("I he exxisting weil box
                                             t 1'he                 ox le
                                                                        Ic                  'od at the northwc ' _orner
                                                                                                    he nortl-mi.   rner or the faeili




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       li                                            Federal
     ri                                               Local
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                                                                              Composite
                                                                   üal          Giab
                                                     I ed. 'al                Composite
                                                     Ic                                ab
               P                                         I                     .omposile
                                                                              Com
               Point                                     Lc_         I          (Giab
                                                                                 )rah
                  ure                                    Local                   Grab
                                                                                 G rab               140
                    uspended
                                                         Local                 Composite
                                                                               7omposite               I(
                                                                                                       10 mg /L
            anide                                        Local                   Grab                  IO
                                                                                                        0 mu
                                                                                                           m,
     Sulfide, Soluble
               Soluble                                   Local
                                                         Local                   Grab
                                                                                 G rab               (OI 11 nmg I,
     SIB   \S
      i itAS
       GD11) Irn.l
               Cnease
     Total Detectable   DD'f
                      c DDT                               bocalI         I Composite
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     Total 11Detectable
     ToDI   )!          DDT
                      e DOT                                   JI
                                                         ILocal          Í   Grab                      0  ug'L
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     A ldrin
     AAldiin                                             Local             Composite
                                                                           Composite                   00 ug/I,
                                                                                                          ug/I.
     Aldrin
     A ldrin                                             Local               Grab                      0O ug/L
                                                                                                           ugiL
     Dicldrin
     ) ieldrin                                           Local                mpntite
                                                                           Composite                   0Oug;L
                                                                                                          tig/I,
     1)ieldrin
            -in                                          Local                                         00 uue/l,
                                                                                                              ull .,_
      aldrin                                              Local
                                                          Local                                        0OugL
                                                                                                          ugil
                                                         Local                                         00 ii!ugt
                                                                                                             ,
              phone                                      Local
                                                            >cal                Composite I            0 ug'I,
                                                                                                           u!,
              phone                                       Local
                                                          Local                    Grab                 O ug'L
                        D e PC                            Local
                                                          Local              1j Composite 1            0 ug'L
               ). te.tablee PCBs
                            PCBs                         I   (-1
                                                                                  (Grab
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              I ICI I
          al [ICI                                                                                       O uelL
                 CH                                                                                     Oec.l.
          alI !detected
              Detected Chlordanes                          ocal
      I otal Detected
                  tected Chlordanes                       ,ocal
                                                         Local
    1 Arsenic_     Total
         ,enic. Total                                     .ocal
                                                         Local                  oirh!_ ;ite
                                                                               Comp!,   dte            3 mg/L
      Arsenic.
      A rsenic, "Total
                  Total                                  Local                   GGrab
                                                                                    rab                33 mg
                                                                                                          mg/L
                      Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 459 of 464 Page ID
                                                        #:4231

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          ( )dmium.
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                                                                    1         Local
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        uper-,per. lotal
                      1 otal                                               Local              Composite
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    (topper. Total
   Copper.11otal                                                           Local
                                                                           Local _ '              Grab             •      15 ing/1,
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    Lead: Total
   Lead.         Total                                                     Local
                                                                           Local              Composite
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 ' Lead. Total   Total                                                     1         ilI          Grab            !1     40
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    Ntlercury, Total
, Mercur>,             Total                                         1      1                 , mpusite
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    Nlercw-y Total _                                     _    _ __________       .41
                                                                           I c.,..11        I     (Oat)
                                                                                                  GI ab                   2  mg/1,
                                                                                                                           2 mc."1,
  -Ni..
   1\11_ , t-I.el. Total
                    Fotal                                            L     1„.....t
                                                                           Lo:..,i1 _LI       Composite
                                                                                            i IA_ mposite         1      12 mg/1
                                                                                                                         12   mg/L
1         ,
                 ., 1,, tal „  I   ,                                      1Local
                                                                              ocal                Grabb
                                                                                                  '                      12 mg/L
i
  s sili . . cm, 'Iota]
                   Total                                            I,     Local
                                                                          Local               Composite
                                                                                            I Composite           1       55 mg
                                                                                                                             ma/1_,
                                                                                                                                /L,
    Silver, "Fotal
1 Silver,          Total                                           |       Local
                                                                           Local            I     Grab        |           55 mg
                                                                                                                             malL/L         l
                                                                                                                                            1



              0       0   0




    ¡inc. To4-4
  Zinc.                                                                't  Local
                                                                          Local               Composi'e
                                                                                              Composgc                   75 rm: 1
                                                                                                                              mg7,
1 l' ir—                                                                                            rah
                                                                                                  Grab                           -n


si_crio:\ 7: 1-7011,
si_crio:\    How Limits
                     Limits


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                                                        016768A  i2.24c e/rst:itig
                                                                        e `stMg Weir
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  5-cninute Peak
1 5-minute  Peal: Floss,
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 SEC110
 S C1110                               8: Pi
                                       8:    crreatment Equipment
                                          Pt,'Ireatment           /Process
                                                        Equipment/Process
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         cii Box
1 :1‘;': ch  Box                                                                1'
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 SLGT1ON
 S Lt__ flON 9:
             9: Program
                Program Requirements
                        R,sirtirements

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      Spill It
      Spill                             no-                                 \ppr(
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                                                                                                                                                                             Spi     Co titainment
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 SFCTION! 10:
 STFCTION |V: Submissions/Con/pie/ions
              Jo                       Requirements
                                       Requirements



          Submit
          S  ________ COO
           .ubmit     COD
                      „   _RCM
                            _ _                                                                                                                                         04 (t 1t 8
          Construction Deadline
          Construction     Deadline spill
                                    soil!containment
                                          containment modification
                                                      modifications ,'.                            days
                                                                                                   d9vs                                                                 05/10/2008
                                                                                                                                                                        05'10/2008
                                                                                                                                                                           _
      Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 460 of 464 Page ID
                                        #:4232




 Except uodinzudin perinO
(xccp/uodinzudin     permitrequhement
                            requirementstatements,
                                        statements, all
                                                    al l submissions andnotifications
                                                         submissions and notifications of
                                                                                       o[ completions
                                                                                          completions should
                                                                                                      should be
                                                                                                             hemailed
                                                                                                                nailed to:
                                                                                                                       to:
                                      County Sanitation
                                     County     Sanitation Districts
                                                           Districts oF Los Angeles
                                                                     or Los Angeles County
                                     IIndustrial
                                       ndustrial Waste
                                                   Waste Seclion
                                                         Section
                                      Shannon Grund
                                     Shannon
                                      PV. Box
                                     P.O.   Box u998
                                                  4998
                                     WWhittier,
                                         hittier, CA 90607-4998
                                                      90607-4998
Permil related
Permit related questions
               questions should be directed to:
                                            to:

                                     Shannon Grund
                                     Shannon
                                                     [^t. 2913
                                     562'099'741 |1 [v\.29|3
                                     562-699-741
                                     »âmnd@|uod.o,g
                                     sgrund@lacsd.org
Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 461 of 464 Page ID
                                  #:4233




   SELF-MONITORING
   SELF-MONITORING REPORTING SCHEDULE
                             SCHEDULE

             Permittees required
             Permittees required to
                                  to submit
                                     submit self-monitoring
                                            self-monitoring reports
                                                             reports per
                                                                     per Section 5 of
                                                                                   of this Perm
                                                                                           Permit Data Sheet are subject to
   the following
   the following schedule.
                 schedule:


                                      SELF-MONITORING REPORTING SCHEDULE'
                                      SELF-MONITORING           SCHEDULE'

               Analysis
               A nalysis Frequency                      Reporting Period                              Due Date 22

                      Annually
                      A nnually                          July I - June 30
                                                               I       30                  July IS
                                                                                           July    (the following
                                                                                                15 (the following year)
                                                                                                                  year)
                                                        January II - June 30                            July IS
                                                                                                             15
                   Semi-annually
                   Semi-annually
                                                      JJuly
                                                        uly II -- December
                                                                  December 31
                                                                           31                         January
                                                                                                      J anuary 15
                                                                                                               15
                                                      January II - March
                                                      January       March 3131                          Aprill IS
                                                                                                        Apri    15
                                                         April
                                                         A pril I - June 30
                                                                   I     30                              July
                                                                                                         J uly 15
                                                                                                               15
                     Quarterly
                                                     JJuly
                                                       uly II - September 30                          October 15
                                                                                                      October    15
                                                    October II - December
                                                    October       December 31 31                      January
                                                                                                      J anuary 1515
                      Monthly
                      M onthly                  Day II - Day 31
                                                             31 of
                                                                ofthe
                                                                   the month
                                                                       month             Day 15
                                                                                         Day     (the following
                                                                                             15 (the  following month)
                                                                                                                month)



   The laboratory data sheet(s) for
  'The                          for each
                                    eachanalysis
                                           analysis performed
                                                     performedduring
                                                                 during the
                                                                        the reporting
                                                                             reportino period
                                                                                       period must
                                                                                              must be
                                                                                                    be included
                                                                                                       included with
                                                                                                                with the Self-
                                                                                                                          Self -
  monitoring Report
              Report form.
                      form. However.
                             However, only the  the results
                                                     results from
                                                             from the
                                                                   the most
                                                                        most recent
                                                                               recent sample
                                                                                      sample collected
                                                                                               collected during
                                                                                                         during the
                                                                                                                 the reporting
                                                                                                                      reporting
  period should he recorded
                   recorded on
                             on the
                                 the Self-m
                                     Self-monitoring
                                            onitoring Report
                                                        Report form.
                                                                form.

  2The Self-monitoring
  2The  Self-monitoring Report form may
                                    may be
                                        be submitted
                                           submitted before
                                                      before the
                                                              the due
                                                                  due date
                                                                      date as
                                                                           as long as the sample
                                                                                   as the sample is
                                                                                                 is taken
                                                                                                    taken during
                                                                                                          during the
                                                                                                                 the
  appropriate report
  appropriate reporting
                     me period.
                        period.

  SURCHARGE TEST
  SURCHARGE TEST REQUIREMENTS
                 REQUIREMENTS

            IIndustrial
              ndustrial users  participating in the
                        users participating     the Sanitation
                                                     Sanitation Districts
                                                                   Districts Surcharge
                                                                               Surcharge Program
                                                                                            Program may
                                                                                                      may be   be subject
                                                                                                                   subject to
                                                                                                                            to additional
                                                                                                                                additional
   self-monitoring requirements
  self-monitoring    requirements besides    thosespecified
                                     besides those  specified in
                                                               in the
                                                                  the permit
                                                                       permit conditions.
                                                                                conditions. Surcharge
                                                                                              Surcharge testing parameters         include
                                                                                                                     parameters include
   Chemical Oxygen
  Chemical     Oxygen Demand        (COD) and
                         Demand (COD)       and suspended
                                                 suspended solids
                                                              solids (SS).
                                                                       (SS). For For companies     that fifile
                                                                                      companies that        le Long
                                                                                                                Long Form
                                                                                                                       Form Surcharge
                                                                                                                               Surcharge
   Statements,the
  Statements,      thetesting
                       testingfrequency
                                frequencyforforCOD
                                                CODandandSSSSisis based
                                                                    basedon  onflow
                                                                                  flow as
                                                                                       as shown
                                                                                           shown inin the
                                                                                                      the table below.
                                                                                                                     below. Surcharge
   wastewater analyses
                 analyses must adequately represent-    theaverage
                                             represent the  averagedailydaily discharge
                                                                              discharge to the sewer system
                                                                                                        system and the results must   must
   be submitted
   be submitted annually with
                            with the
                                  thewastewater
                                       wastewatertreatment
                                                   treatmentsurcharge
                                                             surcharge statement
                                                                          statement in accordance
                                                                                          accordance with each  each year's "Instruction
                                                                                                                             "Instruction
  for Filing
        Filinga aLong
                    LongForm
                           FormWastewater
                                   WastewaterTreatment
                                                TreatmentSurcharge
                                                             SurchargeStatement."             Surcharge test
                                                                            Statement." Surcharge              test requirements
                                                                                                                     requirements are  are
  iindependent
    ndependent of the the self-monitoring
                          self-monitoring report
                                             report requirements.
                                                     requirements.


                               SURCHARGE TESTING
                               SURCHARGE  TESTING FREQUENCY FOR COD AND SS
                                       (Must be 24-hour
                                      (Must     24-hour Composite
                                                        Composite Samples)
                                                                  Samples)


              Yearly
              Y early Cumulative Flow    from Each
                                   Flow from   Each Outlet
                          (in million gallons)
                         (in
                                                                                      Required Testing Frequency
                                                                                      Required
                                      gallons)

                                Less than
                                Less than 15.00                                            II sample per 3 months
                                                                                                           months
                                  15,01
                                  1 5,01 to 40.00
                                            40.00                                            sample per 2 months
                                                                                           I sample
                                                                                           I




                               40,01 to 100.00
                               40,01    100.00                                                 2 samples per month

                               100.01     250.00
                               1 00.01 to 250.00                                                1 sample per week
                                                                                                1 sample     week
                              More
                              M ore than
                                     than 250.00
                                          250.00                                               2 samples per week
                                                                                                             week
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                                  #:4234
                                         PERMIT FOR INDUSTRIAL
                                                         INDUSTRIAL WASTEWATER
                                                                       WASTEWATER DISCHARGEDISCHARGE
                                      COUNTY SANITATION DISTRICTS
                                                              DISTRICTS OF  OF LOS
                                                                                 LOS ANGELES
                                                                                      ANGELES COUNTY
                                                                                                  COUNTY                                  PERMIT NO
                                                                                                                                          PERMIT                  //7' 7
                                                                                                                                                                  //7'
                                                    11955 VVorkmn MIII
                                                      955 Workman   Mill Road
                                                                         Road /I Whittier,
                                                                                 Whittier, CA
                                                                                           CA
                                      MMailing Address. P,O.
                                        ailing Address.
                                          Stephen R,
                                          Stephen
                                                         pD. Box
                                                   R, Maguin,
                                                             Box 4380/
                                                                  4998 /Whittier,
                                                       Maguin, Chief
                                                                          Whittier,California
                                                               Chief Engineer
                                                                      Engineer and
                                                                                    California9U5O7^9SG
                                                                                and General
                                                                                               90607-4998
                                                                                     General Manager
                                                                                               Manager
                                                                                                                                         Fac ID:  ,2628,771-/
                                                                                                                                          Foc ID: ,2û8,771-/
                                                               ((562) 093'7411
                                                                 562) 699-7411

o. CHECK
01 CHECK ONE
         ONE New
              New Sewer
                  Sewer Connect
                        Connect on                      []             Existing Sewer
                                                                       Existing Sewer Connection
                                                                                      Connection                  E
o2
02   Applicant
     Applicant       PACIFICA CHEMICAL
                     PACIFICA CHEMICAL INCORPORATED
                                       INCORPORATEDJPC|)_________
                                                     (PCI)
                                                 (Legal Company Name)
                                                (Legal          Name)
03
03   Check one
     Check orie and
                and fill in
                         in appropriate information
                            appropriate information
                     E Corporation
                     ECn,porahun           Name
                                           Name PACIFICA
                                                PACIFICA CHEMICAL
                                                         CHEMICAL INCORPORATED
                                                                  INCORPORATED
                                           Year Incorporated           1978
                                                                       1978             State of Incorporation      CA
                                                                                                                   ---                        I/o# 95a301661
                                                                                                                                               D# XX-XXXXXXX
                  LJPartnership
                     Partnership     Name                                                          Partners__
                                                                                                       Partners
                  ['Sole
                     SoleProprietor
                          ProprietorName
                                     Name                                                                 Business Names
                                                                                                                   Names
j4
C4   Situs Address
     Situs                 935 E.
                           935  E Artesia
                                   Artesia Blvd.,
                                           Blvd.,                             Carson                                                 CA                    90745
                                                                                                                                                           90746
                            (Street)
                            (Street)                                             (City)
                                                                                 (City)                                             (State)
                                                                                                                                   (State)                   (Zip)
                                                                                                                                                            (Zip)
m Mailing
or Mailing Address
           Address             Same as
                              Same   as above
                            (Street)
                            (Street)                                              (City)
                                                                                 (City)                                             (State)
                                                                                                                                   (State)                     (Zip)
                                                                                                                                                              (Zip)
        Point of Discharge
  . x,- Point
 /Ds-                          Comc                        local sewer in
                                                           local        in)Walnut
                                                                            Walnut Street
                                                                                    Streetnorth
                                                                                           northof
                                                                                                 u[the
                                                                                                    thefacilitN
                                                                                                        facmn
co/  / Number
        Number ofofyears
                    yearsapplicant
                          applicant has
                                    has been
                                        been iii
                                              in business
                                                  businessat
                                                          atpresent
                                                              presentlocation
                                                                      location          3
                                                                                        3                    66
                                                                                      (yo)               (months)
   Name of
us Name of Property Owner             HussamShaìkh
                                      Hussa n Shaikh
     Address of
             of Property Owner          935 E.
                                        935 E Artesia
                                               Artesia B
                                                       Blvd.,                              CA
                                                                                           CA___                      90746                               -8900,
                                                                                                                                                 310)464-8900


     Ausea»o Map
               MapBook
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                   BookNo.LH
                        No.Li                F3 ,
                                         (Street)
                                        (Street)
                                             I
                                                        {[ 11   )
                                                                       r9[«iPage     No.
                                                                                        ((City)
                                                                                           ity)
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                                                                                                                       (Zip)
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                                                                                                                        3 Parcel No.
                                                                                                                                 mo.
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09   Assessors                                                                                                                                     O                         1


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09                                                                                  /PageNn.




   Type of
`o Type of Industry         Manufactures textile & industrial chemicals
                                                              chemicals                                                  FL 71
                                                                                                                         F4-                           LE±1       F4-1           1
                                                                                                                                                                                 1



                                         (Genera! Description
                                        (Genera!                                                                               (Federa) SIC No
                                                                                                                               (Federal     No )
n   Number
    N umber of Employees (Full
                         (Full Time)
                               T me)    20
                                        20                              (Part Time)
                                                                        (Part Time)
12  Raw Materiais
1 2 Raw  Materiais Used
                   Used   Nony|p000|.*cAdd.owHypnch|om.HyÓmgnPemx/Óe.Souaas.GoÓ/umChxvidc.
                          Nonyl  Phenol, Acetic Acid, Sodium Hypochlorite, Hydrogen Peroxide, Soda Ash, Sodium Chloride,
                              (Genera) Description
                             (General  Description-- Add Additionai
                                                         Additional Sheets as Needed)
                                                                              Needed)
                               Sodium Hydrosulfide,
                               Sodium Hydrosulfide, Sodium
                                                    Sodium Gluconate
                                                           Gluconale
                                                                                                                                                       (Daily Amount Used)
                                                                                                                                                      (Daily         Used)
   Products Produced
., Products
13                             Detergent, Fabric
                               Deter_gent, Fabric Softener,
                                                  Softener, Fabric Lubricant
                                                                     Lubricant
                             (General Description
                             (General Description -
                                                  - Add
                                                    Add Additional
                                                        Additional Sheets
                                                                   Sheets as
                                                                          as Needed)
                                                                             Needed)

                                                                                                                     (Daily Amount
                                                                                                                    (Daily  Anountp,uuuceu/
                                                                                                                                   Produced)


                                                                    <`^ /1-:'(.-L,171L
    astewater Producing Operations                                                                                               -'
.^ Wastewater
         ,
                        Operations                  VVa h
                                                    VVashing                                          Pleasesee
                                                             chemical m zing tank , drums, and totes„ Please seeAtAxachem
                                                                                                                   achment    )
                                                                                                                              1
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          D      _/(7
                 i;..L(1)                                                                              v RDrexe
                                                                                                      and RO rej.ect
                                  u                 (Fuli Description
                                                    (Full Description -
                                                                      - Add
                                                                        Add Additional
                                                                            Additional Sheets
                                                                                       Sheets as
                                                                                              as Needed)
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 /^ Waslewater
16   Wastewater Flow
                 Flow Rate
                      Rate        5.900
                                  5,900                                       Gallons per Day
                                                                                          Day              22
                                                                                                          _22                                         Gallons per Minute
                                                                                                                                                      Gallons
                                      (Average)
                                       (Average)                                                                              (Peak)
                                                                                                                             (Peak)
.r Constituents
17 Constituents ofWastewater
                of Wastewater Discharge
                              Discharge    COD,SS
                                           COD,  SS MBAS
                                                    M813

                                       (General Description
                                      (General  Description -
                                                            - Attach
                                                              Attach Chemical
                                                                     Chemical Analysis
                                                                              Analysis Results
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                                                                                                      Application)

18 Person
le Person in
          in company
             company responsible
                     responsible for
                                 for industrial
                                     industrial wastewater
                                                wastewater d scharge
                                                           d scharge
 Hussain
 H ussain Shaikh                                          President
                                                          President                                                                    310)464-8900
                     (Name)
                     (Name)                                                                (Position)
                                                                                           (Position)                                       (Telephone Number)
                                                                                                                                           (Telephone  Number)
II affirm
    affirm that all information turn shed
                                     shed is true
                                             true and correct and that the applicant
                                                                           applicant willI comply
                                                                                           comply with the conditions
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this
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Date                 09/26
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  .s Signature for Applicant
  19
       ((Company
                      Applicant -'
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m
2o - Approved/Reviewed
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     Dao: /r'/'7'
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                                    or County
                                       County Official
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                                                                                               A pproved by Sanitat on Districts ofLos
                                                                                               Date        Mwohl0'Z0U8
                                                                                                           March 10, 2008
                                                                                                                                    LosAngeles
                                                                                                                                        AngelesCounty
                                                                                                                                               County
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     For L.A.
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                                                                                                                                            and General
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     Position „.S-
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 'oge^*m,U/xoymmupenn/,,
'agency   for the required permit- -           /'c
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                                                                                                      #:4235




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COUNTY PUBLIC SEWER




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                             WALNUT STREET




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                                                 SANITARY  SEWER                 WASTEWATER
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                                                  SANITARY SEWER                                                                                                                                                                                                                                                       P
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                                                       RESTROOM-
                                                       RESTROOM                                                                                                                                                                                                                                                                                                          r-1

                                                           LOADING
                                                            OADING                ROTARY
                                                                                   ROTARY DRUM
                                                                                           DRUM SCREEN
                                                                                                SCREEt•                                                                                 LOADING
                                                           DOCK
                                                           DOCK                    (NOT IN
                                                                                  (NOT  IN USE)
                                                                                           USE)                       UTILITIES AREA
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                                                                                                 LARIFIERS (4x7,500  GALLONS)                                                                           x
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                          (NOT I USE
                                  USE
                                                FLOW METER
                                                     METER                a
                      W
                      WASTEWATER
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                                                   NOT IN
                                                       IN USE)
                                                          USE)                                                                                                           RAINWATER                                                        SCALE: 1"-
                                                                                                                                                                                                                                          SCALE:  1"=40'-O"
                                                                                                                                                                                                                                                   ---40'-0"
                      PPUBLIC SEW R
                        UBLIC SEW R                                                     41-
                                                   OTCH
                                                   OTCHWEIR
                                                        WEIR  BOX
                                                            BOX\  \            """---- WASTEWATER                                                                                                                                                 20
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                                                                                           CASTIRON
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                                                       RAINWATER SUMP
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                                                  GATE                                             RAINWATER                                                                           G ATE
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                                                                                                                    PARKING &
                                                                                                                    PARKING & STORAGE
                                                                                                                               STORAGE AREA
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                                                                       10 //' 49"                                               PAVEMENT)
                                                                                                                     (CONCRETE PAVEMENT)
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                                                  FENCE                                                                                                                               FENCE                                         PPACIFICA
                                                                                                                                                                                                                                      ACIFICA CHEMICAL,
                                                                                                                                                                                                                                              CHEMICAL, INC.
                                                                                                                                                                                                                                                         INC.
                                                                                                                                                                                                                                              935 E. ARTESIA
                                                                                                                                                                                                                                              935 E. ARTESIA BLVD.
                                                                                                                                                                                                                                                             BLVD.
                                             X---    NNN--
                                             X----X--X
                                                     N.
                                                      X
                                                      .N.  X.-----x---x-..x
                                                          —X    x—x—x                                                              x                                                                                                          CARSON,
                                                                                                                                                                                                                                              CARSON, CA 90746
                                                                                                                                                                                                                                                      CA 90746

                                                                                                                                                            EEXISTING
                                                                                                                                                              XISTING BUILDING
                                                                                                                                                                                                                                  NDUSTRIAL WASTEWATER
                                                                                                                                                                                                                                IINDUSTRIAL WASTEWATER
                                                                                                                                                                                                                                    DISCHARGE PERMIT
                                                                                                                                                                                                                                              PERMIT

                                                                                                                                                                                                                                                     SITE PLAN
                                                                                                                                                                                                                                         FIGURE 1 :: SITE                             1
                                       Case 2:19-cv-02123-DMG-AGR Document 75-1 Filed 02/09/21 Page 464 of 464 Page ID
                                                                         #:4236




                                                                                                   TANK LIST
                                                                                                   TANK  LIST
                                                                                                   N O.
                                                                                                   NO.         11::   HYDROGEN PEROXIDE MIXING
                                                                                                                      HYDROGEN                     MIXING
                                                                                                                      TANK  (HEIGHTXDIAMETER: 5'X7')
                                                                                                                      TANK (HEIGHTXDIAMETER:              X7')
                                                                                                   NO.
                                                                                                   NO.         2:
                                                                                                               2:     HYDROGEN PEROXIDE STORAGE
                                                                                                                      HYDROGEN                    STORAGE                                          Cd:-)1,tiVt-TY
                                                                                                                      TANK
                                                                                                                      TANK ((6.X4'-2")
                                                                                                                              6'X4'—2")                                                               EFL 0Fr                     'i,`OR:,5
                                                                                                   NO.
                                                                                                   NO.         3:
                                                                                                               3:     WATER     STORAGE
                                                                                                                      WATER STORAGE            TANK
                                                                                                                                            TANK   (7'(7' -8"X7'-4")
                                                                                                                                                        —8"X7'  —4")                       ENsit1C-Nr.CFNT»                               niv:31(rto
                                   THIS
                                   THIS TRENCH
                                        TRENCH IS PLANNED
                                                   PLANNED TO
                                                           TO BE
                                                              BE                                   NO.
                                                                                                   NO.         4:
                                                                                                               4:     HYDROGEN PEROXIDE STORAGE
                                                                                                                      HYDROGEN                    STORAGE                                                       C
                                   USED AS
                                   USED  AS SPILL
                                            SPILL CONTAINMENT  (AREA2).
                                                  CONTAINMENT (AREA  2).                                              TANK ( ( 14'
                                                                                                                                14'—-8)(8.   -10")
                                                                                                                                     8'X8'—10")                                                    FOR                   RiAL WASTES      ES
                                                                                                   NO.
                                                                                                   N O.        5:
                                                                                                               5:     MIXINGTANK
                                                                                                                      MIXING     TANK(4' (4'X6'-6")
                                                                                                                                           X6'— 6")
                                                                                                   NO.
                                                                                                   NO.         6:
                                                                                                               6:     MIXINGTANK
                                                                                                                      MIXING     TANK(4' (4'X4'-8")
                                                                                                                                           X4'—8")                         "!&!.. fr.,ThE
                                                                                                                                                                              1,c Ty   the ("0118.:1C71 Ord otsposal u-1,quic
                                                                                                                                                                                                                                            d.si,iI se
                                                                                                                                           x4'                               rn: drem-, floo,
                                                                                                   NO.
                                                                                                   NO.         7:
                                                                                                               7:     MIXING
                                                                                                                      MIXING TANKTANK(4'(4'X4.-4")
                                                                                                                                                —+")                            E                                  1,:lort"?.p".Qftz ur cif

                                                                                                   NO.
                                                                                                   NO.         8:
                                                                                                               8:     MIXINGTANK
                                                                                                                      MIXING     TANK    (5'— 2"X3'-9")
                                                                                                                                       (5'    -2"X3'-9")             t, :'I                                   0-,      la P:9-=          ICE

                                                                                                   NO.
                                                                                                   NO.         9:
                                                                                                               9:     SODIUM HYPOCHLORITE
                                                                                                                      SODIUM     HYPOCHLORITE STORAGE
                                                                                                                                                    STORAGE
                                                                                                                                                                                                                  !-F7-b,nf: :7'1)      -L    LE° :loriS          - na
                                                                                                                                                                                                       m,.c)                 'h
                                                                                                                      TANK(7'
                                                                                                                      TANK     (7'-4"X7'-4")
                                                                                                                                 — 4"X7'— 4")                                                      -                       -E,t f.;                            lations
                                                                                                                                                                                                                                                           virwialions
                                                                                                   NO. 10:
                                                                                                   NO. 10:            SODIUM HYPOCHLORITE
                                                                                                                      SODIUM     HYPOCHLORITE STORAGE
                                                                                                                                                    STORAGE          01 414 IGE*EEEE', L 17, CETE;iirl&IICE2'7.1r:E."


o                                                                                                                     TANK(7'
                                                                                                                      TANK     (7-4"X7'-4")
                                                                                                                                 — 4"X7'— 4")
                                   CHEMICALS Sc
                                             8c DRUM
                                                DRUM STORAGE
                                                     STORAGE AREA
                                                             AREA                                  N O. 111:
                                                                                                   NO.    1:          CAUSTIC SODA
                                                                                                                      CAUSTIC    SODA STORAGE
                                                                                                                                         STORAGE
                                                                                                                                                                                                                              — Datu            -
                                                                                                                      TANK(12'
                                                                                                                      TANK     (12'-4"x10'-4")
                                                                                                                                   — 4"X10'— 4")
                                                                                                   NO.  12:
                                                                                                   N O. 12:           ACETIC ACID STORAGE
                                                                                                                      ACETIC   ACID   STORAGE
o                                                                                                                     TANK(12'
                                                                                                                      TANK   (12'—-4"X10')
                                                                                                                                     4"X10')
                                                                                                   NO.
                                                                                                   NO.     13:
                                                                                                           13:        EMPTY,NOT
                                                                                                                      EMPTY,     NOTININUSE USE(10.-4-X9'
                                                                                                                                                  (10.-4-X9'—J")-3")
                                                                                                   NO.
                                                                                                   NO.     14:
                                                                                                           14:        EMPTY,NOT
                                                                                                                      EMPTY,      NOTININUSE USE   (10.-4"X9'-3")
                                                                                                                                                 (10'—  4"X9'-3")
                              SPILL CONTAINMENT
                                    CONTAINMENT                                                                       EMPTY,NOT  NOTININUSE USE(8'(8'-8"X7'   -6")
          NO.4                                                                          2'         NO.
                                                                                                   NO.     15:
                                                                                                           15:        EMPTY,                        — 8"X7'—6")
           S                   ((AREA 1)
                                 AREA 1)                                      --Nts;-              NO.
                                                                                                   N O.    16:
                                                                                                           16:        EMPTY,NOT
                                                                                                                      EMPTY,      NOTIN INUSEUSE   (5'-6"X*5'-10")
                                                                                                                                                 (5' — 6"X*5'—10")
                                                                                                                                                 (D' ^
                                                                                                   NO.
                                                                                                   NO.     17:
                                                                                                           17:        EMPTY,NOT
                                                                                                                      EMPTY,      NOTININUSE USE (8`-6"X6'-5")
                                                                                                                                                    -6 x5'-5")
                                   TRENCH
                                                                                                   NOTES:
                                                                                                   NOTES:

                                                                                               11.. 5:
                                                                                                    S:    CHEMICAL STROAGE
                                                                                                          CHEMICAL  STROAGE TANK
                                                                                                                              TANK (NO.
                                                                                                                                    (NO.                     2, 4,
                                                                                                                                                             2,    9, 10,
                                                                                                                                                                4, 9,     11,, 12)
                                                                                                                                                                      10, 11   12)
    NO.
                                                                                                    W:
                                                                                                    W:    WATER  STORAGETANK
                                                                                                          WATER STORAGE   TANK(NO.(NO. 3)
                                                                                                                                       3)
                                                                                                    M:
                                                                                                    M:    MIXING TANK (NO.
                                                                                                          MIXING TANK (NO. 11,, 5,
                                                                                                                                5, 6,
                                                                                                                                    6, 7,
                                                                                                                                       7,                    8)
                                                                                                                                                             8)
                                                                                                    E:
                                                                                                    E:    EMPTYTANK
                                                                                                          EMPTY  TANK NOT
                                                                                                                      NOT IN
                                                                                                                           IN USE
                                                                                                                               USE (NO.
                                                                                                                                    (NO.                     13, 14,
                                                                                                                                                             13, 14, 15,     17)
                                                                                                                                                                         16, 17)
                                                                                                                                                                     15, 16,
                                           3'-6"
                                                                                               2.. TANKS
                                                                                               2   TANKS NO.        5, 6,
                                                                                                           NO. 11,, 5,    7, 88ARE
                                                                                                                       6, 7,    AREUSED
                                                                                                                                    USED
                                                                        )zi                         AS MIXING
                                                                                                    AS MIXING TANKS
                                                                                                              TANKS TO TO PREPARE
                                                                                                                           PREPARE PRODUCTS.
                                                                                                                                    PRODUCTS
                                                        t/
                                                        '-}'--   7-T2 (-"c/                    3. WASTEWATER
                                                                                               3.  WASTEWATER ISIS GENERATED    WHEN 55
                                                                                                                   GENERATED WHEN      55-GALLON
                                                                                                                                          —GALLON
                                         ASTEWATEk,        ,
                                                                                                   DRUMS &
                                                                                                   DRUMS  & TOTES
                                                                                                             TOTES ARE
                                                                                                                    ARE CLEANED
                                                                                                                         CLEANED BY BY WASHING
                                                                                                                                        WASHING
      SANITARY WASTEWATER
      SANITARY WASTEWATER                                                                          BEFORE THEY
                                                                                                   BEFORE  THEY ARE
                                                                                                                 ARE FILLED
                                                                                                                      FILLED WITH
                                                                                                                              WITH PRODUCT
                                                                                                                                    PRODUCTSOLUTIONS.
                                                                                                                                              SOLUTIONS.
         TO PUBLIC SEWER
         TO        SEWER
                                                                                               4. DEEP
                                                                                               4  DEEP TRENCH    IN THE
                                                                                                         TRENCH IN  THE TANK
                                                                                                                         TANK AREA
                                                                                                                               AREA 2
                                                                                                                                    2 CAN
                                                                                                                                       CAN BE
                                                                                                                                            BEUSED
                                                                                                                                               USED
                                                                                                  AS AA SPILL
                                                                                                  AS     SPILLCONAINMENT
                                                                                                               CONAINM ENT STRUCTURE.
                                                                                                                            STRUCTURE.
                 REST
                 R EST ROOM
                       ROOM                  STORAGE

                   LOADING
                   DOCK
                   D OCK                                                                                                                                                            PACIFICA
                                                                                                                                                                                    P ACIFICA CHEMICAL, INC.
                                                                                                                                                                                                        INC.
                                                                                                                                                                                           935 E.
                                                                                                                                                                                           935 E. ARTESIA
                                                                                                                                                                                                   ARTESIA BLVD.
                                                                                                                                                                                                           BLVD.
                                        WASTEWATER
                                        W ASTEWATER TO CLARIFIER
                                                       CLARIFIER                                                                                                                           CARSON,CA
                                                                                                                                                                                           CARSON,   CA 90746
                                                                                                                                                                                                        90746

                                                                                                           SCALE:1"=25'-0"
                                                                                                           SCALE: 1"=25'-0"
                                                                                                                                                                                    INDUSTRIAL
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                                                                                                                                                                                               WASTEWATER
                                                                                                     0
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                                                                                                                      12.5 25                         50                                DISCHARGE PERMIT
                                                                                                                                                                                        DISCHARGE

                                                                                                                                                                          FIGURE
                                                                                                                                                                          F GURE 22               CHEMICAL TANK AREA
                                                                                                                                                                                                                AREA
